Case 17-12560-KJC   Doc 3374   Filed 02/04/19   Page 1 of 124
                     Case 17-12560-KJC            Doc 3374        Filed 02/04/19       Page 2 of 124


                                     UNITED STATES BANKRUPTCY COURT
                                          DISTRICT OF DELAWARE

WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                    Case No. 17-12560 (KJC)
(Jointly Administered)                                                                    Reporting Period: 12/31/2018

The Monthly Operating Report for Woodbridge Group of Companies, LLC includes the following affiliated debtors:*

    #                                   Name of Entity                                   EIN #           Case #
    1     Woodbridge Group of Companies, LLC                                         xx-xxx3603     17-12560 (KJC)
    2     215 North 12th Street, LLC                                                 xx-xxx3105     17-12561 (KJC)
    3     Addison Park Investments, LLC                                              xx-xxx5888     17-12563 (KJC)
    4     Anchorpoint Investments, LLC                                               xx-xxx5530     17-12566 (KJC)
    5     Arborvitae Investments, LLC                                                xx-xxx3426     17-12572 (KJC)
    6     Archivolt Investments, LLC                                                 xx-xxx8542     17-12574 (KJC)
    7     Arlington Ridge Investments, LLC                                           xx-xxx8879     17-12576 (KJC)
    8     Arrowpoint Investments, LLC                                                xx-xxx7069     17-12578 (KJC)
    9     Baleroy Investments, LLC                                                   xx-xxx9851     17-12580 (KJC)
   10     Basswood Holding, LLC                                                      xx-xxx2784     17-12600 (KJC)
   11     Bay Village Investments, LLC                                               xx-xxx3221     17-12604 (KJC)
   12     Bear Brook Investments, LLC                                                xx-xxx3387     17-12610 (KJC)
   13     Beech Creek Investments, LLC                                               xx-xxx0963     17-12616 (KJC)
   14     Bishop White Investments, LLC                                              xx-xxx8784     17-12623 (KJC)
   15     Black Bass Investments, LLC                                                xx-xxx0884     17-12641 (KJC)
   16     Black Locust Investments, LLC                                              xx-xxx3159     17-12648 (KJC)
   17     Bluff Point Investments, LLC                                               xx-xxx6406     17-12722 (KJC)
   18     Bowman Investments, LLC                                                    xx-xxx9670     17-12753 (KJC)
   19     Bramley Investments, LLC                                                   xx-xxx9020     17-12769 (KJC)
   20     Brise Soleil Investments, LLC                                              xx-xxx9998     17-12762 (KJC)
   21     Broadsands Investments, LLC                                                xx-xxx2687     17-12777 (KJC)
   22     Brynderwen Investments, LLC                                                xx-xxx6305     17-12793 (KJC)
   23     Cablestay Investments, LLC                                                 xx-xxx3442     17-12798 (KJC)
   24     Cannington Investments, LLC                                                xx-xxx4303     17-12803 (KJC)
   25     Carbondale Doocy, LLC                                                      xx-xxx3616     17-12805 (KJC)
   26     Carbondale Glen Lot A-5, LLC                                               xx-xxx0728     17-12807 (KJC)
   27     Carbondale Glen Lot D-22, LLC                                              xx-xxx1907     17-12809 (KJC)
   28     Carbondale Glen Lot E-24, LLC                                              xx-xxx4987     17-12811 (KJC)
   29     Carbondale Glen Lot GV-13, LLC                                             xx-xxx6075     17-12813 (KJC)
   30     Carbondale Glen Lot SD-14, LLC                                             xx-xxx5515     17-12817 (KJC)
   31     Carbondale Glen Lot SD-23, LLC                                             xx-xxx4775     17-12815 (KJC)
   32     Carbondale Glen Mesa Lot 19, LLC                                           xx-xxx6376     17-12819 (KJC)
   33     Carbondale Glen River Mesa, LLC                                            xx-xxx6926     17-12820 (KJC)
   34     Carbondale Glen Sundance Ponds, LLC                                        xx-xxx0113     17-12822 (KJC)
   35     Carbondale Glen Sweetgrass Vista, LLC                                      xx-xxx7510     17-12564 (KJC)
   36     Carbondale Spruce 101, LLC                                                 xx-xxx6126     17-12568 (KJC)
   37     Carbondale Sundance Lot 15, LLC                                            xx-xxx1131     17-12569 (KJC)
   38     Carbondale Sundance Lot 16, LLC                                            xx-xxx0786     17-12570 (KJC)
   39     Castle Pines Investments, LLC                                              xx-xxx4123     17-12581 (KJC)
   40     Centershot Investments, LLC                                                xx-xxx9391     17-12586 (KJC)
   41     Chaplin Investments, LLC                                                   xx-xxx3215     17-12592 (KJC)
   42     Chestnut Investments, LLC                                                  xx-xxx9809     17-12603 (KJC)
   43     Chestnut Ridge Investments, LLC                                            xx-xxx3815     17-12614 (KJC)
   44     Clover Basin Investments, LLC                                              xx-xxx8470     17-12621 (KJC)
   45     Coffee Creek Investments, LLC                                              xx-xxx9365     17-12627 (KJC)
   46     Craven Investments, LLC                                                    xx-xxx0994     17-12636 (KJC)


   2 of 124                                                                                                  MOR Cover b
                     Case 17-12560-KJC            Doc 3374        Filed 02/04/19       Page 3 of 124


                                     UNITED STATES BANKRUPTCY COURT
                                          DISTRICT OF DELAWARE

WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                    Case No. 17-12560 (KJC)
(Jointly Administered)                                                                    Reporting Period: 12/31/2018

The Monthly Operating Report for Woodbridge Group of Companies, LLC includes the following affiliated debtors:*

    #                                  Name of Entity                                    EIN #           Case #
   47     Crossbeam Investments, LLC                                                 xx-xxx2940     17-12650 (KJC)
   48     Crowfield Investments, LLC                                                 xx-xxx4030     17-12660 (KJC)
   49     Crystal Valley Holdings, LLC                                               xx-xxx4942     17-12666 (KJC)
   50     Crystal Woods Investments, LLC                                             xx-xxx2816     17-12676 (KJC)
   51     Cuco Settlement, LLC                                                       xx-xxx1418     17-12679 (KJC)
   52     Daleville Investments, LLC                                                 xx-xxx2915     17-12687 (KJC)
   53     Derbyshire Investments, LLC                                                xx-xxx3735     17-12696 (KJC)
   54     Diamond Cove Investments, LLC                                              xx-xxx9809     17-12705 (KJC)
   55     Dixville Notch Investments, LLC                                            xx-xxx0257     17-12716 (KJC)
   56     Dogwood Valley Investments, LLC                                            xx-xxx5898     17-12727 (KJC)
   57     Dollis Brook Investments, LLC                                              xx-xxx4042     17-12735 (KJC)
   58     Donnington Investments, LLC                                                xx-xxx2744     17-12744 (KJC)
   59     Doubleleaf Investments, LLC                                                xx-xxx7075     17-12755 (KJC)
   60     Drawspan Investments, LLC                                                  xx-xxx5457     17-12767 (KJC)
   61     Eldredge Investments, LLC                                                  xx-xxx1579     17-12775 (KJC)
   62     Elstar Investments, LLC                                                    xx-xxx3731     17-12782 (KJC)
   63     Emerald Lake Investments, LLC                                              xx-xxx2276     17-12788 (KJC)
   64     Fieldpoint Investments, LLC                                                xx-xxx2405     17-12794 (KJC)
   65     Franconia Notch Investments, LLC                                           xx-xxx7325     17-12797 (KJC)
   66     Gateshead Investments, LLC                                                 xx-xxx1537     17-12597 (KJC)
   67     Glenn Rich Investments, LLC                                                xx-xxx7350     17-12602 (KJC)
   68     Goose Rocks Investments, LLC                                               xx-xxx5453     17-12611 (KJC)
   69     Goosebrook Investments, LLC                                                xx-xxx3737     17-12617 (KJC)
   70     Graeme Park Investments, LLC                                               xx-xxx8869     17-12622 (KJC)
   71     Grand Midway Investments, LLC                                              xx-xxx1671     17-12628 (KJC)
   72     Gravenstein Investments, LLC                                               xx-xxx2195     17-12632 (KJC)
   73     Green Gables Investments, LLC                                              xx-xxx1347     17-12637 (KJC)
   74     Grenadier Investments, LLC                                                 xx-xxx1772     17-12643 (KJC)
   75     Grumblethorpe Investments, LLC                                             xx-xxx9318     17-12649 (KJC)
   76     H11 Silk City Holding Company, LLC                                         xx-xxx5002     17-12833 (KJC)
   77     H12 White Birch Holding Company, LLC                                       xx-xxx9593     17-12699 (KJC)
   78     H13 Bay Village Holding Company, LLC                                       xx-xxx8917     17-12591 (KJC)
   79     H14 Dixville Notch Holding Company, LLC                                    xx-xxx5633     17-12712 (KJC)
   80     H15 Bear Brook Holding Company, LLC                                        xx-xxx0030     17-12607 (KJC)
   81     H16 Monadnock Holding Company, LLC                                         xx-xxx3391     17-12678 (KJC)
   82     H17 Pemigewasset Holding Company, LLC                                      xx-xxx9026     17-12799 (KJC)
   83     H19 Emerald Lake Holding Company, LLC                                      xx-xxx1570     17-12785 (KJC)
   84     H2 Arlington Ridge Holding Company, LLC                                    xx-xxx9930     17-12575 (KJC)
   85     H20 Bluff Point Holding Company, LLC                                       xx-xxx7342     17-12715 (KJC)
   86     H21 Summerfree Holding Company, LLC                                        xx-xxx4453     17-12631 (KJC)
   87     H22 Papirovka Holding Company, LLC                                         xx-xxx8821     17-12770 (KJC)
   88     H23 Pinova Holding Company, LLC                                            xx-xxx0307     17-12810 (KJC)
   89     H24 Stayman Holding Company, LLC                                           xx-xxx0527     17-12590 (KJC)
   90     H25 Elstar Holding Company, LLC                                            xx-xxx3243     17-12779 (KJC)
   91     H26 Gravenstein Holding Company, LLC                                       xx-xxx4323     17-12630 (KJC)
   92     H27 Grenadier Holding Company, LLC                                         xx-xxx2590     17-12642 (KJC)


   3 of 124                                                                                                  MOR Cover b
                     Case 17-12560-KJC            Doc 3374        Filed 02/04/19       Page 4 of 124


                                     UNITED STATES BANKRUPTCY COURT
                                          DISTRICT OF DELAWARE

WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                    Case No. 17-12560 (KJC)
(Jointly Administered)                                                                    Reporting Period: 12/31/2018

The Monthly Operating Report for Woodbridge Group of Companies, LLC includes the following affiliated debtors:*

   #                                   Name of Entity                                    EIN #           Case #
   93     H28 Black Locust Holding Company, LLC                                      xx-xxx6941     17-12647 (KJC)
   94     H29 Zestar Holding Company, LLC                                            xx-xxx4093     17-12789 (KJC)
   95     H30 Silver Maple Holding Company, LLC                                      xx-xxx9953     17-12835 (KJC)
   96     H31 Addison Park Holding Company, LLC                                      xx-xxx0775     17-12562 (KJC)
   97     H32 Arborvitae Holding Company, LLC                                        xx-xxx7525     17-12567 (KJC)
   98     H35 Hornbeam Holding Company, LLC                                          xx-xxx5290     17-12691 (KJC)
   99     H36 Sturmer Pippin Holding Company, LLC                                    xx-xxx1256     17-12625 (KJC)
  100     H37 Idared Holding Company, LLC                                            xx-xxx3378     17-12697 (KJC)
  101     H38 Mutsu Holding Company, LLC                                             xx-xxx5889     17-12711 (KJC)
  102     H39 Haralson Holding Company, LLC                                          xx-xxx0886     17-12661 (KJC)
  103     H4 Pawtuckaway Holding Company, LLC                                        xx-xxx9299     17-12778 (KJC)
  104     H40 Bramley Holding Company, LLC                                           xx-xxx7162     17-12766 (KJC)
  105     H41 Grumblethorpe Holding Company, LLC                                     xx-xxx0106     17-12646 (KJC)
  106     H43 Lenni Heights Holding Company, LLC                                     xx-xxx7951     17-12717 (KJC)
  107     H44 Green Gables Holding Company, LLC                                      xx-xxx2248     17-12634 (KJC)
  108     H46 Beech Creek Holding Company, LLC                                       xx-xxx0050     17-12612 (KJC)
  109     H47 Summit Cut Holding Company, LLC                                        xx-xxx6912     17-12638 (KJC)
  110     H49 Bowman Holding Company, LLC                                            xx-xxx1694     17-12725 (KJC)
  111     H5 Chestnut Ridge Holding Company, LLC                                     xx-xxx5244     17-12608 (KJC)
  112     H51 Old Carbon Holding Company, LLC                                        xx-xxx1911     17-12738 (KJC)
  113     H52 Willow Grove Holding Company, LLC                                      xx-xxx2112     17-12729 (KJC)
  114     H53 Black Bass Holding Company, LLC                                        xx-xxx3505     17-12639 (KJC)
  115     H54 Seven Stars Holding Company, LLC                                       xx-xxx8432     17-12831 (KJC)
  116     H55 Old Maitland Holding Company, LLC                                      xx-xxx3887     17-12747 (KJC)
  117     H56 Craven Holding Company, LLC                                            xx-xxx1344     17-12633 (KJC)
  118     H58 Baleroy Holding Company, LLC                                           xx-xxx1881     17-12579 (KJC)
  119     H59 Rising Sun Holding Company, LLC                                        xx-xxx5554     17-12827 (KJC)
  120     H6 Lilac Meadow Holding Company, LLC                                       xx-xxx4921     17-12724 (KJC)
  121     H60 Moravian Holding Company, LLC                                          xx-xxx3179     17-12686 (KJC)
  122     H61 Grand Midway Holding Company, LLC                                      xx-xxx4835     17-12626 (KJC)
  123     H65 Thornbury Farm Holding Company, LLC                                    xx-xxx7454     17-12644 (KJC)
  124     H66 Heilbron Manor Holding Company, LLC                                    xx-xxx7245     17-12677 (KJC)
  125     H68 Graeme Park Holding Company, LLC                                       xx-xxx2736     17-12620 (KJC)
  126     H7 Dogwood Valley Holding Company, LLC                                     xx-xxx7002     17-12721 (KJC)
  127     H70 Bishop White Holding Company, LLC                                      xx-xxx6161     17-12619 (KJC)
  128     H74 Imperial Aly Holding Company, LLC                                      xx-xxx7948     17-12704 (KJC)
  129     H76 Diamond Cove Holding Company, LLC                                      xx-xxx0315     17-12700 (KJC)
  130     H8 Melody Lane Holding Company, LLC                                        xx-xxx4011     17-12756 (KJC)
  131     H9 Strawberry Fields Holding Company, LLC                                  xx-xxx4464     17-12609 (KJC)
  132     Hackmatack Investments, LLC                                                xx-xxx8293     17-12653 (KJC)
  133     Haffenburg Investments, LLC                                                xx-xxx1472     17-12659 (KJC)
  134     Haralson Investments, LLC                                                  xx-xxx8946     17-12663 (KJC)
  135     Harringworth Investments, LLC                                              xx-xxx5770     17-12669 (KJC)
  136     Hazelpoint Investments, LLC                                                xx-xxx3824     17-12674 (KJC)
  137     Heilbron Manor Investments, LLC                                            xx-xxx7818     17-12681 (KJC)
  138     Hollyline Holdings, LLC                                                    xx-xxx4412     17-12684 (KJC)


   4 of 124                                                                                                  MOR Cover b
                     Case 17-12560-KJC            Doc 3374        Filed 02/04/19       Page 5 of 124


                                     UNITED STATES BANKRUPTCY COURT
                                          DISTRICT OF DELAWARE

WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                    Case No. 17-12560 (KJC)
(Jointly Administered)                                                                    Reporting Period: 12/31/2018

The Monthly Operating Report for Woodbridge Group of Companies, LLC includes the following affiliated debtors:*

   #                                   Name of Entity                                    EIN #           Case #
  139     Hollyline Owners, LLC                                                      xx-xxx2556     17-12688 (KJC)
  140     Hornbeam Investments, LLC                                                  xx-xxx9532     17-12694 (KJC)
  141     Idared Investments, LLC                                                    xx-xxx7643     17-12701 (KJC)
  142     Imperial Aly Investments, LLC                                              xx-xxx7940     17-12708 (KJC)
  143     Ironsides Investments, LLC                                                 xx-xxx2351     17-12714 (KJC)
  144     Lenni Heights Investments, LLC                                             xx-xxx6691     17-12720 (KJC)
  145     Lilac Meadow Investments, LLC                                              xx-xxx4000     17-12728 (KJC)
  146     Lincolnshire Investments, LLC                                              xx-xxx0533     17-12733 (KJC)
  147     Lonetree Investments, LLC                                                  xx-xxx5194     17-12740 (KJC)
  148     Longbourn Investments, LLC                                                 xx-xxx2888     17-12746 (KJC)
  149     M10 Gateshead Holding Company, LLC                                         xx-xxx8924     17-12593 (KJC)
  150     M11 Anchorpoint Holding Company, LLC                                       xx-xxx1946     17-12565 (KJC)
  151     M13 Cablestay Holding Company, LLC                                         xx-xxx9809     17-12795 (KJC)
  152     M14 Crossbeam Holding Company, LLC                                         xx-xxx3109     17-12645 (KJC)
  153     M15 Doubleleaf Holding Company, LLC                                        xx-xxx9523     17-12749 (KJC)
  154     M17 Lincolnshire Holding Company, LLC                                      xx-xxx9895     17-12730 (KJC)
  155     M19 Arrowpoint Holding Company, LLC                                        xx-xxx4378     17-12577 (KJC)
  156     M22 Drawspan Holding Company, LLC                                          xx-xxx0325     17-12764 (KJC)
  157     M24 Fieldpoint Holding Company, LLC                                        xx-xxx6210     17-12791 (KJC)
  158     M25 Centershot Holding Company, LLC                                        xx-xxx2128     17-12583 (KJC)
  159     M26 Archivolt Holding Company, LLC                                         xx-xxx6436     17-12573 (KJC)
  160     M27 Brise Soleil Holding Company, LLC                                      xx-xxx2821     17-12760 (KJC)
  161     M28 Broadsands Holding Company, LLC                                        xx-xxx9424     17-12773 (KJC)
  162     M29 Brynderwen Holding Company, LLC                                        xx-xxx0685     17-12781 (KJC)
  163     M31 Cannington Holding Company, LLC                                        xx-xxx0667     17-12801 (KJC)
  164     M32 Dollis Brook Holding Company, LLC                                      xx-xxx2873     17-12731 (KJC)
  165     M33 Harringworth Holding Company, LLC                                      xx-xxx7830     17-12667 (KJC)
  166     M34 Quarterpost Holding Company, LLC                                       xx-xxx2780     17-12814 (KJC)
  167     M36 Springline Holding Company, LLC                                        xx-xxx0908     17-12584 (KJC)
  168     M37 Topchord Holding Company, LLC                                          xx-xxx2131     17-12662 (KJC)
  169     M38 Pemberley Holding Company, LLC                                         xx-xxx1154     17-12787 (KJC)
  170     M39 Derbyshire Holding Company, LLC                                        xx-xxx6509     17-12692 (KJC)
  171     M40 Longbourn Holding Company, LLC                                         xx-xxx3893     17-12742 (KJC)
  172     M41 Silverthorne Holding Company, LLC                                      xx-xxx6930     17-12838 (KJC)
  173     M43 White Dome Holding Company, LLC                                        xx-xxx1327     17-12706 (KJC)
  174     M44 Wildernest Holding Company, LLC                                        xx-xxx7546     17-12718 (KJC)
  175     M45 Clover Basin Holding Company, LLC                                      xx-xxx6677     17-12618 (KJC)
  176     M46 Owl Ridge Holding Company, LLC                                         xx-xxx0546     17-12759 (KJC)
  177     M48 Vallecito Holding Company, LLC                                         xx-xxx0739     17-12670 (KJC)
  178     M49 Squaretop Holding Company, LLC                                         xx-xxx4325     17-12588 (KJC)
  179     M5 Stepstone Holding Company, LLC                                          xx-xxx1473     17-12601 (KJC)
  180     M50 Wetterhorn Holding Company, LLC                                        xx-xxx9936     17-12689 (KJC)
  181     M51 Coffee Creek Holding Company, LLC                                      xx-xxx2745     17-12624 (KJC)
  182     M53 Castle Pines Holding Company, LLC                                      xx-xxx3398     17-12571 (KJC)
  183     M54 Lonetree Holding Company, LLC                                          xx-xxx2356     17-12737 (KJC)
  184     M56 Haffenburg Holding Company, LLC                                        xx-xxx3780     17-12656 (KJC)


   5 of 124                                                                                                  MOR Cover b
                     Case 17-12560-KJC            Doc 3374        Filed 02/04/19       Page 6 of 124


                                     UNITED STATES BANKRUPTCY COURT
                                          DISTRICT OF DELAWARE

WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                    Case No. 17-12560 (KJC)
(Jointly Administered)                                                                    Reporting Period: 12/31/2018

The Monthly Operating Report for Woodbridge Group of Companies, LLC includes the following affiliated debtors:*

   #                                   Name of Entity                                    EIN #           Case #
  185     M57 Ridgecrest Holding Company, LLC                                        xx-xxx2759     17-12818 (KJC)
  186     M60 Thunder Basin Holding Company, LLC                                     xx-xxx4560     17-12654 (KJC)
  187     M61 Mineola Holding Company, LLC                                           xx-xxx8989     17-12668 (KJC)
  188     M62 Sagebrook Holding Company, LLC                                         xx-xxx5717     17-12829 (KJC)
  189     M63 Crowfield Holding Company, LLC                                         xx-xxx7092     17-12655 (KJC)
  190     M67 Mountain Spring Holding Company, LLC                                   xx-xxx5385     17-12695 (KJC)
  191     M68 Goosebrook Holding Company, LLC                                        xx-xxx9434     17-12615 (KJC)
  192     M70 Pinney Holding Company, LLC                                            xx-xxx1495     17-12806 (KJC)
  193     M71 Eldredge Holding Company, LLC                                          xx-xxx6338     17-12771 (KJC)
  194     M72 Daleville Holding Company, LLC                                         xx-xxx8670     17-12683 (KJC)
  195     M73 Mason Run Holding Company, LLC                                         xx-xxx5691     17-12748 (KJC)
  196     M74 Varga Holding Company, LLC                                             xx-xxx2322     17-12680 (KJC)
  197     M75 Riley Creek Holding Company, LLC                                       xx-xxx7226     17-12825 (KJC)
  198     M76 Chaplin Holding Company, LLC                                           xx-xxx9267     17-12587 (KJC)
  199     M79 Chestnut Holding Company, LLC                                          xx-xxx0125     17-12595 (KJC)
  200     M80 Hazelpoint Holding Company, LLC                                        xx-xxx2703     17-12672 (KJC)
  201     M83 Mt. Holly Holding Company, LLC                                         xx-xxx7897     17-12703 (KJC)
  202     M85 Glenn Rich Holding Company, LLC                                        xx-xxx7844     17-12599 (KJC)
  203     M86 Steele Hill Holding Company, LLC                                       xx-xxx8312     17-12596 (KJC)
  204     M87 Hackmatack Hills Holding Company, LLC                                  xx-xxx9583     17-12652 (KJC)
  205     M88 Franconia Notch Holding Company, LLC                                   xx-xxx8184     17-12796 (KJC)
  206     M9 Donnington Holding Company, LLC                                         xx-xxx7114     17-12741 (KJC)
  207     M90 Merrimack Valley Holding Company, LLC                                  xx-xxx0547     17-12658 (KJC)
  208     M91 Newville Holding Company, LLC                                          xx-xxx6748     17-12726 (KJC)
  209     M92 Crystal Woods Holding Company, LLC                                     xx-xxx5806     17-12671 (KJC)
  210     M93 Goose Rocks Holding Company, LLC                                       xx-xxx5189     17-12605 (KJC)
  211     M94 Winding Road Holding Company, LLC                                      xx-xxx8229     17-12736 (KJC)
  212     M95 Pepperwood Holding Company, LLC                                        xx-xxx3660     17-12802 (KJC)
  213     M97 Red Wood Holding Company, LLC                                          xx-xxx2190     17-12823 (KJC)
  214     M99 Ironsides Holding Company, LLC                                         xx-xxx8261     17-12710 (KJC)
  215     Mason Run Investments, LLC                                                 xx-xxx0644     17-12751 (KJC)
  216     Melody Lane Investments, LLC                                               xx-xxx0252     17-12757 (KJC)
  217     Merrimack Valley Investments, LLC                                          xx-xxx7307     17-12665 (KJC)
  218     Mineola Investments, LLC                                                   xx-xxx9029     17-12673 (KJC)
  219     Monadnock Investments, LLC                                                 xx-xxx3513     17-12682 (KJC)
  220     Moravian Investments, LLC                                                  xx-xxx6854     17-12690 (KJC)
  221     Mountain Spring Investments, LLC                                           xx-xxx3294     17-12698 (KJC)
  222     Mt. Holly Investments, LLC                                                 xx-xxx7337     17-12707 (KJC)
  223     Mutsu Investments, LLC                                                     xx-xxx8020     17-12719 (KJC)
  224     Newville Investments, LLC                                                  xx-xxx7973     17-12734 (KJC)
  225     Old Carbon Investments, LLC                                                xx-xxx6858     17-12743 (KJC)
  226     Old Maitland Investments, LLC                                              xx-xxx9114     17-12752 (KJC)
  227     Owl Ridge Investments, LLC                                                 xx-xxx8792     17-12763 (KJC)
  228     Papirovka Investments, LLC                                                 xx-xxx5472     17-12774 (KJC)
  229     Pawtuckaway Investments, LLC                                               xx-xxx3152     17-12783 (KJC)



   6 of 124                                                                                                  MOR Cover b
                     Case 17-12560-KJC            Doc 3374        Filed 02/04/19       Page 7 of 124


                                     UNITED STATES BANKRUPTCY COURT
                                          DISTRICT OF DELAWARE

WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                    Case No. 17-12560 (KJC)
(Jointly Administered)                                                                    Reporting Period: 12/31/2018

The Monthly Operating Report for Woodbridge Group of Companies, LLC includes the following affiliated debtors:*

   #                                   Name of Entity                                    EIN #           Case #
  230     Pemberley Investments, LLC                                                 xx-xxx9040     17-12790 (KJC)
  231     Pemigewasset Investments, LLC                                              xx-xxx6827     17-12800 (KJC)
  232     Pepperwood Investments, LLC                                                xx-xxx7950     17-12804 (KJC)
  233     Pinney Investments, LLC                                                    xx-xxx0132     17-12808 (KJC)
  234     Pinova Investments, LLC                                                    xx-xxx3468     17-12812 (KJC)
  235     Quarterpost Investments, LLC                                               xx-xxx4802     17-12816 (KJC)
  236     Red Woods Investments, LLC                                                 xx-xxx6065     17-12824 (KJC)
  237     Ridgecrest Investments, LLC                                                xx-xxx9696     17-12821 (KJC)
  238     Riley Creek Investments, LLC                                               xx-xxx0214     17-12826 (KJC)
  239     Rising Sun Investments, LLC                                                xx-xxx6846     17-12828 (KJC)
  240     Sagebrook Investments, LLC                                                 xx-xxx1464     17-12830 (KJC)
  241     Seven Stars Investments, LLC                                               xx-xxx6994     17-12832 (KJC)
  242     Silk City Investments, LLC                                                 xx-xxx1465     17-12834 (KJC)
  243     Silver Maple Investments, LLC                                              xx-xxx9699     17-12836 (KJC)
  244     Silverleaf Funding, LLC                                                    xx-xxx9877     17-12837 (KJC)
  245     Silverthorne Investments, LLC                                              xx-xxx8840     17-12582 (KJC)
  246     Springline Investments, LLC                                                xx-xxx7321     17-12585 (KJC)
  247     Squaretop Investments, LLC                                                 xx-xxx4466     17-12589 (KJC)
  248     Stayman Investments, LLC                                                   xx-xxx9090     17-12594 (KJC)
  249     Steele Hill Investments, LLC                                               xx-xxx7340     17-12598 (KJC)
  250     Stepstone Investments, LLC                                                 xx-xxx7231     17-12606 (KJC)
  251     Strawberry Fields Investments, LLC                                         xx-xxx0355     17-12613 (KJC)
  252     Sturmer Pippin Investments, LLC                                            xx-xxx6686     17-12629 (KJC)
  253     Summerfree Investments, LLC                                                xx-xxx1496     17-12635 (KJC)
  254     Summit Cut Investments, LLC                                                xx-xxx0876     17-12640 (KJC)
  255     Thornbury Farm Investments, LLC                                            xx-xxx3083     17-12651 (KJC)
  256     Thunder Basin Investments, LLC                                             xx-xxx7057     17-12657 (KJC)
  257     Topchord Investments, LLC                                                  xx-xxx4007     17-12664 (KJC)
  258     Vallecito Investments, LLC                                                 xx-xxx8552     17-12675 (KJC)
  259     Varga Investments, LLC                                                     xx-xxx7136     17-12685 (KJC)
  260     Wetterhorn Investments, LLC                                                xx-xxx0171     17-12693 (KJC)
  261     White Birch Investments, LLC                                               xx-xxx1555     17-12702 (KJC)
  262     White Dome Investments, LLC                                                xx-xxx2729     17-12709 (KJC)
  263     Whiteacre Funding, LLC                                                     xx-xxx2998     17-12713 (KJC)
  264     Wildernest Investments, LLC                                                xx-xxx1375     17-12723 (KJC)
  265     Willow Grove Investments, LLC                                              xx-xxx6588     17-12732 (KJC)
  266     Winding Road Investments, LLC                                              xx-xxx8169     17-12739 (KJC)
  267     WMF Management, LLC                                                        xx-xxx9238     17-12745 (KJC)
  268     Woodbridge Capital Investments, LLC                                        xx-xxx6081     17-12750 (KJC)
  269     Woodbridge Commercial Bridge Loan Fund 1, LLC                              xx-xxx8318     17-12754 (KJC)
  270     Woodbridge Commercial Bridge Loan Fund 2, LLC                              xx-xxx3649     17-12758 (KJC)
  271     Woodbridge Investments, LLC                                                xx-xxx8557     17-12761 (KJC)
  272     Woodbridge Mezzanine Fund 1, LLC                                           xx-xxx2753     17-12765 (KJC)
  273     Woodbridge Mortgage Investment Fund 1, LLC                                 xx-xxx0172     17-12768 (KJC)
  274     Woodbridge Mortgage Investment Fund 2, LLC                                 xx-xxx7030     17-12772 (KJC)



   7 of 124                                                                                                  MOR Cover b
                     Case 17-12560-KJC            Doc 3374        Filed 02/04/19       Page 8 of 124


                                     UNITED STATES BANKRUPTCY COURT
                                          DISTRICT OF DELAWARE

WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                    Case No. 17-12560 (KJC)
(Jointly Administered)                                                                    Reporting Period: 12/31/2018

The Monthly Operating Report for Woodbridge Group of Companies, LLC includes the following affiliated debtors:*

   #                                    Name of Entity                                   EIN #           Case #
  275     Woodbridge Mortgage Investment Fund 3, LLC                                 xx-xxx9618     17-12776 (KJC)
  276     Woodbridge Mortgage Investment Fund 3A, LLC                                xx-xxx8525     17-12780 (KJC)
  277     Woodbridge Mortgage Investment Fund 4, LLC                                 xx-xxx1203     17-12784 (KJC)
  278     Woodbridge Structured Funding, LLC                                         xx-xxx3593     17-12786 (KJC)
  279     Zestar Investments, LLC                                                    xx-xxx3233     17-12792 (KJC)
          SECOND ROUND FILERS: FILED 02/09/2018
  280     Carbondale Glen Lot L-2, LLC                                               xx-xxx1369     18-10284 (KJC)
  281     Carbondale Peaks Lot L-1, LLC                                              xx-xxx6563     18-10286 (KJC)
  282     H18 Massabesic Holding Company, LLC                                        xx-xxx0852     18-10287 (KJC)
  283     H33 Hawthorn Holding Company, LLC                                          xx-xxx4765     18-10288 (KJC)
  284     H50 Sachs Bridge Holding Company, LLC                                      xx-xxx3049     18-10289 (KJC)
  285     H64 Pennhurst Holding Company, LLC                                         xx-xxx1251     18-10290 (KJC)
  286     Hawthorn Investments, LLC                                                  xx-xxx3463     18-10291 (KJC)
  287     Lilac Valley Investments, LLC                                              xx-xxx7274     18-10292 (KJC)
  288     Massabesic Investments, LLC                                                xx-xxx6893     18-10293 (KJC)
  289     M58 Springvale Holding Company, LLC                                        xx-xxx6656     18-10294 (KJC)
  290     M96 Lilac Valley Holding Company, LLC                                      xx-xxx0412     18-10295 (KJC)
  291     Pennhurst Investments, LLC                                                 xx-xxx7313     18-10296 (KJC)
  292     Sachs Bridge Investments, LLC                                              xx-xxx8687     18-10297 (KJC)
  293     Springvale Investments, LLC                                                xx-xxx6181     18-10298 (KJC)
          THIRD ROUND FILERS: FILED 03/09/2018
  294     Bellflower Funding, LLC                                                    xx-xxx0156     18-10507 (KJC)
  295     Wall 123, LLC                                                              xx-xxx2520     18-10508 (KJC)
          FOURTH ROUND FILERS: FILED 03/23/2018
  296     695 Buggy Circle, LLC                                                      xx-xxx4827     18-10670 (KJC)
  297     Buggy Circle Holdings, LLC                                                 xx-xxx0850     18-10672 (KJC)
  298     Deerfield Park Investments, LLC                                            xx-xxx2296     18-10673 (KJC)
  299     Kirkstead Investments, LLC                                                 xx-xxx3696     18-10675 (KJC)
  300     M16 Kirkstead Holding Company, LLC                                         xx-xxx8119     18-10676 (KJC)
  301     H10 Deerfield Park Holding Company, LLC                                    xx-xxx8117     18-10674 (KJC)
  302     Blazingstar Funding, LLC                                                   xx-xxx3953     18-10671 (KJC)
          FIFTH ROUND FILERS: FILED 03/27/2018
  303     Frog Rock Investments, LLC                                                 xx-xxx0623     18-10733 (KJC)
  304     M77 Frog Rock Holding Company, LLC                                         xx-xxx1849     18-10734 (KJC)
  305     Mount Washington Investments, LLC                                          xx-xxx2061     18-10736 (KJC)
  306     M89 Mount Washington Holding Company, LLC                                  xx-xxx8012     18-10735 (KJC)

        * The list shown constitutes all of the entities whose bankruptcy cases are administered under the jointly
          administered group of entities reporting under Woodbridge Group of Companies, LLC., case no. 17-12560, whose
          cases were filed between December 2017 and March 2018.




   8 of 124                                                                                                  MOR Cover b
                               Case 17-12560-KJC                        Doc 3374          Filed 02/04/19          Page 9 of 124


WOODBRIDGE GROUP OF COMPANIES, LLC et al.
(Jointly Administered)
Cash Receipts and Disbursements*
Reporting Period: December 1-31, 2018
                                                                                  Woodbridge Group of           Hawthorne
                                                                       Debtor:    Companies, LLC et al.*     Investments LLC      Total
                                                                      Case No.:        17-12560                 18-10291
CASH: BEGINNING OF PERIOD                                                                      24,252,005                47,393   24,299,398

RECEIPTS
Sale of assets / Loan Payoff                                                                    2,723,242                     -    2,723,242
Rent and Interest Receipts                                                                         30,357                     -       30,357
Other Receipts                                                                                          -                     -            -
DIP loan draws                                                                                  8,000,000                     -    8,000,000
Property Tax Refund                                                                                     -                     -            -
Utility Refund                                                                                     16,027                     -       16,027
Insurance Refund                                                                                   34,718                     -       34,718
Legal Settlements                                                                                  19,000                     -       19,000
Structured Settlements                                                                                600                     -          600
TOTAL RECEIPTS                                                                                 10,823,944                     -   10,823,944

DISBURSEMENTS
COS, Rentals                                                                                        7,838                     -        7,838
Bank Service Charge                                                                                     -                     -            -
Security Deposit Refunds                                                                                -                     -            -
Dues and Subscriptions                                                                                302                     -          302
Information Technology                                                                             68,067                     -       68,067
Employee Benefits                                                                                  11,353                     -       11,353
Insurance (Workers Comp renewal)                                                                   26,954                     -       26,954
Equipment Lease                                                                                         -                     -            -
Transfers among affiliate entities                                                                      -                     -            -
License and Filing Fees, Title Searches                                                            10,110                     -       10,110
Office Expense                                                                                      2,033                     -        2,033
Office Supplies                                                                                     1,421                     -        1,421
Outside Services                                                                                        -                     -            -
Moving                                                                                                  -                     -            -
Parking                                                                                             3,040                     -        3,040
Payroll Net Wages                                                                                 221,591                     -      221,591
Payroll Taxes                                                                                      63,373                     -       63,373
Payroll-Service Fees                                                                                  550                     -          550
Payroll levees paid                                                                                     -                     -            -
Independent Contractors                                                                                 -                     -            -
Postage and Delivery                                                                                  998                     -          998
Rent                                                                                               19,522                     -       19,522
Repairs and Maintenance                                                                                 -                     -            -
Security                                                                                                -                     -            -
Storage                                                                                                 -                     -            -
Telephone and Internet Expense                                                                      2,425                     -        2,425
Utilities                                                                                               -                     -            -
Deposits / Retainers                                                                                    -                     -            -
Legal - Bankruptcy retained professionals (incl. $500K to Sarachek)                             2,112,978                     -    2,112,978
Consulting - Bankruptcy retained professionals                                                  1,094,801                     -    1,094,801
Legal Fees - Ordinary Course                                                                       65,566                     -       65,566
Consulting - Ordinary Course                                                                       22,170                     -       22,170
U.S. Trustee Fees                                                                                       -                     -            -
Interest, short term notes                                                                              -                     -            -
Interest, DIP loan (incl $150K First Republic Commitment Fee)                                     639,366                     -      639,366
Loan Principal Payments                                                                                 -                     -            -
Property Taxes                                                                                          -                     -            -
Real Property Purchase                                                                                  -                     -            -
Board Fees                                                                                         75,000                     -       75,000
Travel, Employee Expenses                                                                          14,965                     -       14,965
Taxes, other                                                                                            -                     -            -
Structured Settlement Costs                                                                             -                     -            -
Commissions                                                                                         4,500                              4,500
Capitalized Construction Costs                                                                  6,675,561                     -    6,675,561
TOTAL DISBURSEMENTS                                                                            11,144,485                     -   11,144,485

Net cash flow                                                                                    (320,541)                    -     (320,541)

CASH: END OF MONTH                                                                             23,931,464               47,393    23,978,858
*Other than Woodbridge Group of Companies DIP accounts, there are two open and inactive accounts with
Wells Fargo. See detailed explanation in the notes to MOR-1a.




      9 of 124                                                                                                                    MOR-1 December 2018
                             Case 17-12560-KJC                             Doc 3374            Filed 02/04/19                  Page 10 of 124


WOODBRIDGE GROUP OF COMPANIES, LLC et al.
(Jointly Administered)
Cash Receipts and Disbursements*
                                   Cumulative: December 4, 2017
                                            - December 31, 2018
                                                                             Woodbridge Group of         Pennhurst           215 North 12th         Anchorpoint
                                                                Debtor:     Companies, LLC et al.*    Investments LLC         Street, LLC         Investments LLC
                                                               Case No.:         17-12560                18-10296              17-12561              17-12566
CASH: BEGINNING OF PERIOD                                                  $           13,452,999    $          39,248     $           13,850    $            3,915

RECEIPTS
Sale of assets                                                                        134,639,203                   -                      -                     -
Rent and Interest Receipts                                                              1,217,001             571,852                 43,507                48,609
Other Receipts                                                                            976,188                   -                      1                     -
DIP loan draws                                                                         93,000,000                   -                      -                     -
Property Tax Refund                                                                        83,839                   -                      -                     -
Utility Refund                                                                             32,276                   -                      -                     -
Insurance Refund                                                                          367,031                   -                      -                     -
Legal Settlements                                                                          88,267                   -                      -                     -
Structured Settlements                                                                     97,247                   -                      -                     -
TOTAL RECEIPTS                                                                        230,501,051             571,852                 43,509                48,609

DISBURSEMENTS**
COS, Rentals                                                                              238,323             254,092                  2,751                 3,645
Bank Service Charge                                                                        19,945               5,118                      -                    38
Security Deposit Refunded                                                                       -                   -                      -                     -
Dues and Subscriptions                                                                    119,912                   -                      -                     -
Information Technology                                                                    453,660                   -                      -                     -
Employee Benefits                                                                         267,637                   -                      -                     -
Insurance                                                                                 402,149                   -                      -                     -
Equipment Lease                                                                             1,134                   -                      -                     -
Transfers among affiliate entities                                                       (646,439)            351,890                 54,607                48,841
License and Filing Fees                                                                    85,109                   -                      -                     -
Office Expense                                                                            176,655                   -                      -                     -
Office Supplies                                                                            34,176                   -                      -                     -
Outside Services                                                                          383,827                   -                      -                     -
Moving                                                                                     20,487                   -                      -                     -
Parking                                                                                    56,628                   -                      -                     -
Payroll Net Wages                                                                       4,311,898                   -                      -                     -
Payroll Taxes                                                                           1,855,304                   -                      -                     -
Payroll Net Wages Mercer Vine                                                              60,341                   -                      -                     -
Payroll Taxes Mercer Vine                                                                  17,578                   -                      -                     -
Payroll, Net Wages Colorado Affiliate                                                       8,380                   -                      -                     -
Payroll Taxes Colorado Affiliate                                                            4,326                   -                      -                     -
Payroll-Service Fees                                                                        8,659                   -                      -                     -
Payroll levees paid                                                                         4,277                   -                      -                     -
Independent Contractors                                                                     6,000                   -                      -                     -
Postage and Delivery                                                                       43,950                   -                      -                     -
Rent                                                                                      586,901                   -                      -                     -
Repairs and Maintenance                                                                    39,459                   -                      -                     -
Security                                                                                   29,374                   -                      -                     -
Storage                                                                                     8,771                   -                      -                     -
Telephone and Internet Expense                                                             73,892                   -                      -                     -
Utilities                                                                                  33,570                   -                      -                     -
Deposits / Retainers                                                                       71,566
Legal - Bankruptcy                                                                     22,506,584                      -                     -                     -
Consulting - Bankruptcy                                                                13,702,029                      -                     -                     -
Legal Fees - Ordinary Course                                                            2,158,485                      -                     -                     -
Consulting - Ordinary Course                                                               38,919
U.S. Trustee Fees                                                                       2,123,659                      -                     -                     -
Interest, short term notes                                                              2,308,846                      -                     -                     -
Interest, DIP loan                                                                      6,141,527                      -                     -                     -
Loan Principal Payments                                                                68,254,726
Property Taxes                                                                          4,380,253                      -                     -                     -
Real Property Purchase                                                                  2,932,208
Board Fees                                                                              1,039,261                      -                     -                     -
Travel, Employee Expenses                                                                 175,188                      -                     -                     -
Taxes, other                                                                              445,334                      -                     -                     -
Structured Settlement Costs                                                                 3,175                      -                     -                     -
Commissions                                                                               106,800
Capitalized Construction Costs                                                         84,928,146                   -                      -                     -
TOTAL DISBURSEMENTS                                                        $          220,022,585    $        611,099      $          57,358     $          52,524

Net cash flow                                                                          10,478,466              (39,248)              (13,850)               (3,915)

CASH: END OF MONTH                                                                     23,931,465                  -                     -                     -
*Other than Woodbridge Group of Companies DIP accounts, there are two
open and inactive accounts with Wells Fargo. See detailed explanation in
the notes to MOR-1a.




       10 of 124                                                                                                                                     MOR-1 Cumul to Dec31 2018
                             Case 17-12560-KJC                             Doc 3374              Filed 02/04/19                 Page 11 of 124


WOODBRIDGE GROUP OF COMPANIES, LLC et al.
(Jointly Administered)
Cash Receipts and Disbursements*
                                   Cumulative: December 4, 2017
                                            - December 31, 2018
                                                                              Donnington             Fieldpoint            Gateshead         Carbondale Spruce
                                                                Debtor:     Investments LLC       Investments LLC       Investments LLC          101 LLC
                                                               Case No.:       17-12744              17-12794              17-12597              17-12568
CASH: BEGINNING OF PERIOD                                                  $          17,710     $            4,308    $          17,581     $          13,447

RECEIPTS
Sale of assets                                                                            -                      -                    -                     -
Rent and Interest Receipts                                                           49,919                 33,649               93,885                18,074
Other Receipts                                                                            1                      -                  745                     1
DIP loan draws                                                                            -                      -                    -                     -
Property Tax Refund                                                                       -                      -                    -                     -
Utility Refund                                                                            -                      -                    -                     -
Insurance Refund                                                                          -                      -                    -                     -
Legal Settlements                                                                         -                      -                    -                     -
Structured Settlements                                                                    -                      -                    -                     -
TOTAL RECEIPTS                                                                       49,921                 33,649               94,631                18,075

DISBURSEMENTS**
COS, Rentals                                                                          3,732                  2,833               13,397                 5,733
Bank Service Charge                                                                       -                      -                    -                    40
Security Deposit Refunded                                                                 -                      -                    -                 6,071
Dues and Subscriptions                                                                    -                      -                    -                     -
Information Technology                                                                    -                      -                    -                     -
Employee Benefits                                                                         -                      -                    -                     -
Insurance                                                                                 -                      -                    -                     -
Equipment Lease                                                                           -                      -                    -                     -
Transfers among affiliate entities                                                   63,899                 35,124               98,814                19,679
License and Filing Fees                                                                   -                      -                    -                     -
Office Expense                                                                            -                      -                    -                     -
Office Supplies                                                                           -                      -                    -                     -
Outside Services                                                                          -                      -                    -                     -
Moving                                                                                    -                      -                    -                     -
Parking                                                                                   -                      -                    -                     -
Payroll Net Wages                                                                         -                      -                    -                     -
Payroll Taxes                                                                             -                      -                    -                     -
Payroll Net Wages Mercer Vine                                                             -                      -                    -                     -
Payroll Taxes Mercer Vine                                                                 -                      -                    -                     -
Payroll, Net Wages Colorado Affiliate                                                     -                      -                    -                     -
Payroll Taxes Colorado Affiliate                                                          -                      -                    -                     -
Payroll-Service Fees                                                                      -                      -                    -                     -
Payroll levees paid                                                                       -                      -                    -                     -
Independent Contractors                                                                   -                      -                    -                     -
Postage and Delivery                                                                      -                      -                    -                     -
Rent                                                                                      -                      -                    -                     -
Repairs and Maintenance                                                                   -                      -                    -                     -
Security                                                                                  -                      -                    -                     -
Storage                                                                                   -                      -                    -                     -
Telephone and Internet Expense                                                            -                      -                    -                     -
Utilities                                                                                 -                      -                    -                     -
Deposits / Retainers
Legal - Bankruptcy                                                                           -                     -                     -                     -
Consulting - Bankruptcy                                                                      -                     -                     -                     -
Legal Fees - Ordinary Course                                                                 -                     -                     -                     -
Consulting - Ordinary Course
U.S. Trustee Fees                                                                            -                     -                     -                     -
Interest, short term notes                                                                   -                     -                     -                     -
Interest, DIP loan                                                                           -                     -                     -                     -
Loan Principal Payments
Property Taxes                                                                               -                     -                     -                     -
Real Property Purchase
Board Fees                                                                                   -                     -                     -                     -
Travel, Employee Expenses                                                                    -                     -                     -                     -
Taxes, other                                                                                 -                     -                     -                     -
Structured Settlement Costs                                                                  -                     -                     -                     -
Commissions
Capitalized Construction Costs                                                            -                      -                    -                     -
TOTAL DISBURSEMENTS                                                        $         67,631      $          37,957     $        112,211      $         31,522

Net cash flow                                                                        (17,710)               (4,308)              (17,581)              (13,448)

CASH: END OF MONTH                                                                       -                     -                     -                     -
*Other than Woodbridge Group of Companies DIP accounts, there are two
open and inactive accounts with Wells Fargo. See detailed explanation in
the notes to MOR-1a.




       11 of 124                                                                                                                                      MOR-1 Cumul to Dec31 2018
                             Case 17-12560-KJC                             Doc 3374             Filed 02/04/19                 Page 12 of 124


WOODBRIDGE GROUP OF COMPANIES, LLC et al.
(Jointly Administered)
Cash Receipts and Disbursements*
                                   Cumulative: December 4, 2017
                                            - December 31, 2018
                                                                               Topchord            Hawthorne              All other
                                                                Debtor:     Investments LLC     Investments LLC           Debtors                 Total
                                                               Case No.:       17-12664
CASH: BEGINNING OF PERIOD                                                  $             571    $                 -   $                   -   $    13,563,629

RECEIPTS
Sale of assets                                                                            -                   -                           -       134,639,203
Rent and Interest Receipts                                                            4,125              17,528                           -         2,098,150
Other Receipts                                                                            -                   -                           -           976,937
DIP loan draws                                                                            -                   -                           -        93,000,000
Property Tax Refund                                                                       -                   -                           -            83,839
Utility Refund                                                                            -                   -                           -            32,276
Insurance Refund                                                                          -                   -                           -           367,031
Legal Settlements                                                                         -                   -                           -            88,267
Structured Settlements                                                                    -                   -                           -            97,247
TOTAL RECEIPTS                                                                        4,125              17,528                           -       231,382,948

DISBURSEMENTS**
COS, Rentals                                                                          1,229                   -                           -           525,735
Bank Service Charge                                                                       8                   8                           -            25,157
Security Deposit Refunded                                                                 -                   -                           -             6,071
Dues and Subscriptions                                                                    -                   -                           -           119,912
Information Technology                                                                    -                   -                           -           453,660
Employee Benefits                                                                         -                   -                           -           267,637
Insurance                                                                                 -                   -                           -           402,149
Equipment Lease                                                                           -                   -                           -             1,134
Transfers among affiliate entities                                                    3,459             (29,873)                          -                 -
License and Filing Fees                                                                   -                   -                           -            85,109
Office Expense                                                                            -                   -                           -           176,655
Office Supplies                                                                           -                   -                           -            34,176
Outside Services                                                                          -                   -                           -           383,827
Moving                                                                                    -                   -                           -            20,487
Parking                                                                                   -                   -                           -            56,628
Payroll Net Wages                                                                         -                   -                           -         4,311,898
Payroll Taxes                                                                             -                   -                           -         1,855,304
Payroll Net Wages Mercer Vine                                                             -                   -                           -            60,341
Payroll Taxes Mercer Vine                                                                 -                   -                           -            17,578
Payroll, Net Wages Colorado Affiliate                                                     -                   -                           -             8,380
Payroll Taxes Colorado Affiliate                                                          -                   -                           -             4,326
Payroll-Service Fees                                                                      -                   -                           -             8,659
Payroll levees paid                                                                       -                   -                           -             4,277
Independent Contractors                                                                   -                   -                           -             6,000
Postage and Delivery                                                                      -                   -                           -            43,950
Rent                                                                                      -                   -                           -           586,901
Repairs and Maintenance                                                                   -                   -                           -            39,459
Security                                                                                  -                   -                           -            29,374
Storage                                                                                   -                   -                           -             8,771
Telephone and Internet Expense                                                            -                   -                           -            73,892
Utilities                                                                                 -                   -                           -            33,570
Deposits / Retainers                                                                                                                                   71,566
Legal - Bankruptcy                                                                          -                     -                       -        22,506,584
Consulting - Bankruptcy                                                                     -                     -                       -        13,702,029
Legal Fees - Ordinary Course                                                                -                     -                       -         2,158,485
Consulting - Ordinary Course                                                                                                                           38,919
U.S. Trustee Fees                                                                           -                     -                       -         2,123,659
Interest, short term notes                                                                  -                     -                       -         2,308,846
Interest, DIP loan                                                                          -                     -                       -         6,141,527
Loan Principal Payments                                                                                                                            68,254,726
Property Taxes                                                                              -                     -                       -         4,380,253
Real Property Purchase                                                                                                                              2,932,208
Board Fees                                                                                  -                     -                       -         1,039,261
Travel, Employee Expenses                                                                   -                     -                       -           175,188
Taxes, other                                                                                -                     -                       -           445,334
Structured Settlement Costs                                                                 -                     -                       -             3,175
Commissions                                                                                                                                           106,800
Capitalized Construction Costs                                                            -                   -                           -        84,928,146
TOTAL DISBURSEMENTS                                                        $          4,696     $       (29,865) $                        -   $   220,967,720

Net cash flow                                                                          (571)             47,393                           -        10,415,228

CASH: END OF MONTH                                                                      -                47,393                       -            23,978,857
*Other than Woodbridge Group of Companies DIP accounts, there are two
open and inactive accounts with Wells Fargo. See detailed explanation in
the notes to MOR-1a.




       12 of 124                                                                                                                                      MOR-1 Cumul to Dec31 2018
                            Case 17-12560-KJC            Doc 3374         Filed 02/04/19         Page 13 of 124


WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                    Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                    Reporting Period: 12/31/2018
Disbursements by and on behalf of Woodbridge Group and affiliated entities*
                                                                                  Debtors        From Escrow              Total
 No.                          Debtor Name                    Case No.         Disbursements       on Behalf          Disbursements
 1       1.Woodbridge Group of Companies, LLC         17-12560 (KJC)                 4,459,391                -               4,459,391
 2       215 North 12th Street, LLC                   17-12561 (KJC)                         -                -                       -
 3       Addison Park Investments, LLC                17-12563 (KJC)                   111,140                -                 111,140
 4       Anchorpoint Investments, LLC                 17-12566 (KJC)                         -                -                       -
 5       Arborvitae Investments, LLC                  17-12572 (KJC)                         -                -                       -
 6       Archivolt Investments, LLC                   17-12574 (KJC)                         -                -                       -
 7       Arlington Ridge Investments, LLC             17-12576 (KJC)                    79,744                -                  79,744
 8       Arrowpoint Investments, LLC                  17-12578 (KJC)                         -                -                       -
 9       Baleroy Investments, LLC                     17-12580 (KJC)                       175                -                     175
 10      Basswood Holding, LLC                        17-12600 (KJC)                         -                -                       -
 11      Bay Village Investments, LLC                 17-12604 (KJC)                    67,998                -                  67,998
 12      Bear Brook Investments, LLC                  17-12610 (KJC)                         -                -                       -
 13      Beech Creek Investments, LLC                 17-12616 (KJC)                       175                -                     175
 14      Bishop White Investments, LLC                17-12623 (KJC)                   214,486                -                 214,486
 15      Black Bass Investments, LLC                  17-12641 (KJC)                         -                -                       -
 16      Black Locust Investments, LLC                17-12648 (KJC)                         -                -                       -
 17      Bluff Point Investments, LLC                 17-12722 (KJC)                    82,735                -                  82,735
 18      Bowman Investments, LLC                      17-12753 (KJC)                         -                -                       -
 19      Bramley Investments, LLC                     17-12769 (KJC)                     1,385                -                   1,385
 20      Brise Soleil Investments, LLC                17-12762 (KJC)                         -                -                       -
 21      Broadsands Investments, LLC                  17-12777 (KJC)                         -                -                       -
 22      Brynderwen Investments, LLC                  17-12793 (KJC)                         -                -                       -
 23      Cablestay Investments, LLC                   17-12798 (KJC)                         -                -                       -
 24      Cannington Investments, LLC                  17-12803 (KJC)                    33,764                -                  33,764
 25      Carbondale Doocy, LLC                        17-12805 (KJC)                         -                -                       -
 26      Carbondale Glen Lot A-5, LLC                 17-12807 (KJC)                         -                -                       -
 27      Carbondale Glen Lot D-22, LLC                17-12809 (KJC)                       175                -                     175
 28      Carbondale Glen Lot E-24, LLC                17-12811 (KJC)                         -                -                       -
 29      Carbondale Glen Lot GV-13, LLC               17-12813 (KJC)                         -                -                       -
 30      Carbondale Glen Lot SD-14, LLC               17-12817 (KJC)                         -                -                       -
 31      Carbondale Glen Lot SD-23, LLC               17-12815 (KJC)                         -                -                       -
 32      Carbondale Glen Mesa Lot 19, LLC             17-12819 (KJC)                         -                -                       -
 33      Carbondale Glen River Mesa, LLC              17-12820 (KJC)                     8,328                -                   8,328
 34      Carbondale Glen Sundance Ponds, LLC          17-12822 (KJC)                         -                -                       -
 35      Carbondale Glen Sweetgrass Vista, LLC        17-12564 (KJC)                       175                -                     175
 36      Carbondale Spruce 101, LLC                   17-12568 (KJC)                         -                -                       -
 37      Carbondale Sundance Lot 15, LLC              17-12569 (KJC)                         -                -                       -
 38      Carbondale Sundance Lot 16, LLC              17-12570 (KJC)                         -                -                       -
 39      Castle Pines Investments, LLC                17-12581 (KJC)                     1,230                -                   1,230
 40      Centershot Investments, LLC                  17-12586 (KJC)                         -                -                       -
 41      Chaplin Investments, LLC                     17-12592 (KJC)                         -                -                       -
 42      Chestnut Investments, LLC                    17-12603 (KJC)                   318,386                -                 318,386
 43      Chestnut Ridge Investments, LLC              17-12614 (KJC)                    95,038                -                  95,038
 44      Clover Basin Investments, LLC                17-12621 (KJC)                         -                -                       -
 45      Coffee Creek Investments, LLC                17-12627 (KJC)                         -                -                       -
 46      Craven Investments, LLC                      17-12636 (KJC)                         -                -                       -
 47      Crossbeam Investments, LLC                   17-12650 (KJC)                         -                -                       -
 48      Crowfield Investments, LLC                   17-12660 (KJC)                   259,479                -                 259,479
 49      Crystal Valley Holdings, LLC                 17-12666 (KJC)                         -                -                       -
 50      Crystal Woods Investments, LLC               17-12676 (KJC)                         -                -                       -
 51      Cuco Settlement, LLC                         17-12679 (KJC)                         -                -                       -
 52      Daleville Investments, LLC                   17-12687 (KJC)                         -                -                       -
 53      Derbyshire Investments, LLC                  17-12696 (KJC)                       175                -                     175
 54      Diamond Cove Investments, LLC                17-12705 (KJC)                   147,342        1,971,736               2,119,077
 55      Dixville Notch Investments, LLC              17-12716 (KJC)                         -                -                       -
 56      Dogwood Valley Investments, LLC              17-12727 (KJC)                         -                -                       -
 57      Dollis Brook Investments, LLC                17-12735 (KJC)                     2,163                -                   2,163
 58      Donnington Investments, LLC                  17-12744 (KJC)                         -                -                       -
 59      Doubleleaf Investments, LLC                  17-12755 (KJC)                     8,209                -                   8,209
 60      Drawspan Investments, LLC                    17-12767 (KJC)                     3,558                -                   3,558
 61      Eldredge Investments, LLC                    17-12775 (KJC)                    47,039                -                  47,039
 62      Elstar Investments, LLC                      17-12782 (KJC)                   186,098                -                 186,098
 63      Emerald Lake Investments, LLC                17-12788 (KJC)                    46,979                -                  46,979



       13 of 124                                                                                                  MOR-1 affiliate allocations
                           Case 17-12560-KJC             Doc 3374         Filed 02/04/19        Page 14 of 124


WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                   Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                   Reporting Period: 12/31/2018
Disbursements by and on behalf of Woodbridge Group and affiliated entities*
                                                                                  Debtors       From Escrow               Total
 No.                       Debtor Name                       Case No.         Disbursements      on Behalf           Disbursements
 64      Fieldpoint Investments, LLC                  17-12794 (KJC)                        -                 -                       -
 65      Franconia Notch Investments, LLC             17-12797 (KJC)                        -                 -                       -
 66      Gateshead Investments, LLC                   17-12597 (KJC)                        -                 -                       -
 67      Glenn Rich Investments, LLC                  17-12602 (KJC)                      277                 -                     277
 68      Goose Rocks Investments, LLC                 17-12611 (KJC)                   59,594                 -                  59,594
 69      Goosebrook Investments, LLC                  17-12617 (KJC)                  241,537                 -                 241,537
 70      Graeme Park Investments, LLC                 17-12622 (KJC)                   57,919                 -                  57,919
 71      Grand Midway Investments, LLC                17-12628 (KJC)                  224,147                 -                 224,147
 72      Gravenstein Investments, LLC                 17-12632 (KJC)                  102,743                 -                 102,743
 73      Green Gables Investments, LLC                17-12637 (KJC)                   52,852                 -                  52,852
 74      Grenadier Investments, LLC                   17-12643 (KJC)                        -                 -                       -
 75      Grumblethorpe Investments, LLC               17-12649 (KJC)                        -                 -                       -
 76      H11 Silk City Holding Company, LLC           17-12833 (KJC)                        -                 -                       -
 77      H12 White Birch Holding Company, LLC         17-12699 (KJC)                        -                 -                       -
 78      H13 Bay Village Holding Company, LLC         17-12591 (KJC)                        -                 -                       -
 79      H14 Dixville Notch Holding Company, LLC      17-12712 (KJC)                        -                 -                       -
 80      H15 Bear Brook Holding Company, LLC          17-12607 (KJC)                        -                 -                       -
 81      H16 Monadnock Holding Company, LLC           17-12678 (KJC)                        -                 -                       -
 82      H17 Pemigewasset Holding Company, LLC        17-12799 (KJC)                        -                 -                       -
 83      H19 Emerald Lake Holding Company, LLC        17-12785 (KJC)                        -                 -                       -
 84      H2 Arlington Ridge Holding Company, LLC      17-12575 (KJC)                        -                 -                       -
 85      H20 Bluff Point Holding Company, LLC         17-12715 (KJC)                        -                 -                       -
 86      H21 Summerfree Holding Company, LLC          17-12631 (KJC)                        -                 -                       -
 87      H22 Papirovka Holding Company, LLC           17-12770 (KJC)                        -                 -                       -
 88      H23 Pinova Holding Company, LLC              17-12810 (KJC)                        -                 -                       -
 89      H24 Stayman Holding Company, LLC             17-12590 (KJC)                        -                 -                       -
 90      H25 Elstar Holding Company, LLC              17-12779 (KJC)                        -                 -                       -
 91      H26 Gravenstein Holding Company, LLC         17-12630 (KJC)                        -                 -                       -
 92      H27 Grenadier Holding Company, LLC           17-12642 (KJC)                        -                 -                       -
 93      H28 Black Locust Holding Company, LLC        17-12647 (KJC)                        -                 -                       -
 94      H29 Zestar Holding Company, LLC              17-12789 (KJC)                        -                 -                       -
 95      H30 Silver Maple Holding Company, LLC        17-12835 (KJC)                        -                 -                       -
 96      H31 Addison Park Holding Company, LLC        17-12562 (KJC)                        -                 -                       -
 97      H32 Arborvitae Holding Company, LLC          17-12567 (KJC)                        -                 -                       -
 98      H35 Hornbeam Holding Company, LLC            17-12691 (KJC)                        -                 -                       -
 99      H36 Sturmer Pippin Holding Company, LLC      17-12625 (KJC)                        -                 -                       -
 100     H37 Idared Holding Company, LLC              17-12697 (KJC)                        -                 -                       -
 101     H38 Mutsu Holding Company, LLC               17-12711 (KJC)                        -                 -                       -
 102     H39 Haralson Holding Company, LLC            17-12661 (KJC)                        -                 -                       -
 103     H4 Pawtuckaway Holding Company, LLC          17-12778 (KJC)                        -                 -                       -
 104     H40 Bramley Holding Company, LLC             17-12766 (KJC)                        -                 -                       -
 105     H41 Grumblethorpe Holding Company, LLC       17-12646 (KJC)                        -                 -                       -
 106     H43 Lenni Heights Holding Company, LLC       17-12717 (KJC)                        -                 -                       -
 107     H44 Green Gables Holding Company, LLC        17-12634 (KJC)                        -                 -                       -
 108     H46 Beech Creek Holding Company, LLC         17-12612 (KJC)                        -                 -                       -
 109     H47 Summit Cut Holding Company, LLC          17-12638 (KJC)                        -                 -                       -
 110     H49 Bowman Holding Company, LLC              17-12725 (KJC)                        -                 -                       -
 111     H5 Chestnut Ridge Holding Company, LLC       17-12608 (KJC)                        -                 -                       -
 112     H51 Old Carbon Holding Company, LLC          17-12738 (KJC)                        -                 -                       -
 113     H52 Willow Grove Holding Company, LLC        17-12729 (KJC)                        -                 -                       -
 114     H53 Black Bass Holding Company, LLC          17-12639 (KJC)                        -                 -                       -
 115     H54 Seven Stars Holding Company, LLC         17-12831 (KJC)                        -                 -                       -
 116     H55 Old Maitland Holding Company, LLC        17-12747 (KJC)                        -                 -                       -
 117     H56 Craven Holding Company, LLC              17-12633 (KJC)                        -                 -                       -
 118     H58 Baleroy Holding Company, LLC             17-12579 (KJC)                        -                 -                       -
 119     H59 Rising Sun Holding Company, LLC          17-12827 (KJC)                        -                 -                       -
 120     H6 Lilac Meadow Holding Company, LLC         17-12724 (KJC)                        -                 -                       -
 121     H60 Moravian Holding Company, LLC            17-12686 (KJC)                        -                 -                       -
 122     H61 Grand Midway Holding Company, LLC        17-12626 (KJC)                        -                 -                       -
 123     H65 Thornbury Farm Holding Company, LLC      17-12644 (KJC)                        -                 -                       -
 124     H66 Heilbron Manor Holding Company, LLC      17-12677 (KJC)                        -                 -                       -
 125     H68 Graeme Park Holding Company, LLC         17-12620 (KJC)                        -                 -                       -
 126     H7 Dogwood Valley Holding Company, LLC       17-12721 (KJC)                        -                 -                       -



       14 of 124                                                                                                  MOR-1 affiliate allocations
                            Case 17-12560-KJC            Doc 3374         Filed 02/04/19        Page 15 of 124


WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                   Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                   Reporting Period: 12/31/2018
Disbursements by and on behalf of Woodbridge Group and affiliated entities*
                                                                                  Debtors       From Escrow             Total
 No.                        Debtor Name                      Case No.         Disbursements      on Behalf         Disbursements
 127     H70 Bishop White Holding Company, LLC        17-12619 (KJC)                        -               -                       -
 128     H74 Imperial Aly Holding Company, LLC        17-12704 (KJC)                        -               -                       -
 129     H76 Diamond Cove Holding Company, LLC        17-12700 (KJC)                        -               -                       -
 130     H8 Melody Lane Holding Company, LLC          17-12756 (KJC)                        -               -                       -
 131     H9 Strawberry Fields Holding Company, LLC    17-12609 (KJC)                        -               -                       -
 132     Hackmatack Investments, LLC                  17-12653 (KJC)                    2,566          38,805                  41,371
 133     Haffenburg Investments, LLC                  17-12659 (KJC)                        -               -                       -
 134     Haralson Investments, LLC                    17-12663 (KJC)                        -               -                       -
 135     Harringworth Investments, LLC                17-12669 (KJC)                        -               -                       -
 136     Hazelpoint Investments, LLC                  17-12674 (KJC)                        -               -                       -
 137     Heilbron Manor Investments, LLC              17-12681 (KJC)                        -               -                       -
 138     Hollyline Holdings, LLC                      17-12684 (KJC)                        -               -                       -
 139     Hollyline Owners, LLC                        17-12688 (KJC)                    9,885          66,465                  76,350
 140     Hornbeam Investments, LLC                    17-12694 (KJC)                  683,730               -                 683,730
 141     Idared Investments, LLC                      17-12701 (KJC)                        -               -                       -
 142     Imperial Aly Investments, LLC                17-12708 (KJC)                        -               -                       -
 143     Ironsides Investments, LLC                   17-12714 (KJC)                   35,677               -                  35,677
 144     Lenni Heights Investments, LLC               17-12720 (KJC)                        -               -                       -
 145     Lilac Meadow Investments, LLC                17-12728 (KJC)                  146,001               -                 146,001
 146     Lincolnshire Investments, LLC                17-12733 (KJC)                   20,714          60,450                  81,164
 147     Lonetree Investments, LLC                    17-12740 (KJC)                        -               -                       -
 148     Longbourn Investments, LLC                   17-12746 (KJC)                        -               -                       -
 149     M10 Gateshead Holding Company, LLC           17-12593 (KJC)                        -               -                       -
 150     M11 Anchorpoint Holding Company, LLC         17-12565 (KJC)                        -               -                       -
 151     M13 Cablestay Holding Company, LLC           17-12795 (KJC)                        -               -                       -
 152     M14 Crossbeam Holding Company, LLC           17-12645 (KJC)                        -               -                       -
 153     M15 Doubleleaf Holding Company, LLC          17-12749 (KJC)                        -               -                       -
 154     M17 Lincolnshire Holding Company, LLC        17-12730 (KJC)                        -               -                       -
 155     M19 Arrowpoint Holding Company, LLC          17-12577 (KJC)                        -               -                       -
 156     M22 Drawspan Holding Company, LLC            17-12764 (KJC)                        -               -                       -
 157     M24 Fieldpoint Holding Company, LLC          17-12791 (KJC)                        -               -                       -
 158     M25 Centershot Holding Company, LLC          17-12583 (KJC)                        -               -                       -
 159     M26 Archivolt Holding Company, LLC           17-12573 (KJC)                        -               -                       -
 160     M27 Brise Soleil Holding Company, LLC        17-12760 (KJC)                        -               -                       -
 161     M28 Broadsands Holding Company, LLC          17-12773 (KJC)                        -               -                       -
 162     M29 Brynderwen Holding Company, LLC          17-12781 (KJC)                        -               -                       -
 163     M31 Cannington Holding Company, LLC          17-12801 (KJC)                        -               -                       -
 164     M32 Dollis Brook Holding Company, LLC        17-12731 (KJC)                        -               -                       -
 165     M33 Harringworth Holding Company, LLC        17-12667 (KJC)                        -               -                       -
 166     M34 Quarterpost Holding Company, LLC         17-12814 (KJC)                        -               -                       -
 167     M36 Springline Holding Company, LLC          17-12584 (KJC)                        -               -                       -
 168     M37 Topchord Holding Company, LLC            17-12662 (KJC)                        -               -                       -
 169     M38 Pemberley Holding Company, LLC           17-12787 (KJC)                        -               -                       -
 170     M39 Derbyshire Holding Company, LLC          17-12692 (KJC)                        -               -                       -
 171     M40 Longbourn Holding Company, LLC           17-12742 (KJC)                        -               -                       -
 172     M41 Silverthorne Holding Company, LLC        17-12838 (KJC)                        -               -                       -
 173     M43 White Dome Holding Company, LLC          17-12706 (KJC)                        -               -                       -
 174     M44 Wildernest Holding Company, LLC          17-12718 (KJC)                        -               -                       -
 175     M45 Clover Basin Holding Company, LLC        17-12618 (KJC)                        -               -                       -
 176     M46 Owl Ridge Holding Company, LLC           17-12759 (KJC)                        -               -                       -
 177     M48 Vallecito Holding Company, LLC           17-12670 (KJC)                        -               -                       -
 178     M49 Squaretop Holding Company, LLC           17-12588 (KJC)                        -               -                       -
 179     M5 Stepstone Holding Company, LLC            17-12601 (KJC)                        -               -                       -
 180     M50 Wetterhorn Holding Company, LLC          17-12689 (KJC)                        -               -                       -
 181     M51 Coffee Creek Holding Company, LLC        17-12624 (KJC)                        -               -                       -
 182     M53 Castle Pines Holding Company, LLC        17-12571 (KJC)                        -               -                       -
 183     M54 Lonetree Holding Company, LLC            17-12737 (KJC)                        -               -                       -
 184     M56 Haffenburg Holding Company, LLC          17-12656 (KJC)                        -               -                       -
 185     M57 Ridgecrest Holding Company, LLC          17-12818 (KJC)                        -               -                       -
 186     M60 Thunder Basin Holding Company, LLC       17-12654 (KJC)                        -               -                       -
 187     M61 Mineola Holding Company, LLC             17-12668 (KJC)                        -               -                       -
 188     M62 Sagebrook Holding Company, LLC           17-12829 (KJC)                        -               -                       -
 189     M63 Crowfield Holding Company, LLC           17-12655 (KJC)                        -               -                       -



       15 of 124                                                                                                MOR-1 affiliate allocations
                           Case 17-12560-KJC             Doc 3374         Filed 02/04/19        Page 16 of 124


WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                   Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                   Reporting Period: 12/31/2018
Disbursements by and on behalf of Woodbridge Group and affiliated entities*
                                                                                  Debtors       From Escrow               Total
 No.                       Debtor Name                       Case No.         Disbursements      on Behalf           Disbursements
 190     M67 Mountain Spring Holding Company, LLC     17-12695 (KJC)                        -                 -                       -
 191     M68 Goosebrook Holding Company, LLC          17-12615 (KJC)                        -                 -                       -
 192     M70 Pinney Holding Company, LLC              17-12806 (KJC)                        -                 -                       -
 193     M71 Eldredge Holding Company, LLC            17-12771 (KJC)                        -                 -                       -
 194     M72 Daleville Holding Company, LLC           17-12683 (KJC)                        -                 -                       -
 195     M73 Mason Run Holding Company, LLC           17-12748 (KJC)                        -                 -                       -
 196     M74 Varga Holding Company, LLC               17-12680 (KJC)                        -                 -                       -
 197     M75 Riley Creek Holding Company, LLC         17-12825 (KJC)                        -                 -                       -
 198     M76 Chaplin Holding Company, LLC             17-12587 (KJC)                        -                 -                       -
 199     M79 Chestnut Holding Company, LLC            17-12595 (KJC)                        -                 -                       -
 200     M80 Hazelpoint Holding Company, LLC          17-12672 (KJC)                        -                 -                       -
 201     M83 Mt. Holly Holding Company, LLC           17-12703 (KJC)                        -                 -                       -
 202     M85 Glenn Rich Holding Company, LLC          17-12599 (KJC)                        -                 -                       -
 203     M86 Steele Hill Holding Company, LLC         17-12596 (KJC)                        -                 -                       -
 204     M87 Hackmatack Hills Holding Company, LLC    17-12652 (KJC)                        -                 -                       -
 205     M88 Franconia Notch Holding Company, LLC     17-12796 (KJC)                        -                 -                       -
 206     M9 Donnington Holding Company, LLC           17-12741 (KJC)                        -                 -                       -
 207     M90 Merrimack Valley Holding Company, LLC    17-12658 (KJC)                        -                 -                       -
 208     M91 Newville Holding Company, LLC            17-12726 (KJC)                        -                 -                       -
 209     M92 Crystal Woods Holding Company, LLC       17-12671 (KJC)                        -                 -                       -
 210     M93 Goose Rocks Holding Company, LLC         17-12605 (KJC)                        -                 -                       -
 211     M94 Winding Road Holding Company, LLC        17-12736 (KJC)                        -                 -                       -
 212     M95 Pepperwood Holding Company, LLC          17-12802 (KJC)                        -                 -                       -
 213     M97 Red Wood Holding Company, LLC            17-12823 (KJC)                        -                 -                       -
 214     M99 Ironsides Holding Company, LLC           17-12710 (KJC)                        -                 -                       -
 215     Mason Run Investments, LLC                   17-12751 (KJC)                        -                 -                       -
 216     Melody Lane Investments, LLC                 17-12757 (KJC)                        -                 -                       -
 217     Merrimack Valley Investments, LLC            17-12665 (KJC)                        -                 -                       -
 218     Mineola Investments, LLC                     17-12673 (KJC)                        -                 -                       -
 219     Monadnock Investments, LLC                   17-12682 (KJC)                        -                 -                       -
 220     Moravian Investments, LLC                    17-12690 (KJC)                      123                 -                     123
 221     Mountain Spring Investments, LLC             17-12698 (KJC)                    6,892                 -                   6,892
 222     Mt. Holly Investments, LLC                   17-12707 (KJC)                        -                 -                       -
 223     Mutsu Investments, LLC                       17-12719 (KJC)                        -                 -                       -
 224     Newville Investments, LLC                    17-12734 (KJC)                        -                 -                       -
 225     Old Carbon Investments, LLC                  17-12743 (KJC)                        -                 -                       -
 226     Old Maitland Investments, LLC                17-12752 (KJC)                        -                 -                       -
 227     Owl Ridge Investments, LLC                   17-12763 (KJC)                        -                 -                       -
 228     Papirovka Investments, LLC                   17-12774 (KJC)                        -                 -                       -
 229     Pawtuckaway Investments, LLC                 17-12783 (KJC)                  245,137                 -                 245,137
 230     Pemberley Investments, LLC                   17-12790 (KJC)                      900                 -                     900
 231     Pemigewasset Investments, LLC                17-12800 (KJC)                        -                 -                       -
 232     Pepperwood Investments, LLC                  17-12804 (KJC)                      175                 -                     175
 233     Pinney Investments, LLC                      17-12808 (KJC)                        -                 -                       -
 234     Pinova Investments, LLC                      17-12812 (KJC)                        -                 -                       -
 235     Quarterpost Investments, LLC                 17-12816 (KJC)                        -                 -                       -
 236     Red Woods Investments, LLC                   17-12824 (KJC)                        -                 -                       -
 237     Ridgecrest Investments, LLC                  17-12821 (KJC)                        -                 -                       -
 238     Riley Creek Investments, LLC                 17-12826 (KJC)                   64,743                 -                  64,743
 239     Rising Sun Investments, LLC                  17-12828 (KJC)                   19,005                 -                  19,005
 240     Sagebrook Investments, LLC                   17-12830 (KJC)                   38,659                 -                  38,659
 241     Seven Stars Investments, LLC                 17-12832 (KJC)                        -                 -                       -
 242     Silk City Investments, LLC                   17-12834 (KJC)                  198,937                 -                 198,937
 243     Silver Maple Investments, LLC                17-12836 (KJC)                        -                 -                       -
 244     Silverleaf Funding, LLC                      17-12837 (KJC)                      647                 -                     647
 245     Silverthorne Investments, LLC                17-12582 (KJC)                        -                 -                       -
 246     Springline Investments, LLC                  17-12585 (KJC)                        -                 -                       -
 247     Squaretop Investments, LLC                   17-12589 (KJC)                  754,905                 -                 754,905
 248     Stayman Investments, LLC                     17-12594 (KJC)                        -                 -                       -
 249     Steele Hill Investments, LLC                 17-12598 (KJC)                        -                 -                       -
 250     Stepstone Investments, LLC                   17-12606 (KJC)                        -                 -                       -
 251     Strawberry Fields Investments, LLC           17-12613 (KJC)                        -                 -                       -
 252     Sturmer Pippin Investments, LLC              17-12629 (KJC)                  618,395                 -                 618,395



       16 of 124                                                                                                  MOR-1 affiliate allocations
                           Case 17-12560-KJC                Doc 3374       Filed 02/04/19         Page 17 of 124


WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                     Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                     Reporting Period: 12/31/2018
Disbursements by and on behalf of Woodbridge Group and affiliated entities*
                                                                                  Debtors         From Escrow               Total
 No.                       Debtor Name                          Case No.      Disbursements        on Behalf           Disbursements
 253     Summerfree Investments, LLC                     17-12635 (KJC)                26,537                 -                    26,537
 254     Summit Cut Investments, LLC                     17-12640 (KJC)               124,595                 -                   124,595
 255     Thornbury Farm Investments, LLC                 17-12651 (KJC)                39,585                 -                    39,585
 256     Thunder Basin Investments, LLC                  17-12657 (KJC)                     -                 -                         -
 257     Topchord Investments, LLC                       17-12664 (KJC)                     -                 -                         -
 258     Vallecito Investments, LLC                      17-12675 (KJC)                     -                 -                         -
 259     Varga Investments, LLC                          17-12685 (KJC)               102,137                 -                   102,137
 260     Wetterhorn Investments, LLC                     17-12693 (KJC)                     -                 -                         -
 261     White Birch Investments, LLC                    17-12702 (KJC)               203,243                 -                   203,243
 262     White Dome Investments, LLC                     17-12709 (KJC)                     -                 -                         -
 263     Whiteacre Funding LLC                           17-12713 (KJC)                21,042                 -                    21,042
 264     Wildernest Investments, LLC                     17-12723 (KJC)                   175                 -                       175
 265     Willow Grove Investments, LLC                   17-12732 (KJC)                61,202                 -                    61,202
 266     Winding Road Investments, LLC                   17-12739 (KJC)               644,883                 -                   644,883
 267     WMF Management, LLC                             17-12745 (KJC)                     -                 -                         -
 268     Woodbridge Capital Investments, LLC             17-12750 (KJC)                     -                 -                         -
 269     Woodbridge Commercial Bridge Loan Fund 1, LLC   17-12754 (KJC)                     -                 -                         -
 270     Woodbridge Commercial Bridge Loan Fund 2, LLC   17-12758 (KJC)                     -                 -                         -
 271     Woodbridge Investments, LLC                     17-12761 (KJC)                     -                 -                         -
 272     Woodbridge Mezzanine Fund 1, LLC                17-12765 (KJC)                     -                 -                         -
 273     Woodbridge Mortgage Investment Fund 1, LLC      17-12768 (KJC)                 5,660                 -                     5,660
 274     Woodbridge Mortgage Investment Fund 2, LLC      17-12772 (KJC)                14,206                 -                    14,206
 275     Woodbridge Mortgage Investment Fund 3, LLC      17-12776 (KJC)                 4,615                 -                     4,615
 276     Woodbridge Mortgage Investment Fund 3A, LLC     17-12780 (KJC)                     -                 -                         -
 277     Woodbridge Mortgage Investment Fund 4, LLC      17-12784 (KJC)                     -            16,090                    16,090
 278     Woodbridge Structured Funding, LLC              17-12786 (KJC)                     -                 -                         -
 279     Zestar Investments, LLC                         17-12792 (KJC)               120,065                 -                   120,065
        SECOND ROUND FILERS: FILED 02/09/2018
 280     Carbondale Glen Lot L-2, LLC                    18-10284 (KJC)                     -                 -                         -
 281     Carbondale Peaks Lot L-1, LLC                   18-10286 (KJC)                     -                 -                         -
 282     H18 Massabesic Holding Company, LLC             18-10287 (KJC)                     -                 -                         -
 283     H33 Hawthorn Holding Company, LLC               18-10288 (KJC)                     -                 -                         -
 284     H50 Sachs Bridge Holding Company, LLC           18-10289 (KJC)                     -                 -                         -
 285     H64 Pennhurst Holding Company, LLC              18-10290 (KJC)                     -                 -                         -
 286     Hawthorn Investments, LLC                       18-10291 (KJC)                     -                 -                         -
 287     Lilac Valley Investments, LLC                   18-10292 (KJC)                     -                 -                         -
 288     Massabesic Investments, LLC                     18-10293 (KJC)                   175                 -                       175
 289     M58 Springvale Holding Company, LLC             18-10294 (KJC)                     -                 -                         -
 290     M96 Lilac Valley Holding Company, LLC           18-10295 (KJC)                     -                 -                         -
 291     Pennhurst Investments, LLC                      18-10296 (KJC)                     -                 -                         -
 292     Sachs Bridge Investments, LLC                   18-10297 (KJC)                 9,584            12,712                    22,296
 293     Springvale Investments, LLC                     18-10298 (KJC)                 5,258                 -                     5,258
        THIRD ROUND FILERS: FILED 03/09/2018
 294    Bellflower Funding, LLC                          18-10507(KJC)                        -          17,510                    17,510
 295    Wall 123, LLC                                    18-10508(KJC)                        -               -                         -
        FOURTH ROUND FILERS: FILED 03/23/2018
 296    695 Buggy Circle, LLC                            18-10670(KJC)                        -                 -                        -
 297    Blazingstar Funding, LLC                         18-10671(KJC)                        -                 -                        -
 298    Buggy Circle Holdings, LLC                       18-10672(KJC)                        -                 -                        -
 299    Deerfield Park Investments, LLC                  18-10673(KJC)                        -                 -                        -
 300    H10 Deerfield Park Holding Company, LLC          18-10674(KJC)                        -                 -                        -
 301    Kirkstead Investments, LLC                       18-10675(KJC)                        -                 -                        -
 302    M16 Kirkstead Holding Company, LLC               18-10676(KJC)                        -                 -                        -




       17 of 124                                                                                                    MOR-1 affiliate allocations
                           Case 17-12560-KJC                   Doc 3374            Filed 02/04/19            Page 18 of 124


WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                   Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                                   Reporting Period: 12/31/2018
Disbursements by and on behalf of Woodbridge Group and affiliated entities*
                                                                                            Debtors            From Escrow              Total
 No.                       Debtor Name                              Case No.            Disbursements           on Behalf          Disbursements
        FIFTH ROUND FILERS: FILED 03/27/2018
 303    Frog Rock Investments, LLC                          18-10733(KJC)                               -                   -                      -
 304    M77 Frog Rock Holding Company, LLC                  18-10734(KJC)                               -                   -                      -
 305    M89 Mount Washington Holding Company, LLC           18-10735(KJC)                               -                   -                      -
 306    Mount Washington Investments, LLC                   18-10736(KJC)                               -                   -                      -
                                                    TOTAL                                      11,144,485           2,183,768             13,328,253


        * Woodbridge Group of Companies, LLC makes all disbursements for or on behalf of all of the consolidated group of Debtor entities out of
        Woodbridge Group of Companies, LLC DIP bank accounts, with the exception of amounts paid from Escrow by Title companies engaged to
        close real property sales.




       18 of 124                                                                                                                MOR-1 affiliate allocations
Case 17-12560-KJC   Doc 3374   Filed 02/04/19   Page 19 of 124
                                               Case 17-12560-KJC                   Doc 3374           Filed 02/04/19            Page 20 of 124


WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                                                         Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                                                                             Reporting Period: 12/31/2018

                                                       SCHEDULE OF PROFESSIONAL FEES AND EXPENSES PAID
                                             This schedule is to include all retained professional payments from case inception to current month.
                                     Period           Amount                              Check                                             Amount Paid                   Year-To-Date
           Payee                    Covered          Approved          Payor       Number       Date                                 Fees            Expenses          Fees        Expenses
RETAINED PROFESSIONALS - NOT SUBJECT TO INTERIM COMPENSATION ORDER
Sierra Constellation Partners, December 2017 through      744,657 Woodbridge Group  Wire         3/22/2018                             711,552           33,105        711,552         33,105
LLC                                   February 2018

Development Specialists, Inc.         February 2018              679,727    Woodbridge Group       Wire             4/9/2018           673,285            6,443

Development Specialists, Inc.           March 2018               686,764    Woodbridge Group       3118             5/8/2018           669,857           16,908

Development Specialists, Inc.             April 2018             542,571    Woodbridge Group       3826            6/13/2018           529,122           13,448

Development Specialists, Inc.             May 2018               451,203    Woodbridge Group       4143            7/17/2018           439,166           12,038

Development Specialists, Inc.             June 2018              380,139    Woodbridge Group       4894            8/27/2018           379,285              855

Development Specialists Inc.               July 2018             495,812 Woodbridge Group          5209            9/12/2018           483,197           12,615

Development Specialists Inc.              Aug 2018               447,053 Woodbridge Group          5623           10/12/2018           437,975            9,078

Development Specialists Inc.         September 2018              134,359 Woodbridge Group          6081           11/28/2018           133,660              699

Development Specialists Inc.           October 2018              349,137 Woodbridge Group          Wire           12/24/2018           342,284            6,853      4,087,829         78,936


Garden City Group                           Advance               70,000    Woodbridge Group       Wire            12/7/2017            70,000            -
Garden City Group                           Advance               15,500    Woodbridge Group       Wire           12/26/2017            15,500            -
Garden City Group                           Advance               21,000    Woodbridge Group       Wire            1/12/2018            21,000            -
Garden City Group                     December 2017              143,168    Woodbridge Group       1520             3/5/2018           103,379           39,788
Garden City Group                       January 2018             192,515    Woodbridge Group       2056            4/13/2018           160,404           32,111
Garden City Group                           Advance               23,000    Woodbridge Group       2068            4/13/2018            23,000            -
Garden City Group                      February 2018             220,148    Woodbridge Group       3120             5/8/2018           194,897           25,251
Garden City Group                         March 218              252,114    Woodbridge Group       3671             6/7/2018           226,362           25,752
Garden City Group                          July 2018              13,000    Woodbridge Group       3946            7/11/2018             -               13,000
Garden City Group                         April 2018             276,477    Woodbridge Group       3983            7/13/2018           231,235           35,243
Garden City Group                          May 2018              283,155    Woodbridge Group       4223            7/27/2018           261,347           21,808
Garden City Group                          June 2018             345,211    Woodbridge Group       4828            8/20/2018           320,035           25,177
Garden City Group                        Advance for             125,000    Woodbridge Group       5112             9/6/2018            90,000           35,000
                                Confirmation Hearing
                                              Notice




     20 of 124                                                                                                                                                               MOR-1b DEC 2018
                                            Case 17-12560-KJC                  Doc 3374           Filed 02/04/19            Page 21 of 124


                                                    SCHEDULE OF PROFESSIONAL FEES AND EXPENSES PAID
                                         This schedule is to include all retained professional payments from case inception to current month.
                                  Period                Amount                                         Check                          Amount Paid                   Year-To-Date
           Payee                 Covered               Approved              Payor       Number               Date               Fees          Expenses          Fees        Expenses
Garden City Group                       July 2018           224,815     Woodbridge Group  5335                 9/25/2018           193,944         30,871
Garden City Group                       Aug 2018            231,363     Woodbridge Group  5624                10/12/2018           219,736         11,627
Garden City Group                September 2018             181,104     Woodbridge Group  6084                11/28/2018           154,804         26,300
Garden City Group                   October 2018            225,899     Woodbridge Group  6327                12/14/2018           175,503         50,396       2,461,146      372,324

Prosek, LLC                December 2017 through             303,402    Woodbridge Group       1622             3/16/2018          303,402          -
                                    January 2018
Prosek, LLC                       February 2018               18,969    Woodbridge Group       3320             5/15/2018            18,969         -
Prosek, LLC                      December 2017                   800    Woodbridge Group       3545             5/23/2018             -                 800      322,370             800

Musick Peeler Garrett                  May 2018               29,467 Woodbridge Group          3894             6/28/2018            29,460                 7
Musick Peeler Garrett         March, - June 2018              37,260 Woodbridge Group          4226             7/27/2018            37,260         -
Musick, Peeler & Garrett               July 2018               5,040 Woodbridge Group          4965             8/30/2018             5,040         -
Musick, Peeler & Garrett               Aug 2018                6,540 Woodbridge Group          5341             9/25/2018             6,540         -
Musick, Peeler & Garrett         September 2018                5,400 Woodbridge Group          5705            10/25/2018             5,040         -

Musick, Peeler & Garrett          October 2018                 8,400    Woodbridge Group       6198            12/7/2018              8,400             -                        -
Musick, Peeler & Garrett         November 2018                 2,580    Woodbridge Group       6328           12/14/2018              2,580                       94,320                7

Navigant                            January 2108               9,101    Woodbridge Group       1530              3/5/2018             7,085         2,016
Navigant                           February 2018              13,009    Woodbridge Group       1964              4/6/2018             3,548         9,461
Navigant                             March 2018               18,830    Woodbridge Group       3931              7/3/2018             8,136        10,693
Navigant                              April 2018                 439    Woodbridge Group       3984             7/13/2018               163           277
Navigant                               June 2018               9,076    Woodbridge Group       4627             8/10/2018             9,076         -
Navigant                               July 2018               1,308    Woodbridge Group       5113              9/6/2018               488           821         28,495        23,268

RETAINED PROFESSIONALS SUBJECT TO INTERIM COMPENSATION ORDER

Gibson, Dunn & Crutcher           December 2017            1,321,389    Woodbridge Group       Wire             3/16/2018         1,274,083        47,307
LLP
Gibson, Dunn & Crutcher             January 2018           1,707,064    Woodbridge Group       Wire             4/12/2018         1,656,735        50,328
LLP
Gibson, Dunn & Crutcher            February 2018             670,451    Woodbridge Group       3319             5/15/2018          653,976         16,475
LLP
Gibson, Dunn & Crutcher              March 2018              232,381    Woodbridge Group       3993             7/13/2018          221,008         11,373       3,805,802      125,483
LLP




     21 of 124                                                                                                                                                         MOR-1b DEC 2018
                                            Case 17-12560-KJC                   Doc 3374           Filed 02/04/19            Page 22 of 124


                                                    SCHEDULE OF PROFESSIONAL FEES AND EXPENSES PAID
                                          This schedule is to include all retained professional payments from case inception to current month.
                                   Period               Amount                                          Check                          Amount Paid               Year-To-Date
           Payee                  Covered              Approved               Payor       Number                Date              Fees          Expenses      Fees        Expenses
Klee Tuchin Bogdanoff Stern         February 2018           343,745      Woodbridge Group  Wire                  3/16/2018          331,403         12,342

Klee Tuchin Bogdanoff Stern           March 2018              878,193    Woodbridge Group       3245              5/9/2018          856,662         21,531

Klee Tuchin Bogdanoff Stern            April 2018             593,980    Woodbridge Group       3794             6/14/2018          582,118         11,862

Klee Tuchin Bogdanoff Stern         February 2018             115,340    Woodbridge Group       3947             7/11/2018          115,340          -

Klee Tuchin Bogdanoff Stern             May 2018              691,097    Woodbridge Group       3979             7/12/2018          686,770          4,327

Klee Tuchin Bogdanoff Stern             June 2018             554,159    Woodbridge Group       4644             8/13/2018          548,506          5,653

Klee Tuchin Bogdanoff Stern             July 2018             572,650    Woodbridge Group       5115              9/6/2018          566,298          6,352

Klee Tuchin Bogdanoff Stern          August 2018              639,776    Woodbridge Group       5537           10/10/2018           625,700         14,076

Klee Tuchin Bogdanoff Stern Mar-May 2018 holdback             531,388    Woodbridge Group       5786           10/26/2018           531,388          -

Klee Tuchin Bogdanoff Stern       September 2018              482,783    Woodbridge Group       5816           11/12/2018           476,086          6,697

Klee Tuchin Bogdanoff Stern          October 2018             505,582    Woodbridge Group       6209           12/10/2018           490,426         15,156   5,810,696       97,997


Young Conaway Stargatt &             January 2018             553,628    Woodbridge Group       Wire             4/12/2018          514,256         35,666
Taylor
Young Conaway Stargatt &           December 2017               93,745    Woodbridge Group       Wire             3/16/2018          331,403         16,416
Taylor
Young Conaway Stargatt &            February 2018             461,504    Woodbridge Group       3119              5/8/2018          440,034         21,470
Taylor
Young Conaway Stargatt &              March 2018              419,962    Woodbridge Group       3670              6/7/2018          375,400         44,562
Taylor
Young Conaway Stargatt &               April 2018             369,857    Woodbridge Group       3882             6/27/2018          332,804         37,053
Taylor
Young Conaway Stargatt &            February 2018             318,815    Woodbridge Group       4222             7/26/2018          318,815          -
Taylor                              holdback paid
Young Conaway Stargatt &                May 2018              210,846    Woodbridge Group       4567              8/1/2018          205,450          5,396
Taylor




     22 of 124                                                                                                                                                      MOR-1b DEC 2018
                                            Case 17-12560-KJC                   Doc 3374           Filed 02/04/19            Page 23 of 124


                                                    SCHEDULE OF PROFESSIONAL FEES AND EXPENSES PAID
                                          This schedule is to include all retained professional payments from case inception to current month.
                                   Period               Amount                                          Check                          Amount Paid               Year-To-Date
         Payee                    Covered              Approved               Payor       Number                Date              Fees          Expenses      Fees        Expenses
Young Conaway Stargatt &                June 2018           128,450      Woodbridge Group  4631                  8/20/2018          125,015          3,435
Taylor
Young Conaway Stargatt &                July 2018             159,768    Woodbridge Group       5412             10/4/2018          156,631          3,137
Taylor
Young Conaway Stargatt &             August 2018              168,798    Woodbridge Group       5622           10/12/2018           164,604          4,194
Taylor
Young Conaway Stargatt &   Mar18-May18 holdback               228,414    Woodbridge Group       5750           10/26/2018           228,414          -
Taylor
Young Conaway Stargatt &          September 2018              135,784    Woodbridge Group       6086           10/28/2018           130,734          5,050   3,323,559      176,379
Taylor

Homer Bonner Jacobs P.A.   December 2017- January              40,970    Woodbridge Group       2019             4/11/2018            40,970         -
                                             2018
Homer Bonner Jacobs P.A.            February 2018              60,504    Woodbridge Group       3054              5/3/2018            46,484        14,020

Homer Bonner Jacobs P.A.              March 2018               52,099    Woodbridge Group       3669              6/7/2018            40,548        11,551

Homer Bonner Jacobs P.A.         Jan-Feb holdback              34,940    Woodbridge Group       3954             7/11/2018            34,940         -

Homer Bonner Jacobs P.A.               April 2018              39,431    Woodbridge Group       3981             7/12/2018            27,346        12,086

Homer Bonner Jacobs P.A.                May 2018               46,666    Woodbridge Group       4565              8/1/2018            35,222        11,444

Homer Bonner Jacobs, PA                June 2018               22,436    Woodbridge Group       5210            9/12/2018             13,271        10,616
Homer Bonner Jacobs, PA                July 2018               25,174    Woodbridge Group       5338            9/25/2018             13,911        11,263
Homer Bonner Jacobs, PA              August 2018               21,836    Woodbridge Group       5783           10/26/2018             10,577        11,260
Homer Bonner Jacobs, PA    Mar-May 2018 holdback               25,779    Woodbridge Group       5749           10/26/2018             25,779         -

Homer Bonner Jacobs, PA           September 2018               19,810    Woodbridge Group       6080           11/28/2018              8,536        11,274
Homer Bonner Jacobs, PA             October 2018               32,824    Woodbridge Group       6419           12/19/2018             12,971        19,853    310,553       113,367

Garden City Group                    January 2018              40,969    Woodbridge Group       2019             4/11/2018            40,969         -
Garden City Group                   February 2018              22,986    Woodbridge Group       3542             5/23/2018            22,986         -
Garden City Group                     March 2018               51,419    Woodbridge Group       3748             6/14/2018            51,419         -
Garden City Group                   February 2018              13,220    Woodbridge Group       3950             7/11/2018            13,220         -
Garden City Group                      April 2018              44,161    Woodbridge Group       4630             8/10/2018            42,567         1,594
Garden City Group                         May-18                6,475    Woodbridge Group       5368             10/1/2018             6,475         -




     23 of 124                                                                                                                                                      MOR-1b DEC 2018
                                                  Case 17-12560-KJC                   Doc 3374           Filed 02/04/19            Page 24 of 124


                                                          SCHEDULE OF PROFESSIONAL FEES AND EXPENSES PAID
                                                This schedule is to include all retained professional payments from case inception to current month.
                                        Period                Amount                                          Check                          Amount Paid                  Year-To-Date
           Payee                       Covered               Approved               Payor       Number               Date               Fees          Expenses         Fees        Expenses
Garden City Group                July & Aug section 327            26,865      Woodbridge Group  5784                10/26/2018            26,865          -

Garden City Group               Mar-Apr 2018 holdback                23,496    Woodbridge Group       5748           10/26/2018             23,496         -

Garden City Group                      September 2018                56,812    Woodbridge Group       6078           11/28/2018             56,812                     284,809         1,594

Province, Inc.                      Dec 2017, Jan2018               194,617    Woodbridge Group       1501             3/2/2018           186,048          8,570
Province, Inc.                          February 2018               162,437    Woodbridge Group       3203             5/8/2018           160,000          2,437
Province, Inc.                             March 2018               163,412    Woodbridge Group       3548            5/23/2018           160,000          3,412
Province, Inc.                              April 2018              163,853    Woodbridge Group       3832            6/21/2018           160,000          3,853
Province, Inc.                      Feb 2018 holdback                40,000    Woodbridge Group       3948            7/11/2018            40,000          -
Province, Inc.                               May 2018               161,620    Woodbridge Group       4561             8/1/2018           160,000          1,620
Province, Inc.                               June 2018              160,068    Woodbridge Group       4922            8/30/2018           160,000             68
Province, Inc.                          July 2018 Fees              160,000    Woodbridge Group       5418            10/4/2018           160,000          -
Province, Inc.                            August 2018               160,000    Woodbridge Group       5679           10/18/2018           160,000          -
Province, Inc.                  Mar-May 2018 holdback               120,000    Woodbridge Group       5751           10/26/2018           120,000          -

Province, Inc.                         September 2018               160,023    Woodbridge Group       6203            12/7/2018           160,000                23   1,626,048       19,984

Pachulski Stang Ziehl et al           December 2017                 434,592    Woodbridge Group       1795            3/28/2018           422,224         12,369
Pachulski Stang Ziehl et al             January 2018                839,291    Woodbridge Group       3266            5/10/2018           794,139         45,151
Pachulski Stang Ziehl et al            February 2018                311,431    Woodbridge Group       3543            5/23/2018           301,059         10,372
Pachulski Stang Ziehl et al              March 2018                 306,763    Woodbridge Group       3904            6/29/2018           299,250          7,512
Pachulski Stang Ziehl et al               April 2018                438,879    Woodbridge Group       3905            6/29/2018           420,392         18,478
Pachulski Stang Ziehl et al     Dec17-Feb18 holdback                327,290    Woodbridge Group       3949            7/11/2018           327,290          -
Pachulski Stang Ziehl et al                 May2018                 278,097    Woodbridge Group       4186            7/24/2018           273,080          5,018
Pachulski Stang Ziehl et al                June 2018                282,784    Woodbridge Group       5114             9/6/2018           276,427          6,357
Pachulski Stang Ziehl et al                July 2018                222,981    Woodbridge Group       5344            9/25/2018           217,972          5,009
Pachulski Stang Ziehl et al     Mar18-May18 holdback                232,005    Woodbridge Group       5753           10/26/2018           232,005          -

Pachulski Stang Ziehl et al               August 2018               185,294    Woodbridge Group       5788           10/31/2018           178,644          6,650
Pachulski Stang Ziehl & Jones          September 2018               146,005    Woodbridge Group       6199            12/7/2018           139,663          6,342      3,882,145        6,342

FTI Consulting                         December 2017                271,989    Woodbridge Group       1796            3/28/2018           271,676            313
FTI Consulting                           January 2018               556,304    Woodbridge Group       3264            5/10/2018           548,489            786
FTI Consulting                          February 2018               362,319    Woodbridge Group       3544            5/23/2018           360,721          1,598
FTI Consulting                            March 2018                296,380    Woodbridge Group       3878            6/27/2018           293,110          3,270
FTI Consulting                   Dec17-Feb18 holdback               292,870    Woodbridge Group       3951            7/11/2018           292,870          -




     24 of 124                                                                                                                                                               MOR-1b DEC 2018
                                        Case 17-12560-KJC                   Doc 3374           Filed 02/04/19            Page 25 of 124


                                                SCHEDULE OF PROFESSIONAL FEES AND EXPENSES PAID
                                      This schedule is to include all retained professional payments from case inception to current month.
                              Period                Amount                                          Check                          Amount Paid                 Year-To-Date
           Payee             Covered               Approved               Payor       Number               Date               Fees          Expenses        Fees        Expenses
FTI Consulting                     April 2018           142,996      Woodbridge Group  3982                 7/13/2018           142,996          -
FTI Consulting                     May 2018             184,403      Woodbridge Group  4632                 8/10/2018           183,155          1,248
FTI Consulting                     June 2018            152,331      Woodbridge Group  4963                 8/30/2018           150,988          1,342
FTI Consulting                      July 2018           162,823      Woodbridge Group  5413                 10/4/2018           162,602            221
FTI Consulting         Mar18-May18 holdback             154,506      Woodbridge Group  5785                10/26/2018           154,506          -

FTI Consulting                  August 2018               138,120    Woodbridge Group       5920           11/13/2018           136,066          2,054
FTI Consulting                September 2018               62,746    Woodbridge Group       6200            12/7/2018            62,692             55     2,759,873       10,886

Berger Singerman LLP           January 2018                48,712 Woodbridge Group          1794             3/28/2018            47,540         1,172
Berger Singerman LLP          February 2018                29,337 Woodbridge Group          3265             5/10/2018            28,973           364
Berger Singerman LLP            March 2018                 13,592 Woodbridge Group          3881             6/27/2018            13,876            76
Berger Singerman LLP             April 2018                 9,660 Woodbridge Group          3930              7/3/2018             9,589            71
Berger Singerman LLP   Dec17-Feb18 holdback                17,479 Woodbridge Group          3952             7/11/2018            17,479         -
Berger Singerman LLP              May 2018                  5,845 Woodbridge Group          4185             7/24/2018             5,789            55
Berger Singerman LLP              June 2018                 5,272 Woodbridge Group          4964             8/30/2018             5,032           240
Berger Singerman LLP               July 2018                8,683 Woodbridge Group          5342             9/25/2018             8,606            77

Berger Singerman LLP             August 2018                4,654 Woodbridge Group          5678            10/18/2018             4,592              61

Berger Singerman LLP          Mar17 - May18                 7,314 Woodbridge Group          5752            10/26/2018             7,314          -
                                   holdback
Berger Singerman LLP           October 2018                 4,317 Woodbridge Group          6325            12/14/2018             4,258              59    153,048         2,175


Venable LLP                    February 2018              613,636    Woodbridge Group       2705            4/26/2018           586,502         27,134
Venable LLP                      March 2018               427,974    Woodbridge Group       3540            5/23/2018           410,561         17,413
Venable LLP                        April 2018             133,658    Woodbridge Group       3861            6/29/2018           132,123          1,534
Venable LLP             Jan18-Feb18 holdback              141,064    Woodbridge Group       3953            7/11/2018           141,064          -
Venable LLP                        May 2018               203,298    Woodbridge Group       4566             8/1/2018           197,341          5,958                      -
Venable LLP                        June 2018              109,264    Woodbridge Group       4822            8/20/2018           109,227             37
Venable LLP                        July 2018              115,878    Woodbridge Group       5415            10/4/2018           114,514          1,364
Venable LLP                      August 2018               41,693    Woodbridge Group       5780           10/31/2018            41,252            440
Venable LLP             March18-May18 2018                185,006    Woodbridge Group       5779           10/31/2018           185,006          -
                                    Holdback
Venable LLP                   September 2018               51,644    Woodbridge Group       6083           11/28/2018             49,531         2,113     1,967,121       55,994


Moelis & Company                January 2018              226,468    Woodbridge Group       3261             5/10/2018          150,000         76,468      150,000        76,468

Elise S. Frejka                February 2018               40,642    Woodbridge Group       3649             5/31/2018            40,470          172



     25 of 124                                                                                                                                                    MOR-1b DEC 2018
                                                 Case 17-12560-KJC                   Doc 3374           Filed 02/04/19            Page 26 of 124


                                                         SCHEDULE OF PROFESSIONAL FEES AND EXPENSES PAID
                                               This schedule is to include all retained professional payments from case inception to current month.
                                       Period                Amount                              Check                                      Amount Paid                Year-To-Date
             Payee                    Covered               Approved          Payor       Number       Date                            Fees          Expenses       Fees        Expenses
Elise S. Frejka                            March 2018             62,388 Woodbridge Group  4897         8/27/2018                         62,388          -
Elise S. Frejka                             April 2018            58,140 Woodbridge Group  5116          9/6/2018                         58,140            -

Elise S. Frejka                Feb18 - Apr18 Holdback               40,250 Woodbridge Group          5787           10/31/2018             40,250

Elise S. Frejka                             May 2018                79,601 Woodbridge Group          6202            12/7/2018             79,601             -     280,848           172


Berkeley Research Group                    March 2018               63,787 Woodbridge Group          3736            6/14/2018            63,787          -
Berkeley Research Group                     April 2018              68,708 Woodbridge Group          3737            6/14/2018            68,708          -
Berkeley Research Group                     May 2018                80,342 Woodbridge Group          3985            7/13/2018            80,329               13
Berkeley Research Group                     June 2018               64,014 Woodbridge Group          4645            8/14/2018            63,800              214
Berkeley Research Group                      July 2018             107,461 Woodbridge Group          5208            9/12/2018           106,817              644

Berkeley Research Group                   August 2018               97,146 Woodbridge Group          5536           10/10/2018           120,210              979

Berkeley Research Group        Mar18-May18 Holdback                 51,706 Woodbridge Group          5754           10/26/2018             51,706

Berkeley Research Group                September 2018               84,653 Woodbridge Group          5915           11/13/2018             83,652         1,001

Berkeley Research Group                  October 2018              104,896 Woodbridge Group          6326           12/14/2018           103,820          1,076     742,830         3,926


Conway MacKenzie                          March 2018                99,011    Woodbridge Group       4823            8/20/2018             96,218         2,794
Conway MacKenzie                            May 2018                51,868    Woodbridge Group       4825            8/20/2018             51,048           820
Conway MacKenzie                           April 2018               19,984    Woodbridge Group       4824            8/20/2018             19,916            68
Conway MacKenzie               5 2018-May 31,2018 HB                57,904    Woodbridge Group       6197            12/7/2018             57,904
Conway MacKenzie                            June 2018               27,851    Woodbridge Group       6421           12/19/2018             27,851         -
Conway MacKenzie                           July 2018                30,485    Woodbridge Group       6422           12/19/2018             30,485                   283,421         3,682

Dundon Advisors                          February 2018              24,140    Woodbridge Group       3980            7/12/2018            22,376          1,764
Dundon Advisors                      March - May 2018              117,440    Woodbridge Group       4827            8/20/2018           113,096          4,344
Dundon Advisors                              June 2018              27,384    Woodbridge Group       4826            8/20/2018            25,176          2,208
Dundon Advisors                5,2018-May 31, 2018 HB               33,868    Woodbridge Group       6201            12/7/2018            33,868          -
Dundon Advisors                     July 2018-Oct 2018              41,992    Woodbridge Group       6420           12/19/2018            41,992          -         236,508         8,317

Drinker Biddle & Reath, Inc.                 Feb. 2018             256,855 Woodbridge Group          5213            9/13/2018           255,668          1,186

Drinker Biddle & Reath, Inc.               March 2018              235,765 Woodbridge Group          6423           12/19/2018           232,192          3,573




     26 of 124                                                                                                                                                            MOR-1b DEC 2018
                                                 Case 17-12560-KJC                   Doc 3374           Filed 02/04/19            Page 27 of 124


                                                         SCHEDULE OF PROFESSIONAL FEES AND EXPENSES PAID
                                               This schedule is to include all retained professional payments from case inception to current month.
                                       Period                Amount                              Check                                      Amount Paid                Year-To-Date
           Payee                      Covered               Approved          Payor       Number       Date                            Fees          Expenses       Fees        Expenses
Drinker Biddle & Reath, Inc.                April 2018           157,081 Woodbridge Group  6424        12/19/2018                        151,237          5,844

Drinker Biddle & Reath, Inc.                May 2018               165,633 Woodbridge Group          6425           12/19/2018           162,474          3,158

Drinker Biddle & Reath, Inc.                 June2018              156,553 Woodbridge Group          6426           12/19/2018           151,664          4,890

Drinker Biddle & Reath, Inc.                 July 2018             116,957 Woodbridge Group          6427           12/19/2018           115,366          1,590    1,068,602       20,242


Glaser Weil LLP                March 22 - June 30 2018             216,933    Woodbridge Group       5212            9/12/2018           216,342           591

Glaser Weil LLP                             July 2018               88,392    Woodbridge Group       5414            10/4/2018            88,060           332
Glaser Weil LLP                           August 2018               65,728    Woodbridge Group       5680           10/18/2018            65,593           135
Glaser Weil LLP                        September 2018              107,259    Woodbridge Group       6079           11/28/2018           106,719           539      476,714         1,597

Soundpath Conferencing          September 26-28, 2019              128,622    Woodbridge Group       6087           11/29/2018           128,622                    128,622         -

                                                                                                                                                                  34,996,909    1,233,046




     27 of 124                                                                                                                                                            MOR-1b DEC 2018
                                Case 17-12560-KJC          Doc 3374                 Filed 02/04/19                   Page 28 of 124


WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                              Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                                              Reporting Period: 12/31/2018

FINANCIAL STATEMENTS*

DEBTORS AND AFFILIATED ENTITIES WITH FINANCIAL STATEMENTS INCLUDED WITH THIS REPORT ARE INDICATED BELOW**:
                                                                                                                                                     Statement
 #                              Entity             ID                                   Property Address                                 Bal Sheet   Operations
 1      1. Woodbridge Group of Companies, LLC   17-12560                                                                                     X            X
 2      215 North 12th Street, LLC              17-12561   215 North 12th Street Carbondale CO          SOLD JUN 2018                        X            X
 3      Addison Park Investments, LLC           17-12563   642 N. St. Cloud Bel Air 90077 CA                                                 X            X
 4      Anchorpoint Investments, LLC            17-12566   201 Main Street, Units 102, 202, 203, 204 and 303 Carbondale, CO                  X            X
                                                           SOLD AUG 2018
 5      Arborvitae Investments, LLC             17-12572   43 Indian Paintbrush Aspen Glen Carbondale CO                                    X            X
 6      Archivolt Investments, LLC              17-12574   47 Mustang Circle Snowmass Village CO                                            X            X
 7      Arlington Ridge Investments, LLC        17-12576   1357 Laurel Way Beverly Hills 90210 CA                                           X            X
 8      Arrowpoint Investments, LLC             17-12578   125 River Park Aspen Glen Carbondale CO                                          X            X
 9      Baleroy Investments, LLC                17-12580   108 W Diamond A Ranch Rd Aspen Glen Carbondale CO                                X            X
                                                                                                       SOLD JUL 2018
 10     Basswood Holding, LLC                   17-12600   None Known                                                                       X            X
 11     Bay Village Investments, LLC            17-12604   1432 Tanager Los Angeles 90069 CA                                                X            X
 12     Bear Brook Investments, LLC             17-12610   TBD Spire Ridge Way - Lot H-10, Aspen Glen Filing No. 6 Aspen Glen               X            X
                                                           Carbondale CO
 13     Beech Creek Investments, LLC            17-12616   59 Rivers Bend Aspen Glen Carbondale CO SOLD AUG 2018                            X            X
 14     Bishop White Investments, LLC           17-12623   805 Nimes Place Bel Air 90077 CA                                                 X            X
 15     Black Bass Investments, LLC             17-12641   TBD Sweetgrass - Lot D-20, Aspen Glen Filing No. 1 Aspen Glen Carbondale         X            X
                                                           CO
 16     Black Locust Investments, LLC           17-12648   TBD Brookie, Aspen Glen Carbondale CO                                            X            X
 17     Bluff Point Investments, LLC            17-12722   9212 Nightingale Drive Los Angeles 90069 CA                                      X            X
 18     Bowman Investments, LLC                 17-12753   TBD Golden Bear - Lot 15, The Fairways at Aspen Glen Aspen Glen                  X            X
                                                           Carbondale CO
 19     Bramley Investments, LLC                17-12769   719-761 Perry Ridge Carbondale CO                                                X            X
 20     Brise Soleil Investments, LLC           17-12762   Various                                                                          X            X
 21     Broadsands Investments, LLC             17-12777   TBD Sundance Trail - Lots SD-7, SD-13 and SD-24, Aspen Glen Filing 4 Aspen       X            X
                                                           Glen Carbondale CO
 22     Brynderwen Investments, LLC             17-12793   None owned                                                                       X            X
 23     Cablestay Investments, LLC              17-12798   24025 Hidden Ridge Road Hidden Hills 91302 CA                                    X            X
                                                                                                      SOLD MAY 2018
 24     Cannington Investments, LLC             17-12803   1118 Tower Road Beverly Hills 90210 CA                                           X            X
 25     Carbondale Doocy, LLC                   17-12805   None Known                                                                       X            X
 26     Carbondale Glen Lot A-5, LLC            17-12807   360 Rivers Bend Aspen Glen Carbondale CO SOLD SEP 2018                           X            X
 27     Carbondale Glen Lot D-22, LLC           17-12809   63 Sopris Vista/Sweetgrass OR 63 Sweetgrass Dr Aspen Glen Carbondale CO          X            X
                                                           SOLD JUN 2018

 28     Carbondale Glen Lot E-24, LLC           17-12811   225 Diamond A Ranch Road Aspen Glen Carbondale CO                                X            X
 29     Carbondale Glen Lot GV-13, LLC          17-12813   TBD Mariposa - Lot GV-13, Aspen Glen Filing 2 Aspen Glen Carbondale CO           X            X

 30     Carbondale Glen Lot SD-14, LLC          17-12817   TBD Sundance Trail - Lot SD-14, Aspen Glen Filing 4 Aspen Glen Carbondale        X            X
                                                           CO
 31     Carbondale Glen Lot SD-23, LLC          17-12815   TBD Sundance Trail - Lot SD-23, Aspen Glen Filing 4 Aspen Glen Carbondale        X            X
                                                           CO                                    SOLD OCT 2018

 32     Carbondale Glen Mesa Lot 19, LLC        17-12819   TBD Golden Stone Drive Aspen Glen Carbondale CO                                  X            X
 33     Carbondale Glen River Mesa, LLC         17-12820   824, 918 Brookie Aspen Glen Carbondale CO                                        X            X
 34     Carbondale Glen Sundance Ponds, LLC     17-12822   TBD Bald Eagle Way/Sundance Trial Aspen Glen Carbondale CO                       X            X

 35     Carbondale Glen Sweetgrass Vista, LLC   17-12564   Various                                                                          X            X
 36     Carbondale Spruce 101, LLC              17-12568   201 Main Street, Unit 101 Carbondale, CO SOLD AUG 2018                           X            X
 37     Carbondale Sundance Lot 15, LLC         17-12569   TBD Sundance Trail - Lot SD-15, Aspen Glen Filing 4 Aspen Glen Carbondale        X            X
                                                           CO
 38     Carbondale Sundance Lot 16, LLC         17-12570   TBD Sundance Trail - Lot SD-16, Aspen Glen Filing 4 Aspen Glen Carbondale        X            X
                                                           CO
 39     Castle Pines Investments, LLC           17-12581   34 Mariposa Aspen Glen Carbondale CO                                             X            X
 40     Centershot Investments, LLC             17-12586   8692 Franklin Los Angeles 90069 CA           SOLD MAY 2018                       X            X
 41     Chaplin Investments, LLC                17-12592   TBD Golden Stone Drive - Lot 13, Roaring Fork Mesa at Aspen Glen Aspen           X            X
                                                           Glen Carbondale CO
 42     Chestnut Investments, LLC               17-12603   10733 Stradella Crt. Beverly Hills 90212 CA                                      X            X
 43     Chestnut Ridge Investments, LLC         17-12614   10750 Chalon Road Los Angeles 90210 CA                                           X            X
 44     Clover Basin Investments, LLC           17-12621   TBD Two Creeks Drive OR 1061 Two Creeks Snowmass Village CO                      X            X
                                                           SOLD MAY 2018
 45     Coffee Creek Investments, LLC           17-12627   82 Fox Prowl Aspen Glen Carbondale CO                                            X            X
 46     Craven Investments, LLC                 17-12636   25085 Ashley Ridge Road Hidden Hills 91302 CA                                    X            X
                                                                                                       SOLD MAY 2018
 47     Crossbeam Investments, LLC              17-12650   purchase pending                                                                 X            X




      28 of 124                                                                                                                           MOR-2, MOR-3 (Cover pg)
                                Case 17-12560-KJC            Doc 3374                Filed 02/04/19                  Page 29 of 124


WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                            Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                                            Reporting Period: 12/31/2018

FINANCIAL STATEMENTS*

DEBTORS AND AFFILIATED ENTITIES WITH FINANCIAL STATEMENTS INCLUDED WITH THIS REPORT ARE INDICATED BELOW**:
                                                                                                                                                   Statement
  #                               Entity             ID                                    Property Address                            Bal Sheet   Operations
 48     Crowfield Investments, LLC                17-12660   1241 Loma Vista Beverly Hills 90210 CA                                        X            X
 49     Crystal Valley Holdings, LLC              17-12666                                                                                 X            X
 50     Crystal Woods Investments, LLC            17-12676   16 Puma Aspen Glen Carbondale CO                                              X            X
 51     Cuco Settlement, LLC                      17-12679                                                                                 X            X
 52     Daleville Investments, LLC                17-12687   39 Buffalo Lane Aspen Glen Carbondale CO                                      X            X
 53     Derbyshire Investments, LLC               17-12696   26 Saddlehorn Ct Aspen Glen Carbondale CO                                     X            X
                                                                                                        SOLD JUL 2018
 54     Diamond Cove Investments, LLC             17-12705   1 Electra Court Los Angeles 90046 CA SOLD DEC 2018                           X            X
 55     Dixville Notch Investments, LLC           17-12716   177 W. Diamond A Ranch Road Aspen Glen Carbondale CO                         X            X
 56     Dogwood Valley Investments, LLC           17-12727   Lot WP3, Garfield CO                                                         X            X
 57     Dollis Brook Investments, LLC             17-12735   38 E Diamond A Ranch Rd Carbondale CO                                        X            X
 58     Donnington Investments, LLC               17-12744   Various                                 1 SOLD AUG 2018                      X            X
 59     Doubleleaf Investments, LLC               17-12755   4030 Madelia Ave Sherman Oaks 91403 CA                                       X            X
 60     Drawspan Investments, LLC                 17-12767   3843 Hayvenhurst Ave Encino 91436 CA        SOLD NOV 2018                    X            X
 61     Eldredge Investments, LLC                 17-12775   714 N. Oakhurst Beverly Hills 90210 CA                                       X            X
 62     Elstar Investments, LLC                   17-12782   1520 Carla Ridge Beverly Hills 90210 CA                                      X            X
 63     Emerald Lake Investments, LLC             17-12788   4030 Longridge Ave Sherman Oaks CA                                           X            X
 64     Fieldpoint Investments, LLC               17-12794   809 Grand Avenue Glenwood Springs CO       SOLD JUN 2018                     X            X
 65     Franconia Notch Investments, LLC          17-12797   TBD Wader Lane, Lot 54, Roaring Fork Mesa Aspen Glen Carbondale CO           X            X

 66     Gateshead Investments, LLC                17-12597   981 and 995 Cowen Drive Carbondale CO         SOLD JUN 2018                  X            X
 67     Glenn Rich Investments, LLC               17-12602   4123 Crystal Bridge Drive Carbondale CO                                      X            X
 68     Goose Rocks Investments, LLC              17-12611   9127 Thrasher Los Angeles 90069 CA                                           X            X
 69     Goosebrook Investments, LLC               17-12617   2600 Hutton Beverly Hills 90210 CA                                           X            X
 70     Graeme Park Investments, LLC              17-12622   1011 N. Hillcrest Road Beverly Hills 90210 CA                                X            X
 71     Grand Midway Investments, LLC             17-12628   800 Stradella Rd Bel Air 90077 CA                                            X            X
 72     Gravenstein Investments, LLC              17-12632   24055 Hidden Ridge Road Hidden Hills 91302 CA                                X            X
 73     Green Gables Investments, LLC             17-12637   41 King Street New York 10014 NY                                             X            X
 74     Grenadier Investments, LLC                17-12643   TBD Sundance Trail, Lot SD-12, Aspen Glen Aspen Glen Carbondale CO           X            X

 75     Grumblethorpe Investments, LLC            17-12649   61 Wader Aspen Glen Carbondale CO                                            X            X
 76     H11 Silk City Holding Company, LLC        17-12833                                                                                X            X
 77     H12 White Birch Holding Company, LLC      17-12699                                                                                X            X
 78     H13 Bay Village Holding Company, LLC      17-12591                                                                                X            X
 79     H14 Dixville Notch Holding Company, LLC   17-12712                                                                                X            X
 80     H15 Bear Brook Holding Company, LLC       17-12607                                                                                X            X
 81     H16 Monadnock Holding Company, LLC        17-12678                                                                                X            X
 82     H17 Pemigewasset Holding Company, LLC     17-12799                                                                                X            X
 83     H19 Emerald Lake Holding Company, LLC     17-12785                                                                                X            X
 84     H2 Arlington Ridge Holding Company, LLC   17-12575                                                                                X            X
 85     H20 Bluff Point Holding Company, LLC      17-12715                                                                                X            X
 86     H21 Summerfree Holding Company, LLC       17-12631                                                                                X            X
 87     H22 Papirovka Holding Company, LLC        17-12770                                                                                X            X
 88     H23 Pinova Holding Company, LLC           17-12810                                                                                X            X
 89     H24 Stayman Holding Company, LLC          17-12590                                                                                X            X
 90     H25 Elstar Holding Company, LLC           17-12779                                                                                X            X
 91     H26 Gravenstein Holding Company, LLC      17-12630                                                                                X            X
 92     H27 Grenadier Holding Company, LLC        17-12642                                                                                X            X
 93     H28 Black Locust Holding Company, LLC     17-12647                                                                                X            X
 94     H29 Zestar Holding Company, LLC           17-12789                                                                                X            X
 95     H30 Silver Maple Holding Company, LLC     17-12835                                                                                X            X
 96     H31 Addison Park Holding Company, LLC     17-12562                                                                                X            X
 97     H32 Arborvitae Holding Company, LLC       17-12567                                                                                X            X
 98     H35 Hornbeam Holding Company, LLC         17-12691                                                                                X            X
 99     H36 Sturmer Pippin Holding Company, LLC   17-12625                                                                                X            X
 100    H37 Idared Holding Company, LLC           17-12697                                                                                X            X
 101    H38 Mutsu Holding Company, LLC            17-12711                                                                                X            X
 102    H39 Haralson Holding Company, LLC         17-12661                                                                                X            X
 103    H4 Pawtuckaway Holding Company, LLC       17-12778                                                                                X            X
 104    H40 Bramley Holding Company, LLC          17-12766                                                                                X            X




      29 of 124                                                                                                                         MOR-2, MOR-3 (Cover pg)
                              Case 17-12560-KJC               Doc 3374                Filed 02/04/19                     Page 30 of 124


WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                               Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                                               Reporting Period: 12/31/2018

FINANCIAL STATEMENTS*

DEBTORS AND AFFILIATED ENTITIES WITH FINANCIAL STATEMENTS INCLUDED WITH THIS REPORT ARE INDICATED BELOW**:
                                                                                                                                                      Statement
  #                            Entity                 ID                                  Property Address                                Bal Sheet   Operations
 105   H41 Grumblethorpe Holding Company, LLC      17-12646                                                                                   X            X
 106   H43 Lenni Heights Holding Company, LLC      17-12717                                                                                   X            X
 107   H44 Green Gables Holding Company, LLC       17-12634                                                                                   X            X
 108   H46 Beech Creek Holding Company, LLC        17-12612                                                                                   X            X
 109   H47 Summit Cut Holding Company, LLC         17-12638                                                                                   X            X
 110   H49 Bowman Holding Company, LLC             17-12725                                                                                   X            X
 111   H5 Chestnut Ridge Holding Company, LLC      17-12608                                                                                   X            X
 112   H51 Old Carbon Holding Company, LLC         17-12738                                                                                   X            X
 113   H52 Willow Grove Holding Company, LLC       17-12729                                                                                   X            X
 114   H53 Black Bass Holding Company, LLC         17-12639                                                                                   X            X
 115   H54 Seven Stars Holding Company, LLC        17-12831                                                                                   X            X
 116   H55 Old Maitland Holding Company, LLC       17-12747                                                                                   X            X
 117   H56 Craven Holding Company, LLC             17-12633                                                                                   X            X
 118   H58 Baleroy Holding Company, LLC            17-12579                                                                                   X            X
 119   H59 Rising Sun Holding Company, LLC         17-12827                                                                                   X            X
 120   H6 Lilac Meadow Holding Company, LLC        17-12724                                                                                   X            X
 121   H60 Moravian Holding Company, LLC           17-12686                                                                                   X            X
 122   H61 Grand Midway Holding Company, LLC       17-12626                                                                                   X            X
 123   H65 Thornbury Farm Holding Company, LLC     17-12644                                                                                   X            X
 124   H66 Heilbron Manor Holding Company, LLC     17-12677                                                                                   X            X
 125   H68 Graeme Park Holding Company, LLC        17-12620                                                                                   X            X
 126   H7 Dogwood Valley Holding Company, LLC      17-12721                                                                                   X            X
 127   H70 Bishop White Holding Company, LLC       17-12619                                                                                   X            X
 128   H74 Imperial Aly Holding Company, LLC       17-12704                                                                                   X            X
 129   H76 Diamond Cove Holding Company, LLC       17-12700                                                                                   X            X
 130   H8 Melody Lane Holding Company, LLC         17-12756                                                                                   X            X
 131   H9 Strawberry Fields Holding Company, LLC   17-12609                                                                                   X            X
 132   Hackmatack Investments, LLC                 17-12653   72 Golden Bear Dr Aspen Glen Carbondale CO                                      X            X
                                                                                                     SOLD DEC 2018
 133   Haffenburg Investments, LLC                 17-12659   Granito Lot 19, Los Angeles CA                                                 X            X
 134   Haralson Investments, LLC                   17-12663   245 Midland Loop - Lot L20, Aspen Glen Filing No. 3 Aspen Glen Carbondale      X            X
                                                              CO
 135   Harringworth Investments, LLC               17-12669   4414 Coronet Dr, Encino, CA 91316                                              X            X
 136   Hazelpoint Investments, LLC                 17-12674   Transferrable Development Rights ("TDR") Aspen/Snowmass                        X            X
 137   Heilbron Manor Investments, LLC             17-12681   2492 Mandeville Cyn Brentwood 90049 CASOLD NOV 2018                            X            X
 138   Hollyline Holdings, LLC                     17-12684                                                                                  X            X
 139   Hollyline Owners, LLC                       17-12688   3802 Hollyline Ave. Sherman Oaks 91423 CA                                      X            X
                                                                                                        SOLD DEC 2018
 140   Hornbeam Investments, LLC                   17-12694   1484 Carla Ridge Beverly Hills 90210 CA                                        X            X
 141   Idared Investments, LLC                     17-12701   665 North Bridge Drive Carbondale CO        SOLD OCT 2018                      X            X
 142   Imperial Aly Investments, LLC               17-12708   633 N Foothill Rd Beverly Hills 90210 CA SOLD NOV 2018                         X            X
 143   Ironsides Investments, LLC                  17-12714   Various                                                                        X            X
 144   Lenni Heights Investments, LLC              17-12720   302 Wildflower Aspen Glen Carbondale CO SOLD JUN 2018                          X            X
 145   Lilac Meadow Investments, LLC               17-12728   9230 Robin Drive Los Angeles 91423 CA                                          X            X
 146   Lincolnshire Investments, LLC               17-12733   1312 Beverly Grove Pl Beverly Hills 90210 CA                                   X            X
 147   Lonetree Investments, LLC                   17-12740   TBD Wader, Lot 53, Roaring Fork Mesa Aspen Glen Carbondale CO                  X            X

 148   Longbourn Investments, LLC                  17-12746   9040 Alto Cedro Drive Beverly Hills 90210 CA                                   X            X
                                                                                                         SOLD OCT 2018
 149   M10 Gateshead Holding Company, LLC          17-12593                                                                                  X            X
 150   M11 Anchorpoint Holding Company, LLC        17-12565                                                                                  X            X
 151   M13 Cablestay Holding Company, LLC          17-12795                                                                                  X            X
 152   M14 Crossbeam Holding Company, LLC          17-12645                                                                                  X            X
 153   M15 Doubleleaf Holding Company, LLC         17-12749                                                                                  X            X
 154   M17 Lincolnshire Holding Company, LLC       17-12730                                                                                  X            X
 155   M19 Arrowpoint Holding Company, LLC         17-12577                                                                                  X            X
 156   M22 Drawspan Holding Company, LLC           17-12764                                                                                  X            X
 157   M24 Fieldpoint Holding Company, LLC         17-12791                                                                                  X            X
 158   M25 Centershot Holding Company, LLC         17-12583                                                                                  X            X
 159   M26 Archivolt Holding Company, LLC          17-12573                                                                                  X            X
 160   M27 Brise Soleil Holding Company, LLC       17-12760                                                                                  X            X




   30 of 124                                                                                                                               MOR-2, MOR-3 (Cover pg)
                             Case 17-12560-KJC                Doc 3374               Filed 02/04/19                    Page 31 of 124


WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                       Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                                       Reporting Period: 12/31/2018

FINANCIAL STATEMENTS*

DEBTORS AND AFFILIATED ENTITIES WITH FINANCIAL STATEMENTS INCLUDED WITH THIS REPORT ARE INDICATED BELOW**:
                                                                                                                                              Statement
  #                             Entity                ID                                Property Address                          Bal Sheet   Operations
 161   M28 Broadsands Holding Company, LLC         17-12773                                                                           X            X
 162   M29 Brynderwen Holding Company, LLC         17-12781                                                                           X            X
 163   M31 Cannington Holding Company, LLC         17-12801                                                                           X            X
 164   M32 Dollis Brook Holding Company, LLC       17-12731                                                                           X            X
 165   M33 Harringworth Holding Company, LLC       17-12667                                                                           X            X
 166   M34 Quarterpost Holding Company, LLC        17-12814                                                                           X            X
 167   M36 Springline Holding Company, LLC         17-12584                                                                           X            X
 168   M37 Topchord Holding Company, LLC           17-12662                                                                           X            X
 169   M38 Pemberley Holding Company, LLC          17-12787                                                                           X            X
 170   M39 Derbyshire Holding Company, LLC         17-12692                                                                           X            X
 171   M40 Longbourn Holding Company, LLC          17-12742                                                                           X            X
 172   M41 Silverthorne Holding Company, LLC       17-12838                                                                           X            X
 173   M43 White Dome Holding Company, LLC         17-12706                                                                           X            X
 174   M44 Wildernest Holding Company, LLC         17-12718                                                                           X            X
 175   M45 Clover Basin Holding Company, LLC       17-12618                                                                           X            X
 176   M46 Owl Ridge Holding Company, LLC          17-12759                                                                           X            X
 177   M48 Vallecito Holding Company, LLC          17-12670                                                                           X            X
 178   M49 Squaretop Holding Company, LLC          17-12588                                                                           X            X
 179   M5 Stepstone Holding Company, LLC           17-12601                                                                           X            X
 180   M50 Wetterhorn Holding Company, LLC         17-12689                                                                           X            X
 181   M51 Coffee Creek Holding Company, LLC       17-12624                                                                           X            X
 182   M53 Castle Pines Holding Company, LLC       17-12571                                                                           X            X
 183   M54 Lonetree Holding Company, LLC           17-12737                                                                           X            X
 184   M56 Haffenburg Holding Company, LLC         17-12656                                                                           X            X
 185   M57 Ridgecrest Holding Company, LLC         17-12818                                                                           X            X
 186   M60 Thunder Basin Holding Company, LLC      17-12654                                                                           X            X
 187   M61 Mineola Holding Company, LLC            17-12668                                                                           X            X
 188   M62 Sagebrook Holding Company, LLC          17-12829                                                                           X            X
 189   M63 Crowfield Holding Company, LLC          17-12655                                                                           X            X
 190   M67 Mountain Spring Holding Company, LLC    17-12695                                                                           X            X
 191   M68 Goosebrook Holding Company, LLC         17-12615                                                                           X            X
 192   M70 Pinney Holding Company, LLC             17-12806                                                                           X            X
 193   M71 Eldredge Holding Company, LLC           17-12771                                                                           X            X
 194   M72 Daleville Holding Company, LLC          17-12683                                                                           X            X
 195   M73 Mason Run Holding Company, LLC          17-12748                                                                           X            X
 196   M74 Varga Holding Company, LLC              17-12680                                                                           X            X
 197   M75 Riley Creek Holding Company, LLC        17-12825                                                                           X            X
 198   M76 Chaplin Holding Company, LLC            17-12587                                                                           X            X
 199   M79 Chestnut Holding Company, LLC           17-12595                                                                           X            X
 200   M80 Hazelpoint Holding Company, LLC         17-12672                                                                           X            X
 201   M83 Mt. Holly Holding Company, LLC          17-12703                                                                           X            X
 202   M85 Glenn Rich Holding Company, LLC         17-12599                                                                           X            X
 203   M86 Steele Hill Holding Company, LLC        17-12596                                                                           X            X
 204   M87 Hackmatack Hills Holding Company, LLC   17-12652                                                                           X            X
 205   M88 Franconia Notch Holding Company, LLC    17-12796                                                                           X            X
 206   M9 Donnington Holding Company, LLC          17-12741                                                                           X            X
 207   M90 Merrimack Valley Holding Company, LLC   17-12658                                                                           X            X
 208   M91 Newville Holding Company, LLC           17-12726                                                                           X            X
 209   M92 Crystal Woods Holding Company, LLC      17-12671                                                                           X            X
 210   M93 Goose Rocks Holding Company, LLC        17-12605                                                                           X            X
 211   M94 Winding Road Holding Company, LLC       17-12736                                                                           X            X
 212   M95 Pepperwood Holding Company, LLC         17-12802                                                                           X            X
 213   M97 Red Wood Holding Company, LLC           17-12823                                                                           X            X
 214   M99 Ironsides Holding Company, LLC          17-12710                                                                           X            X
 215   Mason Run Investments, LLC                  17-12751   1962 Stradella Road Los Angeles 90077 CA SOLD OCT 2018                  X            X
 216   Melody Lane Investments, LLC                17-12757   19 Sage Court Aspen Glen Carbondale CO                                  X            X
 217   Merrimack Valley Investments, LLC           17-12665   1165 Heritage Drive Carbondale CO       SOLD NOV 2018                   X            X
 218   Mineola Investments, LLC                    17-12673   67 Puma Aspen Glen Carbondale CO                                        X            X
 219   Monadnock Investments, LLC                  17-12682   336 Golden Stone Aspen Glen Carbondale CO                               X            X
 220   Moravian Investments, LLC                   17-12690   36 Primrose Aspen Glen Carbondale CO     SOLD OCT 2018                  X            X




   31 of 124                                                                                                                       MOR-2, MOR-3 (Cover pg)
                              Case 17-12560-KJC          Doc 3374                Filed 02/04/19                    Page 32 of 124


WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                           Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                                           Reporting Period: 12/31/2018

FINANCIAL STATEMENTS*

DEBTORS AND AFFILIATED ENTITIES WITH FINANCIAL STATEMENTS INCLUDED WITH THIS REPORT ARE INDICATED BELOW**:
                                                                                                                                                  Statement
  #                            Entity            ID                                    Property Address                               Bal Sheet   Operations
 221   Mountain Spring Investments, LLC       17-12698   TBD Epply Drive OR Block: 11 Lot: R-79 Epply Dr Aspen CO                         X            X
 222   Mt. Holly Investments, LLC             17-12707   153 Sopris Mesa Drive Carbondale CO        SOLD OCT 2018                         X            X
 223   Mutsu Investments, LLC                 17-12719   TBD Golden Bear - Lot 5, The Fairways at Aspen Glen Aspen Glen Carbondale        X            X
                                                         CO                                    SOLD OCT 2018

 224   Newville Investments, LLC              17-12734   67 Alpen Glo Lane Aspen Glen Carbondale CO                                      X            X
                                                                                                    SOLD SEP 2018
 225   Old Carbon Investments, LLC            17-12743   43 Puma Aspen Glen Carbondale CO                                                X            X
 226   Old Maitland Investments, LLC          17-12752   150 White Horse Springs Lane Aspen CO      SOLD OCT 2018                        X            X
 227   Owl Ridge Investments, LLC             17-12763   261 Golden Bear Aspen Glen Carbondale CO                                        X            X
                                                                                                    SOLD OCT 2018
 228   Papirovka Investments, LLC             17-12774   478 W. Diamond A Ranch Road Aspen Glen Carbondale CO                            X            X
 229   Pawtuckaway Investments, LLC           17-12783   1471 Forest Knoll Beverly Hills 90212 CA                                        X            X
 230   Pemberley Investments, LLC             17-12790   2362 Apollo Dr Los Angeles 90046 CA         SOLD JUL 2018                       X            X
 231   Pemigewasset Investments, LLC          17-12800   324 Golden Stone Aspen Glen Carbondale CO                                       X            X
 232   Pepperwood Investments, LLC            17-12804   158 A Seeburg Circle Aspen Glen Carbondale CO                                   X            X
                                                                                                   SOLD MAY 2018
 233   Pinney Investments, LLC                17-12808   15655 Woodvale Drive Encino 91436 CA         SOLD JUL 2018                      X            X
 234   Pinova Investments, LLC                17-12812   0241 Rivers Bend Road Aspen Glen Carbondale CO                                  X            X
 235   Quarterpost Investments, LLC           17-12816   180 Saddleback Lane Snowmass Village CO                                         X            X
                                                                                                    SOLD APR 2018
 236   Red Woods Investments, LLC             17-12824   None/TBD                                                                        X            X
 237   Ridgecrest Investments, LLC            17-12821   0057 W Diamond A Ranch Road Aspen Glen Carbondale CO                            X            X
 238   Riley Creek Investments, LLC           17-12826   711 Walden Beverly Hills 90210 CA                                               X            X
 239   Rising Sun Investments, LLC            17-12828   Fountain & Fairfax West Hollywood 90046 CA                                      X            X
 240   Sagebrook Investments, LLC             17-12830   1258 Lago Vista Beverly Hills 90210 CA                                          X            X
 241   Seven Stars Investments, LLC           17-12832   368/342 River Bend Way, Glenwood Springs Glenwood Springs CO                    X            X
                                                         SOLD JUN 2018
 242   Silk City Investments, LLC             17-12834   25210 Jim Bridger Road Hidden Hills 91302 CA                                    X            X
 243   Silver Maple Investments, LLC          17-12836   810 Sarbonne Bel Air 90077 CA             SOLD JUN 2018                         X            X
 244   Silverleaf Funding, LLC                17-12837   Various                                                                         X            X
 245   Silverthorne Investments, LLC          17-12582   345 Branding Lane Snowmass Village CO SOLD SEP 2018                             X            X
 246   Springline Investments, LLC            17-12585   TBD Spur Ridge - Lot 26, Horse Ranch Snowmass Village CO                        X            X
                                                                                                    SOLD SEP 2018
 247   Squaretop Investments, LLC             17-12589   1966 Carla Ridge Beverly Hills 90210 CA                                         X            X
 248   Stayman Investments, LLC               17-12594   TBD Horseshoe - Lot H14, Aspen Glen Filing No. 7 Aspen Glen Carbondale CO       X            X

 249   Steele Hill Investments, LLC           17-12598   171 Sopris Mesa Drive Carbondale CO        SOLD MAY 2018                        X            X
 250   Stepstone Investments, LLC             17-12606   505 East Diamond A Ranch Road Aspen Glen Carbondale CO                          X            X
 251   Strawberry Fields Investments, LLC     17-12613   TBD Sundance Trail Aspen Glen Carbondale CO                                     X            X
 252   Sturmer Pippin Investments, LLC        17-12629   Owlwood Estate Bel Air 90077 CA                                                 X            X
 253   Summerfree Investments, LLC            17-12635   270 Spruce Ridge Lane Snowmass Village CO                                       X            X
 254   Summit Cut Investments, LLC            17-12640   375 and 385 Trousdale Place Beverly Hills 90210 CA                              X            X
 255   Thornbury Farm Investments, LLC        17-12651   7870, 7900 Granito Los Angeles 90046 CA                                         X            X
 256   Thunder Basin Investments, LLC         17-12657   167 Midland Loop - Lot L-19, Aspen Glen Filing 3 Aspen Glen Carbondale CO       X            X

 257   Topchord Investments, LLC              17-12664   Various                                                                         X            X
 258   Vallecito Investments, LLC             17-12675   TBD Golden Stone - Lot 32, Roaring Fork Mesa at Aspen Glen Filing 2 Aspen       X            X
                                                         Glen Carbondale CO
 259   Varga Investments, LLC                 17-12685   638 Siena Way Bel Air 90077 CA                                                  X            X
 260   Wetterhorn Investments, LLC            17-12693   TBD Vacant Land - Lot H-35, Aspen Glen Filing 6 Aspen Glen Carbondale CO        X            X

 261   White Birch Investments, LLC           17-12702   25211 Jim Bridger Road Hidden Hills 91302 CA                                    X            X
 262   White Dome Investments, LLC            17-12709   0032 Fenwick Court Aspen Glen Carbondale CO                                     X            X
                                                                                                  SOLD AUG 2018
 263   Whiteacre Funding LLC                  17-12713   Various                                                                         X            X
 264   Wildernest Investments, LLC            17-12723   0180 Seeburg Circle Aspen Glen Carbondale CO                                    X            X
                                                                                                   SOLD JUL 2018
 265   Willow Grove Investments, LLC          17-12732   8124 W 3rd Street Los Angeles, CA                                               X            X
 266   Winding Road Investments, LLC          17-12739   10721 Stradella Crt. Bel Air 90077 CA                                           X            X

 267   WMF Management, LLC                    17-12745   No owned property                                                               X            X




   32 of 124                                                                                                                           MOR-2, MOR-3 (Cover pg)
                              Case 17-12560-KJC                              Doc 3374                 Filed 02/04/19                    Page 33 of 124


WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                                                Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                                                                Reporting Period: 12/31/2018

FINANCIAL STATEMENTS*

DEBTORS AND AFFILIATED ENTITIES WITH FINANCIAL STATEMENTS INCLUDED WITH THIS REPORT ARE INDICATED BELOW**:
                                                                                                                                                                              Statement
  #                           Entity                               ID                                     Property Address                                    Bal Sheet       Operations
 268   Woodbridge Capital Investments, LLC                      17-12750     No owned property                                                                    X                X
 269   Woodbridge Commercial Bridge Loan Fund 1, LLC            17-12754     Various                                                                              X                X

 270   Woodbridge Commercial Bridge Loan Fund 2, LLC            17-12758     Various                                                                              X                X

 271   Woodbridge Investments, LLC                              17-12761     No owned property                                                                    X                X
 272   Woodbridge Mezzanine Fund 1, LLC                         17-12765     No owned property                                                                    X                X
 273   Woodbridge Mortgage Investment Fund 1, LLC               17-12768     Various                                                                              X                X
 274   Woodbridge Mortgage Investment Fund 2, LLC               17-12772     Various                                                                              X                X
 275   Woodbridge Mortgage Investment Fund 3, LLC               17-12776     Various                                                                              X                X
 276   Woodbridge Mortgage Investment Fund 3A, LLC              17-12780     Various                                                                              X                X

 277   Woodbridge Mortgage Investment Fund 4, LLC               17-12784     Various                                                                              X                X

 278   Woodbridge Structured Fund, LLC                          17-12786     No owned property                                                                    X                X
 279   Zestar Investments, LLC                                  17-12792     540 Pine Crest Drive Snowmass Village CO                                             X                X
       SECOND ROUND FILERS: FILED 02/09/2018
 280   Carbondale Glen Lot L-2, LLC                             18-10284     39 Midland Loop Aspen Glen Carbondale, CO                                            X                X
 281   Carbondale Peaks Lot L-1, LLC                            18-10286     90 Primrose Rd Aspen Glen Carbondale, CO                                             X                X
                                                                                                                     SOLD AUG 2018
 282   H18 Massabesic Holding Company, LLC                      18-10287                                                                                          X                X
 283   H33 Hawthorn Holding Company, LLC                        18-10288                                                                                          X                X
 284   H50 Sachs Bridge Holding Company, LLC                    18-10289                                                                                          X                X
 285   H64 Pennhurst Holding Company, LLC                       18-10290                                                                                          X                X
 286   Hawthorn Investments, LLC                                18-10291     14112 Roscoe Blvd. Panorama City, CA      SOLD JUL 2018                              X                X
 287   Lilac Valley Investments, LLC                            18-10292     14115 Moorpark #212 Sherman Oaks, CA SOLD JUN 2018                                   X                X
 288   Massabesic Investments, LLC                              18-10293     238 Sundance Trail Aspen Glen Carbondale, CO                                         X                X
                                                                                                                     SOLD MAY 2018
 289   M58 Springvale Holding Company, LLC                      18-10294                                                                                          X                X
 290   M96 Lilac Valley Holding Company, LLC                    18-10295                                                                                          X                X
 291   Pennhurst Investments, LLC                               18-10296     11541 Blucher Avenue Granada Hills, CA SOLD APR 2018                                 X                X
 292   Sachs Bridge Investments, LLC                            18-10297     Multiple lots      6 OF 25 LOTS SOLD VARIOUS DATES                                   X                X
 293   Springvale Investments, LLC                              18-10298     Multiple lots            4 OF 20 LOTS SOLD NOV 2018                                  X                X
       THIRD ROUND FILERS: FILED 03/09/2018
 294   Bellflower Funding, LLC                                  18-10507     Various                                                                              X                X
 295   Wall 123, LLC                                            18-10508     Holding Company                                                                      X                X
       FOURTH ROUND FILERS: FILED 03/23/2018
 296   695 Buggy Circle, LLC                                    18-10670     695 Buggy Circle Dr., Carbondale CO        SOLD DEC 2017                             X                X
 297   Buggy Circle Holdings, LLC                               18-10672                                                                                          X                X
 298   Deerfield Park Investments, LLC                          18-10673     1001 Hanover Drive., Los Angeles, CA      SOLD DEC 2017                              X                X
 299   Kirkstead Investments, LLC                               18-10675     53 Huron St., 778 Sarbonne Ave., Los Angeles, CA                                     X                X
                                                                             DEPOSIT ONLY, NOT PURCHASED
 300   M16 Kirkstead Holding Company, LLC                       18-10676                                                                                          X                X
 301   H10 Deerfield Park Holding Company, LLC                  18-10674                                                                                          X                X
 302   Blazingstar Funding, LLC                                 18-10671                                                                                          X                X
       FIFTH ROUND FILERS: FILED 03/27/2018
 303   Frog Rock Investments, LLC                               18-10733     4540 Hazeltine Ave., Los Angeles CA         SOLD NOV 2017                            X                X
 304   M77 Frog Rock Holding Company, LLC                       18-10734                                                                                          X                X
 305   Mount Washington Investments, LLC                        18-10736     218 Midland Avenue, Carbondale CO                                                    X                X
 306   M89 Mount Washington Holding Company, LLC                18-10735                                                                                          X                X


    * (from report template) The Balance Sheet is to be completed on an accrual basis only. Pre-petition liabilities must be classified separately from post-petition obligations. The
      Statement of Operations is prepared on an accrual basis. The accrual basis of accounting recognizes revenue when it is realized and expenses when they are incurred, regardless of
      when cash is actually received or paid.
      The Cumulative Statement of Operations includes a statement of operations for any property company debtor entity that had income or expenses since the inception of the case.
      The current month Statement of Operations includes only those debtors with income or expenses in December 2018. Any debtor with a statement of operations in the cumulative
      report is indicated above.
   ** Research being performed by the Debtor is ongoing, to identify all real properties and loans owned by or under the control of any of the affiliated Debtor entities. However even if
      there is no identified asset, every one of the affiliated debtors has had at least a minimal amount of financial activity which resulted in a financial statement for the debtor. This
      minimal activity would include payment of U.S. Trustee Fees, LLC minimum tax, and fees for corporate agent services. To avoid having hundreds of financial statements for entitles
      representing only a few hundred dollars of financial activity, the financial statements for all holding companies are being reported together in a group called "Holding Companies".
      Some property companies with minimal activity are grouped together and reported as "Inactive Property Companies". This report also includes financial statements for
      approximately 160 Non-Debtor LLC's that are under the Debtor's control by ownership or LLC interest. These non-debtor entities are represented in the statement of operations in
      a group called "Non-Debtor Under Debtor Control".




   33 of 124                                                                                                                                                  MOR-2, MOR-3 (Cover pg)
                                 Case 17-12560-KJC                          Doc 3374             Filed 02/04/19                    Page 34 of 124


Woodbridge Group of Companies, LLC, et al
Statement of Operations
for the period December 1-31, 2018
                                                         1. Woodbridge Group     Bellflower Funding       Carbondale Glen       P-008 Baleroy Invest    P-011 Beech Creek
                                               Debtor:          LLC                      LLC              Sweetgrass LLC               LLC                  Invest LLC

                                             Case No.:        17-12560               18-10507                17-12564                17-12580               17-12616
 Ordinary Income/Expense
    Income
      40005 · Sales Proceeds / Note Payoff                                   -              265,000                         -                      -                        -
      40010 · Rent Revenue                                                   -                        -                     -                      -                        -
      40020 · Interest Revenue                                               -                        -                     -                      -                        -
      40022 · Structured Settlement Income                                600                         -                     -                      -                        -
      40090 · Other Revenue                                                 -                         -                     -                      -                        -
    Total Income                                                          600               265,000                         -                      -                        -
    Cost of Goods Sold
      50000 · Cost of Goods Sold
        50020 · Cost of Sales Real Property                                  -              435,031                     175                     175                    175
        50030 · Closing Costs / Prorations                                   -               17,510                       -                       -                      -
      Total 50000 · Cost of Goods Sold                                       -              452,542                     175                     175                    175
    Total COGS                                                               -              452,542                     175                     175                    175
   Gross Profit                                                           600              (187,542)                    (175)                   (175)                  (175)
    Expense
      60020 · Marketing & Media Consulting                               3,090                        -                     -                      -                        -
      60500 · Dues and Subscriptions                                     1,338                        -                     -                      -                        -
      61700 · Information Technology
        61701 · IT - Software                                            3,934                        -                     -                      -                        -
        61702 · IT Support                                           23,390                           -                     -                      -                        -
        61703 · IT Consulting                                        25,000                           -                     -                      -                        -
        61700 · Information Technology - Other                        2,483                           -                     -                      -                        -
      Total 61700 · Information Technology                           54,808                           -                     -                      -                        -
      61800 · License and Filing Fees                                10,070                           -                     -                      -                        -
      61850 · Meals and Entertainment                                    1,833                        -                     -                      -                        -
      62500 · Employee Benefits                                          7,387                        -                     -                      -                        -
      63300 · Insurance                                              26,682                           -                     -                      -                        -
      63401 · Int Expense - BK DIP financing                        358,337                           -                     -                      -                        -
      64800 · Office Expense                                              893                         -                     -                      -                        -
      64900 · Office Supplies                                            1,405                        -                     -                      -                        -
      65100 · Parking                                                    3,040                        -                     -                      -                        -
      66000 · Payroll - Salaries, Wages, Tax
        66005 · Payroll-Service Fees                                      550                         -                     -                      -                        -
        66015 · Payroll-Employer Taxes                                9,032                           -                     -                      -                        -
        66000 · Payroll - Salaries, Wages, Tax - Other              279,898                           -                     -                      -                        -
      Total 66000 · Payroll - Salaries, Wages, Tax                  289,481                           -                     -                      -                        -
      66030 · Postage and Delivery                                       2,595                        -                     -                      -                        -
      66800 · Rent Expense                                           19,522                           -                     -                      -                        -
      67100 · Telephone and Internet Expense                             3,464                        -                     -                      -                        -
      67200 · Travel                                                     8,197                        -                     -                      -                        -
      67210 · Travel / Relocation allowance                          10,000                           -                     -                      -                        -
      68000 · Professional Fee Ord Course
        68100 · Consulting - Ord Course                              (12,855)                         -                     -                      -                        -
        68200 · Legal Fees - Ord Course                               10,056                          -                     -                      -                        -
      Total 68000 · Professional Fee Ord Course                       (2,800)                         -                     -                      -                        -
      72000 · Prof Fees - Retained Firms
        72010 · Legal - Court Retained                             1,078,593                          -                     -                      -                        -
        72030 · Consulting - Court Retained                          723,349                          -                     -                      -                        -
      Total 72000 · Prof Fees - Retained Firms                     1,801,942                          -                     -                      -                        -
      81140 · Board Fees                                             75,000                           -                     -                      -                        -
      83000 · Tax Expense
        83100 · Property Tax Expense                                        -                         -                     -                      -                        -
        83200 · Taxes, other - LLC fees                                   939                         -                     -                      -                        -
      Total 83000 · Tax Expense                                           939                         -                     -                      -                        -
    Total Expense                                                  2,677,221                          -                     -                      -                        -
 Net Ordinary Income                                              (2,676,621)              (187,542)                    (175)                   (175)                  (175)
 Other Income/Expense
   Other Income
    85106 · Legal Settlement Income                                  19,000                           -                     -                      -                        -
   Total Other Income                                                19,000                           -                     -                      -                        -
 Net Other Income                                                    19,000                           -                     -                      -                        -
Net Income                                                        (2,657,621)              (187,542)                    (175)                   (175)                  (175)




      34 of 124                                                                                                                                              MOR-2 P&L DEC 2018
                                 Case 17-12560-KJC                         Doc 3374            Filed 02/04/19                  Page 35 of 124


Woodbridge Group of Companies, LLC, et al
Statement of Operations
for the period December 1-31, 2018
                                                         P-021 Cablestay       P-024 Carbondale       P-031 Carbondale       P-040 Castle Pines       P-052 Derbyshire
                                               Debtor:      Invest LLC           Glen Lot D-22         Glen River Mes            Invest LLC              Invest LLC

                                             Case No.:      17-12798              17-12809               17-12820                17-12581                17-12696
 Ordinary Income/Expense
    Income
      40005 · Sales Proceeds / Note Payoff                                 -                      -                      -                        -                      -
      40010 · Rent Revenue                                                 -                      -                      -                        -                      -
      40020 · Interest Revenue                                             -                      -                      -                        -                      -
      40022 · Structured Settlement Income                                 -                      -                      -                        -                      -
      40090 · Other Revenue                                                -                      -                      -                        -                      -
    Total Income                                                           -                      -                      -                        -                      -
    Cost of Goods Sold
      50000 · Cost of Goods Sold
        50020 · Cost of Sales Real Property                            (206)                 175                         -                        -                 175
        50030 · Closing Costs / Prorations                                -                    -                         -                        -                   -
      Total 50000 · Cost of Goods Sold                                 (206)                 175                         -                        -                 175
    Total COGS                                                         (206)                 175                         -                        -                 175
   Gross Profit                                                        206                   (175)                       -                        -                 (175)
    Expense
      60020 · Marketing & Media Consulting                                 -                      -                      -                        -                      -
      60500 · Dues and Subscriptions                                       -                      -                      -                        -                      -
      61700 · Information Technology
        61701 · IT - Software                                              -                      -                      -                        -                      -
        61702 · IT Support                                                 -                      -                      -                        -                      -
        61703 · IT Consulting                                              -                      -                      -                        -                      -
        61700 · Information Technology - Other                             -                      -                      -                        -                      -
      Total 61700 · Information Technology                                 -                      -                      -                        -                      -
      61800 · License and Filing Fees                                      -                      -                      -                        -                      -
      61850 · Meals and Entertainment                                      -                      -                      -                        -                      -
      62500 · Employee Benefits                                            -                      -                      -                        -                      -
      63300 · Insurance                                                    -                      -                      -                        -                      -
      63401 · Int Expense - BK DIP financing                               -                      -                      -                        -                      -
      64800 · Office Expense                                               -                      -                      -                        -                      -
      64900 · Office Supplies                                              -                      -                      -                        -                      -
      65100 · Parking                                                      -                      -                      -                        -                      -
      66000 · Payroll - Salaries, Wages, Tax
        66005 · Payroll-Service Fees                                       -                      -                      -                        -                      -
        66015 · Payroll-Employer Taxes                                     -                      -                      -                        -                      -
        66000 · Payroll - Salaries, Wages, Tax - Other                     -                      -                      -                        -                      -
      Total 66000 · Payroll - Salaries, Wages, Tax                         -                      -                      -                        -                      -
      66030 · Postage and Delivery                                         -                      -                      -                        -                      -
      66800 · Rent Expense                                                 -                      -                      -                        -                      -
      67100 · Telephone and Internet Expense                               -                      -                      -                        -                      -
      67200 · Travel                                                       -                      -                      -                        -                      -
      67210 · Travel / Relocation allowance                                -                      -                      -                        -                      -
      68000 · Professional Fee Ord Course
        68100 · Consulting - Ord Course                                    -                      -                   -                         -                        -
        68200 · Legal Fees - Ord Course                                    -                      -                 688                     1,230                        -
      Total 68000 · Professional Fee Ord Course                            -                      -                 688                     1,230                        -
      72000 · Prof Fees - Retained Firms
        72010 · Legal - Court Retained                                     -                      -                      -                        -                      -
        72030 · Consulting - Court Retained                                -                      -                      -                        -                      -
      Total 72000 · Prof Fees - Retained Firms                             -                      -                      -                        -                      -
      81140 · Board Fees                                                   -                      -                      -                        -                      -
      83000 · Tax Expense
        83100 · Property Tax Expense                                       -                      -                      -                        -                      -
        83200 · Taxes, other - LLC fees                                    -                      -                      -                        -                      -
      Total 83000 · Tax Expense                                            -                      -                      -                        -                      -
    Total Expense                                                          -                      -                 688                     1,230                        -
 Net Ordinary Income                                                   206                   (175)                  (688)                 (1,230)                   (175)
 Other Income/Expense
   Other Income
    85106 · Legal Settlement Income                                        -                      -                      -                        -                      -
   Total Other Income                                                      -                      -                      -                        -                      -
 Net Other Income                                                          -                      -                      -                        -                      -
Net Income                                                             206                   (175)                  (688)                 (1,230)                   (175)




      35 of 124                                                                                                                                            MOR-2 P&L DEC 2018
                                 Case 17-12560-KJC                        Doc 3374               Filed 02/04/19                  Page 36 of 124


Woodbridge Group of Companies, LLC, et al
Statement of Operations
for the period December 1-31, 2018
                                                         P-053 Diamond Cove     P-060 Drawspan        P-061 Eldredge Invest   P-063 Emerald Lake   P-076 Hackmatack
                                               Debtor:        Invest LLC           Invest LLC                  LLC                Invest LLC           Invest LLC

                                             Case No.:        17-12705             17-12767                 17-12775              17-12788             17-12653
 Ordinary Income/Expense
    Income
      40005 · Sales Proceeds / Note Payoff                       29,500,000                      -                       -                     -             615,000
      40010 · Rent Revenue                                                 -                     -                       -                20,000                      -
      40020 · Interest Revenue                                             -                     -                       -                     -                      -
      40022 · Structured Settlement Income                                 -                     -                       -                     -                      -
      40090 · Other Revenue                                                -                     -                       -                     -                      -
    Total Income                                                 29,500,000                      -                       -                20,000             615,000
    Cost of Goods Sold
      50000 · Cost of Goods Sold
        50020 · Cost of Sales Real Property                      39,678,426                   (561)                     85                     -             646,910
        50030 · Closing Costs / Prorations                        1,086,736                      -                       -                     -              38,805
      Total 50000 · Cost of Goods Sold                           40,765,162                   (561)                     85                     -             685,715
    Total COGS                                                   40,765,162                   (561)                     85                     -             685,715
   Gross Profit                                                  (11,265,162)                 561                      (85)               20,000             (70,715)
    Expense
      60020 · Marketing & Media Consulting                                 -                     -                       -                     -                      -
      60500 · Dues and Subscriptions                                       -                     -                       -                     -                      -
      61700 · Information Technology
        61701 · IT - Software                                              -                     -                       -                     -                      -
        61702 · IT Support                                                 -                     -                       -                     -                      -
        61703 · IT Consulting                                              -                     -                       -                     -                      -
        61700 · Information Technology - Other                             -                     -                       -                     -                      -
      Total 61700 · Information Technology                                 -                     -                       -                     -                      -
      61800 · License and Filing Fees                                      -                     -                       -                     -                      -
      61850 · Meals and Entertainment                                      -                     -                       -                     -                      -
      62500 · Employee Benefits                                            -                     -                       -                     -                      -
      63300 · Insurance                                                    -                     -                       -                     -                      -
      63401 · Int Expense - BK DIP financing                               -                     -                       -                     -                      -
      64800 · Office Expense                                               -                     -                       -                     -                      -
      64900 · Office Supplies                                              -                     -                       -                     -                      -
      65100 · Parking                                                      -                     -                       -                     -                      -
      66000 · Payroll - Salaries, Wages, Tax
        66005 · Payroll-Service Fees                                       -                     -                       -                     -                      -
        66015 · Payroll-Employer Taxes                                     -                     -                       -                     -                      -
        66000 · Payroll - Salaries, Wages, Tax - Other                     -                     -                       -                     -                      -
      Total 66000 · Payroll - Salaries, Wages, Tax                         -                     -                       -                     -                      -
      66030 · Postage and Delivery                                         -                     -                       -                     -                      -
      66800 · Rent Expense                                                 -                     -                       -                     -                      -
      67100 · Telephone and Internet Expense                               -                     -                       -                     -                      -
      67200 · Travel                                                       -                     -                       -                     -                      -
      67210 · Travel / Relocation allowance                                -                     -                       -                     -                      -
      68000 · Professional Fee Ord Course
        68100 · Consulting - Ord Course                                    -                     -                       -                     -                      -
        68200 · Legal Fees - Ord Course                                    -                     -                       -                     -                  2,445
      Total 68000 · Professional Fee Ord Course                            -                     -                       -                     -                  2,445
      72000 · Prof Fees - Retained Firms
        72010 · Legal - Court Retained                                     -                     -                       -                     -                      -
        72030 · Consulting - Court Retained                                -                     -                       -                     -                      -
      Total 72000 · Prof Fees - Retained Firms                             -                     -                       -                     -                      -
      81140 · Board Fees                                                   -                     -                       -                     -                      -
      83000 · Tax Expense
        83100 · Property Tax Expense                                       -                     -                       -                     -                      -
        83200 · Taxes, other - LLC fees                                    -                     -                       -                     -                      -
      Total 83000 · Tax Expense                                            -                     -                       -                     -                      -
    Total Expense                                                          -                     -                       -                     -                  2,445
 Net Ordinary Income                                             (11,265,162)                 561                      (85)               20,000             (73,160)
 Other Income/Expense
   Other Income
    85106 · Legal Settlement Income                                        -                     -                       -                     -                      -
   Total Other Income                                                      -                     -                       -                     -                      -
 Net Other Income                                                          -                     -                       -                     -                      -
Net Income                                                       (11,265,162)                 561                      (85)               20,000             (73,160)




      36 of 124                                                                                                                                         MOR-2 P&L DEC 2018
                                 Case 17-12560-KJC                         Doc 3374                Filed 02/04/19                 Page 37 of 124


Woodbridge Group of Companies, LLC, et al
Statement of Operations
for the period December 1-31, 2018
                                                         P-084 Heilbron Manor    P-085 Hollyline       P-088 Imperial Aly       P-099 Massabesic       P-101 Merrimack
                                               Debtor:        Invest LLC          Owners LLC              Invest LLC               Invest LLC            Valley Invest

                                             Case No.:        17-12681             17-12688                17-12708                 18-10293              17-12665
 Ordinary Income/Expense
    Income
      40005 · Sales Proceeds / Note Payoff                                  -            1,125,000                          -                      -                     -
      40010 · Rent Revenue                                                  -                      -                        -                      -                     -
      40020 · Interest Revenue                                              -                      -                        -                      -                     -
      40022 · Structured Settlement Income                                  -                      -                        -                      -                     -
      40090 · Other Revenue                                                 -                      -                        -                      -                     -
    Total Income                                                            -            1,125,000                          -                      -                     -
    Cost of Goods Sold
      50000 · Cost of Goods Sold
        50020 · Cost of Sales Real Property                              252             2,143,562                  (2,605)                    175                   (277)
        50030 · Closing Costs / Prorations                                 -                66,465                       -                       -                      -
      Total 50000 · Cost of Goods Sold                                   252             2,210,027                  (2,605)                    175                   (277)
    Total COGS                                                           252             2,210,027                  (2,605)                    175                   (277)
   Gross Profit                                                          (252)          (1,085,027)                   2,605                    (175)                 277
    Expense
      60020 · Marketing & Media Consulting                                  -                      -                        -                      -                     -
      60500 · Dues and Subscriptions                                        -                      -                        -                      -                     -
      61700 · Information Technology
        61701 · IT - Software                                               -                      -                        -                      -                     -
        61702 · IT Support                                                  -                      -                        -                      -                     -
        61703 · IT Consulting                                               -                      -                        -                      -                     -
        61700 · Information Technology - Other                              -                      -                        -                      -                     -
      Total 61700 · Information Technology                                  -                      -                        -                      -                     -
      61800 · License and Filing Fees                                       -                      -                        -                      -                     -
      61850 · Meals and Entertainment                                       -                      -                        -                      -                     -
      62500 · Employee Benefits                                             -                      -                        -                      -                     -
      63300 · Insurance                                                     -                      -                        -                      -                     -
      63401 · Int Expense - BK DIP financing                                -                      -                        -                      -                     -
      64800 · Office Expense                                                -                      -                        -                      -                     -
      64900 · Office Supplies                                               -                      -                        -                      -                     -
      65100 · Parking                                                       -                      -                        -                      -                     -
      66000 · Payroll - Salaries, Wages, Tax
        66005 · Payroll-Service Fees                                        -                      -                        -                      -                     -
        66015 · Payroll-Employer Taxes                                      -                      -                        -                      -                     -
        66000 · Payroll - Salaries, Wages, Tax - Other                      -                      -                        -                      -                     -
      Total 66000 · Payroll - Salaries, Wages, Tax                          -                      -                        -                      -                     -
      66030 · Postage and Delivery                                          -                      -                        -                      -                     -
      66800 · Rent Expense                                                  -                      -                        -                      -                     -
      67100 · Telephone and Internet Expense                                -                      -                        -                      -                     -
      67200 · Travel                                                        -                      -                        -                      -                     -
      67210 · Travel / Relocation allowance                                 -                      -                        -                      -                     -
      68000 · Professional Fee Ord Course
        68100 · Consulting - Ord Course                                     -                      -                        -                      -                     -
        68200 · Legal Fees - Ord Course                                     -                      -                        -                      -                     -
      Total 68000 · Professional Fee Ord Course                             -                      -                        -                      -                     -
      72000 · Prof Fees - Retained Firms
        72010 · Legal - Court Retained                                      -                      -                        -                      -                     -
        72030 · Consulting - Court Retained                                 -                      -                        -                      -                     -
      Total 72000 · Prof Fees - Retained Firms                              -                      -                        -                      -                     -
      81140 · Board Fees                                                    -                      -                        -                      -                     -
      83000 · Tax Expense
        83100 · Property Tax Expense                                        -                      -                        -                      -                     -
        83200 · Taxes, other - LLC fees                                     -                      -                        -                      -                     -
      Total 83000 · Tax Expense                                             -                      -                        -                      -                     -
    Total Expense                                                           -                      -                        -                      -                     -
 Net Ordinary Income                                                     (252)          (1,085,027)                   2,605                    (175)                 277
 Other Income/Expense
   Other Income
    85106 · Legal Settlement Income                                         -                      -                        -                      -                     -
   Total Other Income                                                       -                      -                        -                      -                     -
 Net Other Income                                                           -                      -                        -                      -                     -
Net Income                                                               (252)          (1,085,027)                   2,605                    (175)                 277




      37 of 124                                                                                                                                            MOR-2 P&L DEC 2018
                                 Case 17-12560-KJC                          Doc 3374               Filed 02/04/19                Page 38 of 124


Woodbridge Group of Companies, LLC, et al
Statement of Operations
for the period December 1-31, 2018
                                                         P-104 Moravian Invest    P-105 Mountain       P-110 Old Maitland       P-114 Pemberley       P-117 Pepperwood
                                               Debtor:           LLC               Spring Invest           Invest LLC              Invest LLC             Invest LLC

                                             Case No.:         17-12690             17-12698               17-12752                17-12790               17-12804
 Ordinary Income/Expense
    Income
      40005 · Sales Proceeds / Note Payoff                                   -                     -                        -                     -                      -
      40010 · Rent Revenue                                                   -                     -                        -                     -                      -
      40020 · Interest Revenue                                               -                     -                        -                     -                      -
      40022 · Structured Settlement Income                                   -                     -                        -                     -                      -
      40090 · Other Revenue                                                  -                     -                        -                     -                      -
    Total Income                                                             -                     -                        -                     -                      -
    Cost of Goods Sold
      50000 · Cost of Goods Sold
        50020 · Cost of Sales Real Property                               123                      -               (36,724)                   900                    175
        50030 · Closing Costs / Prorations                                  -                      -                     -                      -                      -
      Total 50000 · Cost of Goods Sold                                    123                      -               (36,724)                   900                    175
    Total COGS                                                            123                      -               (36,724)                   900                    175
   Gross Profit                                                           (123)                    -               36,724                     (900)                  (175)
    Expense
      60020 · Marketing & Media Consulting                                   -                     -                        -                     -                      -
      60500 · Dues and Subscriptions                                         -                     -                        -                     -                      -
      61700 · Information Technology
        61701 · IT - Software                                                -                     -                        -                     -                      -
        61702 · IT Support                                                   -                     -                        -                     -                      -
        61703 · IT Consulting                                                -                     -                        -                     -                      -
        61700 · Information Technology - Other                               -                     -                        -                     -                      -
      Total 61700 · Information Technology                                   -                     -                        -                     -                      -
      61800 · License and Filing Fees                                        -                     -                        -                     -                      -
      61850 · Meals and Entertainment                                        -                     -                        -                     -                      -
      62500 · Employee Benefits                                              -                     -                        -                     -                      -
      63300 · Insurance                                                      -                     -                        -                     -                      -
      63401 · Int Expense - BK DIP financing                                 -                     -                        -                     -                      -
      64800 · Office Expense                                                 -                     -                        -                     -                      -
      64900 · Office Supplies                                                -                     -                        -                     -                      -
      65100 · Parking                                                        -                     -                        -                     -                      -
      66000 · Payroll - Salaries, Wages, Tax
        66005 · Payroll-Service Fees                                         -                     -                        -                     -                      -
        66015 · Payroll-Employer Taxes                                       -                     -                        -                     -                      -
        66000 · Payroll - Salaries, Wages, Tax - Other                       -                     -                        -                     -                      -
      Total 66000 · Payroll - Salaries, Wages, Tax                           -                     -                        -                     -                      -
      66030 · Postage and Delivery                                           -                     -                        -                     -                      -
      66800 · Rent Expense                                                   -                     -                        -                     -                      -
      67100 · Telephone and Internet Expense                                 -                     -                        -                     -                      -
      67200 · Travel                                                         -                     -                        -                     -                      -
      67210 · Travel / Relocation allowance                                  -                     -                        -                     -                      -
      68000 · Professional Fee Ord Course
        68100 · Consulting - Ord Course                                      -                     -                        -                     -                      -
        68200 · Legal Fees - Ord Course                                      -                 6,075                        -                     -                      -
      Total 68000 · Professional Fee Ord Course                              -                 6,075                        -                     -                      -
      72000 · Prof Fees - Retained Firms
        72010 · Legal - Court Retained                                       -                     -                        -                     -                      -
        72030 · Consulting - Court Retained                                  -                     -                        -                     -                      -
      Total 72000 · Prof Fees - Retained Firms                               -                     -                        -                     -                      -
      81140 · Board Fees                                                     -                     -                        -                     -                      -
      83000 · Tax Expense
        83100 · Property Tax Expense                                         -                     -                        -                     -                      -
        83200 · Taxes, other - LLC fees                                      -                     -                        -                     -                      -
      Total 83000 · Tax Expense                                              -                     -                        -                     -                      -
    Total Expense                                                            -                 6,075                        -                     -                      -
 Net Ordinary Income                                                      (123)             (6,075)                36,724                     (900)                  (175)
 Other Income/Expense
   Other Income
    85106 · Legal Settlement Income                                          -                     -                        -                     -                      -
   Total Other Income                                                        -                     -                        -                     -                      -
 Net Other Income                                                            -                     -                        -                     -                      -
Net Income                                                                (123)             (6,075)                36,724                     (900)                  (175)




      38 of 124                                                                                                                                            MOR-2 P&L DEC 2018
                                 Case 17-12560-KJC                         Doc 3374              Filed 02/04/19                  Page 39 of 124


Woodbridge Group of Companies, LLC, et al
Statement of Operations
for the period December 1-31, 2018
                                                         P-125 Sachs Bridge     P-127 Seven Stars       P-140 Springvale       P-147 Summerfree       P-164 Wildernest
                                               Debtor:       Invest LLC            Invest LLC              Invest LLC             Invest LLC             Invest LLC

                                             Case No.:       18-10297               17-12832               17-12585                17-12635              17-12723
 Ordinary Income/Expense
    Income
      40005 · Sales Proceeds / Note Payoff                          180,000                         -                      -                      -                      -
      40010 · Rent Revenue                                                  -                       -                      -                      -                      -
      40020 · Interest Revenue                                              -                       -                      -                      -                      -
      40022 · Structured Settlement Income                                  -                       -                      -                      -                      -
      40090 · Other Revenue                                                 -                       -                      -                      -                      -
    Total Income                                                    180,000                         -                      -                      -                      -
    Cost of Goods Sold
      50000 · Cost of Goods Sold
        50020 · Cost of Sales Real Property                         130,124                    (810)                  (277)                       -                 175
        50030 · Closing Costs / Prorations                           12,717                       -                      -                        -                   -
      Total 50000 · Cost of Goods Sold                              142,842                    (810)                  (277)                       -                 175
    Total COGS                                                      142,842                    (810)                  (277)                       -                 175
   Gross Profit                                                      37,158                    810                     277                        -                 (175)
    Expense
      60020 · Marketing & Media Consulting                                  -                       -                      -                      -                      -
      60500 · Dues and Subscriptions                                        -                       -                      -                      -                      -
      61700 · Information Technology
        61701 · IT - Software                                               -                       -                      -                      -                      -
        61702 · IT Support                                                  -                       -                      -                      -                      -
        61703 · IT Consulting                                               -                       -                      -                      -                      -
        61700 · Information Technology - Other                              -                       -                      -                      -                      -
      Total 61700 · Information Technology                                  -                       -                      -                      -                      -
      61800 · License and Filing Fees                                       -                       -                      -                      -                      -
      61850 · Meals and Entertainment                                       -                       -                      -                      -                      -
      62500 · Employee Benefits                                             -                       -                      -                      -                      -
      63300 · Insurance                                                     -                       -                      -                      -                      -
      63401 · Int Expense - BK DIP financing                                -                       -                      -                      -                      -
      64800 · Office Expense                                                -                       -                      -                      -                      -
      64900 · Office Supplies                                               -                       -                      -                      -                      -
      65100 · Parking                                                       -                       -                      -                      -                      -
      66000 · Payroll - Salaries, Wages, Tax
        66005 · Payroll-Service Fees                                        -                       -                      -                      -                      -
        66015 · Payroll-Employer Taxes                                      -                       -                      -                      -                      -
        66000 · Payroll - Salaries, Wages, Tax - Other                      -                       -                      -                      -                      -
      Total 66000 · Payroll - Salaries, Wages, Tax                          -                       -                      -                      -                      -
      66030 · Postage and Delivery                                          -                       -                      -                      -                      -
      66800 · Rent Expense                                                  -                       -                      -                      -                      -
      67100 · Telephone and Internet Expense                                -                       -                      -                      -                      -
      67200 · Travel                                                        -                       -                      -                      -                      -
      67210 · Travel / Relocation allowance                                 -                       -                      -                      -                      -
      68000 · Professional Fee Ord Course
        68100 · Consulting - Ord Course                                     -                       -                     -                       -                      -
        68200 · Legal Fees - Ord Course                                 4,875                       -                 1,380                   1,943                      -
      Total 68000 · Professional Fee Ord Course                         4,875                       -                 1,380                   1,943                      -
      72000 · Prof Fees - Retained Firms
        72010 · Legal - Court Retained                                      -                       -                      -                      -                      -
        72030 · Consulting - Court Retained                                 -                       -                      -                      -                      -
      Total 72000 · Prof Fees - Retained Firms                              -                       -                      -                      -                      -
      81140 · Board Fees                                                    -                       -                      -                      -                      -
      83000 · Tax Expense
        83100 · Property Tax Expense                                        -                       -                      -                      -                      -
        83200 · Taxes, other - LLC fees                                     -                       -                      -                      -                      -
      Total 83000 · Tax Expense                                             -                       -                      -                      -                      -
    Total Expense                                                       4,875                       -                 1,380                   1,943                      -
 Net Ordinary Income                                                 32,283                    810                  (1,103)               (1,943)                   (175)
 Other Income/Expense
   Other Income
    85106 · Legal Settlement Income                                         -                       -                      -                      -                      -
   Total Other Income                                                       -                       -                      -                      -                      -
 Net Other Income                                                           -                       -                      -                      -                      -
Net Income                                                           32,283                    810                  (1,103)               (1,943)                   (175)




      39 of 124                                                                                                                                            MOR-2 P&L DEC 2018
                                 Case 17-12560-KJC                         Doc 3374                 Filed 02/04/19             Page 40 of 124


Woodbridge Group of Companies, LLC, et al
Statement of Operations
for the period December 1-31, 2018
                                                         Silverleaf Funding       Whiteacre Funding
                                               Debtor:           LLC                    LLC               WMIF 1                WMIF 2             WMIF 3

                                             Case No.:       17-12837                 17-12713            17-12768              17-12772           17-12776
 Ordinary Income/Expense
    Income
      40005 · Sales Proceeds / Note Payoff                                    -                       -                   -                    -                  -
      40010 · Rent Revenue                                                    -                  5,761                    -                    -                  -
      40020 · Interest Revenue                                                -                       -                   -                    -                  -
      40022 · Structured Settlement Income                                    -                       -                   -                    -                  -
      40090 · Other Revenue                                                   -                       -                   -                    -                  -
    Total Income                                                              -                  5,761                    -                    -                  -
    Cost of Goods Sold
      50000 · Cost of Goods Sold
        50020 · Cost of Sales Real Property                                   -                       -                   -                    -                  -
        50030 · Closing Costs / Prorations                                    -                       -                   -                    -                  -
      Total 50000 · Cost of Goods Sold                                        -                       -                   -                    -                  -
    Total COGS                                                                -                       -                   -                    -                  -
   Gross Profit                                                               -                  5,761                    -                    -                  -
    Expense
      60020 · Marketing & Media Consulting                                    -                       -                   -                    -                  -
      60500 · Dues and Subscriptions                                          -                       -                   -                    -                  -
      61700 · Information Technology
        61701 · IT - Software                                                 -                       -                   -                    -                  -
        61702 · IT Support                                                    -                       -                   -                    -                  -
        61703 · IT Consulting                                                 -                       -                   -                    -                  -
        61700 · Information Technology - Other                                -                       -                   -                    -                  -
      Total 61700 · Information Technology                                    -                       -                   -                    -                  -
      61800 · License and Filing Fees                                         -                       -                   -                    -                  -
      61850 · Meals and Entertainment                                         -                       -                   -                    -                  -
      62500 · Employee Benefits                                               -                       -                   -                    -                  -
      63300 · Insurance                                                       -                       -                   -                    -                  -
      63401 · Int Expense - BK DIP financing                                  -                       -                   -                    -                  -
      64800 · Office Expense                                                  -                       -                   -                    -                  -
      64900 · Office Supplies                                                 -                       -                   -                    -                  -
      65100 · Parking                                                         -                       -                   -                    -                  -
      66000 · Payroll - Salaries, Wages, Tax
        66005 · Payroll-Service Fees                                          -                       -                   -                    -                  -
        66015 · Payroll-Employer Taxes                                        -                       -                   -                    -                  -
        66000 · Payroll - Salaries, Wages, Tax - Other                        -                       -                   -                    -                  -
      Total 66000 · Payroll - Salaries, Wages, Tax                            -                       -                   -                    -                  -
      66030 · Postage and Delivery                                            -                       -                   -                    -                  -
      66800 · Rent Expense                                                    -                       -                   -                    -                  -
      67100 · Telephone and Internet Expense                                  -                       -                   -                    -                  -
      67200 · Travel                                                          -                       -                   -                    -                  -
      67210 · Travel / Relocation allowance                                   -                       -                   -                    -                  -
      68000 · Professional Fee Ord Course
        68100 · Consulting - Ord Course                                     -                        -                   -                     -                  -
        68200 · Legal Fees - Ord Course                                 4,910                    3,236               4,341                 2,800              4,615
      Total 68000 · Professional Fee Ord Course                         4,910                    3,236               4,341                 2,800              4,615
      72000 · Prof Fees - Retained Firms
        72010 · Legal - Court Retained                                        -                       -                   -                    -                  -
        72030 · Consulting - Court Retained                                   -                       -                   -                    -                  -
      Total 72000 · Prof Fees - Retained Firms                                -                       -                   -                    -                  -
      81140 · Board Fees                                                      -                       -                   -                    -                  -
      83000 · Tax Expense
        83100 · Property Tax Expense                                          -                       -                   -              12,526                   -
        83200 · Taxes, other - LLC fees                                       -                       -                   -                   -                   -
      Total 83000 · Tax Expense                                               -                       -                   -              12,526                   -
    Total Expense                                                       4,910                    3,236               4,341               15,325               4,615
 Net Ordinary Income                                                  (4,910)                    2,525               (4,341)          (15,325)              (4,615)
 Other Income/Expense
   Other Income
    85106 · Legal Settlement Income                                           -                       -                   -                    -                  -
   Total Other Income                                                         -                       -                   -                    -                  -
 Net Other Income                                                             -                       -                   -                    -                  -
Net Income                                                            (4,910)                    2,525               (4,341)          (15,325)              (4,615)




      40 of 124                                                                                                                                    MOR-2 P&L DEC 2018
                                 Case 17-12560-KJC                     Doc 3374          Filed 02/04/19   Page 41 of 124


Woodbridge Group of Companies, LLC, et al
Statement of Operations
for the period December 1-31, 2018

                                               Debtor:   WMIF 4             TOTAL

                                             Case No.:   17-12784
 Ordinary Income/Expense
    Income
      40005 · Sales Proceeds / Note Payoff                              -     31,685,000
      40010 · Rent Revenue                                          4,596           30,357
      40020 · Interest Revenue                                 405,524          405,524
      40022 · Structured Settlement Income                             -               600
      40090 · Other Revenue                                          716               716
    Total Income                                               410,836        32,122,197
    Cost of Goods Sold
      50000 · Cost of Goods Sold
        50020 · Cost of Sales Real Property                             -     42,995,353
        50030 · Closing Costs / Prorations                              -      1,222,233
      Total 50000 · Cost of Goods Sold                                  -     44,217,586
    Total COGS                                                          -     44,217,586
   Gross Profit                                                410,836       (12,095,388)
    Expense
      60020 · Marketing & Media Consulting                              -            3,090
      60500 · Dues and Subscriptions                                    -            1,338
      61700 · Information Technology
        61701 · IT - Software                                           -            3,934
        61702 · IT Support                                              -           23,390
        61703 · IT Consulting                                           -           25,000
        61700 · Information Technology - Other                          -            2,483
      Total 61700 · Information Technology                              -           54,808
      61800 · License and Filing Fees                                   -           10,070
      61850 · Meals and Entertainment                                   -            1,833
      62500 · Employee Benefits                                         -            7,387
      63300 · Insurance                                           11,638            38,320
      63401 · Int Expense - BK DIP financing                            -       358,337
      64800 · Office Expense                                            -              893
      64900 · Office Supplies                                           -            1,405
      65100 · Parking                                                   -            3,040
      66000 · Payroll - Salaries, Wages, Tax
        66005 · Payroll-Service Fees                                    -              550
        66015 · Payroll-Employer Taxes                                  -         9,032
        66000 · Payroll - Salaries, Wages, Tax - Other                  -       279,898
      Total 66000 · Payroll - Salaries, Wages, Tax                      -       289,481
      66030 · Postage and Delivery                                      -            2,595
      66800 · Rent Expense                                              -           19,522
      67100 · Telephone and Internet Expense                            -            3,464
      67200 · Travel                                                    -            8,197
      67210 · Travel / Relocation allowance                             -           10,000
      68000 · Professional Fee Ord Course
        68100 · Consulting - Ord Course                                 -           (12,855)
        68200 · Legal Fees - Ord Course                                 -            48,591
      Total 68000 · Professional Fee Ord Course                         -           35,736
      72000 · Prof Fees - Retained Firms
        72010 · Legal - Court Retained                                  -      1,078,593
        72030 · Consulting - Court Retained                             -        723,349
      Total 72000 · Prof Fees - Retained Firms                          -      1,801,942
      81140 · Board Fees                                                -           75,000
      83000 · Tax Expense
        83100 · Property Tax Expense                                4,452           16,978
        83200 · Taxes, other - LLC fees                                 -              939
      Total 83000 · Tax Expense                                     4,452           17,917
    Total Expense                                                 16,090       2,744,373
 Net Ordinary Income                                           394,746       (14,839,761)
 Other Income/Expense
   Other Income
    85106 · Legal Settlement Income                                     -           19,000
   Total Other Income                                                   -           19,000
 Net Other Income                                                       -           19,000
Net Income                                                     394,746       (14,820,761)




      41 of 124                                                                                                        MOR-2 P&L DEC 2018
                                            Case 17-12560-KJC                                    Doc 3374                     Filed 02/04/19                        Page 42 of 124


DIP Woodbridge Group of Companies, LLC
Profit & Loss by Debtor
December 4, 2017 through December 31, 2018
                                                                1. Woodbridge Group     Bellflower Funding        Brise Soleil       Carbondale Glen                              Inactive Property             Ironsides
                                                      Debtor:          LLC                      LLC            Investments LLC       Sweetgrass LLC        Holding Companies         Companies              Investments LLC
                                                   Case No.:         17-12560               18-10507              17-12762              17-12564                Various               Various                   17-12714
 Ordinary Income/Expense
   Income
    40005 · Sales Proceeds / Note Payoff                                   659,000                 840,000                       -            985,000                         -                       -                        -
    40010 · Rent Revenue                                                        2,725               14,937                       -                     -                      -                       -                        -
    40020 · Interest Revenue                                                33,539                         -                     -                     -                      -                       -                        -
    40022 · Structured Settlement Income                                    88,273                         -                     -                     -                      -                       -                        -
    40090 · Other Revenue                                                   57,187                 209,411                       -                     -                      -                       -                        -
   Total Income                                                            840,724               1,064,348                       -            985,000                         -                       -                        -
   Cost of Goods Sold
    50000 · Cost of Goods Sold
     50010 · Rental Property Cost Operations                                     268                       -                     -                  105                       -                       -                        -
     50020 · Cost of Sales Real Property                                        6,350              938,277                       -           1,363,284                        -                       -                        -
     50030 · Closing Costs / Prorations                                             -               58,071                       -             54,530                         -                       -                        -
     50040 · Structured Settlement Costs                                        1,282                    -                       -                  -                         -                       -                        -
    Total 50000 · Cost of Goods Sold                                            7,900              996,347                       -           1,417,919                        -                       -                        -
   Total COGS                                                                   7,900              996,347                       -           1,417,919                        -                       -                        -
  Gross Profit                                                             832,824                  68,001                       -            (432,919)                       -                       -                        -
   Expense
    60020 · Marketing & Media Consulting                                   340,210                         -                     -                     -                      -                       -                        -
    60400 · Bank Charges                                                        8,101                      -                     -                     -                      -                       -                        -
    60500 · Dues and Subscriptions                                          19,017                         -                     -                     -                      -                       -                        -
    60600 · Equipment Lease                                                     1,520                      -                     -                     -                      -                       -                        -
    61700 · Information Technology                                         503,003                         -                     -                     -                      -                       -                        -
    61800 · License and Filing Fees                                         30,576                      430                   679                   100                   2,944                 6,056                       479
    61850 · Meals and Entertainment                                             5,289                      -                     -                     -                      -                       -                        -
    61870 · Moving                                                          20,487                         -                     -                     -                      -                       -                        -
    62500 · Employee Benefits                                              223,948                         -                     -                     -                      -                       -                        -
    63300 · Insurance                                                      140,317                         -                     -                     -                      -                       -                        -
    63400 · Interest                                                                -                      -                     -                     -                      -                       -                        -
    63401 · Int Expense - BK DIP financing                                4,952,004                        -                     -                     -                      -                       -                        -
    64800 · Office Expense                                                 165,912                         -                     -                     -                      -                       -                        -
    64900 · Office Supplies                                                 24,772                         -                     -                     -                      -                       -                        -
    65000 · Outside Services                                                29,132                         -                     -                     -                      -                       -                        -
    65100 · Parking                                                         56,628                         -                     -                     -                      -                       -                        -
    66000 · Payroll - Salaries, Wages, Tax
     66005 · Payroll-Service Fees                                               7,889                      -                     -                     -                      -                       -                        -
     66015 · Payroll-Employer Taxes                                         423,055                        -                     -                     -                      -                       -                        -
     66000 · Payroll - Salaries, Wages, Tax - Other                       5,849,774                        -                     -                     -                      -                       -                        -
    Total 66000 · Payroll - Salaries, Wages, Tax                          6,280,718                        -                     -                     -                      -                       -                        -
    66020 · Independent Contractors                                             6,000                      -                     -                     -                      -                       -                        -
    66030 · Postage and Delivery                                            34,093                         -                     -                     -                      -                       -                        -
    66800 · Rent Expense                                                   577,588                         -                     -                     -                      -                       -                        -
    66900 · Repairs and Maintenance                                         30,657                         -                     -                     -                      -                       -                        -
    67000 · Security                                                            9,375                      -                     -                     -                      -                       -                        -
    67050 · Storage                                                             7,087                      -                     -                     -                      -                       -                        -
    67100 · Telephone and Internet Expense                                  81,518                         -                     -                     -                      -                       -                        -
    67110 · Title Searches                                                  80,272                     9,056                 1,043                     -                      -                       -                    2,649
    67200 · Travel                                                          92,146                         -                     -                     -                      -                       -                        -
    67210 · Travel / Relocation allowance                                  100,000                         -                     -                     -                      -                       -                        -
    67400 · Utilities                                                       15,627                         -                     -                     -                      -                       -                        -
    68000 · Professional Fee Ord Course
     68100 · Consulting - Ord Course                                        28,009                         -                     -                     -                      -                       -                        -
     68200 · Legal Fees - Ord Course                                       861,060                     7,019                     -                 3,405                      -                 1,868                          -
     68300 · Accntng Fees - Ord Course                                      60,657                         -                     -                     -                      -                       -                        -
     68400 · Consulting RS                                                  10,238                         -                     -                     -                      -                       -                        -
    Total 68000 · Professional Fee Ord Course                              959,964                     7,019                     -                 3,405                      -                 1,868                          -
    71000 · U.S. Trustee Fees                                              761,904                     1,625                  975                  1,300             133,575                    8,450                       975
    72000 · Prof Fees - Retained Firms
     72010 · Legal - Court Retained                                      29,148,011                        -                     -                     -                      -                       -                        -
     72030 · Consulting - Court Retained                                 18,092,101                        -                     -                     -                      -                       -                        -
     72050 · Creditor's Committee Fees Expen                                 26,338                        -                     -                     -                      -                       -                        -
    Total 72000 · Prof Fees - Retained Firms                             47,266,450                        -                     -                     -                      -                       -                        -
    72100 · DIP Loan Origination Fee                                      1,575,000                        -                     -                     -                      -                       -                        -
    81140 · Board Fees & Expenses                                         1,047,059                        -                     -                     -                      -                       -                        -
    83000 · Tax Expense
     83100 · Property Tax Expense                                                308                       -                 1,342                     -                      -                       -                        -
     83110 · Municipal Taxes and Fees                                            578                      -                     -                      -                   -                        -                          -
     83200 · Taxes, other - LLC fees                                             939                    800                   800                      -             175,200                    2,400                          -
    Total 83000 · Tax Expense                                                   1,825                   800                  2,142                     -             175,200                    2,400                          -
   Total Expense                                                         65,448,199                 18,930                   4,839                 4,805             311,719                  18,774                       4,103
 Net Ordinary Income                                                    (64,615,375)                49,071                (4,839)             (437,724)              (311,719)               (18,774)                    (4,103)
 Other Income/Expense
  Other Income
   85100 · (Gain) / Loss loan payoff/sale
   85101 · Refund of Pre-Petition Expense                                   33,342                         -                     -                     -                      -                       -                        -
   85105 · Settlement Income
  Other Expense                                                                 1,100                      -                     -                     -                      -                       -                        -
 Net Other Income                                                           66,241                         -                     -                     -                      -                       -                        -
Net Income                                                              (64,549,134)                49,071                (4,839)             (437,724)              (311,719)               (18,774)                    (4,103)




        42 of 124
                                                                                                                                                                                                          MOR-2 P&L filing to Dec31 2018
                                            Case 17-12560-KJC                                    Doc 3374                     Filed 02/04/19                         Page 43 of 124


DIP Woodbridge Group of Companies, LLC
Profit & Loss by Debtor
December 4, 2017 through December 31, 2018
                                                                Non-Debtor Under       P-001 215 North 12th    P-002 Addison Park    P-003 Anchorpoint       P-004 Arborvitae       P-005 Archivolt          P-006 Arlington
                                                      Debtor:    Debtor Control               St LLC               Invest LLC            Invest LLC             Invest LLC            Invest LLC             Ridge Inves LLC
                                                   Case No.:      Non-Debtor                17-12561               17-12563              17-12566               17-12572               17-12574                  17-12576
 Ordinary Income/Expense
   Income
    40005 · Sales Proceeds / Note Payoff                                           -               800,000                      -             1,500,000                         -                      -                       -
    40010 · Rent Revenue                                                           -                79,689                      -               90,083                          -                      -                       -
    40020 · Interest Revenue                                                       -                      2                     -                      1                        -                      -                       -
    40022 · Structured Settlement Income                                           -                       -                    -                        -                      -                      -                       -
    40090 · Other Revenue                                                   1,441                          -                    -                        -                      -                     11                       -
   Total Income                                                             1,441                  879,692                      -             1,590,084                         -                     11                       -
   Cost of Goods Sold
    50000 · Cost of Goods Sold
     50010 · Rental Property Cost Operations                                       -                23,446                      -               28,901                          -                      -                       -
     50020 · Cost of Sales Real Property                                           -             1,077,259                      -              798,211                          -                      -                       -
     50030 · Closing Costs / Prorations                                            -                67,717                      -              111,710                          -                      -                       -
     50040 · Structured Settlement Costs                                           -                       -                    -                        -                      -                      -                       -
    Total 50000 · Cost of Goods Sold                                               -             1,168,422                      -              938,823                          -                      -                       -
   Total COGS                                                                      -             1,168,422                      -              938,823                          -                      -                       -
  Gross Profit                                                              1,441                 (288,730)                     -              651,261                          -                     11                       -
   Expense
    60020 · Marketing & Media Consulting                                           -                       -                    -                        -                      -                      -                       -
    60400 · Bank Charges                                                           -                       -                    -                        -                      -                      -                       -
    60500 · Dues and Subscriptions                                                 -                       -                    -                        -                      -                      -                       -
    60600 · Equipment Lease                                                        -                       -                    -                        -                      -                      -                       -
    61700 · Information Technology                                                 -                       -                    -                        -                      -                      -                       -
    61800 · License and Filing Fees                                                -                    100                   579                    679                    479                       49                    479
    61850 · Meals and Entertainment                                                -                       -                    -                        -                      -                      -                       -
    61870 · Moving                                                                 -                       -                    -                        -                      -                      -                       -
    62500 · Employee Benefits                                                      -                       -                    -                        -                      -                      -                       -
    63300 · Insurance                                                              -                       -                    -                        -                      -                      -                       -
    63400 · Interest                                                               -                       -                    -                        -                      -                      -                       -
    63401 · Int Expense - BK DIP financing                                         -                       -                    -                        -                      -                      -                       -
    64800 · Office Expense                                                         -                       -                    -                        -                      -                      -                       -
    64900 · Office Supplies                                                        -                       -                    -                        -                      -                      -                       -
    65000 · Outside Services                                                       -                       -                    -                        -                      -                      -                       -
    65100 · Parking                                                                -                       -                    -                        -                      -                      -                       -
    66000 · Payroll - Salaries, Wages, Tax
     66005 · Payroll-Service Fees                                                  -                       -                    -                        -                      -                      -                       -
     66015 · Payroll-Employer Taxes                                                -                       -                    -                        -                      -                      -                       -
     66000 · Payroll - Salaries, Wages, Tax - Other                                -                       -                    -                        -                      -                      -                       -
    Total 66000 · Payroll - Salaries, Wages, Tax                                   -                       -                    -                        -                      -                      -                       -
    66020 · Independent Contractors                                                -                       -                    -                        -                      -                      -                       -
    66030 · Postage and Delivery                                                   -                       -                    -                        -                      -                      -                       -
    66800 · Rent Expense                                                           -                       -                    -                        -                      -                      -                       -
    66900 · Repairs and Maintenance                                                -                       -                    -                        -                      -                      -                       -
    67000 · Security                                                               -                       -                    -                        -                      -                      -                       -
    67050 · Storage                                                                -                       -                    -                        -                      -                      -                       -
    67100 · Telephone and Internet Expense                                         -                       -                    -                        -                      -                      -                       -
    67110 · Title Searches                                                  1,900                          -                    -                        -                      -                      -                       -
    67200 · Travel                                                                 -                       -                    -                        -                      -                      -                       -
    67210 · Travel / Relocation allowance                                          -                       -                    -                        -                      -                      -                       -
    67400 · Utilities                                                              -                       -                    -                        -                      -                      -                       -
    68000 · Professional Fee Ord Course
     68100 · Consulting - Ord Course                                               -                       -                    -                        -                      -                      -                       -
     68200 · Legal Fees - Ord Course                                               -                   1,485                    -                   2,805                       -                      -                       -
     68300 · Accntng Fees - Ord Course                                             -                       -                    -                        -                      -                      -                       -
     68400 · Consulting RS                                                         -                       -                    -                        -                      -                      -                       -
    Total 68000 · Professional Fee Ord Course                                      -                   1,485                    -                   2,805                       -                      -                       -
    71000 · U.S. Trustee Fees                                                      -                   1,950               58,648                   2,275                   975                    975                   14,625
    72000 · Prof Fees - Retained Firms
     72010 · Legal - Court Retained                                                -                       -                    -                        -                      -                      -                       -
     72030 · Consulting - Court Retained                                           -                       -                    -                        -                      -                      -                       -
     72050 · Creditor's Committee Fees Expen                                       -                       -                    -                        -                      -                      -                       -
    Total 72000 · Prof Fees - Retained Firms                                       -                       -                    -                        -                      -                      -                       -
    72100 · DIP Loan Origination Fee                                               -                       -                    -                        -                      -                      -                       -
    81140 · Board Fees & Expenses                                                  -                       -                    -                        -                      -                      -                       -
    83000 · Tax Expense
     83100 · Property Tax Expense                                                  -                       -                    -                        -                      -                      -                       -
     83110 · Municipal Taxes and Fees                                           -                         -                     -                      -                      -                      -                        -
     83200 · Taxes, other - LLC fees                                       71,200                       800                   800                    800                    800                    800                      800
    Total 83000 · Tax Expense                                              71,200                       800                   800                    800                    800                    800                      800
   Total Expense                                                           73,100                      4,335               60,027                   6,559                  2,254                  1,824                  15,904
 Net Ordinary Income                                                      (71,659)                (293,065)               (60,027)             644,702                  (2,254)                (1,813)                   (15,904)
 Other Income/Expense
  Other Income
   85100 · (Gain) / Loss loan payoff/sale
   85101 · Refund of Pre-Petition Expense                                          -                       -                    -                        -                      -                      -                       -
   85105 · Settlement Income
  Other Expense                                                                    -                       -                    -                        -                      -                      -                       -
 Net Other Income                                                                  -                       -                    -                        -                      -                      -                       -
Net Income                                                                (71,659)                (293,065)               (60,027)             644,702                  (2,254)                (1,813)                   (15,904)




        43 of 124
                                                                                                                                                                                                           MOR-2 P&L filing to Dec31 2018
                                            Case 17-12560-KJC                                    Doc 3374                     Filed 02/04/19                           Page 44 of 124


DIP Woodbridge Group of Companies, LLC
Profit & Loss by Debtor
December 4, 2017 through December 31, 2018
                                                                P-007 Arrowpoint       P-008 Baleroy Invest    P-009 Bay Village       P-010 Bear Brook       P-011 Beech Creek      P-012 Bishop White     P-013 Black Bass
                                                      Debtor:      Invest LLC                 LLC                 Invest LLC              Invest LLC              Invest LLC             Invest LLC            Invest LLC
                                                   Case No.:       17-12578                 17-12580               17-12604               17-12610                17-12616               17-12623                17-12641
 Ordinary Income/Expense
   Income
    40005 · Sales Proceeds / Note Payoff                                           -             1,010,000                         -                      -            1,400,000                      -                         -
    40010 · Rent Revenue                                                           -                       -                       -                      -                      -                    -                         -
    40020 · Interest Revenue                                                       -                       -                       -                      -                      -                    -                         -
    40022 · Structured Settlement Income                                           -                       -                       -                      -                      -                    -                         -
    40090 · Other Revenue                                                          -                       -                       -                      -                      -                    -                         -
   Total Income                                                                    -             1,010,000                         -                      -            1,400,000                      -                         -
   Cost of Goods Sold
    50000 · Cost of Goods Sold
     50010 · Rental Property Cost Operations                                       -                       -                       -                      -                      -                    -                         -
     50020 · Cost of Sales Real Property                                           -             1,533,513                         -                      -            1,958,462                      -                         -
     50030 · Closing Costs / Prorations                                            -                64,321                         -                      -             103,142                       -                         -
     50040 · Structured Settlement Costs                                           -                       -                       -                      -                      -                    -                         -
    Total 50000 · Cost of Goods Sold                                               -             1,597,834                         -                      -            2,061,605                      -                         -
   Total COGS                                                                      -             1,597,834                         -                      -            2,061,605                      -                         -
  Gross Profit                                                                     -              (587,834)                        -                      -             (661,605)                     -                         -
   Expense
    60020 · Marketing & Media Consulting                                           -                       -                       -                      -                      -                    -                         -
    60400 · Bank Charges                                                           -                       -                       -                      -                      -                    -                         -
    60500 · Dues and Subscriptions                                                 -                       -                       -                      -                      -                    -                         -
    60600 · Equipment Lease                                                        -                       -                       -                      -                      -                    -                         -
    61700 · Information Technology                                                 -                       -                       -                      -                      -                    -                         -
    61800 · License and Filing Fees                                            528                       98                   479                     479                     579                   579                      479
    61850 · Meals and Entertainment                                                -                       -                       -                      -                      -                    -                         -
    61870 · Moving                                                                 -                       -                       -                      -                      -                    -                         -
    62500 · Employee Benefits                                                      -                       -                       -                      -                      -                    -                         -
    63300 · Insurance                                                              -                       -                       -                      -                      -                    -                         -
    63400 · Interest                                                               -                       -                       -                      -                      -              655,208                         -
    63401 · Int Expense - BK DIP financing                                         -                       -                       -                      -                      -                    -                         -
    64800 · Office Expense                                                         -                       -                       -                      -                      -                    -                         -
    64900 · Office Supplies                                                        -                       -                       -                      -                      -                    -                         -
    65000 · Outside Services                                                       -                       -                       -                      -                      -                    -                         -
    65100 · Parking                                                                -                       -                       -                      -                      -                    -                         -
    66000 · Payroll - Salaries, Wages, Tax
     66005 · Payroll-Service Fees                                                  -                       -                       -                      -                      -                    -                         -
     66015 · Payroll-Employer Taxes                                                -                       -                       -                      -                      -                    -                         -
     66000 · Payroll - Salaries, Wages, Tax - Other                                -                       -                       -                      -                      -                    -                         -
    Total 66000 · Payroll - Salaries, Wages, Tax                                   -                       -                       -                      -                      -                    -                         -
    66020 · Independent Contractors                                                -                       -                       -                      -                      -                    -                         -
    66030 · Postage and Delivery                                                   -                       -                       -                      -                      -                    -                         -
    66800 · Rent Expense                                                           -                       -                       -                      -                      -                    -                         -
    66900 · Repairs and Maintenance                                                -                       -                       -                      -                      -                    -                         -
    67000 · Security                                                               -                       -                       -                      -                      -                    -                         -
    67050 · Storage                                                                -                       -                       -                      -                      -                    -                         -
    67100 · Telephone and Internet Expense                                         -                       -                       -                      -                      -                    -                         -
    67110 · Title Searches                                                         -                       -                       -                      -                      -                    -                         -
    67200 · Travel                                                                 -                       -                       -                      -                      -                    -                         -
    67210 · Travel / Relocation allowance                                          -                       -                       -                      -                      -                    -                         -
    67400 · Utilities                                                              -                       -                       -                      -                      -                    -                         -
    68000 · Professional Fee Ord Course
     68100 · Consulting - Ord Course                                               -                       -                       -                      -                      -                    -                         -
     68200 · Legal Fees - Ord Course                                               -                   6,435                       -                      -                  3,970              250,000                         -
     68300 · Accntng Fees - Ord Course                                             -                       -                       -                      -                      -                    -                         -
     68400 · Consulting RS                                                         -                       -                       -                      -                      -                    -                         -
    Total 68000 · Professional Fee Ord Course                                      -                   6,435                       -                      -                  3,970              250,000                         -
    71000 · U.S. Trustee Fees                                                  975                     1,300              10,400                      975                    1,950              186,834                      975
    72000 · Prof Fees - Retained Firms
     72010 · Legal - Court Retained                                                -                       -                       -                      -                      -                    -                         -
     72030 · Consulting - Court Retained                                           -                       -                       -                      -                      -                    -                         -
     72050 · Creditor's Committee Fees Expen                                       -                       -                       -                      -                      -                    -                         -
    Total 72000 · Prof Fees - Retained Firms                                       -                       -                       -                      -                      -                    -                         -
    72100 · DIP Loan Origination Fee                                               -                       -                       -                      -                      -                    -                         -
    81140 · Board Fees & Expenses                                                  -                       -                       -                      -                      -                    -                         -
    83000 · Tax Expense
     83100 · Property Tax Expense                                                  -                       -                       -                      -                      -                    -                         -
     83110 · Municipal Taxes and Fees                                            -                        -                     -                       -                       -                     -                        -
     83200 · Taxes, other - LLC fees                                           800                      800                   800                     800                     800                   800                      800
    Total 83000 · Tax Expense                                                  800                      800                   800                     800                     800                   800                      800
   Total Expense                                                              2,303                    8,633              11,679                     2,254                   7,299            1,093,421                     2,254
 Net Ordinary Income                                                       (2,303)                (596,467)               (11,679)                (2,254)               (668,904)            (1,093,421)                  (2,254)
 Other Income/Expense
  Other Income
   85100 · (Gain) / Loss loan payoff/sale
   85101 · Refund of Pre-Petition Expense                                          -                       -                       -                      -                      -                    -                         -
   85105 · Settlement Income
  Other Expense                                                                    -                       -                       -                      -                      -                    -                         -
 Net Other Income                                                                  -                       -                       -                      -                      -                    -                         -
Net Income                                                                 (2,303)                (596,467)               (11,679)                (2,254)               (668,904)            (1,093,421)                  (2,254)




        44 of 124
                                                                                                                                                                                                           MOR-2 P&L filing to Dec31 2018
                                            Case 17-12560-KJC                                  Doc 3374                         Filed 02/04/19                      Page 45 of 124


DIP Woodbridge Group of Companies, LLC
Profit & Loss by Debtor
December 4, 2017 through December 31, 2018
                                                                P-014 Black Locust     P-015 Bluff Point       P-016 Bowman Invest P-017 Bramley Invest     P-019 Broadsands       P-020 Brynderwen         P-021 Cablestay
                                                      Debtor:       Invest LLC            Invest LLC                   LLC                 LLC                  Invest LLC            Invest LLC               Invest LLC
                                                   Case No.:        17-12648              17-12722                  17-12753             17-12769               17-12777               17-12793                 17-12798
 Ordinary Income/Expense
   Income
    40005 · Sales Proceeds / Note Payoff                                           -                       -                       -                    -                      -                      -             14,950,000
    40010 · Rent Revenue                                                           -                       -                       -                    -                      -                      -                       -
    40020 · Interest Revenue                                                       -                       -                       -                    -                      -                      -                       -
    40022 · Structured Settlement Income                                           -                       -                       -                    -                      -                      -                       -
    40090 · Other Revenue                                                          -                       -                       -                    -                      -                      -                       -
   Total Income                                                                    -                       -                       -                    -                      -                      -             14,950,000
   Cost of Goods Sold
    50000 · Cost of Goods Sold
     50010 · Rental Property Cost Operations                                       -                       -                       -                    -                      -                      -                       -
     50020 · Cost of Sales Real Property                                           -                       -                       -                    -                      -                      -             10,637,022
     50030 · Closing Costs / Prorations                                            -                       -                       -                    -                      -                      -                776,777
     50040 · Structured Settlement Costs                                           -                       -                       -                    -                      -                      -                       -
    Total 50000 · Cost of Goods Sold                                               -                       -                       -                    -                      -                      -             11,413,799
   Total COGS                                                                      -                       -                       -                    -                      -                      -             11,413,799
  Gross Profit                                                                     -                       -                       -                    -                      -                      -              3,536,201
   Expense
    60020 · Marketing & Media Consulting                                           -                       -                       -                    -                      -                      -                       -
    60400 · Bank Charges                                                           -                       -                       -                    -                      -                      -                       -
    60500 · Dues and Subscriptions                                                 -                       -                       -                    -                      -                      -                       -
    60600 · Equipment Lease                                                        -                       -                       -                    -                      -                      -                       -
    61700 · Information Technology                                                 -                       -                       -                    -                      -                      -                       -
    61800 · License and Filing Fees                                             579                   479                       579                  479                    679                    975                       49
    61850 · Meals and Entertainment                                                -                       -                       -                    -                      -                      -                       -
    61870 · Moving                                                                 -                       -                       -                    -                      -                      -                       -
    62500 · Employee Benefits                                                      -                       -                       -                    -                      -                      -                       -
    63300 · Insurance                                                              -                       -                       -                    -                      -                      -                       -
    63400 · Interest                                                               -                       -                       -                    -                      -                      -                       -
    63401 · Int Expense - BK DIP financing                                         -                       -                       -                    -                      -                      -                       -
    64800 · Office Expense                                                         -                       -                       -                    -                      -                      -                       -
    64900 · Office Supplies                                                        -                       -                       -                    -                      -                      -                       -
    65000 · Outside Services                                                       -                       -                       -                    -                      -                      -                       -
    65100 · Parking                                                                -                       -                       -                    -                      -                      -                       -
    66000 · Payroll - Salaries, Wages, Tax
     66005 · Payroll-Service Fees                                                  -                       -                       -                    -                      -                      -                       -
     66015 · Payroll-Employer Taxes                                                -                       -                       -                    -                      -                      -                       -
     66000 · Payroll - Salaries, Wages, Tax - Other                                -                       -                       -                    -                      -                      -                       -
    Total 66000 · Payroll - Salaries, Wages, Tax                                   -                       -                       -                    -                      -                      -                       -
    66020 · Independent Contractors                                                -                       -                       -                    -                      -                      -                       -
    66030 · Postage and Delivery                                                   -                       -                       -                    -                      -                      -                       -
    66800 · Rent Expense                                                           -                       -                       -                    -                      -                      -                       -
    66900 · Repairs and Maintenance                                                -                       -                       -                    -                      -                      -                       -
    67000 · Security                                                               -                       -                       -                    -                      -                      -                       -
    67050 · Storage                                                                -                       -                       -                    -                      -                      -                       -
    67100 · Telephone and Internet Expense                                         -                       -                       -                    -                      -                      -                       -
    67110 · Title Searches                                                         -                       -                       -                    -                      -                      -                       -
    67200 · Travel                                                                 -                       -                       -                    -                      -                      -                       -
    67210 · Travel / Relocation allowance                                          -                       -                       -                    -                      -                      -                       -
    67400 · Utilities                                                              -                       -                       -                    -                      -                      -                       -
    68000 · Professional Fee Ord Course
     68100 · Consulting - Ord Course                                               -                       -                       -                    -                      -                      -                       -
     68200 · Legal Fees - Ord Course                                               -                       -                       -                    -                      -                      -                       -
     68300 · Accntng Fees - Ord Course                                             -                       -                       -                    -                      -                      -                       -
     68400 · Consulting RS                                                         -                       -                       -                    -                      -                      -                       -
    Total 68000 · Professional Fee Ord Course                                      -                       -                       -                    -                      -                      -                       -
    71000 · U.S. Trustee Fees                                                  1,300                 3,250                      975                  975                    975                    975                  10,075
    72000 · Prof Fees - Retained Firms
     72010 · Legal - Court Retained                                                -                       -                       -                    -                      -                      -                       -
     72030 · Consulting - Court Retained                                           -                       -                       -                    -                      -                      -                       -
     72050 · Creditor's Committee Fees Expen                                       -                       -                       -                    -                      -                      -                       -
    Total 72000 · Prof Fees - Retained Firms                                       -                       -                       -                    -                      -                      -                       -
    72100 · DIP Loan Origination Fee                                               -                       -                       -                    -                      -                      -                       -
    81140 · Board Fees & Expenses                                                  -                       -                       -                    -                      -                      -                       -
    83000 · Tax Expense
     83100 · Property Tax Expense                                                  -                       -                       -                    -                      -                      -                       -
     83110 · Municipal Taxes and Fees                                             -                     -                         -                    -                      -                      -                       -
     83200 · Taxes, other - LLC fees                                            800                   800                       800                  800                    800                    800                     800
    Total 83000 · Tax Expense                                                   800                   800                       800                  800                    800                    800                     800
   Total Expense                                                               2,679                 4,529                     2,354                2,254                  2,454                  2,750                 10,924
 Net Ordinary Income                                                        (2,679)                (4,529)                  (2,354)              (2,254)               (2,454)                (2,750)                3,525,277
 Other Income/Expense
  Other Income
   85100 · (Gain) / Loss loan payoff/sale
   85101 · Refund of Pre-Petition Expense                                          -                       -                       -                    -                      -                      -                       -
   85105 · Settlement Income
  Other Expense                                                                    -                       -                       -                    -                      -                      -                       -
 Net Other Income                                                                  -                       -                       -                    -                      -                      -                       -
Net Income                                                                  (2,679)                (4,529)                  (2,354)              (2,254)               (2,454)                (2,750)                3,525,277




        45 of 124
                                                                                                                                                                                                          MOR-2 P&L filing to Dec31 2018
                                            Case 17-12560-KJC                                  Doc 3374                      Filed 02/04/19                         Page 46 of 124


DIP Woodbridge Group of Companies, LLC
Profit & Loss by Debtor
December 4, 2017 through December 31, 2018
                                                                P-022 Cannington       P-023 Carbondale       P-024 Carbondale       P-025 Carbondale       P-026 Carbondale       P-027 Carbondale        P-028 Carbondale
                                                      Debtor:      Invest LLC             Glen Lot A-5          Glen Lot D-22          Glen Lot E-24         Glen Lot GV-13           Glen Lot L-2          Glen Lot SD-14
                                                   Case No.:       17-12803               17-12807               17-12809               17-12811               17-12813                18-10284                 17-12817
 Ordinary Income/Expense
   Income
    40005 · Sales Proceeds / Note Payoff                                           -             300,000                895,000                         -                      -                      -                        -
    40010 · Rent Revenue                                                           -                      -                      -                      -                      -                      -                        -
    40020 · Interest Revenue                                                       -                      -                      -                      -                      -                      -                        -
    40022 · Structured Settlement Income                                           -                      -                      -                      -                      -                      -                        -
    40090 · Other Revenue                                                          -                      -                      -                      -                      -                      -                        -
   Total Income                                                                    -             300,000                895,000                         -                      -                      -                        -
   Cost of Goods Sold
    50000 · Cost of Goods Sold
     50010 · Rental Property Cost Operations                                       -                      -                      -                      -                      -                      -                        -
     50020 · Cost of Sales Real Property                                           -             768,294              1,099,344                         -                      -                      -                        -
     50030 · Closing Costs / Prorations                                            -              26,498                 48,343                         -                      -                      -                        -
     50040 · Structured Settlement Costs                                           -                      -                      -                      -                      -                      -                        -
    Total 50000 · Cost of Goods Sold                                               -             794,792              1,147,687                         -                      -                      -                        -
   Total COGS                                                                      -             794,792              1,147,687                         -                      -                      -                        -
  Gross Profit                                                                     -            (494,792)              (252,687)                        -                      -                      -                        -
   Expense
    60020 · Marketing & Media Consulting                                           -                      -                      -                      -                      -                      -                        -
    60400 · Bank Charges                                                           -                      -                      -                      -                      -                      -                        -
    60500 · Dues and Subscriptions                                                 -                      -                      -                      -                      -                      -                        -
    60600 · Equipment Lease                                                        -                      -                      -                      -                      -                      -                        -
    61700 · Information Technology                                                 -                      -                      -                      -                      -                      -                        -
    61800 · License and Filing Fees                                            679                    200                        -                  100                    100                     200                      100
    61850 · Meals and Entertainment                                                -                      -                      -                      -                      -                      -                        -
    61870 · Moving                                                                 -                      -                      -                      -                      -                      -                        -
    62500 · Employee Benefits                                                      -                      -                      -                      -                      -                      -                        -
    63300 · Insurance                                                              -                      -                      -                      -                      -                      -                        -
    63400 · Interest                                                               -                      -                      -                      -                      -                      -                        -
    63401 · Int Expense - BK DIP financing                                         -                      -                      -                      -                      -                      -                        -
    64800 · Office Expense                                                         -                      -                      -                      -                      -                      -                        -
    64900 · Office Supplies                                                        -                      -                      -                      -                      -                      -                        -
    65000 · Outside Services                                                       -                      -                      -                      -                      -                      -                        -
    65100 · Parking                                                                -                      -                      -                      -                      -                      -                        -
    66000 · Payroll - Salaries, Wages, Tax
     66005 · Payroll-Service Fees                                                  -                      -                      -                      -                      -                      -                        -
     66015 · Payroll-Employer Taxes                                                -                      -                      -                      -                      -                      -                        -
     66000 · Payroll - Salaries, Wages, Tax - Other                                -                      -                      -                      -                      -                      -                        -
    Total 66000 · Payroll - Salaries, Wages, Tax                                   -                      -                      -                      -                      -                      -                        -
    66020 · Independent Contractors                                                -                      -                      -                      -                      -                      -                        -
    66030 · Postage and Delivery                                                   -                      -                      -                      -                      -                      -                        -
    66800 · Rent Expense                                                           -                      -                      -                      -                      -                      -                        -
    66900 · Repairs and Maintenance                                                -                      -                      -                      -                      -                      -                        -
    67000 · Security                                                               -                      -                      -                      -                      -                      -                        -
    67050 · Storage                                                                -                      -                      -                      -                      -                      -                        -
    67100 · Telephone and Internet Expense                                         -                      -                      -                      -                      -                      -                        -
    67110 · Title Searches                                                         -                      -                  750                        -                      -                   750                         -
    67200 · Travel                                                                 -                      -                      -                      -                      -                      -                        -
    67210 · Travel / Relocation allowance                                          -                      -                      -                      -                      -                      -                        -
    67400 · Utilities                                                              -                      -                      -                      -                      -                      -                        -
    68000 · Professional Fee Ord Course
     68100 · Consulting - Ord Course                                               -                      -                      -                      -                      -                      -                        -
     68200 · Legal Fees - Ord Course                                               -                 3,640                  1,650                       -                      -                      -                      70
     68300 · Accntng Fees - Ord Course                                             -                      -                      -                      -                      -                      -                        -
     68400 · Consulting RS                                                         -                      -                      -                      -                      -                      -                        -
    Total 68000 · Professional Fee Ord Course                                      -                 3,640                  1,650                       -                      -                      -                      70
    71000 · U.S. Trustee Fees                                                 1,950                  1,300                  1,300                   975                    975                     650                      975
    72000 · Prof Fees - Retained Firms
     72010 · Legal - Court Retained                                                -                      -                      -                      -                      -                      -                        -
     72030 · Consulting - Court Retained                                           -                      -                      -                      -                      -                      -                        -
     72050 · Creditor's Committee Fees Expen                                       -                      -                      -                      -                      -                      -                        -
    Total 72000 · Prof Fees - Retained Firms                                       -                      -                      -                      -                      -                      -                        -
    72100 · DIP Loan Origination Fee                                               -                      -                      -                      -                      -                      -                        -
    81140 · Board Fees & Expenses                                                  -                      -                      -                      -                      -                      -                        -
    83000 · Tax Expense
     83100 · Property Tax Expense                                                  -                      -                      -                      -                      -                      -                        -
     83110 · Municipal Taxes and Fees                                            -                      -                       -                     -                      -                       -                        -
     83200 · Taxes, other - LLC fees                                           800                    800                   1,600                   800                    800                     800                      800
    Total 83000 · Tax Expense                                                  800                    800                   1,600                   800                    800                     800                      800
   Total Expense                                                              3,429                  5,940                  5,300                  1,875                  1,875                   2,400                    1,945
 Net Ordinary Income                                                       (3,429)              (500,732)              (257,987)                (1,875)                (1,875)                (2,400)                    (1,945)
 Other Income/Expense
  Other Income
   85100 · (Gain) / Loss loan payoff/sale
   85101 · Refund of Pre-Petition Expense                                          -                      -                      -                      -                      -                      -                        -
   85105 · Settlement Income
  Other Expense                                                                    -                      -                      -                      -                      -                      -                        -
 Net Other Income                                                                  -                      -                      -                      -                      -                      -                        -
Net Income                                                                 (3,429)              (500,732)              (257,987)                (1,875)                (1,875)                (2,400)                    (1,945)




        46 of 124
                                                                                                                                                                                                          MOR-2 P&L filing to Dec31 2018
                                            Case 17-12560-KJC                                  Doc 3374                      Filed 02/04/19                          Page 47 of 124


DIP Woodbridge Group of Companies, LLC
Profit & Loss by Debtor
December 4, 2017 through December 31, 2018
                                                                P-029 Carbondale       P-030 Carbondale       P-031 Carbondale       P-032 Carbondale Gl     P-036 Carbondale       P-037 Carbondale        P-038 Carbondale
                                                      Debtor:    Glen Lot SD-23         Glen Mes Lot19         Glen River Mes           Sunda Ponds            Peaks Lot L-1           Spruce 101            Sundanc Lot 15
                                                   Case No.:       17-12815               17-12819               17-12820                 17-12822              18-10286               17-12568                  17-12569
 Ordinary Income/Expense
   Income
    40005 · Sales Proceeds / Note Payoff                                  237,500                         -                      -                       -             650,000                         -                        -
    40010 · Rent Revenue                                                           -                      -                      -                       -                      -              17,853                           -
    40020 · Interest Revenue                                                       -                      -                      -                       -                      -                    1                          -
    40022 · Structured Settlement Income                                           -                      -                      -                       -                      -                      -                        -
    40090 · Other Revenue                                                          -                      -                      -                       -                      -                      -                        -
   Total Income                                                           237,500                         -                      -                       -             650,000                 17,854                           -
   Cost of Goods Sold
    50000 · Cost of Goods Sold
     50010 · Rental Property Cost Operations                                       -                      -                      -                       -                      -                 6,972                         -
     50020 · Cost of Sales Real Property                                  125,526                         -                      -                       -             770,854                         -                        -
     50030 · Closing Costs / Prorations                                    14,342                         -                      -                       -              36,404                         -                        -
     50040 · Structured Settlement Costs                                           -                      -                      -                       -                      -                      -                        -
    Total 50000 · Cost of Goods Sold                                      139,868                         -                      -                       -             807,258                    6,972                         -
   Total COGS                                                             139,868                         -                      -                       -             807,258                    6,972                         -
  Gross Profit                                                             97,632                         -                      -                       -            (157,258)                10,882                           -
   Expense
    60020 · Marketing & Media Consulting                                           -                      -                      -                       -                      -                      -                        -
    60400 · Bank Charges                                                           -                      -                      -                       -                      -                   40                          -
    60500 · Dues and Subscriptions                                                 -                      -                      -                       -                 1,515                       -                        -
    60600 · Equipment Lease                                                        -                      -                      -                       -                      -                      -                        -
    61700 · Information Technology                                                 -                      -                      -                       -                      -                      -                        -
    61800 · License and Filing Fees                                            200                    200                    100                      200                   100                    200                       100
    61850 · Meals and Entertainment                                                -                      -                      -                       -                      -                      -                        -
    61870 · Moving                                                                 -                      -                      -                       -                      -                      -                        -
    62500 · Employee Benefits                                                      -                      -                      -                       -                      -                      -                        -
    63300 · Insurance                                                              -                      -                      -                       -                      -                      -                        -
    63400 · Interest                                                               -                      -                      -                       -                      -                      -                        -
    63401 · Int Expense - BK DIP financing                                         -                      -                      -                       -                      -                      -                        -
    64800 · Office Expense                                                         -                      -                      -                       -                      -                      -                        -
    64900 · Office Supplies                                                        -                      -                      -                       -                      -                      -                        -
    65000 · Outside Services                                                       -                      -                      -                       -                      -                      -                        -
    65100 · Parking                                                                -                      -                      -                       -                      -                      -                        -
    66000 · Payroll - Salaries, Wages, Tax
     66005 · Payroll-Service Fees                                                  -                      -                      -                       -                      -                      -                        -
     66015 · Payroll-Employer Taxes                                                -                      -                      -                       -                      -                      -                        -
     66000 · Payroll - Salaries, Wages, Tax - Other                                -                      -                      -                       -                      -                      -                        -
    Total 66000 · Payroll - Salaries, Wages, Tax                                   -                      -                      -                       -                      -                      -                        -
    66020 · Independent Contractors                                                -                      -                      -                       -                      -                      -                        -
    66030 · Postage and Delivery                                                   -                      -                      -                       -                      -                      -                        -
    66800 · Rent Expense                                                           -                      -                      -                       -                      -                      -                        -
    66900 · Repairs and Maintenance                                                -                      -                      -                       -                      -                      -                        -
    67000 · Security                                                               -                      -                      -                       -                      -                      -                        -
    67050 · Storage                                                                -                      -                      -                       -                      -                      -                        -
    67100 · Telephone and Internet Expense                                         -                      -                      -                       -                      -                      -                        -
    67110 · Title Searches                                                         -                      -                      -                       -                  750                        -                     750
    67200 · Travel                                                                 -                      -                      -                       -                      -                      -                        -
    67210 · Travel / Relocation allowance                                          -                      -                      -                       -                      -                      -                        -
    67400 · Utilities                                                              -                      -                      -                       -                      -                      -                        -
    68000 · Professional Fee Ord Course
     68100 · Consulting - Ord Course                                               -                      -                      -                       -                      -                      -                        -
     68200 · Legal Fees - Ord Course                                          3,075                       -              11,414                      1,020                 2,460                  1,670                         -
     68300 · Accntng Fees - Ord Course                                             -                      -                      -                       -                      -                      -                        -
     68400 · Consulting RS                                                         -                      -                      -                       -                      -                      -                        -
    Total 68000 · Professional Fee Ord Course                                 3,075                       -              11,414                      1,020                 2,460                  1,670                         -
    71000 · U.S. Trustee Fees                                                  975                    975                   1,950                    1,300                 1,300                  1,625                      975
    72000 · Prof Fees - Retained Firms
     72010 · Legal - Court Retained                                                -                      -                      -                       -                      -                      -                        -
     72030 · Consulting - Court Retained                                           -                      -                      -                       -                      -                      -                        -
     72050 · Creditor's Committee Fees Expen                                       -                      -                      -                       -                      -                      -                        -
    Total 72000 · Prof Fees - Retained Firms                                       -                      -                      -                       -                      -                      -                        -
    72100 · DIP Loan Origination Fee                                               -                      -                      -                       -                      -                      -                        -
    81140 · Board Fees & Expenses                                                  -                      -                      -                       -                      -                      -                        -
    83000 · Tax Expense
     83100 · Property Tax Expense                                                  -                      -                      -                       -                      -                      -                        -
     83110 · Municipal Taxes and Fees                                            -                      -                      -                        -                     -                      -                         -
     83200 · Taxes, other - LLC fees                                           860                    900                    800                      860                   800                    860                       800
    Total 83000 · Tax Expense                                                  860                    900                    800                      860                   800                    860                       800
   Total Expense                                                              5,110                  2,075               14,264                      3,380                 6,925                  4,395                     2,625
 Net Ordinary Income                                                       92,522                 (2,075)               (14,264)                  (3,380)             (164,183)                   6,488                   (2,625)
 Other Income/Expense
  Other Income
   85100 · (Gain) / Loss loan payoff/sale
   85101 · Refund of Pre-Petition Expense                                          -                      -                      -                       -                      -                      -                        -
   85105 · Settlement Income
  Other Expense                                                                    -                      -                      -                       -                      -                      -                        -
 Net Other Income                                                                  -                      -                      -                       -                      -                      -                        -
Net Income                                                                 92,522                 (2,075)               (14,264)                  (3,380)             (164,183)                   6,488                   (2,625)




        47 of 124
                                                                                                                                                                                                           MOR-2 P&L filing to Dec31 2018
                                            Case 17-12560-KJC                                   Doc 3374                     Filed 02/04/19                         Page 48 of 124


DIP Woodbridge Group of Companies, LLC
Profit & Loss by Debtor
December 4, 2017 through December 31, 2018
                                                                P-039 Carbondale       P-040 Castle Pines     P-041 Centershot       P-042 Chaplin Invest    P-043 Chestnut       P-044 Chestnut Ridge     P-045 Clover Basin
                                                      Debtor:    Sundanc Lot 16            Invest LLC            Invest LLC                 LLC                Invest LLC              Invest LLC              Invest LLC
                                                   Case No.:       17-12570                17-12581              17-12586                 17-12592             17-12603                17-12614                 17-12621
 Ordinary Income/Expense
   Income
    40005 · Sales Proceeds / Note Payoff                                           -                      -           1,500,000                          -                    -                       -              9,550,000
    40010 · Rent Revenue                                                           -                      -                      -                       -                    -                       -                        -
    40020 · Interest Revenue                                                       -                      -                      -                       -                    -                       -                        -
    40022 · Structured Settlement Income                                           -                      -                      -                       -                    -                       -                        -
    40090 · Other Revenue                                                          -                      -                      -                       -                    -                       -                        -
   Total Income                                                                    -                      -           1,500,000                          -                    -                       -              9,550,000
   Cost of Goods Sold
    50000 · Cost of Goods Sold
     50010 · Rental Property Cost Operations                                       -                      -                      -                       -                    -                       -                  (2,000)
     50020 · Cost of Sales Real Property                                           -                      -           2,290,700                          -                    -                       -              8,456,863
     50030 · Closing Costs / Prorations                                            -                      -              86,530                          -                    -                       -                594,994
     50040 · Structured Settlement Costs                                           -                      -                      -                       -                    -                       -                        -
    Total 50000 · Cost of Goods Sold                                               -                      -           2,377,230                          -                    -                       -              9,049,857
   Total COGS                                                                      -                      -           2,377,230                          -                    -                       -              9,049,857
  Gross Profit                                                                     -                      -            (877,230)                         -                    -                       -                500,143
   Expense
    60020 · Marketing & Media Consulting                                           -                      -                      -                       -                    -                       -                        -
    60400 · Bank Charges                                                           -                      -                      -                       -                    -                       -                        -
    60500 · Dues and Subscriptions                                                 -                      -                      -                       -                    -                       -                        -
    60600 · Equipment Lease                                                        -                      -                      -                       -                    -                       -                        -
    61700 · Information Technology                                                 -                      -                      -                       -                    -                       -                        -
    61800 · License and Filing Fees                                            100                     430                    49                      430                  430                     479                         -
    61850 · Meals and Entertainment                                                -                      -                      -                       -                    -                       -                        -
    61870 · Moving                                                                 -                      -                      -                       -                    -                       -                        -
    62500 · Employee Benefits                                                      -                      -                      -                       -                    -                       -                        -
    63300 · Insurance                                                              -                      -                      -                       -                    -                       -                        -
    63400 · Interest                                                               -                      -                      -                       -                    -                       -                        -
    63401 · Int Expense - BK DIP financing                                         -                      -                      -                       -                    -                       -                        -
    64800 · Office Expense                                                         -                      -                      -                       -                    -                       -                        -
    64900 · Office Supplies                                                        -                      -                      -                       -                    -                       -                        -
    65000 · Outside Services                                                       -                      -                      -                       -                    -                       -                        -
    65100 · Parking                                                                -                      -                      -                       -                    -                       -                        -
    66000 · Payroll - Salaries, Wages, Tax
     66005 · Payroll-Service Fees                                                  -                      -                      -                       -                    -                       -                        -
     66015 · Payroll-Employer Taxes                                                -                      -                      -                       -                    -                       -                        -
     66000 · Payroll - Salaries, Wages, Tax - Other                                -                      -                      -                       -                    -                       -                        -
    Total 66000 · Payroll - Salaries, Wages, Tax                                   -                      -                      -                       -                    -                       -                        -
    66020 · Independent Contractors                                                -                      -                      -                       -                    -                       -                        -
    66030 · Postage and Delivery                                                   -                      -                      -                       -                    -                       -                        -
    66800 · Rent Expense                                                           -                      -                      -                       -                    -                       -                        -
    66900 · Repairs and Maintenance                                                -                      -                      -                       -                    -                       -                        -
    67000 · Security                                                               -                      -                      -                       -                    -                       -                        -
    67050 · Storage                                                                -                      -                      -                       -                    -                       -                        -
    67100 · Telephone and Internet Expense                                         -                      -                      -                       -                    -                       -                        -
    67110 · Title Searches                                                         -                      -                      -                       -                    -                       -                        -
    67200 · Travel                                                                 -                      -                      -                       -                    -                       -                        -
    67210 · Travel / Relocation allowance                                          -                      -                      -                       -                    -                       -                        -
    67400 · Utilities                                                              -                      -                      -                       -                    -                       -                        -
    68000 · Professional Fee Ord Course
     68100 · Consulting - Ord Course                                               -                      -                      -                       -                    -                       -                        -
     68200 · Legal Fees - Ord Course                                               -                  1,230                      -                       -             95,000                         -                    7,065
     68300 · Accntng Fees - Ord Course                                             -                      -                      -                       -                    -                       -                        -
     68400 · Consulting RS                                                         -                      -                      -                       -                    -                       -                        -
    Total 68000 · Professional Fee Ord Course                                      -                  1,230                      -                       -             95,000                         -                    7,065
    71000 · U.S. Trustee Fees                                                  975                     975                  1,625                     975                 3,900                   5,525                    5,850
    72000 · Prof Fees - Retained Firms
     72010 · Legal - Court Retained                                                -                      -                      -                       -                    -                       -                        -
     72030 · Consulting - Court Retained                                           -                      -                      -                       -                    -                       -                        -
     72050 · Creditor's Committee Fees Expen                                       -                      -                      -                       -                    -                       -                        -
    Total 72000 · Prof Fees - Retained Firms                                       -                      -                      -                       -                    -                       -                        -
    72100 · DIP Loan Origination Fee                                               -                      -                      -                       -                    -                       -                        -
    81140 · Board Fees & Expenses                                                  -                      -                      -                       -                    -                       -                        -
    83000 · Tax Expense
     83100 · Property Tax Expense                                                  -                      -                      -                       -                    -                       -                        -
     83110 · Municipal Taxes and Fees                                            -                       -                     -                        -                    -                       -                        -
     83200 · Taxes, other - LLC fees                                           800                     800                   800                      800                  800                     800                      800
    Total 83000 · Tax Expense                                                  800                     800                   800                      800                  800                     800                      800
   Total Expense                                                              1,875                   3,435                 2,474                    2,205            100,130                     6,804                 13,715
 Net Ordinary Income                                                       (1,875)                 (3,435)             (879,704)                  (2,205)            (100,130)                 (6,804)                 486,428
 Other Income/Expense
  Other Income
   85100 · (Gain) / Loss loan payoff/sale
   85101 · Refund of Pre-Petition Expense                                          -                      -                      -                       -                    -                       -                        -
   85105 · Settlement Income
  Other Expense                                                                    -                      -                      -                       -                    -                       -                        -
 Net Other Income                                                                  -                      -                      -                       -                    -                       -                        -
Net Income                                                                 (1,875)                 (3,435)             (879,704)                  (2,205)            (100,130)                 (6,804)                 486,428




        48 of 124
                                                                                                                                                                                                          MOR-2 P&L filing to Dec31 2018
                                            Case 17-12560-KJC                                   Doc 3374                    Filed 02/04/19                          Page 49 of 124


DIP Woodbridge Group of Companies, LLC
Profit & Loss by Debtor
December 4, 2017 through December 31, 2018
                                                                P-046 Coffee Creek     P-047 Craven Invest    P-049 Crowfield       P-050 Crystal Woods P-051 Daleville Invest    P-052 Derbyshire       P-053 Diamond Cove
                                                      Debtor:       Invest LLC                LLC               Invest LLC               Invest LLC             LLC                  Invest LLC               Invest LLC
                                                   Case No.:        17-12627                17-12636             17-12660                17-12676              17-12687              17-12696                  17-12705
 Ordinary Income/Expense
   Income
    40005 · Sales Proceeds / Note Payoff                                           -             9,270,000                      -                       -                     -             995,000                29,500,000
    40010 · Rent Revenue                                                           -                     -                      -                       -                     -                      -                       -
    40020 · Interest Revenue                                                       -                     -                      -                       -                     -                      -                       -
    40022 · Structured Settlement Income                                           -                     -                      -                       -                     -                      -                       -
    40090 · Other Revenue                                                          -                     -                      -                       -                     -                      -                       -
   Total Income                                                                    -             9,270,000                      -                       -                     -             995,000                29,500,000
   Cost of Goods Sold
    50000 · Cost of Goods Sold
     50010 · Rental Property Cost Operations                                       -                     -                      -                       -                     -                      -                       -
     50020 · Cost of Sales Real Property                                           -             9,100,740                      -                       -                     -           1,072,635                39,678,426
     50030 · Closing Costs / Prorations                                            -              651,140                       -                       -                     -              53,850                 1,086,736
     50040 · Structured Settlement Costs                                           -                     -                      -                       -                     -                      -                       -
    Total 50000 · Cost of Goods Sold                                               -             9,751,880                      -                       -                     -           1,126,486                40,765,162
   Total COGS                                                                      -             9,751,880                      -                       -                     -           1,126,486                40,765,162
  Gross Profit                                                                     -              (481,880)                     -                       -                     -            (131,486)              (11,265,162)
   Expense
    60020 · Marketing & Media Consulting                                           -                     -                      -                       -                     -                      -                       -
    60400 · Bank Charges                                                           -                     -                      -                       -                     -                      -                       -
    60500 · Dues and Subscriptions                                                 -                     -                      -                       -                     -                      -                       -
    60600 · Equipment Lease                                                        -                     -                      -                       -                     -                      -                       -
    61700 · Information Technology                                                 -                     -                      -                       -                     -                      -                       -
    61800 · License and Filing Fees                                             430                      -                  479                      579                   430                    49                      479
    61850 · Meals and Entertainment                                                -                     -                      -                       -                     -                      -                       -
    61870 · Moving                                                                 -                     -                      -                       -                     -                      -                       -
    62500 · Employee Benefits                                                      -                     -                      -                       -                     -                      -                       -
    63300 · Insurance                                                              -                     -                      -                       -                     -                      -                       -
    63400 · Interest                                                               -              136,617                       -                       -                     -                      -                       -
    63401 · Int Expense - BK DIP financing                                         -                     -                      -                       -                     -                      -                       -
    64800 · Office Expense                                                         -                     -                      -                       -                     -                      -                       -
    64900 · Office Supplies                                                        -                     -                      -                       -                     -                      -                       -
    65000 · Outside Services                                                       -                     -                      -                       -                     -                      -                       -
    65100 · Parking                                                                -                     -                      -                       -                     -                      -                       -
    66000 · Payroll - Salaries, Wages, Tax
     66005 · Payroll-Service Fees                                                  -                     -                      -                       -                     -                      -                       -
     66015 · Payroll-Employer Taxes                                                -                     -                      -                       -                     -                      -                       -
     66000 · Payroll - Salaries, Wages, Tax - Other                                -                     -                      -                       -                     -                      -                       -
    Total 66000 · Payroll - Salaries, Wages, Tax                                   -                     -                      -                       -                     -                      -                       -
    66020 · Independent Contractors                                                -                     -                      -                       -                     -                      -                       -
    66030 · Postage and Delivery                                                   -                     -                      -                       -                     -                      -                       -
    66800 · Rent Expense                                                           -                     -                      -                       -                     -                      -                       -
    66900 · Repairs and Maintenance                                                -                     -                      -                       -                     -                      -                       -
    67000 · Security                                                               -                     -                      -                       -                     -                      -                       -
    67050 · Storage                                                                -                     -                      -                       -                     -                      -                       -
    67100 · Telephone and Internet Expense                                         -                     -                      -                       -                     -                      -                       -
    67110 · Title Searches                                                         -                     -                      -                       -                     -                      -                       -
    67200 · Travel                                                                 -                     -                      -                       -                     -                      -                       -
    67210 · Travel / Relocation allowance                                          -                     -                      -                       -                     -                      -                       -
    67400 · Utilities                                                              -                     -                      -                       -                     -                      -                       -
    68000 · Professional Fee Ord Course
     68100 · Consulting - Ord Course                                               -                     -                      -                       -                     -                      -                       -
     68200 · Legal Fees - Ord Course                                               -               22,500                       -                       -                     -                 3,740                        -
     68300 · Accntng Fees - Ord Course                                             -                     -                      -                       -                     -                      -                       -
     68400 · Consulting RS                                                         -                     -                      -                       -                     -                      -                       -
    Total 68000 · Professional Fee Ord Course                                      -               22,500                       -                       -                     -                 3,740                        -
    71000 · U.S. Trustee Fees                                                   975                47,673               11,700                       975                   975                  1,300                  36,968
    72000 · Prof Fees - Retained Firms
     72010 · Legal - Court Retained                                                -                     -                      -                       -                     -                      -                       -
     72030 · Consulting - Court Retained                                           -                     -                      -                       -                     -                      -                       -
     72050 · Creditor's Committee Fees Expen                                       -                     -                      -                       -                     -                      -                       -
    Total 72000 · Prof Fees - Retained Firms                                       -                     -                      -                       -                     -                      -                       -
    72100 · DIP Loan Origination Fee                                               -                     -                      -                       -                     -                      -                       -
    81140 · Board Fees & Expenses                                                  -                     -                      -                       -                     -                      -                       -
    83000 · Tax Expense
     83100 · Property Tax Expense                                                  -                     -                      -                       -                     -                      -                       -
     83110 · Municipal Taxes and Fees                                             -                      -                    -                        -                     -                      -                       -
     83200 · Taxes, other - LLC fees                                            800                    800                  800                      800                   800                  1,600                     800
    Total 83000 · Tax Expense                                                   800                    800                  800                      800                   800                  1,600                     800
   Total Expense                                                               2,205              207,589               12,979                      2,354                 2,205                 6,689                  38,247
 Net Ordinary Income                                                        (2,205)               (689,469)             (12,979)                  (2,354)              (2,205)             (138,175)              (11,303,409)
 Other Income/Expense
  Other Income
   85100 · (Gain) / Loss loan payoff/sale                                                                                                                                     -                      -                       -
   85101 · Refund of Pre-Petition Expense                                          -                     -                      -                       -                     -                      -                       -
   85105 · Settlement Income                                                                                                                                                  -                      -                       -
  Other Expense                                                                    -                     -                      -                       -                     -                      -                       -
 Net Other Income                                                                  -                     -                      -                       -                     -                      -                       -
Net Income                                                                  (2,205)               (689,469)             (12,979)                  (2,354)              (2,205)             (138,175)              (11,303,409)




        49 of 124
                                                                                                                                                                                                         MOR-2 P&L filing to Dec31 2018
                                            Case 17-12560-KJC                                   Doc 3374                        Filed 02/04/19                        Page 50 of 124


DIP Woodbridge Group of Companies, LLC
Profit & Loss by Debtor
December 4, 2017 through December 31, 2018
                                                                P-054 Dixville Notch     P-055 Dogwood          P-056 Dollis Brook     P-057 Donnington       P-059 Doubleleaf       P-060 Drawspan           P-061 Eldredge
                                                      Debtor:       Invest LLC          Valley Invest LLC           Invest LLC            Invest LLC             Invest LLC             Invest LLC              Invest LLC
                                                   Case No.:         17-12716               17-12727                17-12735              17-12744               17-12755               17-12767                 17-12775
 Ordinary Income/Expense
   Income
    40005 · Sales Proceeds / Note Payoff                                            -                       -                      -           2,710,000                         -          1,800,000                           -
    40010 · Rent Revenue                                                            -                       -                      -             101,262                         -                     -                        -
    40020 · Interest Revenue                                                        -                       -                      -                    3                        -                     -                        -
    40022 · Structured Settlement Income                                            -                       -                      -                      -                      -                     -                        -
    40090 · Other Revenue                                                           -                       -               49,937                        -                      -                     -                 47,375
   Total Income                                                                     -                       -               49,937             2,811,265                         -          1,800,000                    47,375
   Cost of Goods Sold
    50000 · Cost of Goods Sold
     50010 · Rental Property Cost Operations                                        -                       -                      -              39,419                         -                     -                        -
     50020 · Cost of Sales Real Property                                            -                       -                      -           5,013,609                         -          2,419,908                          85
     50030 · Closing Costs / Prorations                                             -                       -                      -             260,440                         -            113,416                           -
     50040 · Structured Settlement Costs                                            -                       -                      -                      -                      -                     -                        -
    Total 50000 · Cost of Goods Sold                                                -                       -                      -           5,313,469                         -          2,533,323                          85
   Total COGS                                                                       -                       -                      -           5,313,469                         -          2,533,323                          85
  Gross Profit                                                                      -                       -               49,937            (2,502,204)                        -           (733,323)                   47,290
   Expense
    60020 · Marketing & Media Consulting                                            -                       -                      -                      -                      -                     -                        -
    60400 · Bank Charges                                                            -                       -                      -                      -                      -                     -                        -
    60500 · Dues and Subscriptions                                                  -                       -                      -                      -                      -                     -                        -
    60600 · Equipment Lease                                                         -                       -                      -                      -                      -                     -                        -
    61700 · Information Technology                                                  -                       -                      -                      -                      -                     -                        -
    61800 · License and Filing Fees                                              479                    579                     679                   479                    479                    679                      430
    61850 · Meals and Entertainment                                                 -                       -                      -                      -                      -                     -                        -
    61870 · Moving                                                                  -                       -                      -                      -                      -                     -                        -
    62500 · Employee Benefits                                                       -                       -                      -                      -                      -                     -                        -
    63300 · Insurance                                                               -                       -                      -                      -                      -                     -                        -
    63400 · Interest                                                                -                       -                      -                      -                      -                     -                        -
    63401 · Int Expense - BK DIP financing                                          -                       -                      -                      -                      -                     -                        -
    64800 · Office Expense                                                          -                       -                      -                      -                      -                     -                        -
    64900 · Office Supplies                                                         -                       -                      -                      -                      -                     -                        -
    65000 · Outside Services                                                        -                       -                      -                      -                      -                     -                        -
    65100 · Parking                                                                 -                       -                      -                      -                      -                     -                        -
    66000 · Payroll - Salaries, Wages, Tax
     66005 · Payroll-Service Fees                                                   -                       -                      -                      -                      -                     -                        -
     66015 · Payroll-Employer Taxes                                                 -                       -                      -                      -                      -                     -                        -
     66000 · Payroll - Salaries, Wages, Tax - Other                                 -                       -                      -                      -                      -                     -                        -
    Total 66000 · Payroll - Salaries, Wages, Tax                                    -                       -                      -                      -                      -                     -                        -
    66020 · Independent Contractors                                                 -                       -                      -                      -                      -                     -                        -
    66030 · Postage and Delivery                                                    -                       -                      -                      -                      -                     -                        -
    66800 · Rent Expense                                                            -                       -                      -                      -                      -                     -                        -
    66900 · Repairs and Maintenance                                                 -                       -                      -                      -                      -                     -                        -
    67000 · Security                                                                -                       -                      -                      -                      -                     -                        -
    67050 · Storage                                                                 -                       -                      -                      -                      -                     -                        -
    67100 · Telephone and Internet Expense                                          -                       -                      -                      -                      -                     -                        -
    67110 · Title Searches                                                          -                   617                        -                  750                        -                     -                        -
    67200 · Travel                                                                  -                       -                      -                      -                      -                     -                        -
    67210 · Travel / Relocation allowance                                           -                       -                      -                      -                      -                     -                        -
    67400 · Utilities                                                               -                       -                      -                      -                      -                     -                        -
    68000 · Professional Fee Ord Course
     68100 · Consulting - Ord Course                                                -                       -                      -                      -                      -                     -                        -
     68200 · Legal Fees - Ord Course                                                -                       -                  1,740                 7,965                       -                     -                        -
     68300 · Accntng Fees - Ord Course                                              -                       -                      -                      -                      -                     -                        -
     68400 · Consulting RS                                                          -                       -                      -                      -                      -                     -                        -
    Total 68000 · Professional Fee Ord Course                                       -                       -                  1,740                 7,965                       -                     -                        -
    71000 · U.S. Trustee Fees                                                    975                   1,300                   1,625                 2,600                  1,300                  6,500                    4,550
    72000 · Prof Fees - Retained Firms
     72010 · Legal - Court Retained                                                 -                       -                      -                      -                      -                     -                        -
     72030 · Consulting - Court Retained                                            -                       -                      -                      -                      -                     -                        -
     72050 · Creditor's Committee Fees Expen                                        -                       -                      -                      -                      -                     -                        -
    Total 72000 · Prof Fees - Retained Firms                                        -                       -                      -                      -                      -                     -                        -
    72100 · DIP Loan Origination Fee                                                -                       -                      -                      -                      -                     -                        -
    81140 · Board Fees & Expenses                                                   -                       -                      -                      -                      -                     -                        -
    83000 · Tax Expense
     83100 · Property Tax Expense                                                   -                       -                      -                      -                      -                     -                        -
     83110 · Municipal Taxes and Fees                                              -                      -                       -                     -                      -                      -                        -
     83200 · Taxes, other - LLC fees                                             800                    800                     800                   800                    800                    800                      800
    Total 83000 · Tax Expense                                                    800                    800                     800                   800                    800                    800                      800
   Total Expense                                                                2,254                  3,296                   4,844              12,594                    2,579                  7,979                    5,780
 Net Ordinary Income                                                         (2,254)                (3,296)                 45,093            (2,514,797)                (2,579)             (741,302)                   41,510
 Other Income/Expense
  Other Income
   85100 · (Gain) / Loss loan payoff/sale                                           -                       -                      -                      -                      -                     -                        -
   85101 · Refund of Pre-Petition Expense                                           -                       -                      -                      -                      -                     -                        -
   85105 · Settlement Income                                                        -                       -                      -                      -                      -                     -                        -
  Other Expense                                                                     -                       -                      -                      -                      -                     -                        -
 Net Other Income                                                                   -                       -                      -                      -                      -                     -                        -
Net Income                                                                   (2,254)                (3,296)                 45,093            (2,514,797)                (2,579)             (741,302)                   41,510




        50 of 124
                                                                                                                                                                                                           MOR-2 P&L filing to Dec31 2018
                                            Case 17-12560-KJC                                   Doc 3374                     Filed 02/04/19                        Page 51 of 124


DIP Woodbridge Group of Companies, LLC
Profit & Loss by Debtor
December 4, 2017 through December 31, 2018
                                                                P-062 Elstar Invest    P-063 Emerald Lake     P-064 Fieldpoint       P-065 Franconia       P-066 Gateshead       P-067 Glenn Rich       P-068 Goose Rocks
                                                      Debtor:          LLC                 Invest LLC            Invest LLC          Notch Inves LLC          Invest LLC            Invest LLC              Invest LLC
                                                   Case No.:        17-12782               17-12788              17-12794               17-12797              17-12597              17-12602                  17-12611
 Ordinary Income/Expense
   Income
    40005 · Sales Proceeds / Note Payoff                                          -                       -             900,113                        -           1,850,500                        -                       -
    40010 · Rent Revenue                                                          -               280,000                75,203                        -            132,642                         -                 10,000
    40020 · Interest Revenue                                                      -                       -                      1                     -                     3                      -                       -
    40022 · Structured Settlement Income                                          -                       -                      -                     -                     -                      -                       -
    40090 · Other Revenue                                                         -                       -                      -                     -                     -                      -                 22,192
   Total Income                                                                   -               280,000               975,316                        -           1,983,145                        -                 32,192
   Cost of Goods Sold
    50000 · Cost of Goods Sold
     50010 · Rental Property Cost Operations                                      -                    505                  8,110                      -             75,073                         -                       -
     50020 · Cost of Sales Real Property                                          -                       -             884,029                        -           2,283,885                        -                       -
     50030 · Closing Costs / Prorations                                           -                       -             107,399                        -            131,545                         -                       -
     50040 · Structured Settlement Costs                                          -                       -                      -                     -                     -                      -                       -
    Total 50000 · Cost of Goods Sold                                              -                    505              999,538                        -           2,490,504                        -                       -
   Total COGS                                                                     -                    505              999,538                        -           2,490,504                        -                       -
  Gross Profit                                                                    -               279,495               (24,222)                       -            (507,359)                       -                 32,192
   Expense
    60020 · Marketing & Media Consulting                                          -                       -                      -                     -                     -                      -                       -
    60400 · Bank Charges                                                          -                       -                      -                     -                     -                      -                       -
    60500 · Dues and Subscriptions                                                -                       -                      -                     -                     -                      -                       -
    60600 · Equipment Lease                                                       -                       -                      -                     -                     -                      -                       -
    61700 · Information Technology                                                -                       -                      -                     -                     -                      -                       -
    61800 · License and Filing Fees                                             479                    975                   198                    579                   149                   579                      479
    61850 · Meals and Entertainment                                               -                       -                      -                     -                     -                      -                       -
    61870 · Moving                                                                -                       -                      -                     -                     -                      -                       -
    62500 · Employee Benefits                                                     -                       -                      -                     -                     -                      -                       -
    63300 · Insurance                                                             -                       -                      -                     -                     -                      -                       -
    63400 · Interest                                                              -                       -                      -                     -                     -                      -                       -
    63401 · Int Expense - BK DIP financing                                        -                       -                      -                     -                     -                      -                       -
    64800 · Office Expense                                                        -                       -                      -                     -                     -                      -                       -
    64900 · Office Supplies                                                       -                       -                      -                     -                     -                      -                       -
    65000 · Outside Services                                                      -                       -                      -                     -                     -                      -                       -
    65100 · Parking                                                               -                       -                      -                     -                     -                      -                       -
    66000 · Payroll - Salaries, Wages, Tax
     66005 · Payroll-Service Fees                                                 -                       -                      -                     -                     -                      -                       -
     66015 · Payroll-Employer Taxes                                               -                       -                      -                     -                     -                      -                       -
     66000 · Payroll - Salaries, Wages, Tax - Other                               -                       -                      -                     -                     -                      -                       -
    Total 66000 · Payroll - Salaries, Wages, Tax                                  -                       -                      -                     -                     -                      -                       -
    66020 · Independent Contractors                                               -                       -                      -                     -                     -                      -                       -
    66030 · Postage and Delivery                                                  -                       -                      -                     -                     -                      -                       -
    66800 · Rent Expense                                                          -                       -                      -                     -                     -                      -                       -
    66900 · Repairs and Maintenance                                               -                       -                      -                     -                     -                      -                       -
    67000 · Security                                                              -                       -                      -                     -                     -                      -                       -
    67050 · Storage                                                               -                       -                      -                     -                     -                      -                       -
    67100 · Telephone and Internet Expense                                        -                       -                      -                     -                     -                      -                       -
    67110 · Title Searches                                                        -                       -                      -                     -                     -                      -                       -
    67200 · Travel                                                                -                       -                      -                     -                     -                      -                       -
    67210 · Travel / Relocation allowance                                         -                       -                      -                     -                     -                      -                       -
    67400 · Utilities                                                             -                       -                      -                     -                     -                      -                       -
    68000 · Professional Fee Ord Course
     68100 · Consulting - Ord Course                                              -                       -                      -                     -                     -                      -                       -
     68200 · Legal Fees - Ord Course                                              -                       -                 2,731                      -                 1,635                      -                       -
     68300 · Accntng Fees - Ord Course                                            -                       -                      -                     -                     -                      -                       -
     68400 · Consulting RS                                                        -                       -                      -                     -                     -                      -                       -
    Total 68000 · Professional Fee Ord Course                                     -                       -                 2,731                      -                 1,635                      -                       -
    71000 · U.S. Trustee Fees                                                14,625                   1,625                 2,275                   975                  2,925                  975                   11,375
    72000 · Prof Fees - Retained Firms
     72010 · Legal - Court Retained                                               -                       -                      -                     -                     -                      -                       -
     72030 · Consulting - Court Retained                                          -                       -                      -                     -                     -                      -                       -
     72050 · Creditor's Committee Fees Expen                                      -                       -                      -                     -                     -                      -                       -
    Total 72000 · Prof Fees - Retained Firms                                      -                       -                      -                     -                     -                      -                       -
    72100 · DIP Loan Origination Fee                                              -                       -                      -                     -                     -                      -                       -
    81140 · Board Fees & Expenses                                                 -                       -                      -                     -                     -                      -                       -
    83000 · Tax Expense
     83100 · Property Tax Expense                                                 -                    108                       -                     -                     -                      -                       -
     83110 · Municipal Taxes and Fees                                             -                      -                     -                      -                     -                     -                        -
     83200 · Taxes, other - LLC fees                                            800                    800                   800                    800                   800                   800                      800
    Total 83000 · Tax Expense                                                   800                    908                   800                    800                   800                   800                      800
   Total Expense                                                             15,904                   3,508                 6,004                  2,354                 5,509                 2,354                  12,654
 Net Ordinary Income                                                        (15,904)              275,987               (30,226)                (2,354)             (512,868)               (2,354)                   19,538
 Other Income/Expense
  Other Income
   85100 · (Gain) / Loss loan payoff/sale                                         -                       -                      -                     -                     -                      -                       -
   85101 · Refund of Pre-Petition Expense                                         -                       -                      -                     -                     -                      -                 45,000
   85105 · Settlement Income                                                      -                       -                      -                     -                     -                      -                      -
  Other Expense                                                                   -                       -                      -                     -                     -                      -                       -
 Net Other Income                                                                 -                       -                      -                     -                     -                      -                 45,000
Net Income                                                                  (15,904)              275,987               (30,226)                (2,354)             (512,868)               (2,354)                   64,538




        51 of 124
                                                                                                                                                                                                        MOR-2 P&L filing to Dec31 2018
                                            Case 17-12560-KJC                                  Doc 3374                        Filed 02/04/19                          Page 52 of 124


DIP Woodbridge Group of Companies, LLC
Profit & Loss by Debtor
December 4, 2017 through December 31, 2018
                                                                P-069 Goosebrook       P-070 Graeme Park      P-071 Grand Midway      P-072 Gravenstein       P-073 Green Gables    P-074 Grenadier       P-075 Grumblethorpe
                                                      Debtor:       Invest LLC             Invest LLC             Invest LLC             Invest LLC               Invest LLC           Invest LLC              Invest LLC
                                                   Case No.:        17-12617               17-12622                17-12628               17-12632                17-12637             17-12643                 17-12649
 Ordinary Income/Expense
   Income
    40005 · Sales Proceeds / Note Payoff                                           -                      -                       -                       -                    -                      -                        -
    40010 · Rent Revenue                                                           -                      -                       -                       -               11,800                      -                        -
    40020 · Interest Revenue                                                       -                      -                       -                       -                    -                      -                        -
    40022 · Structured Settlement Income                                           -                      -                       -                       -                    -                      -                        -
    40090 · Other Revenue                                                          -                      -                       -                       -                    -                      -                        -
   Total Income                                                                    -                      -                       -                       -               11,800                      -                        -
   Cost of Goods Sold
    50000 · Cost of Goods Sold
     50010 · Rental Property Cost Operations                                       -                      -                       -                       -                    -                      -                        -
     50020 · Cost of Sales Real Property                                           -                      -                       -                       -                    -                      -                        -
     50030 · Closing Costs / Prorations                                            -                      -                       -                       -                    -                      -                        -
     50040 · Structured Settlement Costs                                           -                      -                       -                       -                    -                      -                        -
    Total 50000 · Cost of Goods Sold                                               -                      -                       -                       -                    -                      -                        -
   Total COGS                                                                      -                      -                       -                       -                    -                      -                        -
  Gross Profit                                                                     -                      -                       -                       -               11,800                      -                        -
   Expense
    60020 · Marketing & Media Consulting                                           -                      -                       -                       -                    -                      -                        -
    60400 · Bank Charges                                                           -                      -                       -                       -                    -                      -                        -
    60500 · Dues and Subscriptions                                                 -                      -                       -                       -                    -                      -                        -
    60600 · Equipment Lease                                                        -                      -                       -                       -                    -                      -                        -
    61700 · Information Technology                                                 -                      -                       -                       -                    -                      -                        -
    61800 · License and Filing Fees                                             430                    479                    4,257                  479                     679                   579                      579
    61850 · Meals and Entertainment                                                -                      -                       -                       -                    -                      -                        -
    61870 · Moving                                                                 -                      -                       -                       -                    -                      -                        -
    62500 · Employee Benefits                                                      -                      -                       -                       -                    -                      -                        -
    63300 · Insurance                                                              -                      -                       -                       -                    -                      -                        -
    63400 · Interest                                                               -                      -              866,702                          -                    -                      -                        -
    63401 · Int Expense - BK DIP financing                                         -                      -                       -                       -                    -                      -                        -
    64800 · Office Expense                                                         -                      -                       -                       -                    -                      -                        -
    64900 · Office Supplies                                                        -                      -                       -                       -                    -                      -                        -
    65000 · Outside Services                                                       -                      -                       -                       -                    -                      -                        -
    65100 · Parking                                                                -                      -                       -                       -                    -                      -                        -
    66000 · Payroll - Salaries, Wages, Tax
     66005 · Payroll-Service Fees                                                  -                      -                       -                       -                    -                      -                        -
     66015 · Payroll-Employer Taxes                                                -                      -                       -                       -                    -                      -                        -
     66000 · Payroll - Salaries, Wages, Tax - Other                                -                      -                       -                       -                    -                      -                        -
    Total 66000 · Payroll - Salaries, Wages, Tax                                   -                      -                       -                       -                    -                      -                        -
    66020 · Independent Contractors                                                -                      -                       -                       -                    -                      -                        -
    66030 · Postage and Delivery                                                   -                      -                       -                       -                    -                      -                        -
    66800 · Rent Expense                                                           -                      -                       -                       -                    -                      -                        -
    66900 · Repairs and Maintenance                                                -                      -                       -                       -                    -                      -                        -
    67000 · Security                                                               -                      -                       -                       -                    -                      -                        -
    67050 · Storage                                                                -                      -                       -                       -                    -                      -                        -
    67100 · Telephone and Internet Expense                                         -                      -                       -                       -                    -                      -                        -
    67110 · Title Searches                                                         -                      -                    600                        -                    -                      -                        -
    67200 · Travel                                                                 -                      -                       -                       -                    -                      -                        -
    67210 · Travel / Relocation allowance                                          -                      -                       -                       -                    -                      -                        -
    67400 · Utilities                                                              -                      -                       -                       -                    -                      -                        -
    68000 · Professional Fee Ord Course
     68100 · Consulting - Ord Course                                               -                      -                       -                       -                    -                      -                        -
     68200 · Legal Fees - Ord Course                                               -                      -               15,000                          -               24,024                      -                        -
     68300 · Accntng Fees - Ord Course                                             -                      -                       -                       -                    -                      -                        -
     68400 · Consulting RS                                                         -                      -                       -                       -                    -                      -                        -
    Total 68000 · Professional Fee Ord Course                                      -                      -               15,000                          -               24,024                      -                        -
    71000 · U.S. Trustee Fees                                                  8,775                  3,900              259,750                 21,833                   11,700                   975                      975
    72000 · Prof Fees - Retained Firms
     72010 · Legal - Court Retained                                                -                      -                       -                       -                    -                      -                        -
     72030 · Consulting - Court Retained                                           -                      -                       -                       -                    -                      -                        -
     72050 · Creditor's Committee Fees Expen                                       -                      -                       -                       -                    -                      -                        -
    Total 72000 · Prof Fees - Retained Firms                                       -                      -                       -                       -                    -                      -                        -
    72100 · DIP Loan Origination Fee                                               -                      -                       -                       -                    -                      -                        -
    81140 · Board Fees & Expenses                                                  -                      -                       -                       -                    -                      -                        -
    83000 · Tax Expense
     83100 · Property Tax Expense                                                  -                      -                       -                       -                    -                      -                        -
     83110 · Municipal Taxes and Fees                                             -                      -                       -                     -                       -                     -                        -
     83200 · Taxes, other - LLC fees                                            800                    800                     800                   800                     800                   800                      800
    Total 83000 · Tax Expense                                                   800                    800                     800                   800                     800                   800                      800
   Total Expense                                                           10,005                     5,179            1,147,110                 23,112                   37,203                  2,354                    2,354
 Net Ordinary Income                                                      (10,005)                 (5,179)            (1,147,110)                (23,112)                (25,403)              (2,354)                   (2,354)
 Other Income/Expense
  Other Income
   85100 · (Gain) / Loss loan payoff/sale                                          -                      -                       -                       -                    -                      -                        -
   85101 · Refund of Pre-Petition Expense                                          -                      -                       -                       -                    -                      -                        -
   85105 · Settlement Income                                                       -                      -                       -                       -                    -                      -                        -
  Other Expense                                                                    -                      -                       -                       -                    -                      -                        -
 Net Other Income                                                                  -                      -                       -                       -                    -                      -                        -
Net Income                                                                (10,005)                 (5,179)            (1,147,110)                (23,112)                (25,403)              (2,354)                   (2,354)




        52 of 124
                                                                                                                                                                                                          MOR-2 P&L filing to Dec31 2018
                                            Case 17-12560-KJC                                  Doc 3374                     Filed 02/04/19                        Page 53 of 124


DIP Woodbridge Group of Companies, LLC
Profit & Loss by Debtor
December 4, 2017 through December 31, 2018
                                                                P-076 Hackmatack       P-077 Haffenburg       P-078 Haralson       P-080 Harringworth     P-081 Hawthorne       P-082 Hazelpoint       P-084 Heilbron Manor
                                                      Debtor:       Invest LLC            Invest LLC            Invest LLC             Invest, LLC           Invest LLC            Invest LLC               Invest LLC
                                                   Case No.:        17-12653              17-12659              17-12663               17-12669              18-10291              17-12674                  17-12681
 Ordinary Income/Expense
   Income
    40005 · Sales Proceeds / Note Payoff                                  615,000                         -                    -                      -           2,190,000                        -              5,650,000
    40010 · Rent Revenue                                                           -                      -                    -                      -             94,472                         -                        -
    40020 · Interest Revenue                                                       -                      -                    -                      -                     -                      -                        -
    40022 · Structured Settlement Income                                           -                      -                    -                      -                     -                      -                        -
    40090 · Other Revenue                                                          -                      -                    -                      -                     -                      -                        -
   Total Income                                                           615,000                         -                    -                      -           2,284,472                        -              5,650,000
   Cost of Goods Sold
    50000 · Cost of Goods Sold
     50010 · Rental Property Cost Operations                                       -                      -                    -                      -             16,414                         -                        -
     50020 · Cost of Sales Real Property                                  646,910                         -                    -                      -           2,110,466                        -              7,074,797
     50030 · Closing Costs / Prorations                                    38,805                         -                    -                      -            143,732                         -                352,975
     50040 · Structured Settlement Costs                                           -                      -                    -                      -                     -                      -                        -
    Total 50000 · Cost of Goods Sold                                      685,715                         -                    -                      -           2,270,612                        -              7,427,772
   Total COGS                                                             685,715                         -                    -                      -           2,270,612                        -              7,427,772
  Gross Profit                                                            (70,715)                        -                    -                      -             13,860                         -              (1,777,772)
   Expense
    60020 · Marketing & Media Consulting                                           -                      -                    -                      -                     -                      -                        -
    60400 · Bank Charges                                                           -                      -                    -                      -                     8                      -                        -
    60500 · Dues and Subscriptions                                             1,515                      -                    -                      -                     -                      -                        -
    60600 · Equipment Lease                                                        -                      -                    -                      -                     -                      -                        -
    61700 · Information Technology                                                 -                      -                    -                      -                     -                      -                        -
    61800 · License and Filing Fees                                             579                   630                   579                   1,197                  628                   530                       479
    61850 · Meals and Entertainment                                                -                      -                    -                      -                     -                      -                        -
    61870 · Moving                                                                 -                      -                    -                      -                     -                      -                        -
    62500 · Employee Benefits                                                      -                      -                    -                      -                     -                      -                        -
    63300 · Insurance                                                              -                      -                    -                      -                     -                      -                        -
    63400 · Interest                                                               -                      -                    -                      -                     -                      -                        -
    63401 · Int Expense - BK DIP financing                                         -                      -                    -                      -                     -                      -                        -
    64800 · Office Expense                                                         -                      -                    -                      -                     -                      -                        -
    64900 · Office Supplies                                                        -                      -                    -                      -                     -                      -                        -
    65000 · Outside Services                                                       -                      -                    -                      -                     -                      -                        -
    65100 · Parking                                                                -                      -                    -                      -                     -                      -                        -
    66000 · Payroll - Salaries, Wages, Tax
     66005 · Payroll-Service Fees                                                  -                      -                    -                      -                     -                      -                        -
     66015 · Payroll-Employer Taxes                                                -                      -                    -                      -                     -                      -                        -
     66000 · Payroll - Salaries, Wages, Tax - Other                                -                      -                    -                      -                     -                      -                        -
    Total 66000 · Payroll - Salaries, Wages, Tax                                   -                      -                    -                      -                     -                      -                        -
    66020 · Independent Contractors                                                -                      -                    -                      -                     -                      -                        -
    66030 · Postage and Delivery                                                   -                      -                    -                      -                     -                      -                        -
    66800 · Rent Expense                                                           -                      -                    -                      -                     -                      -                        -
    66900 · Repairs and Maintenance                                                -                      -                    -                      -                     -                      -                        -
    67000 · Security                                                               -                      -                    -                      -                     -                      -                        -
    67050 · Storage                                                                -                      -                    -                      -                     -                      -                        -
    67100 · Telephone and Internet Expense                                         -                      -                    -                      -                     -                      -                        -
    67110 · Title Searches                                                         -                      -                    -                      -                     -                      -                        -
    67200 · Travel                                                                 -                      -                    -                      -                     -                      -                        -
    67210 · Travel / Relocation allowance                                          -                      -                    -                      -                     -                      -                        -
    67400 · Utilities                                                              -                      -                    -                      -                     -                      -                        -
    68000 · Professional Fee Ord Course
     68100 · Consulting - Ord Course                                               -                      -                    -                      -                     -                      -                        -
     68200 · Legal Fees - Ord Course                                           2,445                      -                    -                      -                     -                      -                        -
     68300 · Accntng Fees - Ord Course                                             -                      -                    -                      -                     -                      -                        -
     68400 · Consulting RS                                                         -                      -                    -                      -                     -                      -                        -
    Total 68000 · Professional Fee Ord Course                                  2,445                      -                    -                      -                     -                      -                        -
    71000 · U.S. Trustee Fees                                                   975                   650                   975                    975                  1,950                  975                      3,250
    72000 · Prof Fees - Retained Firms
     72010 · Legal - Court Retained                                                -                      -                    -                      -                     -                      -                        -
     72030 · Consulting - Court Retained                                           -                      -                    -                      -                     -                      -                        -
     72050 · Creditor's Committee Fees Expen                                       -                      -                    -                      -                     -                      -                        -
    Total 72000 · Prof Fees - Retained Firms                                       -                      -                    -                      -                     -                      -                        -
    72100 · DIP Loan Origination Fee                                               -                      -                    -                      -                     -                      -                        -
    81140 · Board Fees & Expenses                                                  -                      -                    -                      -                     -                      -                        -
    83000 · Tax Expense
     83100 · Property Tax Expense                                                  -                      -                    -                      -                     -                      -                        -
     83110 · Municipal Taxes and Fees                                             -                     -                     -                      -                     -                     -                          -
     83200 · Taxes, other - LLC fees                                            800                   800                   800                    800                   800                   800                      1,600
    Total 83000 · Tax Expense                                                   800                   800                   800                    800                   800                   800                      1,600
   Total Expense                                                               6,314                 2,080                 2,354                  2,972                 3,386                 2,305                     5,329
 Net Ordinary Income                                                      (77,029)                (2,080)               (2,354)                (2,972)              10,474                 (2,305)                (1,783,101)
 Other Income/Expense
  Other Income
   85100 · (Gain) / Loss loan payoff/sale                                          -                      -                    -                      -                     -                      -                        -
   85101 · Refund of Pre-Petition Expense                                          -                      -                    -                      -                     -                      -                        -
   85105 · Settlement Income                                                       -                      -                    -                      -                     -                      -                        -
  Other Expense                                                                    -                      -                    -                      -                     -                      -                        -
 Net Other Income                                                                  -                      -                    -                      -                     -                      -                        -
Net Income                                                                (77,029)                (2,080)               (2,354)                (2,972)              10,474                 (2,305)                (1,783,101)




        53 of 124
                                                                                                                                                                                                       MOR-2 P&L filing to Dec31 2018
                                            Case 17-12560-KJC                                Doc 3374                     Filed 02/04/19                           Page 54 of 124


DIP Woodbridge Group of Companies, LLC
Profit & Loss by Debtor
December 4, 2017 through December 31, 2018
                                                                P-085 Hollyline       P-086 Hornbeam       P-087 Idared         P-088 Imperial Aly       P-092 Lenni Heights     P-093 Lilac Meadow     P-094 Lilac Valley
                                                      Debtor:    Owners LLC              Invest LLC         Invest LLC             Invest LLC                Invest LLC              Invest LLC            Invest LLC
                                                   Case No.:       17-12688              17-12694           17-12701                17-12708                  17-12720               17-12728                18-10292
 Ordinary Income/Expense
   Income
    40005 · Sales Proceeds / Note Payoff                                1,125,000                      -            75,000               7,250,000                  101,000                       -                 670,000
    40010 · Rent Revenue                                                          -                    -                    -                        -                       -                    -                          -
    40020 · Interest Revenue                                                      -                    -                    -                        -                       -                    -                          -
    40022 · Structured Settlement Income                                          -                    -                    -                        -                       -                    -                          -
    40090 · Other Revenue                                                         -                    -                    -                        -                       -                    -                          -
   Total Income                                                         1,125,000                      -            75,000               7,250,000                  101,000                       -                 670,000
   Cost of Goods Sold
    50000 · Cost of Goods Sold
     50010 · Rental Property Cost Operations                                      -                    -                    -                        -                       -                    -                          -
     50020 · Cost of Sales Real Property                                2,143,562                      -           133,411               8,181,269                  178,040                       -                 735,449
     50030 · Closing Costs / Prorations                                    66,465                      -               6,537               308,682                       7,706                    -                  39,724
     50040 · Structured Settlement Costs                                          -                    -                    -                        -                       -                    -                          -
    Total 50000 · Cost of Goods Sold                                    2,210,027                      -           139,948               8,489,951                  185,746                       -                 775,173
   Total COGS                                                           2,210,027                      -           139,948               8,489,951                  185,746                       -                 775,173
  Gross Profit                                                         (1,085,027)                     -           (64,948)             (1,239,951)                  (84,746)                     -                (105,173)
   Expense
    60020 · Marketing & Media Consulting                                          -                    -                    -                        -                       -                    -                          -
    60400 · Bank Charges                                                          -                    -                    -                        -                       -                    -                          -
    60500 · Dues and Subscriptions                                                -                    -                    -                        -                       -                    -                          -
    60600 · Equipment Lease                                                       -                    -                    -                        -                       -                    -                          -
    61700 · Information Technology                                                -                    -                    -                        -                       -                    -                          -
    61800 · License and Filing Fees                                            577                  479                   579                   479                       149                   479                      149
    61850 · Meals and Entertainment                                               -                    -                    -                        -                       -                    -                          -
    61870 · Moving                                                                -                    -                    -                        -                       -                    -                          -
    62500 · Employee Benefits                                                     -                    -                    -                        -                       -                    -                          -
    63300 · Insurance                                                             -                    -                    -                        -                       -                    -                          -
    63400 · Interest                                                              -                    -                    -                        -                       -                    -                          -
    63401 · Int Expense - BK DIP financing                                        -                    -                    -                        -                       -                    -                          -
    64800 · Office Expense                                                        -                    -                    -                        -                       -                    -                          -
    64900 · Office Supplies                                                       -                    -                    -                        -                       -                    -                          -
    65000 · Outside Services                                                      -                    -                    -                        -                       -                    -                          -
    65100 · Parking                                                               -                    -                    -                        -                       -                    -                          -
    66000 · Payroll - Salaries, Wages, Tax
     66005 · Payroll-Service Fees                                                 -                    -                    -                        -                       -                    -                          -
     66015 · Payroll-Employer Taxes                                               -                    -                    -                        -                       -                    -                          -
     66000 · Payroll - Salaries, Wages, Tax - Other                               -                    -                    -                        -                       -                    -                          -
    Total 66000 · Payroll - Salaries, Wages, Tax                                  -                    -                    -                        -                       -                    -                          -
    66020 · Independent Contractors                                               -                    -                    -                        -                       -                    -                          -
    66030 · Postage and Delivery                                                  -                    -                    -                        -                       -                    -                          -
    66800 · Rent Expense                                                          -                    -                    -                        -                       -                    -                          -
    66900 · Repairs and Maintenance                                               -                    -                    -                        -                       -                    -                          -
    67000 · Security                                                              -                    -                    -                        -                       -                    -                          -
    67050 · Storage                                                               -                    -                    -                        -                       -                    -                          -
    67100 · Telephone and Internet Expense                                        -                    -                    -                        -                       -                    -                          -
    67110 · Title Searches                                                        -                    -                    -                        -                       -                    -                          -
    67200 · Travel                                                                -                    -                    -                        -                       -                    -                          -
    67210 · Travel / Relocation allowance                                         -                    -                    -                        -                       -                    -                          -
    67400 · Utilities                                                             -                    -                    -                        -                       -                    -                          -
    68000 · Professional Fee Ord Course
     68100 · Consulting - Ord Course                                              -                    -                    -                        -                       -                    -                          -
     68200 · Legal Fees - Ord Course                                              -                    -               1,500                         -                    405                     -                          -
     68300 · Accntng Fees - Ord Course                                            -                    -                    -                        -                       -                    -                          -
     68400 · Consulting RS                                                        -                    -                    -                        -                       -                    -                          -
    Total 68000 · Professional Fee Ord Course                                     -                    -               1,500                         -                    405                     -                          -
    71000 · U.S. Trustee Fees                                                 1,625             11,375                    975                  2,600                      975                11,700                     1,300
    72000 · Prof Fees - Retained Firms
     72010 · Legal - Court Retained                                               -                    -                    -                        -                       -                    -                          -
     72030 · Consulting - Court Retained                                          -                    -                    -                        -                       -                    -                          -
     72050 · Creditor's Committee Fees Expen                                      -                    -                    -                        -                       -                    -                          -
    Total 72000 · Prof Fees - Retained Firms                                      -                    -                    -                        -                       -                    -                          -
    72100 · DIP Loan Origination Fee                                              -                    -                    -                        -                       -                    -                          -
    81140 · Board Fees & Expenses                                                 -                    -                    -                        -                       -                    -                          -
    83000 · Tax Expense
     83100 · Property Tax Expense                                                 -                    -                    -                        -                       -                    -                          -
     83110 · Municipal Taxes and Fees                                            -                    -                     -                     -                         -                     -                        -
     83200 · Taxes, other - LLC fees                                           800                  800                   800                   800                       800                   800                      800
    Total 83000 · Tax Expense                                                  800                  800                   800                   800                       800                   800                      800
   Total Expense                                                              3,002             12,654                 3,854                   3,879                     2,329               12,979                     2,249
 Net Ordinary Income                                                   (1,088,029)             (12,654)            (68,802)             (1,243,830)                  (87,075)               (12,979)               (107,422)
 Other Income/Expense
  Other Income
   85100 · (Gain) / Loss loan payoff/sale                                         -                    -                    -                        -                       -                    -                          -
   85101 · Refund of Pre-Petition Expense                                         -                    -                    -                        -                       -                    -                          -
   85105 · Settlement Income                                                      -                    -                    -                        -                       -                    -                          -
  Other Expense                                                                   -                    -                    -                        -                       -                    -                          -
 Net Other Income                                                                 -                    -                    -                        -                       -                    -                          -
Net Income                                                             (1,088,029)             (12,654)            (68,802)             (1,243,830)                  (87,075)               (12,979)               (107,422)




        54 of 124
                                                                                                                                                                                                       MOR-2 P&L filing to Dec31 2018
                                            Case 17-12560-KJC                                      Doc 3374                     Filed 02/04/19                        Page 55 of 124


DIP Woodbridge Group of Companies, LLC
Profit & Loss by Debtor
December 4, 2017 through December 31, 2018
                                                                P-095 Lincolnshire       P-096 Lonetree Invest    P-097 Longbourn       P-098 Mason Run       P-099 Massabesic       P-100 Melody Lane        P-101 Merrimack
                                                      Debtor:       Invest LLC                   LLC                 Invest LLC            Invest LLC            Invest LLC              Invest LLC             Valley Invest
                                                   Case No.:        17-12733                   17-12740              17-12746              17-12751               18-10293               17-12757                 17-12665
 Ordinary Income/Expense
   Income
    40005 · Sales Proceeds / Note Payoff                                             -                        -           8,750,000             4,000,000               799,000                         -                100,000
    40010 · Rent Revenue                                                             -                        -                     -                     -                      -                      -                        -
    40020 · Interest Revenue                                                         -                        -                     -                     -                      -                      -                        -
    40022 · Structured Settlement Income                                             -                        -                     -                     -                      -                      -                        -
    40090 · Other Revenue                                                            -                        -                     -                     -                      -                      -                        -
   Total Income                                                                      -                        -           8,750,000             4,000,000               799,000                         -                100,000
   Cost of Goods Sold
    50000 · Cost of Goods Sold
     50010 · Rental Property Cost Operations                                         -                        -                     -                     -                      -                      -                        -
     50020 · Cost of Sales Real Property                                             -                        -           6,199,230             4,161,918               865,037                         -                146,534
     50030 · Closing Costs / Prorations                                              -                        -            469,241               221,597                 55,740                         -                    8,124
     50040 · Structured Settlement Costs                                             -                        -                     -                     -                      -                      -                        -
    Total 50000 · Cost of Goods Sold                                                 -                        -           6,668,471             4,383,514               920,777                         -                154,658
   Total COGS                                                                        -                        -           6,668,471             4,383,514               920,777                         -                154,658
  Gross Profit                                                                       -                        -           2,081,529              (383,514)             (121,777)                        -                 (54,658)
   Expense
    60020 · Marketing & Media Consulting                                             -                        -                     -                     -                      -                      -                        -
    60400 · Bank Charges                                                             -                        -                     -                     -                      -                      -                        -
    60500 · Dues and Subscriptions                                                   -                        -                     -                     -                      -                      -                     277
    60600 · Equipment Lease                                                          -                        -                     -                     -                      -                      -                        -
    61700 · Information Technology                                                   -                        -                     -                     -                      -                      -                        -
    61800 · License and Filing Fees                                             679                        430                  479                    430                       -                   579                      479
    61850 · Meals and Entertainment                                                  -                        -                     -                     -                      -                      -                        -
    61870 · Moving                                                                   -                        -                     -                     -                      -                      -                        -
    62500 · Employee Benefits                                                        -                        -                     -                     -                      -                      -                        -
    63300 · Insurance                                                                -                        -                     -                     -                      -                      -                        -
    63400 · Interest                                                                 -                        -                     -                     -                      -                      -                        -
    63401 · Int Expense - BK DIP financing                                           -                        -                     -                     -                      -                      -                        -
    64800 · Office Expense                                                           -                        -                     -                     -                      -                      -                        -
    64900 · Office Supplies                                                          -                        -                     -                     -                      -                      -                        -
    65000 · Outside Services                                                         -                        -                     -                     -                      -                      -                        -
    65100 · Parking                                                                  -                        -                     -                     -                      -                      -                        -
    66000 · Payroll - Salaries, Wages, Tax
     66005 · Payroll-Service Fees                                                    -                        -                     -                     -                      -                      -                        -
     66015 · Payroll-Employer Taxes                                                  -                        -                     -                     -                      -                      -                        -
     66000 · Payroll - Salaries, Wages, Tax - Other                                  -                        -                     -                     -                      -                      -                        -
    Total 66000 · Payroll - Salaries, Wages, Tax                                     -                        -                     -                     -                      -                      -                        -
    66020 · Independent Contractors                                                  -                        -                     -                     -                      -                      -                        -
    66030 · Postage and Delivery                                                     -                        -                     -                     -                      -                      -                        -
    66800 · Rent Expense                                                             -                        -                     -                     -                      -                      -                        -
    66900 · Repairs and Maintenance                                                  -                        -                     -                     -                      -                      -                        -
    67000 · Security                                                                 -                        -                     -                     -                      -                      -                        -
    67050 · Storage                                                                  -                        -                     -                     -                      -                      -                        -
    67100 · Telephone and Internet Expense                                           -                        -                     -                     -                      -                      -                        -
    67110 · Title Searches                                                           -                        -                     -                     -                   750                       -                        -
    67200 · Travel                                                                   -                        -                     -                     -                      -                      -                        -
    67210 · Travel / Relocation allowance                                            -                        -                     -                     -                      -                      -                        -
    67400 · Utilities                                                                -                        -                     -                     -                      -                      -                        -
    68000 · Professional Fee Ord Course
     68100 · Consulting - Ord Course                                                 -                        -                     -                     -                      -                      -                        -
     68200 · Legal Fees - Ord Course                                                 -                        -                     -                     -                  2,625                      -                     975
     68300 · Accntng Fees - Ord Course                                               -                        -                     -                     -                      -                      -                        -
     68400 · Consulting RS                                                           -                        -                     -                     -                      -                      -                        -
    Total 68000 · Professional Fee Ord Course                                        -                        -                     -                     -                  2,625                      -                     975
    71000 · U.S. Trustee Fees                                                  1,625                       975              10,725                    1,950                   975                    975                      975
    72000 · Prof Fees - Retained Firms
     72010 · Legal - Court Retained                                                  -                        -                     -                     -                      -                      -                        -
     72030 · Consulting - Court Retained                                             -                        -                     -                     -                      -                      -                        -
     72050 · Creditor's Committee Fees Expen                                         -                        -                     -                     -                      -                      -                        -
    Total 72000 · Prof Fees - Retained Firms                                         -                        -                     -                     -                      -                      -                        -
    72100 · DIP Loan Origination Fee                                                 -                        -                     -                     -                      -                      -                        -
    81140 · Board Fees & Expenses                                                    -                        -                     -                     -                      -                      -                        -
    83000 · Tax Expense
     83100 · Property Tax Expense                                                    -                        -                     -                     -                      -                      -                        -
     83110 · Municipal Taxes and Fees                                             -                          -                    -                      -                      -                      -                        -
     83200 · Taxes, other - LLC fees                                            800                        800                  800                    800                    800                    800                      800
    Total 83000 · Tax Expense                                                   800                        800                  800                    800                    800                    800                      800
   Total Expense                                                               3,104                      2,205             12,004                    3,180                  5,150                  2,354                    3,506
 Net Ordinary Income                                                        (3,104)                    (2,205)            2,069,525              (386,694)             (126,927)                 (2,354)                  (58,164)
 Other Income/Expense
  Other Income
   85100 · (Gain) / Loss loan payoff/sale                                            -                        -                     -                     -                      -                      -                        -
   85101 · Refund of Pre-Petition Expense                                            -                        -                     -                     -                      -                      -                        -
   85105 · Settlement Income                                                         -                        -                     -                     -                      -                      -                        -
  Other Expense                                                                      -                        -                     -                     -                      -                      -                        -
 Net Other Income                                                                    -                        -                     -                     -                      -                      -                        -
Net Income                                                                  (3,104)                    (2,205)            2,069,525              (386,694)             (126,927)                 (2,354)                  (58,164)




        55 of 124
                                                                                                                                                                                                            MOR-2 P&L filing to Dec31 2018
                                            Case 17-12560-KJC                                  Doc 3374                     Filed 02/04/19                          Page 56 of 124


DIP Woodbridge Group of Companies, LLC
Profit & Loss by Debtor
December 4, 2017 through December 31, 2018
                                                                P-102 Mineola Invest    P-103 Monadnock       P-104 Moravian       P-105 Mountain       P-106 Mt. Holly Invest   P-107 Mutsu Invest     P-108 Newville Invest
                                                      Debtor:          LLC                 Invest LLC           Invest LLC          Spring Invest               LLC                     LLC                     LLC
                                                   Case No.:         17-12673              17-12682             17-12690             17-12698                 17-12707               17-12719                 17-12734
 Ordinary Income/Expense
   Income
    40005 · Sales Proceeds / Note Payoff                                            -                     -            995,000                      -                155,000                 90,000                   81,000
    40010 · Rent Revenue                                                            -                     -                    -                    -                        -                      -                        -
    40020 · Interest Revenue                                                        -                     -                    -                    -                        -                      -                        -
    40022 · Structured Settlement Income                                            -                     -                    -                    -                        -                      -                        -
    40090 · Other Revenue                                                           -                     -                    -                    -                        -                      -                        -
   Total Income                                                                     -                     -            995,000                      -                155,000                 90,000                   81,000
   Cost of Goods Sold
    50000 · Cost of Goods Sold
     50010 · Rental Property Cost Operations                                        -                     -                    -                    -                        -                      -                        -
     50020 · Cost of Sales Real Property                                            -                     -          1,415,292                      -                147,211                158,175                  154,499
     50030 · Closing Costs / Prorations                                             -                     -             59,355                      -                 11,566                    7,389                    7,052
     50040 · Structured Settlement Costs                                            -                     -                    -                    -                        -                      -                        -
    Total 50000 · Cost of Goods Sold                                                -                     -          1,474,647                      -                158,777                165,564                  161,551
   Total COGS                                                                       -                     -          1,474,647                      -                158,777                165,564                  161,551
  Gross Profit                                                                      -                     -           (479,647)                     -                  (3,777)              (75,564)                  (80,551)
   Expense
    60020 · Marketing & Media Consulting                                            -                     -                    -                    -                        -                      -                        -
    60400 · Bank Charges                                                            -                     -                    -                    -                        -                      -                        -
    60500 · Dues and Subscriptions                                                  -                     -                    -                    -                     277                       -                        -
    60600 · Equipment Lease                                                         -                     -                    -                    -                        -                      -                        -
    61700 · Information Technology                                                  -                     -                    -                    -                        -                      -                        -
    61800 · License and Filing Fees                                              579                   479                  430                  479                      579                    479                      479
    61850 · Meals and Entertainment                                                 -                     -                    -                    -                        -                      -                        -
    61870 · Moving                                                                  -                     -                    -                    -                        -                      -                        -
    62500 · Employee Benefits                                                       -                     -                    -                    -                        -                      -                        -
    63300 · Insurance                                                               -                     -                    -                    -                        -                      -                        -
    63400 · Interest                                                                -                     -                    -                    -                        -                      -                        -
    63401 · Int Expense - BK DIP financing                                          -                     -                    -                    -                        -                      -                        -
    64800 · Office Expense                                                          -                     -                    -                    -                        -                      -                        -
    64900 · Office Supplies                                                         -                     -                    -                    -                        -                      -                        -
    65000 · Outside Services                                                        -                     -                    -                    -                        -                      -                        -
    65100 · Parking                                                                 -                     -                    -                    -                        -                      -                        -
    66000 · Payroll - Salaries, Wages, Tax
     66005 · Payroll-Service Fees                                                   -                     -                    -                    -                        -                      -                        -
     66015 · Payroll-Employer Taxes                                                 -                     -                    -                    -                        -                      -                        -
     66000 · Payroll - Salaries, Wages, Tax - Other                                 -                     -                    -                    -                        -                      -                        -
    Total 66000 · Payroll - Salaries, Wages, Tax                                    -                     -                    -                    -                        -                      -                        -
    66020 · Independent Contractors                                                 -                     -                    -                    -                        -                      -                        -
    66030 · Postage and Delivery                                                    -                     -                    -                    -                        -                      -                        -
    66800 · Rent Expense                                                            -                     -                    -                    -                        -                      -                        -
    66900 · Repairs and Maintenance                                                 -                     -                    -                    -                        -                      -                        -
    67000 · Security                                                                -                     -                    -                    -                        -                      -                        -
    67050 · Storage                                                                 -                     -                    -                    -                        -                      -                        -
    67100 · Telephone and Internet Expense                                          -                     -                    -                    -                        -                      -                        -
    67110 · Title Searches                                                          -                     -                    -                    -                        -                   750                         -
    67200 · Travel                                                                  -                     -                    -                    -                        -                      -                        -
    67210 · Travel / Relocation allowance                                           -                     -                    -                    -                        -                      -                        -
    67400 · Utilities                                                               -                     -                    -                    -                        -                      -                        -
    68000 · Professional Fee Ord Course
     68100 · Consulting - Ord Course                                                -                     -                    -                    -                        -                      -                        -
     68200 · Legal Fees - Ord Course                                                -                     -                2,865                8,580                    3,090                  3,045                    2,190
     68300 · Accntng Fees - Ord Course                                              -                     -                    -                    -                        -                      -                        -
     68400 · Consulting RS                                                          -                     -                    -                    -                        -                      -                        -
    Total 68000 · Professional Fee Ord Course                                       -                     -                2,865                8,580                    3,090                  3,045                    2,190
    71000 · U.S. Trustee Fees                                                    975                   975                  975                 1,625                     975                    975                      975
    72000 · Prof Fees - Retained Firms
     72010 · Legal - Court Retained                                                 -                     -                    -                    -                        -                      -                        -
     72030 · Consulting - Court Retained                                            -                     -                    -                    -                        -                      -                        -
     72050 · Creditor's Committee Fees Expen                                        -                     -                    -                    -                        -                      -                        -
    Total 72000 · Prof Fees - Retained Firms                                        -                     -                    -                    -                        -                      -                        -
    72100 · DIP Loan Origination Fee                                                -                     -                    -                    -                        -                      -                        -
    81140 · Board Fees & Expenses                                                   -                     -                    -                    -                        -                      -                        -
    83000 · Tax Expense
     83100 · Property Tax Expense                                                   -                     -                    -                    -                        -                      -                        -
     83110 · Municipal Taxes and Fees                                              -                     -                    -                    -                        -                      -                        -
     83200 · Taxes, other - LLC fees                                             800                   800                  800                  800                      800                    800                      800
    Total 83000 · Tax Expense                                                    800                   800                  800                  800                      800                    800                      800
   Total Expense                                                                2,354                 2,254                5,070             11,484                      5,721                  6,049                    4,444
 Net Ordinary Income                                                         (2,354)              (2,254)             (484,717)             (11,484)                   (9,498)              (81,613)                  (84,995)
 Other Income/Expense
  Other Income
   85100 · (Gain) / Loss loan payoff/sale                                           -                     -                    -                    -                        -                      -                        -
   85101 · Refund of Pre-Petition Expense                                           -                     -                    -                    -                        -                      -                        -
   85105 · Settlement Income                                                        -                     -                    -                    -                        -                      -                        -
  Other Expense                                                                     -                     -                    -                    -                        -                      -                        -
 Net Other Income                                                                   -                     -                    -                    -                        -                      -                        -
Net Income                                                                   (2,354)              (2,254)             (484,717)             (11,484)                   (9,498)              (81,613)                  (84,995)




        56 of 124
                                                                                                                                                                                                        MOR-2 P&L filing to Dec31 2018
                                            Case 17-12560-KJC                                   Doc 3374                     Filed 02/04/19                        Page 57 of 124


DIP Woodbridge Group of Companies, LLC
Profit & Loss by Debtor
December 4, 2017 through December 31, 2018
                                                                P-109 Old Carbon       P-110 Old Maitland     P-111 Owl Ridge       P-112 Papirovka       P-113 Pawtuckaway    P-114 Pemberley       P-115 Pemigewasset
                                                      Debtor:      Invest LLC              Invest LLC            Invest LLC            Invest LLC             Invest LLC          Invest LLC                Invest
                                                   Case No.:       17-12743                17-12752              17-12763              17-12774               17-12783            17-12790                 17-12800
 Ordinary Income/Expense
   Income
    40005 · Sales Proceeds / Note Payoff                                           -            5,400,000               85,000                        -                    -           2,650,000                          -
    40010 · Rent Revenue                                                           -                      -                     -                     -                    -                     -                        -
    40020 · Interest Revenue                                                       -                      -                     -                     -                    -                     -                        -
    40022 · Structured Settlement Income                                           -                      -                     -                     -                    -                     -                        -
    40090 · Other Revenue                                                          -                      -                     -                     -                    -                     -                        -
   Total Income                                                                    -            5,400,000               85,000                        -                    -           2,650,000                          -
   Cost of Goods Sold
    50000 · Cost of Goods Sold
     50010 · Rental Property Cost Operations                                       -                      -                     -                     -                    -                     -                        -
     50020 · Cost of Sales Real Property                                           -            8,469,142              112,299                        -                    -           2,998,805                          -
     50030 · Closing Costs / Prorations                                            -              150,287                   7,069                     -                    -            150,525                           -
     50040 · Structured Settlement Costs                                           -                      -                     -                     -                    -                     -                        -
    Total 50000 · Cost of Goods Sold                                               -            8,619,429              119,367                        -                    -           3,149,330                          -
   Total COGS                                                                      -            8,619,429              119,367                        -                    -           3,149,330                          -
  Gross Profit                                                                     -           (3,219,429)              (34,367)                      -                    -            (499,330)                         -
   Expense
    60020 · Marketing & Media Consulting                                           -                      -                     -                     -                    -                     -                        -
    60400 · Bank Charges                                                           -                      -                     -                     -                    -                     -                        -
    60500 · Dues and Subscriptions                                                 -                      -                     -                     -                    -                     -                        -
    60600 · Equipment Lease                                                        -                      -                     -                     -                    -                     -                        -
    61700 · Information Technology                                                 -                      -                     -                     -                    -                     -                        -
    61800 · License and Filing Fees                                            579                     479                   530                   479                   479                   98                      479
    61850 · Meals and Entertainment                                                -                      -                     -                     -                    -                     -                        -
    61870 · Moving                                                                 -                      -                     -                     -                    -                     -                        -
    62500 · Employee Benefits                                                      -                      -                     -                     -                    -                     -                        -
    63300 · Insurance                                                              -                      -                     -                     -                    -                     -                        -
    63400 · Interest                                                               -                      -                     -                     -                    -                     -                        -
    63401 · Int Expense - BK DIP financing                                         -                      -                     -                     -                    -                     -                        -
    64800 · Office Expense                                                         -                      -                     -                     -                    -                     -                        -
    64900 · Office Supplies                                                        -                      -                     -                     -                    -                     -                        -
    65000 · Outside Services                                                       -                      -                     -                     -                    -                     -                        -
    65100 · Parking                                                                -                      -                     -                     -                    -                     -                        -
    66000 · Payroll - Salaries, Wages, Tax
     66005 · Payroll-Service Fees                                                  -                      -                     -                     -                    -                     -                        -
     66015 · Payroll-Employer Taxes                                                -                      -                     -                     -                    -                     -                        -
     66000 · Payroll - Salaries, Wages, Tax - Other                                -                      -                     -                     -                    -                     -                        -
    Total 66000 · Payroll - Salaries, Wages, Tax                                   -                      -                     -                     -                    -                     -                        -
    66020 · Independent Contractors                                                -                      -                     -                     -                    -                     -                        -
    66030 · Postage and Delivery                                                   -                      -                     -                     -                    -                     -                        -
    66800 · Rent Expense                                                           -                      -                     -                     -                    -                     -                        -
    66900 · Repairs and Maintenance                                                -                      -                     -                     -                    -                     -                        -
    67000 · Security                                                               -                      -                     -                     -                    -                     -                        -
    67050 · Storage                                                                -                      -                     -                     -                    -                     -                        -
    67100 · Telephone and Internet Expense                                         -                      -                     -                     -                    -                     -                        -
    67110 · Title Searches                                                         -                      -                     -                     -                    -                     -                        -
    67200 · Travel                                                                 -                      -                     -                     -                    -                     -                        -
    67210 · Travel / Relocation allowance                                          -                      -                     -                     -                    -                     -                        -
    67400 · Utilities                                                              -                      -                     -                     -                    -                     -                        -
    68000 · Professional Fee Ord Course
     68100 · Consulting - Ord Course                                               -                      -                     -                     -                    -                     -                        -
     68200 · Legal Fees - Ord Course                                               -               19,170                   4,530                     -                    -                     -                        -
     68300 · Accntng Fees - Ord Course                                             -                      -                     -                     -                    -                     -                        -
     68400 · Consulting RS                                                         -                      -                     -                     -                    -                     -                        -
    Total 68000 · Professional Fee Ord Course                                      -               19,170                   4,530                     -                    -                     -                        -
    71000 · U.S. Trustee Fees                                                  975                    2,925                  975                   975               14,625                  2,600                     975
    72000 · Prof Fees - Retained Firms
     72010 · Legal - Court Retained                                                -                      -                     -                     -                    -                     -                        -
     72030 · Consulting - Court Retained                                           -                      -                     -                     -                    -                     -                        -
     72050 · Creditor's Committee Fees Expen                                       -                      -                     -                     -                    -                     -                        -
    Total 72000 · Prof Fees - Retained Firms                                       -                      -                     -                     -                    -                     -                        -
    72100 · DIP Loan Origination Fee                                               -                      -                     -                     -                    -                     -                        -
    81140 · Board Fees & Expenses                                                  -                      -                     -                     -                    -                     -                        -
    83000 · Tax Expense
     83100 · Property Tax Expense                                                  -                      -                     -                     -                    -                     -                        -
     83110 · Municipal Taxes and Fees                                            -                       -                     -                     -                     -                    -                        -
     83200 · Taxes, other - LLC fees                                           800                     800                   800                   800                   800                  800                      800
    Total 83000 · Tax Expense                                                  800                     800                   800                   800                   800                  800                      800
   Total Expense                                                              2,354                23,374                   6,835                 2,254              15,904                  3,498                    2,254
 Net Ordinary Income                                                       (2,354)             (3,242,803)              (41,202)               (2,254)              (15,904)            (502,828)                   (2,254)
 Other Income/Expense
  Other Income
   85100 · (Gain) / Loss loan payoff/sale                                          -                      -                     -                     -                    -                     -                        -
   85101 · Refund of Pre-Petition Expense                                          -                      -                     -                     -                    -                     -                        -
   85105 · Settlement Income                                                       -                      -                     -                     -                    -                     -                        -
  Other Expense                                                                    -                      -                     -                     -                    -                     -                        -
 Net Other Income                                                                  -                      -                     -                     -                    -                     -                        -
Net Income                                                                 (2,354)             (3,242,803)              (41,202)               (2,254)              (15,904)            (502,828)                   (2,254)




        57 of 124
                                                                                                                                                                                                     MOR-2 P&L filing to Dec31 2018
                                            Case 17-12560-KJC                                 Doc 3374                       Filed 02/04/19                          Page 58 of 124


DIP Woodbridge Group of Companies, LLC
Profit & Loss by Debtor
December 4, 2017 through December 31, 2018
                                                                P-116 Pennhurst       P-117 Pepperwood       P-118 Pinney Invest    P-119 Pinova Invest     P-120 Quarterpost       P-121 Red Woods         P-122 Ridgecrest
                                                      Debtor:      Invest LLC             Invest LLC                LLC                    LLC                 Invest LLC              Invest LLC              Invest LLC
                                                   Case No.:       18-10296               17-12804                17-12808               17-12812               17-12816               17-12824                 17-12821
 Ordinary Income/Expense
   Income
    40005 · Sales Proceeds / Note Payoff                               21,500,000               800,000                3,125,000                        -            5,950,000                        -                        -
    40010 · Rent Revenue                                                 541,050                         -                     -                        -                       -                     -                        -
    40020 · Interest Revenue                                                      -                      -                     -                        -                       -                     -                        -
    40022 · Structured Settlement Income                                          -                      -                     -                        -                       -                     -                        -
    40090 · Other Revenue                                                     279                        -                     -                        -                       -                     -                        -
   Total Income                                                        22,041,329               800,000                3,125,000                        -            5,950,000                        -                        -
   Cost of Goods Sold
    50000 · Cost of Goods Sold
     50010 · Rental Property Cost Operations                             153,190                         -                     -                        -                       -                     -                        -
     50020 · Cost of Sales Real Property                               19,525,752             1,009,994                3,343,353                        -            5,227,247                        -                        -
     50030 · Closing Costs / Prorations                                  802,994                 75,938                 183,413                         -             336,159                         -                        -
     50040 · Structured Settlement Costs                                          -                      -                     -                        -                       -                     -                        -
    Total 50000 · Cost of Goods Sold                                   20,481,937             1,085,932                3,526,766                        -            5,563,405                        -                        -
   Total COGS                                                          20,481,937             1,085,932                3,526,766                        -            5,563,405                        -                        -
  Gross Profit                                                          1,559,393              (285,932)                (401,766)                       -             386,595                         -                        -
   Expense
    60020 · Marketing & Media Consulting                                          -                      -                     -                        -                       -                     -                        -
    60400 · Bank Charges                                                  10,354                         -                     -                        -                       -                     -                        -
    60500 · Dues and Subscriptions                                                -                      -                     -                        -                       -                     -                        -
    60600 · Equipment Lease                                                       -                      -                     -                        -                       -                     -                        -
    61700 · Information Technology                                                -                      -                     -                        -                       -                     -                        -
    61800 · License and Filing Fees                                           49                      149                      -                     479                    149                    975                      430
    61850 · Meals and Entertainment                                               -                      -                     -                        -                       -                     -                        -
    61870 · Moving                                                                -                      -                     -                        -                       -                     -                        -
    62500 · Employee Benefits                                                     -                      -                     -                        -                       -                     -                        -
    63300 · Insurance                                                             -                      -                     -                        -                       -                     -                        -
    63400 · Interest                                                              -                      -                     -                        -                       -                     -                        -
    63401 · Int Expense - BK DIP financing                                        -                      -                     -                        -                       -                     -                        -
    64800 · Office Expense                                                        -                      -                     -                        -                       -                     -                        -
    64900 · Office Supplies                                                       -                      -                     -                        -                       -                     -                        -
    65000 · Outside Services                                                      -                      -                     -                        -                       -                     -                        -
    65100 · Parking                                                               -                      -                     -                        -                       -                     -                        -
    66000 · Payroll - Salaries, Wages, Tax
     66005 · Payroll-Service Fees                                                 -                      -                     -                        -                       -                     -                        -
     66015 · Payroll-Employer Taxes                                               -                      -                     -                        -                       -                     -                        -
     66000 · Payroll - Salaries, Wages, Tax - Other                               -                      -                     -                        -                       -                     -                        -
    Total 66000 · Payroll - Salaries, Wages, Tax                                  -                      -                     -                        -                       -                     -                        -
    66020 · Independent Contractors                                               -                      -                     -                        -                       -                     -                        -
    66030 · Postage and Delivery                                                  -                      -                     -                        -                       -                     -                        -
    66800 · Rent Expense                                                          -                      -                     -                        -                       -                     -                        -
    66900 · Repairs and Maintenance                                               -                      -                     -                        -                       -                     -                        -
    67000 · Security                                                              -                      -                     -                        -                       -                     -                        -
    67050 · Storage                                                               -                      -                     -                        -                       -                     -                        -
    67100 · Telephone and Internet Expense                                        -                      -                     -                        -                       -                     -                        -
    67110 · Title Searches                                                        -                      -                     -                        -                       -                     -                        -
    67200 · Travel                                                                -                      -                     -                        -                       -                     -                        -
    67210 · Travel / Relocation allowance                                         -                      -                     -                        -                       -                     -                        -
    67400 · Utilities                                                             -                      -                     -                        -                       -                     -                        -
    68000 · Professional Fee Ord Course
     68100 · Consulting - Ord Course                                              -                      -                     -                        -                       -                     -                        -
     68200 · Legal Fees - Ord Course                                              -                  1,635                     -                        -                  7,864                   473                         -
     68300 · Accntng Fees - Ord Course                                            -                      -                     -                        -                       -                     -                        -
     68400 · Consulting RS                                                        -                      -                     -                        -                       -                     -                        -
    Total 68000 · Professional Fee Ord Course                                     -                  1,635                     -                        -                  7,864                   473                         -
    71000 · U.S. Trustee Fees                                             10,737                     1,300               32,657                      975                   5,525                  2,925                     975
    72000 · Prof Fees - Retained Firms
     72010 · Legal - Court Retained                                               -                      -                     -                        -                       -                     -                        -
     72030 · Consulting - Court Retained                                          -                      -                     -                        -                       -                     -                        -
     72050 · Creditor's Committee Fees Expen                                      -                      -                     -                        -                       -                     -                        -
    Total 72000 · Prof Fees - Retained Firms                                      -                      -                     -                        -                       -                     -                        -
    72100 · DIP Loan Origination Fee                                              -                      -                     -                        -                       -                     -                        -
    81140 · Board Fees & Expenses                                                 -                      -                     -                        -                       -                     -                        -
    83000 · Tax Expense
     83100 · Property Tax Expense                                                 -                      -                     -                        -                       -                     -                        -
     83110 · Municipal Taxes and Fees                                           -                       -                      -                       -                      -                      -                        -
     83200 · Taxes, other - LLC fees                                          800                     800                    800                     800                    800                    800                      800
    Total 83000 · Tax Expense                                                 800                     800                    800                     800                    800                    800                      800
   Total Expense                                                          21,941                     3,884               33,457                     2,254              14,338                     5,173                    2,205
 Net Ordinary Income                                                    1,537,452              (289,816)                (435,223)                (2,254)              372,256                 (5,173)                    (2,205)
 Other Income/Expense
  Other Income
   85100 · (Gain) / Loss loan payoff/sale                                         -                      -                     -                        -                       -                     -                        -
   85101 · Refund of Pre-Petition Expense                                         -                      -                     -                        -                       -                     -                        -
   85105 · Settlement Income                                                      -                      -                     -                        -                       -                     -                        -
  Other Expense                                                                   -                      -                     -                        -                       -                     -                        -
 Net Other Income                                                                 -                      -                     -                        -                       -                     -                        -
Net Income                                                              1,537,452              (289,816)                (435,223)                (2,254)              372,256                 (5,173)                    (2,205)




        58 of 124
                                                                                                                                                                                                          MOR-2 P&L filing to Dec31 2018
                                            Case 17-12560-KJC                                   Doc 3374                       Filed 02/04/19                        Page 59 of 124


DIP Woodbridge Group of Companies, LLC
Profit & Loss by Debtor
December 4, 2017 through December 31, 2018
                                                                P-123 Riley Creek       P-124 Rising Sun       P-125 Sachs Bridge     P-126 Sagebrook       P-127 Seven Stars       P-128 Silk City Invest    P-129 Silver Maple
                                                      Debtor:      Invest LLC              Invest LLC              Invest LLC            Invest LLC            Invest LLC                   LLC                   Invest LLC
                                                   Case No.:        17-12826               17-12828                18-10297              17-12830               17-12832                  17-12834                 17-12836
 Ordinary Income/Expense
   Income
    40005 · Sales Proceeds / Note Payoff                                            -                      -            1,280,000                       -             250,000                           -               8,500,000
    40010 · Rent Revenue                                                            -                      -                      -                     -                       -                       -                          -
    40020 · Interest Revenue                                                        -                      -                      -                     -                       -                       -                          -
    40022 · Structured Settlement Income                                            -                      -                      -                     -                       -                       -                          -
    40090 · Other Revenue                                                           -                      -                      -                     -                       -                       -                          -
   Total Income                                                                     -                      -            1,280,000                       -             250,000                           -               8,500,000
   Cost of Goods Sold
    50000 · Cost of Goods Sold
     50010 · Rental Property Cost Operations                                        -                      -                      -                     -                       -                       -                          -
     50020 · Cost of Sales Real Property                                            -                      -              783,477                       -             341,816                           -               7,898,620
     50030 · Closing Costs / Prorations                                             -                      -               91,206                       -              22,523                           -                 393,595
     50040 · Structured Settlement Costs                                            -                      -                      -                     -                       -                       -                          -
    Total 50000 · Cost of Goods Sold                                                -                      -              874,683                       -             364,339                           -               8,292,215
   Total COGS                                                                       -                      -              874,683                       -             364,339                           -               8,292,215
  Gross Profit                                                                      -                      -              405,317                       -             (114,339)                         -                 207,785
   Expense
    60020 · Marketing & Media Consulting                                            -                      -                      -                     -                       -                       -                          -
    60400 · Bank Charges                                                            -                      -                      -                     -                       -                       -                          -
    60500 · Dues and Subscriptions                                                  -                      -                      -                     -                       -                       -                          -
    60600 · Equipment Lease                                                         -                      -                      -                     -                       -                       -                          -
    61700 · Information Technology                                                  -                      -                      -                     -                       -                       -                          -
    61800 · License and Filing Fees                                            430                     479                     579                   579                    149                      479                           -
    61850 · Meals and Entertainment                                                 -                      -                      -                     -                       -                       -                          -
    61870 · Moving                                                                  -                      -                      -                     -                       -                       -                          -
    62500 · Employee Benefits                                                       -                      -                      -                     -                       -                       -                          -
    63300 · Insurance                                                               -                      -                      -                     -                       -                       -                          -
    63400 · Interest                                                                -                      -                      -                     -                       -                       -                          -
    63401 · Int Expense - BK DIP financing                                          -                      -                      -                     -                       -                       -                          -
    64800 · Office Expense                                                          -                      -                      -                     -                       -                       -                          -
    64900 · Office Supplies                                                         -                      -                      -                     -                       -                       -                          -
    65000 · Outside Services                                                        -                      -                      -                     -                       -                       -                          -
    65100 · Parking                                                                 -                      -                      -                     -                       -                       -                          -
    66000 · Payroll - Salaries, Wages, Tax
     66005 · Payroll-Service Fees                                                   -                      -                      -                     -                       -                       -                          -
     66015 · Payroll-Employer Taxes                                                 -                      -                      -                     -                       -                       -                          -
     66000 · Payroll - Salaries, Wages, Tax - Other                                 -                      -                      -                     -                       -                       -                          -
    Total 66000 · Payroll - Salaries, Wages, Tax                                    -                      -                      -                     -                       -                       -                          -
    66020 · Independent Contractors                                                 -                      -                      -                     -                       -                       -                          -
    66030 · Postage and Delivery                                                    -                      -                      -                     -                       -                       -                          -
    66800 · Rent Expense                                                            -                      -                      -                     -                       -                       -                          -
    66900 · Repairs and Maintenance                                                 -                      -                      -                     -                       -                       -                          -
    67000 · Security                                                                -                      -                      -                     -                       -                       -                          -
    67050 · Storage                                                                 -                      -                      -                     -                       -                       -                          -
    67100 · Telephone and Internet Expense                                          -                      -                      -                     -                       -                       -                          -
    67110 · Title Searches                                                          -                      -                   750                      -                       -                       -                          -
    67200 · Travel                                                                  -                      -                      -                     -                       -                       -                          -
    67210 · Travel / Relocation allowance                                           -                      -                      -                     -                       -                       -                          -
    67400 · Utilities                                                               -                      -                      -                     -                       -                       -                          -
    68000 · Professional Fee Ord Course
     68100 · Consulting - Ord Course                                                -                      -                      -                     -                       -                       -                          -
     68200 · Legal Fees - Ord Course                                                -                      -               16,395               10,898                     1,260                        -                          -
     68300 · Accntng Fees - Ord Course                                              -                      -                      -                     -                       -                       -                          -
     68400 · Consulting RS                                                          -                      -                      -                     -                       -                       -                          -
    Total 68000 · Professional Fee Ord Course                                       -                      -               16,395               10,898                     1,260                        -                          -
    71000 · U.S. Trustee Fees                                              11,700                     1,950                   1,625                 1,300                  1,300                  20,765                      7,150
    72000 · Prof Fees - Retained Firms
     72010 · Legal - Court Retained                                                 -                      -                      -                     -                       -                       -                          -
     72030 · Consulting - Court Retained                                            -                      -                      -                     -                       -                       -                          -
     72050 · Creditor's Committee Fees Expen                                        -                      -                      -                     -                       -                       -                          -
    Total 72000 · Prof Fees - Retained Firms                                        -                      -                      -                     -                       -                       -                          -
    72100 · DIP Loan Origination Fee                                                -                      -                      -                     -                       -                       -                          -
    81140 · Board Fees & Expenses                                                   -                      -                      -                     -                       -                       -                          -
    83000 · Tax Expense
     83100 · Property Tax Expense                                                   -                      -                      -                     -                       -                       -                          -
     83110 · Municipal Taxes and Fees                                            -                       -                       -                     -                      -                        -                         -
     83200 · Taxes, other - LLC fees                                           800                     800                     800                   800                    800                      800                       800
    Total 83000 · Tax Expense                                                  800                     800                     800                   800                    800                      800                       800
   Total Expense                                                           12,930                     3,229                20,149               13,577                     3,509                  22,044                      7,950
 Net Ordinary Income                                                       (12,930)                (3,229)                385,168               (13,577)              (117,848)                  (22,044)                 199,835
 Other Income/Expense
  Other Income
   85100 · (Gain) / Loss loan payoff/sale                                           -                      -                      -                     -                       -                       -                          -
   85101 · Refund of Pre-Petition Expense                                           -                      -                      -                  -                          -                       -                          -
   85105 · Settlement Income                                                        -                      -                      -             54,267                          -                       -                          -
  Other Expense                                                                     -                      -                      -                     -                       -                       -                          -
 Net Other Income                                                                   -                      -                      -             54,267                          -                       -                          -
Net Income                                                                 (12,930)                (3,229)                385,168               40,689                (117,848)                  (22,044)                 199,835




        59 of 124
                                                                                                                                                                                                             MOR-2 P&L filing to Dec31 2018
                                            Case 17-12560-KJC                                    Doc 3374                      Filed 02/04/19                          Page 60 of 124


DIP Woodbridge Group of Companies, LLC
Profit & Loss by Debtor
December 4, 2017 through December 31, 2018
                                                                P-138 Silverthorne       P-139 Springline       P-140 Springvale       P-141 Squaretop       P-142 Stayman Invest    P-143 Steele Hill         P-144 Stepstone
                                                      Debtor:       Invest LLC              Invest LLC             Invest LLC             Invest LLC                 LLC                Invest LLC                Invest LLC
                                                   Case No.:        17-12582                17-12585               17-12585               17-12589                17-12594              17-12598                   17-12606
 Ordinary Income/Expense
   Income
    40005 · Sales Proceeds / Note Payoff                                   900,000                 900,000                410,000                        -                       -              165,000                           -
    40010 · Rent Revenue                                                             -                      -                      -                     -                       -                       -                        -
    40020 · Interest Revenue                                                         -                      -                      -                     -                       -                       -                        -
    40022 · Structured Settlement Income                                             -                      -                      -                     -                       -                       -                        -
    40090 · Other Revenue                                                            -                      -                      -                     -                       -                       -                        -
   Total Income                                                            900,000                 900,000                410,000                        -                       -              165,000                           -
   Cost of Goods Sold
    50000 · Cost of Goods Sold
     50010 · Rental Property Cost Operations                                         -                      -                      -                     -                       -                       -                        -
     50020 · Cost of Sales Real Property                                 1,192,052               1,164,664                500,831                        -                       -              144,388                           -
     50030 · Closing Costs / Prorations                                     67,070                  66,484                 26,328                        -                       -               13,623                           -
     50040 · Structured Settlement Costs                                             -                      -                      -                     -                       -                       -                        -
    Total 50000 · Cost of Goods Sold                                     1,259,122               1,231,148                527,159                        -                       -              158,011                           -
   Total COGS                                                            1,259,122               1,231,148                527,159                        -                       -              158,011                           -
  Gross Profit                                                            (359,122)               (331,148)              (117,159)                       -                       -                 6,989                          -
   Expense
    60020 · Marketing & Media Consulting                                             -                      -                      -                     -                       -                       -                        -
    60400 · Bank Charges                                                             -                      -                      -                     -                       -                       -                        -
    60500 · Dues and Subscriptions                                                   -                      -                 6,094                      -                       -                       -                        -
    60600 · Equipment Lease                                                          -                      -                      -                     -                       -                       -                        -
    61700 · Information Technology                                                   -                      -                      -                     -                       -                       -                        -
    61800 · License and Filing Fees                                             530                     579                    579                   430                      479                    49                        679
    61850 · Meals and Entertainment                                                  -                      -                      -                     -                       -                       -                        -
    61870 · Moving                                                                   -                      -                      -                     -                       -                       -                        -
    62500 · Employee Benefits                                                        -                      -                      -                     -                       -                       -                        -
    63300 · Insurance                                                                -                      -                      -                     -                       -                       -                        -
    63400 · Interest                                                                 -                      -                      -                     -                       -                       -                        -
    63401 · Int Expense - BK DIP financing                                           -                      -                      -                     -                       -                       -                        -
    64800 · Office Expense                                                           -                      -                      -                     -                       -                       -                        -
    64900 · Office Supplies                                                          -                      -                      -                     -                       -                       -                        -
    65000 · Outside Services                                                         -                      -                      -                     -                       -                       -                        -
    65100 · Parking                                                                  -                      -                      -                     -                       -                       -                        -
    66000 · Payroll - Salaries, Wages, Tax
     66005 · Payroll-Service Fees                                                    -                      -                      -                     -                       -                       -                        -
     66015 · Payroll-Employer Taxes                                                  -                      -                      -                     -                       -                       -                        -
     66000 · Payroll - Salaries, Wages, Tax - Other                                  -                      -                      -                     -                       -                       -                        -
    Total 66000 · Payroll - Salaries, Wages, Tax                                     -                      -                      -                     -                       -                       -                        -
    66020 · Independent Contractors                                                  -                      -                      -                     -                       -                       -                        -
    66030 · Postage and Delivery                                                     -                      -                      -                     -                       -                       -                        -
    66800 · Rent Expense                                                             -                      -                      -                     -                       -                       -                        -
    66900 · Repairs and Maintenance                                                  -                      -                      -                     -                       -                       -                        -
    67000 · Security                                                                 -                      -                      -                     -                       -                       -                        -
    67050 · Storage                                                                  -                      -                      -                     -                       -                       -                        -
    67100 · Telephone and Internet Expense                                           -                      -                      -                     -                       -                       -                        -
    67110 · Title Searches                                                           -                      -                  750                       -                       -                       -                        -
    67200 · Travel                                                                   -                      -                      -                     -                       -                       -                        -
    67210 · Travel / Relocation allowance                                            -                      -                      -                     -                       -                       -                        -
    67400 · Utilities                                                                -                      -                      -                     -                       -                       -                        -
    68000 · Professional Fee Ord Course
     68100 · Consulting - Ord Course                                                 -                      -                      -                     -                       -                       -                        -
     68200 · Legal Fees - Ord Course                                           4,258                   4,352               15,160                        -                       -                   75                           -
     68300 · Accntng Fees - Ord Course                                               -                      -                      -                     -                       -                       -                        -
     68400 · Consulting RS                                                           -                      -                      -                     -                       -                       -                        -
    Total 68000 · Professional Fee Ord Course                                  4,258                   4,352               15,160                        -                       -                   75                           -
    71000 · U.S. Trustee Fees                                                  1,300                   1,625                  1,950              41,979                       975                  1,300                       975
    72000 · Prof Fees - Retained Firms
     72010 · Legal - Court Retained                                                  -                      -                      -                     -                       -                       -                        -
     72030 · Consulting - Court Retained                                             -                      -                      -                     -                       -                       -                        -
     72050 · Creditor's Committee Fees Expen                                         -                      -                      -                     -                       -                       -                        -
    Total 72000 · Prof Fees - Retained Firms                                         -                      -                      -                     -                       -                       -                        -
    72100 · DIP Loan Origination Fee                                                 -                      -                      -                     -                       -                       -                        -
    81140 · Board Fees & Expenses                                                    -                      -                      -                     -                       -                       -                        -
    83000 · Tax Expense
     83100 · Property Tax Expense                                                    -                      -                      -                     -                       -                       -                        -
     83110 · Municipal Taxes and Fees                                             -                       -                      -                     -                        -                     -                          -
     83200 · Taxes, other - LLC fees                                            800                     800                    800                   800                      800                   800                        800
    Total 83000 · Tax Expense                                                   800                     800                    800                   800                      800                   800                        800
   Total Expense                                                               6,888                   7,356               25,333                43,209                      2,254                 2,224                      2,454
 Net Ordinary Income                                                      (366,010)               (338,504)              (142,492)               (43,209)                 (2,254)                  4,765                    (2,454)
 Other Income/Expense
  Other Income
   85100 · (Gain) / Loss loan payoff/sale                                            -                      -                      -                     -                       -                       -                        -
   85101 · Refund of Pre-Petition Expense                                            -                      -                      -                     -                       -                       -                        -
   85105 · Settlement Income                                                         -                      -                      -                     -                       -                       -                        -
  Other Expense                                                                      -                      -                      -                     -                       -                       -                        -
 Net Other Income                                                                    -                      -                      -                     -                       -                       -                        -
Net Income                                                                (366,010)               (338,504)              (142,492)               (43,209)                 (2,254)                  4,765                    (2,454)




        60 of 124
                                                                                                                                                                                                             MOR-2 P&L filing to Dec31 2018
                                            Case 17-12560-KJC                                    Doc 3374                     Filed 02/04/19                         Page 61 of 124


DIP Woodbridge Group of Companies, LLC
Profit & Loss by Debtor
December 4, 2017 through December 31, 2018
                                                                P-145 Strawberry       P-146 Sturmer Pippin   P-147 Summerfree       P-150 Thornbury       P-152 Thunder Basin P-155 Vallecito Invest     P-156 Varga Invest
                                                      Debtor:     Fields Invest             Invest LLC            Invest LLC         Farm Invest LLC            Invest LLC             LLC                       LLC
                                                   Case No.:       17-12613                 17-12629              17-12635              17-12651                17-12657              17-12675                 17-12685
 Ordinary Income/Expense
   Income
    40005 · Sales Proceeds / Note Payoff                                           -                     -                       -                     -                       -                     -                       -
    40010 · Rent Revenue                                                           -               225,000                       -                     -                       -                     -                       -
    40020 · Interest Revenue                                                       -                     -                       -                     -                       -                     -                       -
    40022 · Structured Settlement Income                                           -                     -                       -                     -                       -                     -                       -
    40090 · Other Revenue                                                          -                     -                       -                     -                       -                     -                       -
   Total Income                                                                    -               225,000                       -                     -                       -                     -                       -
   Cost of Goods Sold
    50000 · Cost of Goods Sold
     50010 · Rental Property Cost Operations                                       -                     -                       -                     -                       -                     -                       -
     50020 · Cost of Sales Real Property                                           -                     -               (2,000)                       -                       -                     -                       -
     50030 · Closing Costs / Prorations                                            -                     -                       -                     -                       -                     -                       -
     50040 · Structured Settlement Costs                                           -                     -                       -                     -                       -                     -                       -
    Total 50000 · Cost of Goods Sold                                               -                     -               (2,000)                       -                       -                     -                       -
   Total COGS                                                                      -                     -               (2,000)                       -                       -                     -                       -
  Gross Profit                                                                     -               225,000                   2,000                     -                       -                     -                       -
   Expense
    60020 · Marketing & Media Consulting                                           -                     -                       -                     -                       -                     -                       -
    60400 · Bank Charges                                                           -                     -                       -                     -                       -                     -                       -
    60500 · Dues and Subscriptions                                                 -                     -                       -                     -                       -                     -                       -
    60600 · Equipment Lease                                                        -                     -                       -                     -                       -                     -                       -
    61700 · Information Technology                                                 -                     -                       -                     -                       -                     -                       -
    61800 · License and Filing Fees                                            479                     579                    479                   479                     479                   530                     430
    61850 · Meals and Entertainment                                                -                     -                       -                     -                       -                     -                       -
    61870 · Moving                                                                 -                     -                       -                     -                       -                     -                       -
    62500 · Employee Benefits                                                      -                     -                       -                     -                       -                     -                       -
    63300 · Insurance                                                              -                     -                       -                     -                       -                     -                       -
    63400 · Interest                                                               -                     -                       -                     -                       -                     -                       -
    63401 · Int Expense - BK DIP financing                                         -                     -                       -                     -                       -                     -                       -
    64800 · Office Expense                                                         -                     -                       -                     -                       -                     -                       -
    64900 · Office Supplies                                                        -                     -                       -                     -                       -                     -                       -
    65000 · Outside Services                                                       -                     -                       -                     -                       -                     -                       -
    65100 · Parking                                                                -                     -                       -                     -                       -                     -                       -
    66000 · Payroll - Salaries, Wages, Tax
     66005 · Payroll-Service Fees                                                  -                     -                       -                     -                       -                     -                       -
     66015 · Payroll-Employer Taxes                                                -                     -                       -                     -                       -                     -                       -
     66000 · Payroll - Salaries, Wages, Tax - Other                                -                     -                       -                     -                       -                     -                       -
    Total 66000 · Payroll - Salaries, Wages, Tax                                   -                     -                       -                     -                       -                     -                       -
    66020 · Independent Contractors                                                -                     -                       -                     -                       -                     -                       -
    66030 · Postage and Delivery                                                   -                     -                       -                     -                       -                     -                       -
    66800 · Rent Expense                                                           -                     -                       -                     -                       -                     -                       -
    66900 · Repairs and Maintenance                                                -                     -                       -                     -                       -                     -                       -
    67000 · Security                                                               -                     -                       -                     -                       -                     -                       -
    67050 · Storage                                                                -                     -                       -                     -                       -                     -                       -
    67100 · Telephone and Internet Expense                                         -                     -                       -                     -                       -                     -                       -
    67110 · Title Searches                                                         -                     -                       -                     -                       -                     -                       -
    67200 · Travel                                                                 -                     -                       -                     -                       -                     -                       -
    67210 · Travel / Relocation allowance                                          -                     -                       -                     -                       -                     -                       -
    67400 · Utilities                                                              -                     -                       -                     -                       -                     -                       -
    68000 · Professional Fee Ord Course
     68100 · Consulting - Ord Course                                               -                     -                       -                     -                       -                     -                       -
     68200 · Legal Fees - Ord Course                                               -                     -                   2,748                     -                       -                     -                       -
     68300 · Accntng Fees - Ord Course                                             -                     -                       -                     -                       -                     -                       -
     68400 · Consulting RS                                                         -                     -                       -                     -                       -                     -                       -
    Total 68000 · Professional Fee Ord Course                                      -                     -                   2,748                     -                       -                     -                       -
    71000 · U.S. Trustee Fees                                                  975                  10,725               28,037                    2,925                    975                   975                  14,625
    72000 · Prof Fees - Retained Firms
     72010 · Legal - Court Retained                                                -                     -                       -                     -                       -                     -                       -
     72030 · Consulting - Court Retained                                           -                     -                       -                     -                       -                     -                       -
     72050 · Creditor's Committee Fees Expen                                       -                     -                       -                     -                       -                     -                       -
    Total 72000 · Prof Fees - Retained Firms                                       -                     -                       -                     -                       -                     -                       -
    72100 · DIP Loan Origination Fee                                               -                     -                       -                     -                       -                     -                       -
    81140 · Board Fees & Expenses                                                  -                     -                       -                     -                       -                     -                       -
    83000 · Tax Expense
     83100 · Property Tax Expense                                                  -                     -                       -                     -                       -                     -                       -
     83110 · Municipal Taxes and Fees                                            -                       -                      -                     -                       -                     -                       -
     83200 · Taxes, other - LLC fees                                           800                     800                    800                   800                     800                   800                     800
    Total 83000 · Tax Expense                                                  800                     800                    800                   800                     800                   800                     800
   Total Expense                                                              2,254                 12,104               32,063                    4,204                   2,254                 2,305                 15,855
 Net Ordinary Income                                                       (2,254)                 212,896              (30,063)                (4,204)                 (2,254)               (2,305)                  (15,855)
 Other Income/Expense
  Other Income
   85100 · (Gain) / Loss loan payoff/sale                                          -                     -                       -                     -                       -                     -                       -
   85101 · Refund of Pre-Petition Expense                                          -                     -                       -                     -                       -                     -                       -
   85105 · Settlement Income                                                       -                     -                       -                     -                       -                     -                       -
  Other Expense                                                                    -                     -                       -                     -                       -                     -                       -
 Net Other Income                                                                  -                     -                       -                     -                       -                     -                       -
Net Income                                                                 (2,254)                 212,896              (30,063)                (4,204)                 (2,254)               (2,305)                  (15,855)




        61 of 124
                                                                                                                                                                                                         MOR-2 P&L filing to Dec31 2018
                                            Case 17-12560-KJC                                  Doc 3374                        Filed 02/04/19                         Page 62 of 124


DIP Woodbridge Group of Companies, LLC
Profit & Loss by Debtor
December 4, 2017 through December 31, 2018
                                                                P-157 Wetterhorn       P-158 White Birch       P-159 White Dome       P-164 Wildernest       P-165 Willow Grove     P-166 Winding Road       P-167 Zestar Invest
                                                      Debtor:      Invest LLC             Invest LLC               Invest LLC            Invest LLC              Invest LLC               Invest                    LLC
                                                   Case No.:       17-12693                17-12702                17-12709              17-12723                17-12732                17-12739                 17-12792
 Ordinary Income/Expense
   Income
    40005 · Sales Proceeds / Note Payoff                                           -                       -             400,000                950,000                         -                       -                       -
    40010 · Rent Revenue                                                           -                       -                      -                      -                  3,750                       -                       -
    40020 · Interest Revenue                                                       -                       -                      -                      -                      -                       -                       -
    40022 · Structured Settlement Income                                           -                       -                      -                      -                      -                       -                       -
    40090 · Other Revenue                                                          -                       -                      -                      -                      -                       -                       -
   Total Income                                                                    -                       -             400,000                950,000                     3,750                       -                       -
   Cost of Goods Sold
    50000 · Cost of Goods Sold
     50010 · Rental Property Cost Operations                                       -                       -                      -                      -                      -                       -                       -
     50020 · Cost of Sales Real Property                                           -                       -             825,238              2,301,877                         -                       -                       -
     50030 · Closing Costs / Prorations                                            -                       -              32,467                 50,779                  (5,925)                        -                       -
     50040 · Structured Settlement Costs                                           -                       -                      -                      -                      -                       -                       -
    Total 50000 · Cost of Goods Sold                                               -                       -             857,705              2,352,656                  (5,925)                        -                       -
   Total COGS                                                                      -                       -             857,705              2,352,656                  (5,925)                        -                       -
  Gross Profit                                                                     -                       -            (457,705)            (1,402,656)                    9,675                       -                       -
   Expense
    60020 · Marketing & Media Consulting                                           -                       -                      -                      -                      -                       -                       -
    60400 · Bank Charges                                                           -                       -                      -                      -                      -                       -                       -
    60500 · Dues and Subscriptions                                                 -                       -                      -                      -                      -                       -                       -
    60600 · Equipment Lease                                                        -                       -                      -                      -                      -                       -                       -
    61700 · Information Technology                                                 -                       -                      -                      -                      -                       -                       -
    61800 · License and Filing Fees                                            530                    479                      430                   100                     479                    1,109                    579
    61850 · Meals and Entertainment                                                -                       -                      -                      -                      -                       -                       -
    61870 · Moving                                                                 -                       -                      -                      -                      -                       -                       -
    62500 · Employee Benefits                                                      -                       -                      -                      -                      -                       -                       -
    63300 · Insurance                                                              -                       -                      -                      -                      -                       -                       -
    63400 · Interest                                                               -                       -                      -                      -                      -              520,000                          -
    63401 · Int Expense - BK DIP financing                                         -                       -                      -                      -                      -                       -                       -
    64800 · Office Expense                                                         -                       -                      -                      -                      -                       -                       -
    64900 · Office Supplies                                                        -                       -                      -                      -                      -                       -                       -
    65000 · Outside Services                                                       -                       -                      -                      -                      -                       -                       -
    65100 · Parking                                                                -                       -                      -                      -                      -                       -                       -
    66000 · Payroll - Salaries, Wages, Tax
     66005 · Payroll-Service Fees                                                  -                       -                      -                      -                      -                       -                       -
     66015 · Payroll-Employer Taxes                                                -                       -                      -                      -                      -                       -                       -
     66000 · Payroll - Salaries, Wages, Tax - Other                                -                       -                      -                      -                      -                       -                       -
    Total 66000 · Payroll - Salaries, Wages, Tax                                   -                       -                      -                      -                      -                       -                       -
    66020 · Independent Contractors                                                -                       -                      -                      -                      -                       -                       -
    66030 · Postage and Delivery                                                   -                       -                      -                      -                      -                       -                       -
    66800 · Rent Expense                                                           -                       -                      -                      -                      -                       -                       -
    66900 · Repairs and Maintenance                                                -                       -                      -                      -                      -                       -                       -
    67000 · Security                                                               -                       -                      -                      -                      -                       -                       -
    67050 · Storage                                                                -                       -                      -                      -                      -                       -                       -
    67100 · Telephone and Internet Expense                                         -                       -                      -                      -                      -                       -                       -
    67110 · Title Searches                                                         -                       -                      -                      -                      -                       -                       -
    67200 · Travel                                                                 -                       -                      -                      -                      -                       -                       -
    67210 · Travel / Relocation allowance                                          -                       -                      -                      -                      -                       -                       -
    67400 · Utilities                                                              -                       -                      -                      -                      -                       -                       -
    68000 · Professional Fee Ord Course
     68100 · Consulting - Ord Course                                               -                       -                      -                      -                      -                       -                       -
     68200 · Legal Fees - Ord Course                                               -                       -                  2,310                 4,650                       -                       -                       -
     68300 · Accntng Fees - Ord Course                                             -                       -                      -                      -                      -                       -                       -
     68400 · Consulting RS                                                         -                       -                      -                      -                      -                       -                       -
    Total 68000 · Professional Fee Ord Course                                      -                       -                  2,310                 4,650                       -                       -                       -
    71000 · U.S. Trustee Fees                                                  975                14,625                      1,300                 1,300                   1,625               42,568                    21,132
    72000 · Prof Fees - Retained Firms
     72010 · Legal - Court Retained                                                -                       -                      -                      -                      -                       -                       -
     72030 · Consulting - Court Retained                                           -                       -                      -                      -                      -                       -                       -
     72050 · Creditor's Committee Fees Expen                                       -                       -                      -                      -                      -                       -                       -
    Total 72000 · Prof Fees - Retained Firms                                       -                       -                      -                      -                      -                       -                       -
    72100 · DIP Loan Origination Fee                                               -                       -                      -                      -                      -                       -                       -
    81140 · Board Fees & Expenses                                                  -                       -                      -                      -                      -                       -                       -
    83000 · Tax Expense
     83100 · Property Tax Expense                                                  -                       -                      -                      -                      -                       -                       -
     83110 · Municipal Taxes and Fees                                            -                      -                        -                     -                       -                       -                       -
     83200 · Taxes, other - LLC fees                                           800                    800                      800                   800                     800                     800                     800
    Total 83000 · Tax Expense                                                  800                    800                      800                   800                     800                     800                     800
   Total Expense                                                              2,305               15,904                      4,840                 6,850                   2,904              564,477                    22,511
 Net Ordinary Income                                                       (2,305)                (15,904)              (462,545)            (1,409,506)                    6,771             (564,477)                   (22,511)
 Other Income/Expense
  Other Income
   85100 · (Gain) / Loss loan payoff/sale                                          -                       -                      -                      -                      -                       -                       -
   85101 · Refund of Pre-Petition Expense                                          -                       -                      -                      -                  2,578                       -                       -
   85105 · Settlement Income                                                       -                       -                      -                      -                      -                       -                       -
  Other Expense                                                                    -                       -                      -                      -                      -                       -                       -
 Net Other Income                                                                  -                       -                      -                      -                  2,578                       -                       -
Net Income                                                                 (2,305)                (15,904)              (462,545)            (1,409,506)                    9,349             (564,477)                   (22,511)




        62 of 124
                                                                                                                                                                                                            MOR-2 P&L filing to Dec31 2018
                                            Case 17-12560-KJC                                   Doc 3374                     Filed 02/04/19                       Page 63 of 124


DIP Woodbridge Group of Companies, LLC
Profit & Loss by Debtor
December 4, 2017 through December 31, 2018
                                                                P-187 695 Buggy       P-188 Deerfield Park    P-207 Frog Rock       P-048 Crossbeam       P-287 Kirkstead       Silverleaf Funding            Summit Cut
                                                      Debtor:      Circle, LLC            Invest LLC            Investments            Invest LLC         Inves Huron St.               LLC                Investments LLC
                                                   Case No.:       18-10670                18-10673              18-10733              17-12650              18-10675               17-12837                   17-12640
 Ordinary Income/Expense
   Income
    40005 · Sales Proceeds / Note Payoff                                1,800,000               8,735,000                       -                     -            650,671                  30,000                           -
    40010 · Rent Revenue                                                          -                       -                  271                      -                     -                        -                       -
    40020 · Interest Revenue                                                    21                        -                     -                     -                     -                        -                       -
    40022 · Structured Settlement Income                                          -                       -                     -                     -                     -                        -                       -
    40090 · Other Revenue                                                         -                       -                     -                     -                     -                  9,796                         -
   Total Income                                                         1,800,021               8,735,000                    271                      -            650,671                  39,796                           -
   Cost of Goods Sold
    50000 · Cost of Goods Sold
     50010 · Rental Property Cost Operations                                      8                    244                  4,348                     -                     -                        -                       -
     50020 · Cost of Sales Real Property                                1,639,549               6,695,002                (2,162)                      -                     -              160,275                           -
     50030 · Closing Costs / Prorations                                  134,682                  505,830                       -                     -                     -                  6,596                         -
     50040 · Structured Settlement Costs                                          -                       -                     -                     -                     -                        -                       -
    Total 50000 · Cost of Goods Sold                                    1,774,239               7,201,076                   2,186                     -                     -              166,871                           -
   Total COGS                                                           1,774,239               7,201,076                   2,186                     -                     -              166,871                           -
  Gross Profit                                                            25,782                1,533,924                (1,915)                      -            650,671                (127,075)                          -
   Expense
    60020 · Marketing & Media Consulting                                          -                       -                     -                     -                     -                        -                       -
    60400 · Bank Charges                                                          8                       -                     3                     -                     -                        -                       -
    60500 · Dues and Subscriptions                                                -                       -                     -                     -                     -                        -                       -
    60600 · Equipment Lease                                                       -                       -                     -                     -                     -                        -                       -
    61700 · Information Technology                                                -                       -                     -                     -                     -                        -                       -
    61800 · License and Filing Fees                                               -                       -                     -                  149                   628                    479                       479
    61850 · Meals and Entertainment                                               -                       -                     -                     -                     -                        -                       -
    61870 · Moving                                                                -                       -                     -                     -                     -                        -                       -
    62500 · Employee Benefits                                                     -                       -                     -                     -                     -                        -                       -
    63300 · Insurance                                                             -                       -                     -                     -                     -                        -                       -
    63400 · Interest                                                              -                       -                     -                     -                     -                        -                       -
    63401 · Int Expense - BK DIP financing                                        -                       -                     -                     -                     -                        -                       -
    64800 · Office Expense                                                        -                       -                     -                     -                     -                        -                       -
    64900 · Office Supplies                                                       -                       -                     -                     -                     -                        -                       -
    65000 · Outside Services                                                      -                       -                     -                     -                     -                        -                       -
    65100 · Parking                                                               -                       -                     -                     -                     -                        -                       -
    66000 · Payroll - Salaries, Wages, Tax
     66005 · Payroll-Service Fees                                                 -                       -                     -                     -                     -                        -                       -
     66015 · Payroll-Employer Taxes                                               -                       -                     -                     -                     -                        -                       -
     66000 · Payroll - Salaries, Wages, Tax - Other                               -                       -                     -                     -                     -                        -                       -
    Total 66000 · Payroll - Salaries, Wages, Tax                                  -                       -                     -                     -                     -                        -                       -
    66020 · Independent Contractors                                               -                       -                     -                     -                     -                        -                       -
    66030 · Postage and Delivery                                                  -                       -                     -                     -                     -                        -                       -
    66800 · Rent Expense                                                          -                       -                     -                     -                     -                        -                       -
    66900 · Repairs and Maintenance                                               -                       -                     -                     -                     -                        -                       -
    67000 · Security                                                              -                       -                     -                     -                     -                        -                       -
    67050 · Storage                                                               -                       -                     -                     -                     -                        -                       -
    67100 · Telephone and Internet Expense                                        -                       -                     -                     -                     -                        -                       -
    67110 · Title Searches                                                        -                       -                     -                     -                     -               18,287                           -
    67200 · Travel                                                                -                       -                     -                     -                     -                        -                       -
    67210 · Travel / Relocation allowance                                         -                       -                     -                     -                     -                        -                       -
    67400 · Utilities                                                             -                       -                     -                     -                     -                   216                          -
    68000 · Professional Fee Ord Course
     68100 · Consulting - Ord Course                                              -                       -                     -                     -                     -                        -                       -
     68200 · Legal Fees - Ord Course                                              -                   5,001                     -                     -                     -               13,344                           -
     68300 · Accntng Fees - Ord Course                                            -                       -                     -                     -                     -                        -                       -
     68400 · Consulting RS                                                        -                       -                     -                     -                     -                        -                       -
    Total 68000 · Professional Fee Ord Course                                     -                   5,001                     -                     -                     -               13,344                           -
    71000 · U.S. Trustee Fees                                                  975                     975                   975                   650                   975                   1,625                   10,400
    72000 · Prof Fees - Retained Firms
     72010 · Legal - Court Retained                                               -                       -                     -                     -                     -                        -                       -
     72030 · Consulting - Court Retained                                          -                       -                     -                     -                     -                        -                       -
     72050 · Creditor's Committee Fees Expen                                      -                       -                     -                     -                     -                        -                       -
    Total 72000 · Prof Fees - Retained Firms                                      -                       -                     -                     -                     -                        -                       -
    72100 · DIP Loan Origination Fee                                              -                       -                     -                     -                     -                        -                       -
    81140 · Board Fees & Expenses                                                 -                       -                     -                     -                     -                        -                       -
    83000 · Tax Expense
     83100 · Property Tax Expense                                                 -                       -                     -                     -                     -                        -                       -
     83110 · Municipal Taxes and Fees                                             -                      -                      -                    -                      -                        -                      -
     83200 · Taxes, other - LLC fees                                          1,600                    800                      -                  800                      -                        -                    800
    Total 83000 · Tax Expense                                                 1,600                    800                      -                  800                      -                        -                    800
   Total Expense                                                              2,583                   6,776                  978                  1,599                 1,603               33,951                     11,679
 Net Ordinary Income                                                      23,199                1,527,148                (2,893)              (1,599)              649,068                (161,026)                    (11,679)
 Other Income/Expense
  Other Income
   85100 · (Gain) / Loss loan payoff/sale                                         -                       -                     -                     -                     -                        -                       -
   85101 · Refund of Pre-Petition Expense                                      668                        -                 1,120                     -                     -                        -                       -
   85105 · Settlement Income                                                     -                        -                     -                     -                     -                        -                       -
  Other Expense                                                          102,745                          -                     -                     -                     -                        -                       -
 Net Other Income                                                        (102,077)                        -                 1,120                     -                     -                        -                       -
Net Income                                                                (78,878)              1,527,148                (1,773)              (1,599)              649,068                (161,026)                    (11,679)




        63 of 124
                                                                                                                                                                                                         MOR-2 P&L filing to Dec31 2018
                                            Case 17-12560-KJC                              Doc 3374                   Filed 02/04/19                         Page 64 of 124


DIP Woodbridge Group of Companies, LLC
Profit & Loss by Debtor
December 4, 2017 through December 31, 2018
                                                                    Topchord                                                 Whiteacre Funding
                                                      Debtor:   Investments LLC        WCBL 1             WCBL 2                   LLC              WMIF 1           WMIF 2           WMIF 3
                                                   Case No.:       17-12664            17-12754           17-12758               17-12713           17-12768         17-12772         17-12776
 Ordinary Income/Expense
   Income
    40005 · Sales Proceeds / Note Payoff                                1,100,000                     -                  -                     -        710,896                   -                -
    40010 · Rent Revenue                                                      5,400                   -                  -             148,759            7,831                   -                -
    40020 · Interest Revenue                                                   (182)                  -                  -              22,000           45,051           22,500           16,177
    40022 · Structured Settlement Income                                          -                   -                  -                     -                 -                -                -
    40090 · Other Revenue                                                         -                   -                  -                     -               300                -                -
   Total Income                                                         1,105,218                     -                  -             170,759          764,078           22,500           16,177
   Cost of Goods Sold
    50000 · Cost of Goods Sold
     50010 · Rental Property Cost Operations                                  7,287                   -                  -              57,361                   -                -                -
     50020 · Cost of Sales Real Property                                1,412,256                     -                  -                     -        744,953                   -                -
     50030 · Closing Costs / Prorations                                   82,961                      -                  -                     -                 -                -                -
     50040 · Structured Settlement Costs                                          -                   -                  -                     -                 -                -                -
    Total 50000 · Cost of Goods Sold                                    1,502,504                     -                  -              57,361          744,953                   -                -
   Total COGS                                                           1,502,504                     -                  -              57,361          744,953                   -                -
  Gross Profit                                                           (397,286)                    -                  -             113,398           19,124           22,500           16,177
   Expense
    60020 · Marketing & Media Consulting                                          -                   -                  -                     -                 -                -                -
    60400 · Bank Charges                                                          8                   -                  -                     -                 -                -                -
    60500 · Dues and Subscriptions                                                -                   -                  -                     -                 -                -                -
    60600 · Equipment Lease                                                       -                   -                  -                     -                 -                -                -
    61700 · Information Technology                                                -                   -                  -                     -                 -                -                -
    61800 · License and Filing Fees                                            679                 579                579                1,573                 479              579              628
    61850 · Meals and Entertainment                                               -                   -                  -                     -                 -                -                -
    61870 · Moving                                                                -                   -                  -                     -                 -                -                -
    62500 · Employee Benefits                                                     -                   -                  -                     -                 -                -                -
    63300 · Insurance                                                             -                   -                  -               4,342                   -                -                -
    63400 · Interest                                                              -                   -                  -                     -                 -                -                -
    63401 · Int Expense - BK DIP financing                                        -                   -                  -                     -                 -                -                -
    64800 · Office Expense                                                        -                   -                  -                     -                 -                -                -
    64900 · Office Supplies                                                       -                   -                  -                     -                 -                -                -
    65000 · Outside Services                                                      -                   -                  -                     -                 -                -                -
    65100 · Parking                                                               -                   -                  -                     -                 -                -                -
    66000 · Payroll - Salaries, Wages, Tax
     66005 · Payroll-Service Fees                                                 -                   -                  -                     -                 -                -                -
     66015 · Payroll-Employer Taxes                                               -                   -                  -                     -                 -                -                -
     66000 · Payroll - Salaries, Wages, Tax - Other                               -                   -                  -                     -                 -                -                -
    Total 66000 · Payroll - Salaries, Wages, Tax                                  -                   -                  -                     -                 -                -                -
    66020 · Independent Contractors                                               -                   -                  -                     -                 -                -                -
    66030 · Postage and Delivery                                                  -                   -                  -                     -                 -                -                -
    66800 · Rent Expense                                                          -                   -                  -                     -                 -                -                -
    66900 · Repairs and Maintenance                                               -                   -                  -                     -                 -                -                -
    67000 · Security                                                              -                   -                  -                  375                  -                -                -
    67050 · Storage                                                               -                   -                  -                     -                 -                -                -
    67100 · Telephone and Internet Expense                                        -                   -                  -                     -                 -                -                -
    67110 · Title Searches                                                        -                   -                  -               8,140            9,716                 916                -
    67200 · Travel                                                                -                   -                  -                     -                 -                -                -
    67210 · Travel / Relocation allowance                                         -                   -                  -                     -                 -                -                -
    67400 · Utilities                                                             -                   -                  -                  702                  -                -                -
    68000 · Professional Fee Ord Course
     68100 · Consulting - Ord Course                                              -                   -                  -               2,500                   -                -                -
     68200 · Legal Fees - Ord Course                                          3,210                   -                  -              82,908           26,006           29,523            9,242
     68300 · Accntng Fees - Ord Course                                            -                   -                  -                     -                 -                -                -
     68400 · Consulting RS                                                        -                   -                  -                     -                 -                -                -
    Total 68000 · Professional Fee Ord Course                                 3,210                   -                  -              85,408           26,006           29,523            9,242
    71000 · U.S. Trustee Fees                                                 1,625                975                975                3,250            3,250            1,300                 975
    72000 · Prof Fees - Retained Firms
     72010 · Legal - Court Retained                                               -                   -                  -                     -                 -                -                -
     72030 · Consulting - Court Retained                                          -                   -                  -                     -                 -                -                -
     72050 · Creditor's Committee Fees Expen                                      -                   -                  -                     -                 -                -                -
    Total 72000 · Prof Fees - Retained Firms                                      -                   -                  -                     -                 -                -                -
    72100 · DIP Loan Origination Fee                                              -                   -                  -                     -                 -                -                -
    81140 · Board Fees & Expenses                                                 -                   -                  -                     -                 -                -                -
    83000 · Tax Expense
     83100 · Property Tax Expense                                                 -                   -                  -               7,801            3,426           26,860                   -
     83110 · Municipal Taxes and Fees                                            -                   -                  -                3,691                   -                -                -
     83200 · Taxes, other - LLC fees                                           800                 800                800                1,600                   -              800              800
    Total 83000 · Tax Expense                                                  800                 800                800               13,091            3,426           27,660                 800
   Total Expense                                                              6,322               2,354              2,354             116,881           42,876           59,978           11,645
 Net Ordinary Income                                                     (403,608)            (2,354)            (2,354)                (3,483)         (23,752)         (37,478)           4,533
 Other Income/Expense
  Other Income
   85100 · (Gain) / Loss loan payoff/sale                                         -                   -                  -                     -                 -                -       (13,710)
   85101 · Refund of Pre-Petition Expense                                         -                   -                  -               3,132                   -                -                -
   85105 · Settlement Income                                                      -                   -                  -                   -                   -                -                -
  Other Expense                                                                   -                   -                  -                     -                 -                -                -
 Net Other Income                                                                 -                   -                  -               3,132                   -                -       (13,710)
Net Income                                                               (403,608)            (2,354)            (2,354)                    (351)       (23,752)         (37,478)          (9,177)




        64 of 124
                                                                                                                                                                                          MOR-2 P&L filing to Dec31 2018
                                            Case 17-12560-KJC                                Doc 3374              Filed 02/04/19   Page 65 of 124


DIP Woodbridge Group of Companies, LLC
Profit & Loss by Debtor
December 4, 2017 through December 31, 2018

                                                      Debtor:   WMIF 3a          WMIF 4           TOTAL
                                                   Case No.:    17-12780         17-12784
 Ordinary Income/Expense
   Income
    40005 · Sales Proceeds / Note Payoff                            241,001          260,000       181,740,681
    40010 · Rent Revenue                                                     -        55,148         1,897,875
    40020 · Interest Revenue                                                 -       413,107          552,226
    40022 · Structured Settlement Income                                     -                -           88,273
    40090 · Other Revenue                                                    -              716       398,647
   Total Income                                                     241,001          728,972       184,677,701
   Cost of Goods Sold
    50000 · Cost of Goods Sold
     50010 · Rental Property Cost Operations                                 -                -       419,652
     50020 · Cost of Sales Real Property                            227,000          260,000       193,703,505
     50030 · Closing Costs / Prorations                                      -         7,147         9,454,345
     50040 · Structured Settlement Costs                                     -                -            1,282
    Total 50000 · Cost of Goods Sold                                227,000          267,147       203,578,784
   Total COGS                                                       227,000          267,147       203,578,784
  Gross Profit                                                       14,001          461,825       (18,901,084)
   Expense
    60020 · Marketing & Media Consulting                                     -                -       340,210
    60400 · Bank Charges                                                     -                -           18,523
    60500 · Dues and Subscriptions                                           -                -           28,695
    60600 · Equipment Lease                                                  -                -            1,520
    61700 · Information Technology                                           -                -       503,003
    61800 · License and Filing Fees                                        579              679       112,953
    61850 · Meals and Entertainment                                          -                -            5,289
    61870 · Moving                                                           -                -           20,487
    62500 · Employee Benefits                                                -                -       223,948
    63300 · Insurance                                                        -        11,638          156,297
    63400 · Interest                                                         -                -      2,178,528
    63401 · Int Expense - BK DIP financing                                   -                -      4,952,004
    64800 · Office Expense                                                   -                -       165,912
    64900 · Office Supplies                                                  -                -           24,772
    65000 · Outside Services                                                 -                -           29,132
    65100 · Parking                                                          -                -           56,628
    66000 · Payroll - Salaries, Wages, Tax
     66005 · Payroll-Service Fees                                            -                -            7,889
     66015 · Payroll-Employer Taxes                                          -                -        423,055
     66000 · Payroll - Salaries, Wages, Tax - Other                          -                -      5,849,774
    Total 66000 · Payroll - Salaries, Wages, Tax                             -                -      6,280,718
    66020 · Independent Contractors                                          -                -            6,000
    66030 · Postage and Delivery                                             -                -           34,093
    66800 · Rent Expense                                                     -                -       577,588
    66900 · Repairs and Maintenance                                          -                -           30,657
    67000 · Security                                                         -                -            9,750
    67050 · Storage                                                          -                -            7,087
    67100 · Telephone and Internet Expense                                   -                -           81,518
    67110 · Title Searches                                                   -              700       140,645
    67200 · Travel                                                           -                -           92,146
    67210 · Travel / Relocation allowance                                    -                -       100,000
    67400 · Utilities                                                        -                -           16,545
    68000 · Professional Fee Ord Course
     68100 · Consulting - Ord Course                                         -                -           30,509
     68200 · Legal Fees - Ord Course                                         -         1,563         1,639,968
     68300 · Accntng Fees - Ord Course                                       -                -           60,657
     68400 · Consulting RS                                                   -                -           10,238
    Total 68000 · Professional Fee Ord Course                                -         1,563         1,741,372
    71000 · U.S. Trustee Fees                                              650              975      2,123,658
    72000 · Prof Fees - Retained Firms
     72010 · Legal - Court Retained                                          -                -     29,148,011
     72030 · Consulting - Court Retained                                     -                -     18,092,101
     72050 · Creditor's Committee Fees Expen                                 -                -         26,338
    Total 72000 · Prof Fees - Retained Firms                                 -                -     47,266,450
    72100 · DIP Loan Origination Fee                                         -                -      1,575,000
    81140 · Board Fees & Expenses                                            -                -      1,047,059
    83000 · Tax Expense
     83100 · Property Tax Expense                                            -         4,452              44,297
     83110 · Municipal Taxes and Fees                                        -                -         4,269
     83200 · Taxes, other - LLC fees                                       800              800       376,419
    Total 83000 · Tax Expense                                              800         5,252          424,985
   Total Expense                                                      2,029           20,807        70,373,172
 Net Ordinary Income                                                 11,972          441,018       (89,274,256)
 Other Income/Expense
  Other Income
   85100 · (Gain) / Loss loan payoff/sale                           (26,745)          (6,168)          (46,623)
   85101 · Refund of Pre-Petition Expense                                    -                -           85,840
   85105 · Settlement Income                                                 -                -           54,267
  Other Expense                                                              -                -       103,845
 Net Other Income                                                   (26,745)          (6,168)             23,638
Net Income                                                          (14,773)         434,849       (89,250,618)




        65 of 124
                                                                                                                                                MOR-2 P&L filing to Dec31 2018
                                 Case 17-12560-KJC                     Doc 3374              Filed 02/04/19              Page 66 of 124


DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of December 31, 2018
                                                                    1. Woodbridge        Bellflower Funding        Brise Soleil       Carbondale Glen
                                                    Debtor: Notes     Group LLC                  LLC            Investments LLC       Sweetgrass LLC
                                                  Case No.:   1.      17-12560               18-10507              17-12762              17-12564
ASSETS
 Current Assets
     Total 10000 · Cash                                       2.          23,930,508                        -                     -                     -
   Total Checking/Savings                                                 23,930,508                        -                     -                     -
   Other Current Assets
     11010 · Miscellaneous Receivable                                       202,486
     11500 · Vendor Deposits                                                     1,068                      -                     -                     -
     11510 · Property Manager Advance
     14010 · Due From Shapiro
     14020 · Prepaid Expenses                                                32,370                         -                     -                     -
     14025 · Professional Retainers                                         254,801                         -                     -                     -
   Total Other Current Assets                                               490,724                         -                     -                     -
 Total Current Assets                                                     24,421,233                        -                     -                     -
 Fixed Assets
   15000 · Furniture and Equipment
      15110 · Office Equipment                                                   9,638                      -                     -                     -
      15120 · Software                                                           9,780                      -                     -                     -
      15130 · Proceeds from sale of property                                  (3,100)                       -                     -                     -
    Total 15000 · Furniture and Equipment                                    16,318                         -                     -                     -
  Total Fixed Assets                                                         16,318                         -                     -                     -
  Other Assets
    18000 · Property / Loan Investment                        3.                     -            1,620,000              195,000               160,000
    18050 · Property proceeds/notepayoff                                             -             (942,137)                      -          (1,363,109)
    18100 · Pre-Pet Capitalized Improvement                   4.                     -                   132              11,310              1,181,525
    18200 · Post Pet Capitalized Improvemen
      18210 · Post-Petition Construction                                          310                       -                     -                     -
     18230 · Post-Pet Property Taxes                                                 -               70,012                   4,026                 7,455
     18240 · Post-Pet Insurance                                                  7,536               19,115                    253                  5,454
     18250 · Post-Pet Interest                                                       -                      -                     -                     -
     18260 · Post-Pet Utilities Costs                                            3,748                  1,491                     -                 1,830
     18270 · Post-Pet Other Costs                                                 383                   1,874                 3,366                 6,845
   Total 18200 · Post Pet Capitalized Improvemen              4.             11,977                  92,492                   7,645             21,584
   18300 · Structured Settlements                             5.                 1,893                      -                     -                     -
  Total Other Assets                                                         13,870                 770,487              213,955                        -
TOTAL ASSETS                                                              24,451,421                770,487              213,955                        -
LIABILITIES & EQUITY
  Liabilities
    Current Liabilities
      Accounts Payable
        20000 · Accounts Payable                                           9,981,800                        -                     -                     -
     Total Accounts Payable                                   6.           9,981,800                        -                     -                     -
     Other Current Liabilities
        20110 · Pre-Petition AP Scheduled                                 11,578,057                        -                     -                  479
        20120 · Tenant Deposit & Prepaid Rent
        20115 · Misc Current LIability/Payable                                       -                      -                     -                     -
        24400 · Due (to)/from Group or affiliat                           46,053,620               (898,716)              12,484              (903,801)
        24500 · DIP Lender Note Payable                       7.          18,685,684                        -                     -                     -
      Total Other Current Liabilities                                     76,317,361               (898,716)              12,484               (903,322)
   Total Current Liabilities                                              86,299,161               (898,716)              12,484               (903,322)
   Long Term Liabilities
      25200 · Due to / (from) Funds/Holdco                    8.         316,861,569              1,620,132              206,310              1,341,525
      25250 · Due to Noteholders                              8.
      25300 · Due to Unitholders                              8.
   Total Long Term Liabilities                                           316,861,569              1,620,132              206,310              1,341,525
 Total Liabilities                                                      403,160,730                 721,416              218,794               438,203
 Equity
   30000 · Opening Balance Equity                             9.        (314,160,175)                       -                     -                  (479)
   Retained Earnings/(Losses): Post-Pet Prior Period          9.          (5,568,552)                       -                     -                     -
   Net Income/(Loss): Post Petition Current Period                       (58,980,582)                49,071                (4,839)             (437,724)
 Total Equity                                                           (378,709,309)                49,071                (4,839)             (438,203)
TOTAL LIABILITIES & EQUITY                                                24,451,421                770,487              213,955                        -




      66 of 124
                                                                                                                                              MOR-3 Bal Sheet Dec31 2018
                                 Case 17-12560-KJC                    Doc 3374            Filed 02/04/19                Page 67 of 124


DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of December 31, 2018
                                                                                       Inactive Property           Ironsides         Under Debtor
                                                   Debtor: Notes Holding Companies        Companies            Investments LLC         Control
                                                 Case No.:   1.       Various              Various                17-12714           Non-Debtor
ASSETS
 Current Assets
     Total 10000 · Cash                                      2.                   -                        -                     -                  -
   Total Checking/Savings                                                         -                        -                     -                  -
   Other Current Assets
     11010 · Miscellaneous Receivable
     11500 · Vendor Deposits                                                      -                        -                     -                  -
     11510 · Property Manager Advance
     14010 · Due From Shapiro
     14020 · Prepaid Expenses                                                     -                        -                     -                  -
     14025 · Professional Retainers                                               -                        -                     -                  -
   Total Other Current Assets                                                     -                        -                     -                  -
 Total Current Assets                                                             -                        -                     -                  -
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                                     -                        -                     -                  -
     15120 · Software                                                             -                        -                     -                  -
     15130 · Proceeds from sale of property                                       -                        -                     -                  -
   Total 15000 · Furniture and Equipment                                          -                        -                     -                  -
 Total Fixed Assets                                                               -                        -                     -                  -
 Other Assets
   18000 · Property / Loan Investment                        3.                   -                        -           1,290,000                    -
   18050 · Property proceeds/notepayoff                                           -                        -                     -                  -
   18100 · Pre-Pet Capitalized Improvement                   4.                   -                        -                     -                  -
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                           -                  4,950               35,677                     -
     18230 · Post-Pet Property Taxes                                              -                        -             27,285                     -
     18240 · Post-Pet Insurance                                                   -                        -             15,903                   381
     18250 · Post-Pet Interest                                                    -                        -                     -                  -
     18260 · Post-Pet Utilities Costs                                             -                        -                     -                  -
     18270 · Post-Pet Other Costs                                                 -                        -                 1,120                210
   Total 18200 · Post Pet Capitalized Improvemen             4.                   -                  4,950               79,985                   591
   18300 · Structured Settlements                            5.                   -                        -                     -                  -
 Total Other Assets                                                               -                  4,950             1,369,985                  591
TOTAL ASSETS                                                                      -                  4,950             1,369,985                  591
LIABILITIES & EQUITY
  Liabilities
    Current Liabilities
      Accounts Payable
       20000 · Accounts Payable                                                 49                         -                   36                   -
     Total Accounts Payable                                  6.                 49                         -                   36                   -
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                                          -                        -                     -                  -
       20120 · Tenant Deposit & Prepaid Rent
       20115 · Misc Current LIability/Payable                                     -                        -                     -                  -
       24400 · Due (to)/from Group or affiliat                             311,719                 23,724                84,052               72,250
       24500 · DIP Lender Note Payable                       7.                   -                        -                     -                  -
     Total Other Current Liabilities                                       311,719                 23,724                84,052               72,250
   Total Current Liabilities                                               311,768                 23,724                84,088               72,250
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                    8.                   -                        -           1,290,000                    -
     25250 · Due to Noteholders                              8.
     25300 · Due to Unitholders                              8.
   Total Long Term Liabilities                                                    -                        -           1,290,000                    -
 Total Liabilities                                                         311,768                 23,724              1,374,088              72,250
 Equity
   30000 · Opening Balance Equity                            9.                 (49)                       -                     -                  -
   Retained Earnings/(Losses): Post-Pet Prior Period         9.                   -                    (49)                      -                  -
   Net Income/(Loss): Post Petition Current Period                         (311,719)              (18,725)                (4,103)            (71,659)
 Total Equity                                                              (311,768)              (18,774)                (4,103)            (71,659)
TOTAL LIABILITIES & EQUITY                                                        -                  4,950             1,369,985                  591




      67 of 124
                                                                                                                                            MOR-3 Bal Sheet Dec31 2018
                                 Case 17-12560-KJC                      Doc 3374            Filed 02/04/19               Page 68 of 124


DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of December 31, 2018
                                                                   P-001 215 North 12th P-002 Addison Park     P-003 Anchorpoint      P-004 Arborvitae
                                                   Debtor: Notes          St LLC            Invest LLC             Invest LLC            Invest LLC
                                                 Case No.:   1.         17-12561            17-12563               17-12566              17-12572
ASSETS
 Current Assets
     Total 10000 · Cash                                      2.                        -                   -                      -                      -
   Total Checking/Savings                                                              -                   -                      -                      -
   Other Current Assets
     11010 · Miscellaneous Receivable
     11500 · Vendor Deposits                                                           -                   -                      -                      -
     11510 · Property Manager Advance
     14010 · Due From Shapiro
     14020 · Prepaid Expenses                                                          -                   -                      -                      -
     14025 · Professional Retainers                                                    -                   -                      -                      -
   Total Other Current Assets                                                          -                   -                      -                      -
 Total Current Assets                                                                  -                   -                      -                      -
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                                          -                   -                      -                      -
     15120 · Software                                                                  -                   -                      -                      -
     15130 · Proceeds from sale of property                                            -                   -                      -                      -
   Total 15000 · Furniture and Equipment                                               -                   -                      -                      -
 Total Fixed Assets                                                                    -                   -                      -                      -
 Other Assets
   18000 · Property / Loan Investment                        3.              1,000,000          18,200,000               753,000                 96,000
   18050 · Property proceeds/notepayoff                                     (1,082,152)                    -             (798,211)                       -
   18100 · Pre-Pet Capitalized Improvement                   4.                53,785            4,179,941                20,212                    9,872
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                                -         7,984,647                        -                      -
     18230 · Post-Pet Property Taxes                                           23,453              219,799                18,428                    2,195
     18240 · Post-Pet Insurance                                                    1,736            49,514                    2,272                  126
     18250 · Post-Pet Interest                                                         -                   -                      -                      -
     18260 · Post-Pet Utilities Costs                                              2,511               3,706                    17                       -
     18270 · Post-Pet Other Costs                                                   667             10,843                    4,282                 1,683
   Total 18200 · Post Pet Capitalized Improvemen             4.                28,367            8,268,509                24,999                    4,005
   18300 · Structured Settlements                            5.                        -                   -                      -                      -
 Total Other Assets                                                                    -        30,648,449                        -             109,877
TOTAL ASSETS                                                                           -        30,648,449                        -             109,877
LIABILITIES & EQUITY
  Liabilities
    Current Liabilities
      Accounts Payable
       20000 · Accounts Payable                                                        -           984,855                        -                      -
     Total Accounts Payable                                  6.                        -           984,855                        -                      -
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                                           2,217               4,567              20,212                         -
       20120 · Tenant Deposit & Prepaid Rent
       20115 · Misc Current LIability/Payable                                          -                   -                      -                      -
       24400 · Due (to)/from Group or affiliat                                (761,861)          8,671,497             (1,418,399)                  6,259
       24500 · DIP Lender Note Payable                       7.                        -                   -                      -                      -
     Total Other Current Liabilities                                          (759,644)          8,676,063             (1,398,187)                  6,259
   Total Current Liabilities                                                  (759,644)          9,660,919             (1,398,187)                  6,259
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                    8.              1,053,785          21,052,124               773,212                105,872
     25250 · Due to Noteholders                              8.
     25300 · Due to Unitholders                              8.
   Total Long Term Liabilities                                               1,053,785          21,052,124               773,212                105,872
 Total Liabilities                                                            294,141           30,713,043               (624,975)              112,131
 Equity
   30000 · Opening Balance Equity                            9.                 (1,076)             (4,567)               (19,727)                       -
   Retained Earnings/(Losses): Post-Pet Prior Period         9.                    9,140                   -               (8,816)                       -
   Net Income/(Loss): Post Petition Current Period                            (302,205)            (60,027)              653,518                 (2,254)
 Total Equity                                                                 (294,141)            (64,593)              624,975                 (2,254)
TOTAL LIABILITIES & EQUITY                                                             -        30,648,449                        -             109,877




      68 of 124
                                                                                                                                               MOR-3 Bal Sheet Dec31 2018
                                 Case 17-12560-KJC                    Doc 3374              Filed 02/04/19               Page 69 of 124


DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of December 31, 2018
                                                                   P-005 Archivolt       P-006 Arlington       P-007 Arrowpoint       P-008 Baleroy Invest
                                                   Debtor: Notes     Invest LLC          Ridge Inves LLC          Invest LLC                 LLC
                                                 Case No.:   1.       17-12574              17-12576              17-12578                 17-12580
ASSETS
 Current Assets
     Total 10000 · Cash                                      2.                      -                     -                      -                       -
   Total Checking/Savings                                                            -                     -                      -                       -
   Other Current Assets
     11010 · Miscellaneous Receivable
     11500 · Vendor Deposits                                                         -                     -                      -                       -
     11510 · Property Manager Advance
     14010 · Due From Shapiro
     14020 · Prepaid Expenses                                                        -                     -                      -                       -
     14025 · Professional Retainers                                                  -                     -                      -                       -
   Total Other Current Assets                                                        -                     -                      -                       -
 Total Current Assets                                                                -                     -                      -                       -
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                                        -                     -                      -                       -
     15120 · Software                                                                -                     -                      -                       -
     15130 · Proceeds from sale of property                                          -                     -                      -                       -
   Total 15000 · Furniture and Equipment                                             -                     -                      -                       -
 Total Fixed Assets                                                                  -                     -                      -                       -
 Other Assets
   18000 · Property / Loan Investment                        3.                      -           6,300,000               611,000                1,434,400
   18050 · Property proceeds/notepayoff                                              -                     -                      -            (1,533,321)
   18100 · Pre-Pet Capitalized Improvement                   4.                      -           6,183,009                44,074                   82,502
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                              -           4,633,699                        -                       -
     18230 · Post-Pet Property Taxes                                                 -            118,344                 13,866                      8,355
     18240 · Post-Pet Insurance                                                      -             59,963                     126                         -
     18250 · Post-Pet Interest                                                       -                     -                      -                       -
     18260 · Post-Pet Utilities Costs                                                -                 2,863                      -                   3,536
     18270 · Post-Pet Other Costs                                                    -                     -                 1,683                    4,527
   Total 18200 · Post Pet Capitalized Improvemen             4.                      -           4,814,869                15,675                   16,419
   18300 · Structured Settlements                            5.                      -                     -                      -                       -
 Total Other Assets                                                                  -          17,297,878               670,749                          -
TOTAL ASSETS                                                                         -          17,297,878               670,749                          -
LIABILITIES & EQUITY
  Liabilities
    Current Liabilities
      Accounts Payable
       20000 · Accounts Payable                                                      -           1,548,251                        -                       -
     Total Accounts Payable                                  6.                      -           1,548,251                        -                       -
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                                             -                  958                   258                     1,083
       20120 · Tenant Deposit & Prepaid Rent
       20115 · Misc Current LIability/Payable                                        -                     -                      -                       -
       24400 · Due (to)/from Group or affiliat                                   1,813           3,892,269                17,978                 (920,111)
       24500 · DIP Lender Note Payable                       7.                      -                     -                      -                       -
     Total Other Current Liabilities                                             1,813           3,893,227                18,236                 (919,029)
   Total Current Liabilities                                                     1,813           5,441,477                18,236                 (919,029)
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                    8.                      -          11,873,262               655,074                1,516,578
     25250 · Due to Noteholders                              8.
     25300 · Due to Unitholders                              8.
   Total Long Term Liabilities                                                       -          11,873,262               655,074                1,516,578
 Total Liabilities                                                               1,813          17,314,739               673,310                  597,549
 Equity
   30000 · Opening Balance Equity                            9.                      -                 (958)                  (258)                (1,083)
   Retained Earnings/(Losses): Post-Pet Prior Period         9.                      -                     -                      -                       -
   Net Income/(Loss): Post Petition Current Period                            (1,813)              (15,904)               (2,303)                (596,467)
 Total Equity                                                                 (1,813)              (16,862)               (2,561)                (597,549)
TOTAL LIABILITIES & EQUITY                                                           -          17,297,878               670,749                          -




      69 of 124
                                                                                                                                                 MOR-3 Bal Sheet Dec31 2018
                                 Case 17-12560-KJC                     Doc 3374               Filed 02/04/19                Page 70 of 124


DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of December 31, 2018
                                                                   P-009 Bay Village       P-010 Bear Brook       P-011 Beech Creek      P-012 Bishop White
                                                   Debtor: Notes      Invest LLC              Invest LLC              Invest LLC             Invest LLC
                                                 Case No.:   1.        17-12604               17-12610                17-12616               17-12623
ASSETS
 Current Assets
     Total 10000 · Cash                                      2.                        -                      -                      -                      -
   Total Checking/Savings                                                              -                      -                      -                      -
   Other Current Assets
     11010 · Miscellaneous Receivable
     11500 · Vendor Deposits                                                           -                      -                      -                      -
     11510 · Property Manager Advance
     14010 · Due From Shapiro
     14020 · Prepaid Expenses                                                          -                      -                      -                      -
     14025 · Professional Retainers                                                    -                      -                      -                      -
   Total Other Current Assets                                                          -                      -                      -                      -
 Total Current Assets                                                                  -                      -                      -                      -
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                                          -                      -                      -                      -
     15120 · Software                                                                  -                      -                      -                      -
     15130 · Proceeds from sale of property                                            -                      -                      -                      -
   Total 15000 · Furniture and Equipment                                               -                      -                      -                      -
 Total Fixed Assets                                                                    -                      -                      -                      -
 Other Assets
   18000 · Property / Loan Investment                        3.             8,900,000                 90,000               1,472,500             35,000,000
   18050 · Property proceeds/notepayoff                                                -                      -           (1,963,754)            (3,510,000)
   18100 · Pre-Pet Capitalized Improvement                   4.             1,671,696                    5,811              465,906                 923,438
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                      674,146                          -                      -              175,671
     18230 · Post-Pet Property Taxes                                         101,299                     2,195                   8,150              286,988
     18240 · Post-Pet Insurance                                                22,111                     126                    7,786                   502
     18250 · Post-Pet Interest                                                         -                      -                      -              106,250
     18260 · Post-Pet Utilities Costs                                             1,157                       -                  2,516                      -
     18270 · Post-Pet Other Costs                                                      -                 1,683                   6,896                  8,967
   Total 18200 · Post Pet Capitalized Improvemen             4.              798,712                     4,005               25,348                 578,378
   18300 · Structured Settlements                            5.                        -                      -                      -                      -
 Total Other Assets                                                       11,370,408                  99,816                         -           32,991,816
TOTAL ASSETS                                                              11,370,408                  99,816                         -           32,991,816
LIABILITIES & EQUITY
  Liabilities
    Current Liabilities
      Accounts Payable
       20000 · Accounts Payable                                               10,558                          -                      -                  1,667
     Total Accounts Payable                                  6.               10,558                          -                      -                  1,667
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                                           260                        -                  5,389               22,431
       20120 · Tenant Deposit & Prepaid Rent
       20115 · Misc Current LIability/Payable                                          -                      -                      -                      -
       24400 · Due (to)/from Group or affiliat                               221,082                     6,259            (1,266,959)            15,591,322
       24500 · DIP Lender Note Payable                       7.                        -                      -                      -                      -
     Total Other Current Liabilities                                         221,342                     6,259            (1,261,570)            15,613,753
   Total Current Liabilities                                                 231,899                     6,259            (1,261,570)            15,615,420
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                    8.            11,150,448                 95,811               1,935,863             18,492,249
     25250 · Due to Noteholders                              8.
     25300 · Due to Unitholders                              8.
   Total Long Term Liabilities                                             11,150,448                 95,811               1,935,863             18,492,249
 Total Liabilities                                                         11,382,347                102,070                674,293              34,107,669
 Equity
   30000 · Opening Balance Equity                            9.                   (260)                       -               (5,389)               (22,431)
   Retained Earnings/(Losses): Post-Pet Prior Period         9.                        -                      -                      -                      -
   Net Income/(Loss): Post Petition Current Period                            (11,679)                (2,254)               (668,904)            (1,093,421)
 Total Equity                                                                 (11,939)                (2,254)               (674,293)            (1,115,853)
TOTAL LIABILITIES & EQUITY                                                11,370,408                  99,816                         -           32,991,816




      70 of 124
                                                                                                                                                   MOR-3 Bal Sheet Dec31 2018
                                 Case 17-12560-KJC                     Doc 3374               Filed 02/04/19                Page 71 of 124


DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of December 31, 2018
                                                                   P-013 Black Bass       P-014 Black Locust     P-015 Bluff Point       P-016 Bowman
                                                   Debtor: Notes      Invest LLC              Invest LLC            Invest LLC             Invest LLC
                                                 Case No.:   1.       17-12641                17-12648               17-12722              17-12753
ASSETS
 Current Assets
     Total 10000 · Cash                                      2.                       -                      -                       -                    -
   Total Checking/Savings                                                             -                      -                       -                    -
   Other Current Assets
     11010 · Miscellaneous Receivable
     11500 · Vendor Deposits                                                          -                      -                       -                    -
     11510 · Property Manager Advance
     14010 · Due From Shapiro
     14020 · Prepaid Expenses                                                         -                      -                       -                    -
     14025 · Professional Retainers                                                   -                      -                       -                    -
   Total Other Current Assets                                                         -                      -                       -                    -
 Total Current Assets                                                                 -                      -                       -                    -
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                                         -                      -                       -                    -
     15120 · Software                                                                 -                      -                       -                    -
     15130 · Proceeds from sale of property                                           -                      -                       -                    -
   Total 15000 · Furniture and Equipment                                              -                      -                       -                    -
 Total Fixed Assets                                                                   -                      -                       -                    -
 Other Assets
   18000 · Property / Loan Investment                        3.              110,000                 125,000             13,200,000               90,000
   18050 · Property proceeds/notepayoff                                               -                      -           (1,500,000)                      -
   18100 · Pre-Pet Capitalized Improvement                   4.                  6,372                   9,705            1,537,161                   4,432
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                               -               15,959               319,634                        -
     18230 · Post-Pet Property Taxes                                             2,658                   2,658             163,147                    1,733
     18240 · Post-Pet Insurance                                                   126                     273                13,986                    126
     18250 · Post-Pet Interest                                                        -                      -                       -                    -
     18260 · Post-Pet Utilities Costs                                                 -                      -                   765                      -
     18270 · Post-Pet Other Costs                                                1,983                   2,007                  6,245                 1,713
   Total 18200 · Post Pet Capitalized Improvemen             4.                  4,767                20,897               503,776                    3,573
   18300 · Structured Settlements                            5.                       -                      -                       -                    -
 Total Other Assets                                                          121,139                 155,602            13,740,937                98,005
TOTAL ASSETS                                                                 121,139                 155,602            13,740,937                98,005
LIABILITIES & EQUITY
  Liabilities
    Current Liabilities
      Accounts Payable
       20000 · Accounts Payable                                                       -                      -                  5,819                     -
     Total Accounts Payable                                  6.                       -                      -                  5,819                     -
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                                              -                      -               20,399                       -
       20120 · Tenant Deposit & Prepaid Rent
       20115 · Misc Current LIability/Payable                                         -                      -                       -                    -
       24400 · Due (to)/from Group or affiliat                                   7,021                23,576               (986,795)                  5,927
       24500 · DIP Lender Note Payable                       7.                       -                      -                       -                    -
     Total Other Current Liabilities                                             7,021                23,576               (966,395)                  5,927
   Total Current Liabilities                                                     7,021                23,576               (960,576)                  5,927
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                    8.              116,372                 134,705             14,726,442               94,432
     25250 · Due to Noteholders                              8.
     25300 · Due to Unitholders                              8.
   Total Long Term Liabilities                                               116,372                 134,705             14,726,442               94,432
 Total Liabilities                                                           123,393                 158,281             13,765,866              100,359
 Equity
   30000 · Opening Balance Equity                            9.                       -                      -              (20,399)                      -
   Retained Earnings/(Losses): Post-Pet Prior Period         9.                       -                      -                       -                    -
   Net Income/(Loss): Post Petition Current Period                            (2,254)                 (2,679)                (4,529)              (2,354)
 Total Equity                                                                 (2,254)                 (2,679)               (24,928)              (2,354)
TOTAL LIABILITIES & EQUITY                                                   121,139                 155,602            13,740,937                98,005




      71 of 124
                                                                                                                                                MOR-3 Bal Sheet Dec31 2018
                                 Case 17-12560-KJC                       Doc 3374             Filed 02/04/19                Page 72 of 124


DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of December 31, 2018
                                                                   P-017 Bramley Invest    P-019 Broadsands       P-020 Brynderwen       P-021 Cablestay
                                                   Debtor: Notes           LLC                Invest LLC             Invest LLC            Invest LLC
                                                 Case No.:   1.         17-12769               17-12777               17-12793              17-12798
ASSETS
 Current Assets
     Total 10000 · Cash                                      2.                        -                      -                      -                     -
   Total Checking/Savings                                                              -                      -                      -                     -
   Other Current Assets
     11010 · Miscellaneous Receivable
     11500 · Vendor Deposits                                                           -                      -                      -                     -
     11510 · Property Manager Advance
     14010 · Due From Shapiro
     14020 · Prepaid Expenses                                                          -                      -                      -                     -
     14025 · Professional Retainers                                                    -                      -                      -                     -
   Total Other Current Assets                                                          -                      -                      -                     -
 Total Current Assets                                                                  -                      -                      -                     -
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                                          -                      -                      -                     -
     15120 · Software                                                                  -                      -                      -                     -
     15130 · Proceeds from sale of property                                            -                      -                      -                     -
   Total 15000 · Furniture and Equipment                                               -                      -                      -                     -
 Total Fixed Assets                                                                    -                      -                      -                     -
 Other Assets
   18000 · Property / Loan Investment                        3.                500,000               345,000                         -           4,000,000
   18050 · Property proceeds/notepayoff                                                -                      -                      -         (10,638,871)
   18100 · Pre-Pet Capitalized Improvement                   4.                 57,140                23,790                         -           5,897,792
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                                -                      -                      -            561,943
     18230 · Post-Pet Property Taxes                                               7,854                  2,199                      -             46,791
     18240 · Post-Pet Insurance                                                     126                    126                       -                 1,169
     18250 · Post-Pet Interest                                                         -                      -                      -                     -
     18260 · Post-Pet Utilities Costs                                                  -                      -                      -                 4,401
     18270 · Post-Pet Other Costs                                               18,320                    5,629                      -            126,775
   Total 18200 · Post Pet Capitalized Improvemen             4.                 26,300                    7,955                      -            741,079
   18300 · Structured Settlements                            5.                        -                      -                      -                     -
 Total Other Assets                                                            583,440               376,745                         -                     -
TOTAL ASSETS                                                                   583,440               376,745                         -                     -
LIABILITIES & EQUITY
  Liabilities
    Current Liabilities
      Accounts Payable
       20000 · Accounts Payable                                                        -                      -                      -                     -
     Total Accounts Payable                                  6.                        -                      -                      -                     -
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                                               -                      -                      -                  744
       20120 · Tenant Deposit & Prepaid Rent
       20115 · Misc Current LIability/Payable                                          -                      -                      -            137,042
       24400 · Due (to)/from Group or affiliat                                  28,554                10,409                     2,750         (13,429,878)
       24500 · DIP Lender Note Payable                       7.                        -                      -                      -                     -
     Total Other Current Liabilities                                            28,554                10,409                     2,750         (13,292,092)
   Total Current Liabilities                                                    28,554                10,409                     2,750         (13,292,092)
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                    8.                557,140               368,790                         -           9,767,560
     25250 · Due to Noteholders                              8.
     25300 · Due to Unitholders                              8.
   Total Long Term Liabilities                                                 557,140               368,790                         -           9,767,560
 Total Liabilities                                                             585,694               379,199                     2,750          (3,524,532)
 Equity
   30000 · Opening Balance Equity                            9.                        -                      -                      -                 (744)
   Retained Earnings/(Losses): Post-Pet Prior Period         9.                        -                      -                      -                     -
   Net Income/(Loss): Post Petition Current Period                              (2,254)               (2,454)                (2,750)             3,525,277
 Total Equity                                                                   (2,254)               (2,454)                (2,750)             3,524,532
TOTAL LIABILITIES & EQUITY                                                     583,440               376,745                         -                     -




      72 of 124
                                                                                                                                                 MOR-3 Bal Sheet Dec31 2018
                                 Case 17-12560-KJC                     Doc 3374              Filed 02/04/19                Page 73 of 124


DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of December 31, 2018
                                                                   P-022 Cannington       P-023 Carbondale       P-024 Carbondale        P-025 Carbondale
                                                   Debtor: Notes      Invest LLC            Glen Lot A-5           Glen Lot D-22           Glen Lot E-24
                                                 Case No.:   1.        17-12803               17-12807               17-12809                17-12811
ASSETS
 Current Assets
     Total 10000 · Cash                                      2.                       -                      -                      -                       -
   Total Checking/Savings                                                             -                      -                      -                       -
   Other Current Assets
     11010 · Miscellaneous Receivable
     11500 · Vendor Deposits                                                          -                      -                      -                       -
     11510 · Property Manager Advance
     14010 · Due From Shapiro
     14020 · Prepaid Expenses                                                         -                      -                      -                       -
     14025 · Professional Retainers                                                   -                      -                      -                       -
   Total Other Current Assets                                                         -                      -                      -                       -
 Total Current Assets                                                                 -                      -                      -                       -
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                                         -                      -                      -                       -
     15120 · Software                                                                 -                      -                      -                       -
     15130 · Proceeds from sale of property                                           -                      -                      -                       -
   Total 15000 · Furniture and Equipment                                              -                      -                      -                       -
 Total Fixed Assets                                                                   -                      -                      -                       -
 Other Assets
   18000 · Property / Loan Investment                        3.            4,850,000                650,000                 80,000                  90,000
   18050 · Property proceeds/notepayoff                                               -            (768,294)            (1,102,471)                         -
   18100 · Pre-Pet Capitalized Improvement                   4.            2,993,667                101,463              1,005,321                  12,433
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                       55,473                         -                      -                       -
     18230 · Post-Pet Property Taxes                                          88,131                 15,022                 10,551                      2,658
     18240 · Post-Pet Insurance                                               22,932                      126                       -                    126
     18250 · Post-Pet Interest                                                        -                      -                      -                       -
     18260 · Post-Pet Utilities Costs                                             6,880                      -                  3,966                       -
     18270 · Post-Pet Other Costs                                             45,594                     1,683                  2,633                   1,683
   Total 18200 · Post Pet Capitalized Improvemen             4.              219,011                 16,831                 17,150                      4,467
   18300 · Structured Settlements                            5.                       -                      -                      -                       -
 Total Other Assets                                                        8,062,678                         -                      -              106,900
TOTAL ASSETS                                                               8,062,678                         -                      -              106,900
LIABILITIES & EQUITY
  Liabilities
    Current Liabilities
      Accounts Payable
       20000 · Accounts Payable                                               28,052                         -                      -                       -
     Total Accounts Payable                                  6.               28,052                         -                      -                       -
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                                          3,847                      -                   307                        -
       20120 · Tenant Deposit & Prepaid Rent
       20115 · Misc Current LIability/Payable                                         -                      -                      -                       -
       24400 · Due (to)/from Group or affiliat                               198,388               (250,731)              (827,334)                     6,342
       24500 · DIP Lender Note Payable                       7.                       -                      -                      -                       -
     Total Other Current Liabilities                                         202,235               (250,731)              (827,027)                     6,342
   Total Current Liabilities                                                 230,287               (250,731)              (827,027)                     6,342
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                    8.            7,839,667                751,463              1,085,321                 102,433
     25250 · Due to Noteholders                              8.
     25300 · Due to Unitholders                              8.
   Total Long Term Liabilities                                             7,839,667                751,463              1,085,321                 102,433
 Total Liabilities                                                         8,069,954                500,732                258,294                 108,775
 Equity
   30000 · Opening Balance Equity                            9.               (3,847)                        -                   (307)                      -
   Retained Earnings/(Losses): Post-Pet Prior Period         9.                       -                      -                      -                       -
   Net Income/(Loss): Post Petition Current Period                            (3,429)              (500,732)              (257,987)                 (1,875)
 Total Equity                                                                 (7,276)              (500,732)              (258,294)                 (1,875)
TOTAL LIABILITIES & EQUITY                                                 8,062,678                         -                      -              106,900




      73 of 124
                                                                                                                                                  MOR-3 Bal Sheet Dec31 2018
                                 Case 17-12560-KJC                     Doc 3374              Filed 02/04/19                Page 74 of 124


DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of December 31, 2018
                                                                   P-026 Carbondale       P-027 Carbondale       P-028 Carbondale       P-029 Carbondale
                                                   Debtor: Notes    Glen Lot GV-13           Glen Lot L-2         Glen Lot SD-14         Glen Lot SD-23
                                                 Case No.:   1.        17-12813               18-10284               17-12817               17-12815
ASSETS
 Current Assets
     Total 10000 · Cash                                      2.                       -                      -                      -                      -
   Total Checking/Savings                                                             -                      -                      -                      -
   Other Current Assets
     11010 · Miscellaneous Receivable
     11500 · Vendor Deposits                                                          -                      -                      -                      -
     11510 · Property Manager Advance
     14010 · Due From Shapiro
     14020 · Prepaid Expenses                                                         -                      -                      -                      -
     14025 · Professional Retainers                                                   -                      -                      -                      -
   Total Other Current Assets                                                         -                      -                      -                      -
 Total Current Assets                                                                 -                      -                      -                      -
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                                         -                      -                      -                      -
     15120 · Software                                                                 -                      -                      -                      -
     15130 · Proceeds from sale of property                                           -                      -                      -                      -
   Total 15000 · Furniture and Equipment                                              -                      -                      -                      -
 Total Fixed Assets                                                                   -                      -                      -                      -
 Other Assets
   18000 · Property / Loan Investment                        3.               95,000                120,000                105,000                115,000
   18050 · Property proceeds/notepayoff                                               -                      -                      -            (125,526)
   18100 · Pre-Pet Capitalized Improvement                   4.               10,811                 11,700                     8,043                  7,954
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                               -                      -                      -                      -
     18230 · Post-Pet Property Taxes                                              2,658                  2,658                   733                    733
     18240 · Post-Pet Insurance                                                    126                    126                    126                    126
     18250 · Post-Pet Interest                                                        -                      -                      -                      -
     18260 · Post-Pet Utilities Costs                                                 -                      -                      -                      -
     18270 · Post-Pet Other Costs                                                 1,683                  3,385                  1,713                  1,713
   Total 18200 · Post Pet Capitalized Improvemen             4.                   4,467                  6,169                  2,572                  2,572
   18300 · Structured Settlements                            5.                       -                      -                      -                      -
 Total Other Assets                                                          110,278                137,869                115,615                         -
TOTAL ASSETS                                                                 110,278                137,869                115,615                         -
LIABILITIES & EQUITY
  Liabilities
    Current Liabilities
      Accounts Payable
       20000 · Accounts Payable                                                       -                      -                      -                      -
     Total Accounts Payable                                  6.                       -                      -                      -                      -
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                                              -                      -                      -                      -
       20120 · Tenant Deposit & Prepaid Rent
       20115 · Misc Current LIability/Payable                                         -                      -                      -                      -
       24400 · Due (to)/from Group or affiliat                                    6,342                  8,569                  4,517            (215,476)
       24500 · DIP Lender Note Payable                       7.                       -                      -                      -                      -
     Total Other Current Liabilities                                              6,342                  8,569                  4,517            (215,476)
   Total Current Liabilities                                                      6,342                  8,569                  4,517            (215,476)
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                    8.              105,811                131,700                113,043                122,954
     25250 · Due to Noteholders                              8.
     25300 · Due to Unitholders                              8.
   Total Long Term Liabilities                                               105,811                131,700                113,043                122,954
 Total Liabilities                                                           112,153                140,269                117,560                (92,522)
 Equity
   30000 · Opening Balance Equity                            9.                       -                      -                      -                      -
   Retained Earnings/(Losses): Post-Pet Prior Period         9.                       -                      -                      -                      -
   Net Income/(Loss): Post Petition Current Period                            (1,875)                (2,400)                (1,945)                92,522
 Total Equity                                                                 (1,875)                (2,400)                (1,945)                92,522
TOTAL LIABILITIES & EQUITY                                                   110,278                137,869                115,615                         -




      74 of 124
                                                                                                                                                 MOR-3 Bal Sheet Dec31 2018
                                 Case 17-12560-KJC                     Doc 3374              Filed 02/04/19                 Page 75 of 124


DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of December 31, 2018
                                                                   P-030 Carbondale       P-031 Carbondale       P-032 Carbondale Gl     P-036 Carbondale
                                                   Debtor: Notes    Glen Mes Lot19         Glen River Mes           Sunda Ponds            Peaks Lot L-1
                                                 Case No.:   1.        17-12819               17-12820                17-12822               18-10286
ASSETS
 Current Assets
     Total 10000 · Cash                                      2.                       -                      -                       -                      -
   Total Checking/Savings                                                             -                      -                       -                      -
   Other Current Assets
     11010 · Miscellaneous Receivable
     11500 · Vendor Deposits                                                          -                      -                       -                      -
     11510 · Property Manager Advance
     14010 · Due From Shapiro
     14020 · Prepaid Expenses                                                         -                      -                       -                      -
     14025 · Professional Retainers                                                   -                      -                       -                      -
   Total Other Current Assets                                                         -                      -                       -                      -
 Total Current Assets                                                                 -                      -                       -                      -
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                                         -                      -                       -                      -
     15120 · Software                                                                 -                      -                       -                      -
     15130 · Proceeds from sale of property                                           -                      -                       -                      -
   Total 15000 · Furniture and Equipment                                              -                      -                       -                      -
 Total Fixed Assets                                                                   -                      -                       -                      -
 Other Assets
   18000 · Property / Loan Investment                        3.              105,000              1,350,000                 820,000                550,000
   18050 · Property proceeds/notepayoff                                               -                      -                       -            (770,596)
   18100 · Pre-Pet Capitalized Improvement                   4.               13,061              4,059,013                  63,375                207,236
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                               -             151,302                          -                      -
     18230 · Post-Pet Property Taxes                                              3,391              16,247                      5,865                  3,648
     18240 · Post-Pet Insurance                                                    273               21,421                       126                    290
     18250 · Post-Pet Interest                                                        -                      -                       -                      -
     18260 · Post-Pet Utilities Costs                                                 -              23,249                          -                  2,051
     18270 · Post-Pet Other Costs                                                 1,713              34,652                  13,704                     7,370
   Total 18200 · Post Pet Capitalized Improvemen             4.                   5,377             246,872                  19,696                 13,360
   18300 · Structured Settlements                            5.                       -                      -                       -                      -
 Total Other Assets                                                          123,438              5,655,884                 903,071                         -
TOTAL ASSETS                                                                 123,438              5,655,884                 903,071                         -
LIABILITIES & EQUITY
  Liabilities
    Current Liabilities
      Accounts Payable
       20000 · Accounts Payable                                                       -                  698                         -                      -
     Total Accounts Payable                                  6.                       -                  698                         -                      -
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                                              -              25,067                          -                    75
       20120 · Tenant Deposit & Prepaid Rent
       20115 · Misc Current LIability/Payable                                         -                      -                       -                      -
       24400 · Due (to)/from Group or affiliat                                    7,452             263,667                  23,076               (593,053)
       24500 · DIP Lender Note Payable                       7.                       -                      -                       -                      -
     Total Other Current Liabilities                                              7,452             288,734                  23,076               (592,978)
   Total Current Liabilities                                                      7,452             289,432                  23,076               (592,978)
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                    8.              118,061              5,405,783                 883,375                757,236
     25250 · Due to Noteholders                              8.
     25300 · Due to Unitholders                              8.
   Total Long Term Liabilities                                               118,061              5,405,783                 883,375                757,236
 Total Liabilities                                                           125,513              5,695,215                 906,451                164,258
 Equity
   30000 · Opening Balance Equity                            9.                       -             (25,067)                         -                    (75)
   Retained Earnings/(Losses): Post-Pet Prior Period         9.                       -                      -                       -                      -
   Net Income/(Loss): Post Petition Current Period                            (2,075)               (14,264)                  (3,380)             (164,183)
 Total Equity                                                                 (2,075)               (39,331)                  (3,380)             (164,258)
TOTAL LIABILITIES & EQUITY                                                   123,438              5,655,884                 903,071                         -




      75 of 124
                                                                                                                                                  MOR-3 Bal Sheet Dec31 2018
                                 Case 17-12560-KJC                     Doc 3374              Filed 02/04/19                Page 76 of 124


DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of December 31, 2018
                                                                   P-037 Carbondale       P-038 Carbondale       P-039 Carbondale       P-040 Castle Pines
                                                   Debtor: Notes      Spruce 101           Sundanc Lot 15         Sundanc Lot 16            Invest LLC
                                                 Case No.:   1.        17-12568               17-12569               17-12570               17-12581
ASSETS
 Current Assets
     Total 10000 · Cash                                      2.                       -                      -                      -                      -
   Total Checking/Savings                                                             -                      -                      -                      -
   Other Current Assets
     11010 · Miscellaneous Receivable
     11500 · Vendor Deposits                                                          -                      -                      -                      -
     11510 · Property Manager Advance
     14010 · Due From Shapiro
     14020 · Prepaid Expenses                                                         -                      -                      -                      -
     14025 · Professional Retainers                                                   -                      -                      -                      -
   Total Other Current Assets                                                         -                      -                      -                      -
 Total Current Assets                                                                 -                      -                      -                      -
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                                         -                      -                      -                      -
     15120 · Software                                                                 -                      -                      -                      -
     15130 · Proceeds from sale of property                                           -                      -                      -                      -
   Total 15000 · Furniture and Equipment                                              -                      -                      -                      -
 Total Fixed Assets                                                                   -                      -                      -                      -
 Other Assets
   18000 · Property / Loan Investment                        3.              750,000                105,000                105,000                 100,000
   18050 · Property proceeds/notepayoff                                               -                      -                      -                      -
   18100 · Pre-Pet Capitalized Improvement                   4.               86,822                     9,419              10,069                     9,731
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                               -                      -                      -                      -
     18230 · Post-Pet Property Taxes                                          17,095                      733                    733                       -
     18240 · Post-Pet Insurance                                               (2,450)                     126                    126                    126
     18250 · Post-Pet Interest                                                        -                      -                      -                      -
     18260 · Post-Pet Utilities Costs                                              121                       -                      -                      -
     18270 · Post-Pet Other Costs                                                 4,558                  1,713                  2,203                  1,683
   Total 18200 · Post Pet Capitalized Improvemen             4.               19,323                     2,572                  3,062                  1,809
   18300 · Structured Settlements                            5.                       -                      -                      -                      -
 Total Other Assets                                                          856,145                116,991                118,131                 111,540
TOTAL ASSETS                                                                 856,145                116,991                118,131                 111,540
LIABILITIES & EQUITY
  Liabilities
    Current Liabilities
      Accounts Payable
       20000 · Accounts Payable                                                       -                      -                      -                      -
     Total Accounts Payable                                  6.                       -                      -                      -                      -
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                                              -                      -                      -                      -
       20120 · Tenant Deposit & Prepaid Rent
       20115 · Misc Current LIability/Payable                                         -                      -                      -                      -
       24400 · Due (to)/from Group or affiliat                                12,318                     5,197                  4,937                  5,244
       24500 · DIP Lender Note Payable                       7.                       -                      -                      -                      -
     Total Other Current Liabilities                                          12,318                     5,197                  4,937                  5,244
   Total Current Liabilities                                                  12,318                     5,197                  4,937                  5,244
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                    8.              836,822                114,419                115,069                 109,731
     25250 · Due to Noteholders                              8.
     25300 · Due to Unitholders                              8.
   Total Long Term Liabilities                                               836,822                114,419                115,069                 109,731
 Total Liabilities                                                           849,140                119,616                120,006                 114,975
 Equity
   30000 · Opening Balance Equity                            9.                    518                       -                      -                      -
   Retained Earnings/(Losses): Post-Pet Prior Period         9.                   9,057                      -                      -                      -
   Net Income/(Loss): Post Petition Current Period                            (2,569)                (2,625)                (1,875)                 (3,435)
 Total Equity                                                                     7,006              (2,625)                (1,875)                 (3,435)
TOTAL LIABILITIES & EQUITY                                                   856,145                116,991                118,131                 111,540




      76 of 124
                                                                                                                                                  MOR-3 Bal Sheet Dec31 2018
                                 Case 17-12560-KJC                     Doc 3374                Filed 02/04/19               Page 77 of 124


DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of December 31, 2018
                                                                   P-041 Centershot       P-042 Chaplin Invest     P-043 Chestnut        P-044 Chestnut
                                                   Debtor: Notes      Invest LLC                 LLC                 Invest LLC         Ridge Invest LLC
                                                 Case No.:   1.       17-12586                 17-12592              17-12603              17-12614
ASSETS
 Current Assets
     Total 10000 · Cash                                      2.                       -                       -                     -                      -
   Total Checking/Savings                                                             -                       -                     -                      -
   Other Current Assets
     11010 · Miscellaneous Receivable
     11500 · Vendor Deposits                                                          -                       -                     -                      -
     11510 · Property Manager Advance
     14010 · Due From Shapiro
     14020 · Prepaid Expenses                                                         -                       -                     -                      -
     14025 · Professional Retainers                                                   -                       -                     -                      -
   Total Other Current Assets                                                         -                       -                     -                      -
 Total Current Assets                                                                 -                       -                     -                      -
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                                         -                       -                     -                      -
     15120 · Software                                                                 -                       -                     -                      -
     15130 · Proceeds from sale of property                                           -                       -                     -                      -
   Total 15000 · Furniture and Equipment                                              -                       -                     -                      -
 Total Fixed Assets                                                                   -                       -                     -                      -
 Other Assets
   18000 · Property / Loan Investment                        3.            1,400,000                  100,000             5,312,447             4,700,000
   18050 · Property proceeds/notepayoff                                   (2,290,736)                         -                     -                      -
   18100 · Pre-Pet Capitalized Improvement                   4.              865,717                   10,121             2,080,384             2,145,536
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                          2,942                        -             589,718               937,495
     18230 · Post-Pet Property Taxes                                          17,531                      2,658              98,566                58,474
     18240 · Post-Pet Insurance                                                   502                      273               29,903                18,833
     18250 · Post-Pet Interest                                                        -                       -                     -                      -
     18260 · Post-Pet Utilities Costs                                             293                         -                 487                11,496
     18270 · Post-Pet Other Costs                                                3,750                    1,683                 539                90,640
   Total 18200 · Post Pet Capitalized Improvemen             4.               25,019                      4,614             719,213             1,116,938
   18300 · Structured Settlements                            5.                       -                       -                     -                      -
 Total Other Assets                                                                   -               114,735             8,112,044             7,962,475
TOTAL ASSETS                                                                          -               114,735             8,112,044             7,962,475
LIABILITIES & EQUITY
  Liabilities
    Current Liabilities
      Accounts Payable
       20000 · Accounts Payable                                                       -                       -              11,491                45,733
     Total Accounts Payable                                  6.                       -                       -              11,491                45,733
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                                          123                         -                 315                        -
       20120 · Tenant Deposit & Prepaid Rent
       20115 · Misc Current LIability/Payable                                         -                       -                     -                      -
       24400 · Due (to)/from Group or affiliat                            (1,386,013)                     6,868             825,353             1,208,623
       24500 · DIP Lender Note Payable                       7.                       -                       -                     -                      -
     Total Other Current Liabilities                                      (1,385,891)                     6,868             825,669             1,208,623
   Total Current Liabilities                                              (1,385,891)                     6,868             837,159             1,254,356
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                    8.            2,265,717                  110,121             7,375,428             6,714,923
     25250 · Due to Noteholders                              8.
     25300 · Due to Unitholders                              8.
   Total Long Term Liabilities                                             2,265,717                  110,121             7,375,428             6,714,923
 Total Liabilities                                                           879,826                  116,989             8,212,587             7,969,279
 Equity
   30000 · Opening Balance Equity                            9.                   (123)                     (49)                (413)                      -
   Retained Earnings/(Losses): Post-Pet Prior Period         9.                       -                       -                     -                      -
   Net Income/(Loss): Post Petition Current Period                          (879,704)                  (2,205)             (100,130)               (6,804)
 Total Equity                                                               (879,826)                  (2,254)             (100,543)               (6,804)
TOTAL LIABILITIES & EQUITY                                                            -               114,735             8,112,044             7,962,475




      77 of 124
                                                                                                                                                 MOR-3 Bal Sheet Dec31 2018
                                 Case 17-12560-KJC                      Doc 3374              Filed 02/04/19                  Page 78 of 124


DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of December 31, 2018
                                                                   P-045 Clover Basin     P-046 Coffee Creek      P-047 Craven Invest     P-049 Crowfield
                                                   Debtor: Notes       Invest LLC             Invest LLC                 LLC                Invest LLC
                                                 Case No.:   1.        17-12621               17-12627                 17-12636              17-12660
ASSETS
 Current Assets
     Total 10000 · Cash                                      2.                       -                      -                        -                     -
   Total Checking/Savings                                                             -                      -                        -                     -
   Other Current Assets
     11010 · Miscellaneous Receivable
     11500 · Vendor Deposits                                                          -                      -                        -                     -
     11510 · Property Manager Advance
     14010 · Due From Shapiro
     14020 · Prepaid Expenses                                                         -                      -                        -                     -
     14025 · Professional Retainers                                                   -                      -                        -                     -
   Total Other Current Assets                                                         -                      -                        -                     -
 Total Current Assets                                                                 -                      -                        -                     -
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                                         -                      -                        -                     -
     15120 · Software                                                                 -                      -                        -                     -
     15130 · Proceeds from sale of property                                           -                      -                        -                     -
   Total 15000 · Furniture and Equipment                                              -                      -                        -                     -
 Total Fixed Assets                                                                   -                      -                        -                     -
 Other Assets
   18000 · Property / Loan Investment                        3.             3,500,000                 90,000                8,725,000             5,200,000
   18050 · Property proceeds/notepayoff                                    (8,461,478)                       -             (9,100,403)                      -
   18100 · Pre-Pet Capitalized Improvement                   4.             4,918,467                    9,436               236,732              1,390,049
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                        21,131                        -                49,602              2,079,174
     18230 · Post-Pet Property Taxes                                              6,801                  2,658                52,749                94,450
     18240 · Post-Pet Insurance                                                (3,538)                    126                      502              23,108
     18250 · Post-Pet Interest                                                        -                      -                24,068                        -
     18260 · Post-Pet Utilities Costs                                             7,073                      -                        -                 2,692
     18270 · Post-Pet Other Costs                                              11,543                    1,683                11,750                    4,759
   Total 18200 · Post Pet Capitalized Improvemen             4.                43,011                    4,467               138,671              2,204,183
   18300 · Structured Settlements                            5.                       -                      -                        -                     -
 Total Other Assets                                                                   -              103,903                          -           8,794,232
TOTAL ASSETS                                                                          -              103,903                          -           8,794,232
LIABILITIES & EQUITY
  Liabilities
    Current Liabilities
      Accounts Payable
       20000 · Accounts Payable                                                       -                      -                        -                 2,988
     Total Accounts Payable                                  6.                       -                      -                        -                 2,988
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                                          6,999                      -                    4,000             14,328
       20120 · Tenant Deposit & Prepaid Rent
       20115 · Misc Current LIability/Payable                                         -                      -               180,000                        -
       24400 · Due (to)/from Group or affiliat                             (8,871,092)                   6,772             (4,444,263)            2,362,268
       24500 · DIP Lender Note Payable                       7.                       -                      -                        -                     -
     Total Other Current Liabilities                                       (8,864,093)                   6,772             (4,260,263)            2,376,596
   Total Current Liabilities                                               (8,864,093)                   6,772             (4,260,263)            2,379,583
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                    8.             8,384,664                 99,436                4,953,732             6,441,956
     25250 · Due to Noteholders                              8.
     25300 · Due to Unitholders                              8.
   Total Long Term Liabilities                                              8,384,664                 99,436                4,953,732             6,441,956
 Total Liabilities                                                           (479,429)               106,208                 693,469              8,821,539
 Equity
   30000 · Opening Balance Equity                            9.                (6,999)                    (100)                (4,000)              (14,328)
   Retained Earnings/(Losses): Post-Pet Prior Period         9.                       -                      -                        -                     -
   Net Income/(Loss): Post Petition Current Period                            486,428                 (2,205)                (689,469)              (12,979)
 Total Equity                                                                 479,429                 (2,305)                (693,469)              (27,307)
TOTAL LIABILITIES & EQUITY                                                            -              103,903                          -           8,794,232




      78 of 124
                                                                                                                                                  MOR-3 Bal Sheet Dec31 2018
                                 Case 17-12560-KJC                       Doc 3374             Filed 02/04/19                Page 79 of 124


DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of December 31, 2018
                                                                   P-050 Crystal Woods P-051 Daleville Invest     P-052 Derbyshire       P-053 Diamond Cove
                                                   Debtor: Notes        Invest LLC             LLC                   Invest LLC               Invest LLC
                                                 Case No.:   1.         17-12676              17-12687               17-12696                 17-12705
ASSETS
 Current Assets
     Total 10000 · Cash                                      2.                        -                     -                       -                       -
   Total Checking/Savings                                                              -                     -                       -                       -
   Other Current Assets
     11010 · Miscellaneous Receivable                                                                        -                       -                       -
     11500 · Vendor Deposits                                                           -                     -                       -                       -
     11510 · Property Manager Advance                                                                        -                       -                       -
     14010 · Due From Shapiro                                                                                -                       -                       -
     14020 · Prepaid Expenses                                                          -                     -                       -                       -
     14025 · Professional Retainers                                                    -                     -                       -                       -
   Total Other Current Assets                                                          -                     -                       -                       -
 Total Current Assets                                                                  -                     -                       -                       -
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                                          -                     -                       -                       -
     15120 · Software                                                                  -                     -                       -                       -
     15130 · Proceeds from sale of property                                            -                     -                       -                       -
   Total 15000 · Furniture and Equipment                                               -                     -                       -                       -
 Total Fixed Assets                                                                    -                     -                       -                       -
 Other Assets
   18000 · Property / Loan Investment                        3.                125,000                90,500              1,017,450              38,282,208
   18050 · Property proceeds/notepayoff                                                -                     -            (1,070,533)           (39,674,441)
   18100 · Pre-Pet Capitalized Improvement                   4.                    9,670              14,276                 34,195                 444,683
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                                -                     -                       -              466,119
     18230 · Post-Pet Property Taxes                                               2,658                 2,658                  6,323               414,098
     18240 · Post-Pet Insurance                                                     126                   126                   3,552                29,223
     18250 · Post-Pet Interest                                                         -                     -                  2,408                30,181
     18260 · Post-Pet Utilities Costs                                                  -                 4,908                  6,605                    7,929
     18270 · Post-Pet Other Costs                                                  1,683                     -                       -                       -
   Total 18200 · Post Pet Capitalized Improvemen             4.                    4,467                 7,692               18,888                 947,550
   18300 · Structured Settlements                            5.                        -                     -                       -                       -
 Total Other Assets                                                            139,137               112,468                         -                       -
TOTAL ASSETS                                                                   139,137               112,468                         -                       -
LIABILITIES & EQUITY
  Liabilities
    Current Liabilities
      Accounts Payable
       20000 · Accounts Payable                                                        -                     -                     (1)                   3,985
     Total Accounts Payable                                  6.                        -                     -                     (1)                   3,985
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                                               -                     -                   664                 14,756
       20120 · Tenant Deposit & Prepaid Rent                                                                 -                       -                       -
       20115 · Misc Current LIability/Payable                                          -
       24400 · Due (to)/from Group or affiliat                                     6,821                 9,995             (913,469)            (24,405,934)
       24500 · DIP Lender Note Payable                       7.                        -                     -                       -                       -
     Total Other Current Liabilities                                               6,821                 9,995             (912,805)            (24,391,178)
   Total Current Liabilities                                                       6,821                 9,995             (912,806)            (24,387,193)
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                    8.                134,670               104,776              1,051,645              35,705,358
     25250 · Due to Noteholders                              8.                                              -                       -                       -
     25300 · Due to Unitholders                              8.                                              -                       -                       -
   Total Long Term Liabilities                                                 134,670               104,776              1,051,645              35,705,358
 Total Liabilities                                                             141,491               114,771                138,839              11,318,165
 Equity
   30000 · Opening Balance Equity                            9.                        -                   (98)                 (664)               (14,756)
   Retained Earnings/(Losses): Post-Pet Prior Period         9.                        -                     -                       -                       -
   Net Income/(Loss): Post Petition Current Period                              (2,354)               (2,205)              (138,175)            (11,303,409)
 Total Equity                                                                   (2,354)               (2,303)              (138,839)            (11,318,165)
TOTAL LIABILITIES & EQUITY                                                     139,137              112,468                          -                       -




      79 of 124
                                                                                                                                                   MOR-3 Bal Sheet Dec31 2018
                                 Case 17-12560-KJC                       Doc 3374             Filed 02/04/19                  Page 80 of 124


DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of December 31, 2018
                                                                   P-054 Dixville Notch     P-055 Dogwood          P-056 Dollis Brook     P-057 Donnington
                                                   Debtor: Notes       Invest LLC          Valley Invest LLC           Invest LLC            Invest LLC
                                                 Case No.:   1.         17-12716               17-12727                17-12735               17-12744
ASSETS
 Current Assets
     Total 10000 · Cash                                      2.                        -                       -                      -                      -
   Total Checking/Savings                                                              -                       -                      -                      -
   Other Current Assets
     11010 · Miscellaneous Receivable                                                  -                       -                      -                      -
     11500 · Vendor Deposits                                                           -                       -                      -                      -
     11510 · Property Manager Advance                                                  -                       -                      -                      -
     14010 · Due From Shapiro                                                          -                       -                      -                      -
     14020 · Prepaid Expenses                                                          -                       -                      -                      -
     14025 · Professional Retainers                                                    -                       -                      -                      -
   Total Other Current Assets                                                          -                       -                      -                      -
 Total Current Assets                                                                  -                       -                      -                      -
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                                          -                       -                      -                      -
     15120 · Software                                                                  -                       -                      -                      -
     15130 · Proceeds from sale of property                                            -                       -                      -                      -
   Total 15000 · Furniture and Equipment                                               -                       -                      -                      -
 Total Fixed Assets                                                                    -                       -                      -                      -
 Other Assets
   18000 · Property / Loan Investment                        3.                150,000               110,000                1,000,000             4,089,895
   18050 · Property proceeds/notepayoff                                                -                       -                      -           (5,018,615)
   18100 · Pre-Pet Capitalized Improvement                   4.                    9,591                  9,665               170,557               796,787
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                                -               24,703                  17,291                        -
     18230 · Post-Pet Property Taxes                                               3,351                  2,658                24,961               119,856
     18240 · Post-Pet Insurance                                                     126                    126                    3,688                   336
     18250 · Post-Pet Interest                                                         -                       -                  5,745                  1,163
     18260 · Post-Pet Utilities Costs                                              1,683                  1,683                   6,243              10,578
     18270 · Post-Pet Other Costs                                                      -                       -                      -                      -
   Total 18200 · Post Pet Capitalized Improvemen             4.                    5,160              29,170                   57,927               131,933
   18300 · Structured Settlements                            5.                        -                       -                      -                      -
 Total Other Assets                                                            164,751               148,835                1,228,484                        -
TOTAL ASSETS                                                                   164,751               148,835                1,228,484                        -
LIABILITIES & EQUITY
  Liabilities
    Current Liabilities
      Accounts Payable
       20000 · Accounts Payable                                                        -                       -                   965                       -
     Total Accounts Payable                                  6.                        -                       -                   965                       -
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                                               -                       -                   358                     46
       20120 · Tenant Deposit & Prepaid Rent                                           -                       -                      -                      -
       20115 · Misc Current LIability/Payable
       24400 · Due (to)/from Group or affiliat                                     7,414               32,466                  11,869            (2,372,410)
       24500 · DIP Lender Note Payable                       7.                        -                       -                      -                      -
     Total Other Current Liabilities                                               7,414               32,466                  12,227            (2,372,363)
   Total Current Liabilities                                                       7,414               32,466                  13,192            (2,372,363)
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                    8.                159,591               119,665                1,170,557             4,886,682
     25250 · Due to Noteholders                              8.                        -                       -                      -                      -
     25300 · Due to Unitholders                              8.                        -                       -                      -                      -
   Total Long Term Liabilities                                                 159,591               119,665                1,170,557             4,886,682
 Total Liabilities                                                             167,005               152,131                1,183,749             2,514,319
 Equity
   30000 · Opening Balance Equity                            9.                        -                       -                  (358)                   479
   Retained Earnings/(Losses): Post-Pet Prior Period         9.                        -                       -                      -                  2,746
   Net Income/(Loss): Post Petition Current Period                              (2,254)                (3,296)                 45,093            (2,517,544)
 Total Equity                                                                   (2,254)                (3,296)                 44,735            (2,514,319)
TOTAL LIABILITIES & EQUITY                                                     164,751               148,835                1,228,484                        -




      80 of 124
                                                                                                                                                   MOR-3 Bal Sheet Dec31 2018
                                 Case 17-12560-KJC                     Doc 3374             Filed 02/04/19               Page 81 of 124


DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of December 31, 2018
                                                                   P-059 Doubleleaf       P-060 Drawspan        P-061 Eldredge       P-062 Elstar Invest
                                                   Debtor: Notes      Invest LLC             Invest LLC           Invest LLC                LLC
                                                 Case No.:   1.       17-12755               17-12767             17-12775                17-12782
ASSETS
 Current Assets
     Total 10000 · Cash                                      2.                       -                     -                    -                       -
   Total Checking/Savings                                                             -                     -                    -                       -
   Other Current Assets
     11010 · Miscellaneous Receivable                                                 -                     -                    -                       -
     11500 · Vendor Deposits                                                          -                     -                    -                       -
     11510 · Property Manager Advance                                                 -                     -                    -                       -
     14010 · Due From Shapiro                                                         -                     -                    -                       -
     14020 · Prepaid Expenses                                                         -                     -                    -                       -
     14025 · Professional Retainers                                                   -                     -                    -                       -
   Total Other Current Assets                                                         -                     -                    -                       -
 Total Current Assets                                                                 -                     -                    -                       -
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                                         -                     -                    -                       -
     15120 · Software                                                                 -                     -                    -                       -
     15130 · Proceeds from sale of property                                           -                     -                    -                       -
   Total 15000 · Furniture and Equipment                                              -                     -                    -                       -
 Total Fixed Assets                                                                   -                     -                    -                       -
 Other Assets
   18000 · Property / Loan Investment                        3.            1,285,000             1,035,000             5,625,000               7,220,000
   18050 · Property proceeds/notepayoff                                               -          (2,420,469)                     -                       -
   18100 · Pre-Pet Capitalized Improvement                   4.              629,559               904,712             3,795,996               1,702,158
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                          3,238             441,720             1,215,767               1,744,855
     18230 · Post-Pet Property Taxes                                          16,293                13,162               102,152                 128,873
     18240 · Post-Pet Insurance                                                   789                   6,921             25,343                  22,752
     18250 · Post-Pet Interest                                                        -                 5,639                6,882                   2,731
     18260 · Post-Pet Utilities Costs                                            3,200              13,315                91,075                     2,939
     18270 · Post-Pet Other Costs                                                     -                     -                    -                       -
   Total 18200 · Post Pet Capitalized Improvemen             4.               23,520               480,756             1,441,218               1,902,149
   18300 · Structured Settlements                            5.                       -                     -                    -                       -
 Total Other Assets                                                        1,938,079                        -         10,862,214             10,824,307
TOTAL ASSETS                                                               1,938,079                        -         10,862,214             10,824,307
LIABILITIES & EQUITY
  Liabilities
    Current Liabilities
      Accounts Payable
       20000 · Accounts Payable                                                       -                 1,382             13,768                  18,618
     Total Accounts Payable                                  6.                       -                 1,382             13,768                  18,618
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                                              -                  938                  798                     403
       20120 · Tenant Deposit & Prepaid Rent                                          -                     -                    -                       -
       20115 · Misc Current LIability/Payable
       24400 · Due (to)/from Group or affiliat                                26,099            (1,119,208)            1,507,880               2,166,182
       24500 · DIP Lender Note Payable                       7.                       -                     -                    -                       -
     Total Other Current Liabilities                                          26,099            (1,118,270)            1,508,679               2,166,585
   Total Current Liabilities                                                  26,099            (1,116,888)            1,522,447               2,185,203
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                    8.            1,914,559             1,859,129             9,299,154               8,655,411
     25250 · Due to Noteholders                              8.                       -                     -                    -                       -
     25300 · Due to Unitholders                              8.                       -                     -                    -                       -
   Total Long Term Liabilities                                             1,914,559             1,859,129             9,299,154               8,655,411
 Total Liabilities                                                         1,940,658               742,241            10,821,601             10,840,614
 Equity
   30000 · Opening Balance Equity                            9.                       -                 (938)                (896)                   (403)
   Retained Earnings/(Losses): Post-Pet Prior Period         9.                       -                     -                    -                       -
   Net Income/(Loss): Post Petition Current Period                            (2,579)             (741,302)               41,510                 (15,904)
 Total Equity                                                                 (2,579)             (742,241)               40,613                 (16,307)
TOTAL LIABILITIES & EQUITY                                                 1,938,079                        -         10,862,214             10,824,307




      81 of 124
                                                                                                                                               MOR-3 Bal Sheet Dec31 2018
                                 Case 17-12560-KJC                      Doc 3374             Filed 02/04/19               Page 82 of 124


DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of December 31, 2018
                                                                   P-063 Emerald Lake     P-064 Fieldpoint       P-065 Franconia       P-066 Gateshead
                                                   Debtor: Notes       Invest LLC            Invest LLC          Notch Inves LLC          Invest LLC
                                                 Case No.:   1.        17-12788              17-12794               17-12797              17-12794
ASSETS
 Current Assets
     Total 10000 · Cash                                      2.                       -                      -                     -                     -
   Total Checking/Savings                                                             -                      -                     -                     -
   Other Current Assets
     11010 · Miscellaneous Receivable                                                 -                      -                     -                     -
     11500 · Vendor Deposits                                                          -                      -                     -                     -
     11510 · Property Manager Advance                                                 -                      -                     -                     -
     14010 · Due From Shapiro                                                         -                      -                     -                     -
     14020 · Prepaid Expenses                                                         -                      -                     -                     -
     14025 · Professional Retainers                                                   -                      -                     -                     -
   Total Other Current Assets                                                         -                      -                     -                     -
 Total Current Assets                                                                 -                      -                     -                     -
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                                         -                      -                     -                     -
     15120 · Software                                                                 -                      -                     -                     -
     15130 · Proceeds from sale of property                                           -                      -                     -                     -
   Total 15000 · Furniture and Equipment                                              -                      -                     -                     -
 Total Fixed Assets                                                                   -                      -                     -                     -
 Other Assets
   18000 · Property / Loan Investment                        3.             6,700,000               800,000               100,000              2,000,000
   18050 · Property proceeds/notepayoff                                               -            (884,029)                       -          (2,284,158)
   18100 · Pre-Pet Capitalized Improvement                   4.             1,938,531                21,346                    9,397            183,613
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                           3,670              13,914                        -                     -
     18230 · Post-Pet Property Taxes                                           83,667                16,433                    2,658             44,651
     18240 · Post-Pet Insurance                                                46,543                10,547                     273              23,905
     18250 · Post-Pet Interest                                                        -                  290                       -                 5,021
     18260 · Post-Pet Utilities Costs                                             1,060                      -                 1,683                 1,859
     18270 · Post-Pet Other Costs                                                     -              21,499                        -             25,108
   Total 18200 · Post Pet Capitalized Improvemen             4.               134,940                62,683                    4,614            100,545
   18300 · Structured Settlements                            5.                       -                      -                     -                     -
 Total Other Assets                                                         8,773,471                        -            114,011                        -
TOTAL ASSETS                                                                8,773,471                        -            114,011                        -
LIABILITIES & EQUITY
  Liabilities
    Current Liabilities
      Accounts Payable
       20000 · Accounts Payable                                                       -                      -                     -                     -
     Total Accounts Payable                                  6.                       -                      -                     -                     -
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                                              -                 4,100                      -                 3,727
       20120 · Tenant Deposit & Prepaid Rent                                          -                      -                     -                     -
       20115 · Misc Current LIability/Payable
       24400 · Due (to)/from Group or affiliat                               (141,047)             (776,218)                   6,968          (1,670,347)
       24500 · DIP Lender Note Payable                       7.                       -                      -                     -                     -
     Total Other Current Liabilities                                         (141,047)             (772,118)                   6,968          (1,666,620)
   Total Current Liabilities                                                 (141,047)             (772,118)                   6,968          (1,666,620)
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                    8.             8,638,531               806,346               109,397              2,183,613
     25250 · Due to Noteholders                              8.                       -                      -                     -                     -
     25300 · Due to Unitholders                              8.                       -                      -                     -                     -
   Total Long Term Liabilities                                              8,638,531               806,346               109,397              2,183,613
 Total Liabilities                                                          8,497,484                34,228               116,365               516,993
 Equity
   30000 · Opening Balance Equity                            9.                       -              (4,002)                       -              (4,125)
   Retained Earnings/(Losses): Post-Pet Prior Period         9.                39,495                   7,143                      -             16,969
   Net Income/(Loss): Post Petition Current Period                            236,492               (37,369)                (2,354)            (529,837)
 Total Equity                                                                 275,987               (34,228)                (2,354)            (516,993)
TOTAL LIABILITIES & EQUITY                                                  8,773,471                        -            114,011                        -




      82 of 124
                                                                                                                                               MOR-3 Bal Sheet Dec31 2018
                                 Case 17-12560-KJC                     Doc 3374              Filed 02/04/19                Page 83 of 124


DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of December 31, 2018
                                                                   P-067 Glenn Rich       P-068 Goose Rocks        P-069 Goosebrook       P-070 Graeme Park
                                                   Debtor: Notes      Invest LLC              Invest LLC               Invest LLC             Invest LLC
                                                 Case No.:   1.       17-12602                17-12611                 17-12617               17-12622
ASSETS
 Current Assets
     Total 10000 · Cash                                      2.                       -                       -                       -                      -
   Total Checking/Savings                                                             -                       -                       -                      -
   Other Current Assets
     11010 · Miscellaneous Receivable                                                 -                       -                       -                      -
     11500 · Vendor Deposits                                                          -                       -                       -                      -
     11510 · Property Manager Advance                                                 -                       -                       -                      -
     14010 · Due From Shapiro                                                         -                       -                       -                      -
     14020 · Prepaid Expenses                                                         -                       -                       -                      -
     14025 · Professional Retainers                                                   -                       -                       -                      -
   Total Other Current Assets                                                         -                       -                       -                      -
 Total Current Assets                                                                 -                       -                       -                      -
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                                         -                       -                       -                      -
     15120 · Software                                                                 -                       -                       -                      -
     15130 · Proceeds from sale of property                                           -                       -                       -                      -
   Total 15000 · Furniture and Equipment                                              -                       -                       -                      -
 Total Fixed Assets                                                                   -                       -                       -                      -
 Other Assets
   18000 · Property / Loan Investment                        3.              120,000                6,750,000              4,000,000               9,500,000
   18050 · Property proceeds/notepayoff                                               -                       -                       -                      -
   18100 · Pre-Pet Capitalized Improvement                   4.               17,253                8,594,949              1,063,533                185,062
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                               -             1,928,617              1,856,041                335,395
     18230 · Post-Pet Property Taxes                                             2,641               103,363                  50,622                156,871
     18240 · Post-Pet Insurance                                                   126                    50,746               23,441                 11,564
     18250 · Post-Pet Interest                                                        -                   5,698                   3,179              10,919
     18260 · Post-Pet Utilities Costs                                            3,664                   78,166                       -              62,608
     18270 · Post-Pet Other Costs                                                     -                       -                       -                      -
   Total 18200 · Post Pet Capitalized Improvemen             4.                  6,431              2,166,590              1,933,283                577,356
   18300 · Structured Settlements                            5.                       -                       -                       -                      -
 Total Other Assets                                                          143,684               17,511,539              6,996,816              10,262,418
TOTAL ASSETS                                                                 143,684               17,511,539              6,996,816              10,262,418
LIABILITIES & EQUITY
  Liabilities
    Current Liabilities
      Accounts Payable
       20000 · Accounts Payable                                                       -                  35,378                    287                   6,243
     Total Accounts Payable                                  6.                       -                  35,378                    287                   6,243
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                                              -                   1,142                   2,526                  7,516
       20120 · Tenant Deposit & Prepaid Rent                                          -                       -                       -                      -
       20115 · Misc Current LIability/Payable
       24400 · Due (to)/from Group or affiliat                                   8,785              2,871,003              2,032,772                626,820
       24500 · DIP Lender Note Payable                       7.                       -                       -                       -                      -
     Total Other Current Liabilities                                             8,785              2,872,145              2,035,298                634,336
   Total Current Liabilities                                                     8,785              2,907,523              2,035,586                640,579
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                    8.              137,253               14,540,620              4,973,860               9,634,534
     25250 · Due to Noteholders                              8.                       -                       -                       -                      -
     25300 · Due to Unitholders                              8.                       -                       -                       -                      -
   Total Long Term Liabilities                                               137,253               14,540,620              4,973,860               9,634,534
 Total Liabilities                                                           146,038               17,448,143              7,009,446              10,275,113
 Equity
   30000 · Opening Balance Equity                            9.                       -                  (1,142)              (2,624)                 (7,516)
   Retained Earnings/(Losses): Post-Pet Prior Period         9.                       -                       -                       -                      -
   Net Income/(Loss): Post Petition Current Period                            (2,354)                    64,538              (10,005)                 (5,179)
 Total Equity                                                                 (2,354)                    63,395              (12,629)                (12,695)
TOTAL LIABILITIES & EQUITY                                                   143,684               17,511,539              6,996,816              10,262,418




      83 of 124
                                                                                                                                                 MOR-3 Bal Sheet Dec31 2018
                                 Case 17-12560-KJC                      Doc 3374               Filed 02/04/19                 Page 84 of 124


DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of December 31, 2018
                                                                   P-071 Grand Midway      P-072 Gravenstein       P-073 Green Gables     P-074 Grenadier
                                                   Debtor: Notes       Invest LLC             Invest LLC               Invest LLC            Invest LLC
                                                 Case No.:   1.         17-12628               17-12632                17-12637              17-12643
ASSETS
 Current Assets
     Total 10000 · Cash                                      2.                        -                       -                      -                     -
   Total Checking/Savings                                                              -                       -                      -                     -
   Other Current Assets
     11010 · Miscellaneous Receivable                                                  -                       -                      -                     -
     11500 · Vendor Deposits                                                           -                       -                   650                      -
     11510 · Property Manager Advance                                                  -                       -                      -                     -
     14010 · Due From Shapiro                                                          -                       -                      -                     -
     14020 · Prepaid Expenses                                                          -                       -                      -                     -
     14025 · Professional Retainers                                                    -                       -                      -                     -
   Total Other Current Assets                                                          -                       -                   650                      -
 Total Current Assets                                                                  -                       -                   650                      -
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                                          -                       -                      -                     -
     15120 · Software                                                                  -                       -                      -                     -
     15130 · Proceeds from sale of property                                            -                       -                      -                     -
   Total 15000 · Furniture and Equipment                                               -                       -                      -                     -
 Total Fixed Assets                                                                    -                       -                      -                     -
 Other Assets
   18000 · Property / Loan Investment                        3.            36,000,000               4,750,000              10,250,000              100,000
   18050 · Property proceeds/notepayoff                                                -                       -                      -                     -
   18100 · Pre-Pet Capitalized Improvement                   4.               712,820               2,597,224                 274,761                   5,656
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                     1,129,283               3,261,969               1,686,569                       -
     18230 · Post-Pet Property Taxes                                          597,287                 55,262                   93,344                    733
     18240 · Post-Pet Insurance                                                     502               41,422                       259                   126
     18250 · Post-Pet Interest                                                         -                  2,773                   8,056                     -
     18260 · Post-Pet Utilities Costs                                              4,081              13,546                   16,100                   1,743
     18270 · Post-Pet Other Costs                                                      -                       -                      -                     -
   Total 18200 · Post Pet Capitalized Improvemen             4.             1,731,154               3,374,971               1,804,328                   2,602
   18300 · Structured Settlements                            5.                        -                       -                      -                     -
 Total Other Assets                                                        38,443,974              10,722,195              12,329,089              108,258
TOTAL ASSETS                                                               38,443,974              10,722,195              12,329,739              108,258
LIABILITIES & EQUITY
  Liabilities
    Current Liabilities
      Accounts Payable
       20000 · Accounts Payable                                                    5,951             291,808                  304,879                       -
     Total Accounts Payable                                  6.                    5,951             291,808                  304,879                       -
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                                       45,000                      504                101,305                       -
       20120 · Tenant Deposit & Prepaid Rent                                           -                       -                      -                     -
       20115 · Misc Current LIability/Payable
       24400 · Due (to)/from Group or affiliat                             29,039,902               3,187,881               1,637,951                   4,956
       24500 · DIP Lender Note Payable                       7.                        -                       -                      -                     -
     Total Other Current Liabilities                                       29,084,902               3,188,385               1,739,256                   4,956
   Total Current Liabilities                                               29,090,853               3,480,193               2,044,135                   4,956
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                    8.            10,545,231               7,265,618              10,412,312              105,656
     25250 · Due to Noteholders                              8.                        -                       -                      -                     -
     25300 · Due to Unitholders                              8.                        -                       -                      -                     -
   Total Long Term Liabilities                                             10,545,231               7,265,618              10,412,312              105,656
 Total Liabilities                                                         39,636,084             10,745,811               12,456,447              110,612
 Equity
   30000 · Opening Balance Equity                            9.               (45,000)                    (504)              (101,305)                      -
   Retained Earnings/(Losses): Post-Pet Prior Period         9.                        -                       -                      -                     -
   Net Income/(Loss): Post Petition Current Period                         (1,147,110)                (23,112)                (25,403)               (2,354)
 Total Equity                                                              (1,192,110)                (23,616)               (126,708)               (2,354)
TOTAL LIABILITIES & EQUITY                                                 38,443,974              10,722,195              12,329,739              108,258




      84 of 124
                                                                                                                                                  MOR-3 Bal Sheet Dec31 2018
                                 Case 17-12560-KJC                       Doc 3374             Filed 02/04/19                Page 85 of 124


DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of December 31, 2018
                                                                   P-075 Grumblethorpe     P-076 Hackmatack       P-077 Haffenburg       P-078 Haralson
                                                   Debtor: Notes        Invest LLC            Invest LLC             Invest LLC            Invest LLC
                                                 Case No.:   1.         17-12649               17-12653              17-12659              17-12663
ASSETS
 Current Assets
     Total 10000 · Cash                                      2.                        -                      -                      -                    -
   Total Checking/Savings                                                              -                      -                      -                    -
   Other Current Assets
     11010 · Miscellaneous Receivable                                                  -                      -                      -                    -
     11500 · Vendor Deposits                                                           -                      -                      -                    -
     11510 · Property Manager Advance                                                  -                      -                      -                    -
     14010 · Due From Shapiro                                                          -                      -                      -                    -
     14020 · Prepaid Expenses                                                          -                      -                      -                    -
     14025 · Professional Retainers                                                    -                      -                      -                    -
   Total Other Current Assets                                                          -                      -                      -                    -
 Total Current Assets                                                                  -                      -                      -                    -
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                                          -                      -                      -                    -
     15120 · Software                                                                  -                      -                      -                    -
     15130 · Proceeds from sale of property                                            -                      -                      -                    -
   Total 15000 · Furniture and Equipment                                               -                      -                      -                    -
 Total Fixed Assets                                                                    -                      -                      -                    -
 Other Assets
   18000 · Property / Loan Investment                        3.               120,000                575,000                         -            160,000
   18050 · Property proceeds/notepayoff                                                -            (646,910)                        -                    -
   18100 · Pre-Pet Capitalized Improvement                   4.                    5,565              55,235                         -                6,414
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                                -                      -                      -                    -
     18230 · Post-Pet Property Taxes                                               2,658                  3,603                      -                4,044
     18240 · Post-Pet Insurance                                                     273                   1,548                      -                 126
     18250 · Post-Pet Interest                                                         -                  2,505                      -                    -
     18260 · Post-Pet Utilities Costs                                              1,683                  9,019                      -                1,683
     18270 · Post-Pet Other Costs                                                      -                      -                      -                    -
   Total 18200 · Post Pet Capitalized Improvemen             4.                    4,614              16,675                         -                5,854
   18300 · Structured Settlements                            5.                        -                      -                      -                    -
 Total Other Assets                                                           130,179                         -                      -            172,268
TOTAL ASSETS                                                                  130,179                         -                      -            172,268
LIABILITIES & EQUITY
  Liabilities
    Current Liabilities
      Accounts Payable
       20000 · Accounts Payable                                                        -                   225                       -                    -
     Total Accounts Payable                                  6.                        -                   225                       -                    -
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                                               -                   763                       -                    -
       20120 · Tenant Deposit & Prepaid Rent                                           -                      -                      -                    -
       20115 · Misc Current LIability/Payable
       24400 · Due (to)/from Group or affiliat                                     6,968            (553,431)                   2,080                 8,208
       24500 · DIP Lender Note Payable                       7.                        -                      -                      -                    -
     Total Other Current Liabilities                                               6,968            (552,668)                   2,080                 8,208
   Total Current Liabilities                                                       6,968            (552,443)                   2,080                 8,208
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                    8.               125,565                630,235                         -            166,414
     25250 · Due to Noteholders                              8.                        -                      -                      -                    -
     25300 · Due to Unitholders                              8.                        -                      -                      -                    -
   Total Long Term Liabilities                                                125,565                630,235                         -            166,414
 Total Liabilities                                                            132,533                 77,792                    2,080             174,622
 Equity
   30000 · Opening Balance Equity                            9.                        -                  (763)                      -                    -
   Retained Earnings/(Losses): Post-Pet Prior Period         9.                        -                      -                 (100)                     -
   Net Income/(Loss): Post Petition Current Period                              (2,354)              (77,029)                (1,980)               (2,354)
 Total Equity                                                                   (2,354)              (77,792)                (2,080)               (2,354)
TOTAL LIABILITIES & EQUITY                                                    130,179                         -                      -            172,268




      85 of 124
                                                                                                                                                 MOR-3 Bal Sheet Dec31 2018
                                 Case 17-12560-KJC                      Doc 3374             Filed 02/04/19               Page 86 of 124


DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of December 31, 2018
                                                                   P-080 Harringworth     P-081 Hawthorne       P-082 Hazelpoint        P-084 Heilbron
                                                   Debtor: Notes       Invest, LLC           Invest LLC            Invest LLC          Manor Invest LLC
                                                 Case No.:   1.        17-12669              18-10291              17-12674                17-12681
ASSETS
 Current Assets
     Total 10000 · Cash                                      2.                       -             47,393                         -                      -
   Total Checking/Savings                                                             -             47,393                         -                      -
   Other Current Assets
     11010 · Miscellaneous Receivable                                                 -                     -                      -                      -
     11500 · Vendor Deposits                                                          -                     -                      -                      -
     11510 · Property Manager Advance                                                 -                     -                      -                      -
     14010 · Due From Shapiro                                                         -                     -                      -                      -
     14020 · Prepaid Expenses                                                         -                     -                      -                      -
     14025 · Professional Retainers                                                   -                     -                      -                      -
   Total Other Current Assets                                                         -                     -                      -                      -
 Total Current Assets                                                                 -             47,393                         -                      -
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                                         -                     -                      -                      -
     15120 · Software                                                                 -                     -                      -                      -
     15130 · Proceeds from sale of property                                           -                     -                      -                      -
   Total 15000 · Furniture and Equipment                                              -                     -                      -                      -
 Total Fixed Assets                                                                   -                     -                      -                      -
 Other Assets
   18000 · Property / Loan Investment                        3.                       -           2,080,000                        -           6,300,000
   18050 · Property proceeds/notepayoff                                               -          (2,110,466)                       -          (7,062,562)
   18100 · Pre-Pet Capitalized Improvement                   4.                       -                 1,050                      -             384,159
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                               -                     -                      -             309,716
     18230 · Post-Pet Property Taxes                                                  -             13,088                         -              42,143
     18240 · Post-Pet Insurance                                                       -                 8,974                      -              16,169
     18250 · Post-Pet Interest                                                        -                  522                       -                  1,859
     18260 · Post-Pet Utilities Costs                                                 -                 6,831                      -                  8,516
     18270 · Post-Pet Other Costs                                                     -                     -                      -                      -
   Total 18200 · Post Pet Capitalized Improvemen             4.                       -             29,416                         -             378,403
   18300 · Structured Settlements                            5.                       -                     -                      -                      -
 Total Other Assets                                                                   -                     -                      -                      -
TOTAL ASSETS                                                                          -             47,393                         -                      -
LIABILITIES & EQUITY
  Liabilities
    Current Liabilities
      Accounts Payable
       20000 · Accounts Payable                                                       -                   49                       -                   252
     Total Accounts Payable                                  6.                       -                   49                       -                   252
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                                              -                 1,050                      -                  5,312
       20120 · Tenant Deposit & Prepaid Rent                                          -                     -                      -                      -
       20115 · Misc Current LIability/Payable
       24400 · Due (to)/from Group or affiliat                                    2,972          (2,047,357)                  2,403           (4,885,318)
       24500 · DIP Lender Note Payable                       7.                       -                     -                      -                      -
     Total Other Current Liabilities                                              2,972          (2,046,307)                  2,403           (4,880,006)
   Total Current Liabilities                                                      2,972          (2,046,258)                  2,403           (4,879,754)
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                    8.                       -           2,081,050                        -           6,668,168
     25250 · Due to Noteholders                              8.                       -                     -                      -                      -
     25300 · Due to Unitholders                              8.                       -                     -                      -                      -
   Total Long Term Liabilities                                                        -           2,081,050                        -           6,668,168
 Total Liabilities                                                                2,972             34,792                    2,403            1,788,414
 Equity
   30000 · Opening Balance Equity                            9.                       -                 2,128                   (98)              (5,312)
   Retained Earnings/(Losses): Post-Pet Prior Period         9.                   (100)             12,307                         -                      -
   Net Income/(Loss): Post Petition Current Period                             (2,872)               (1,834)               (2,305)            (1,783,101)
 Total Equity                                                                  (2,972)              12,602                 (2,403)            (1,788,414)
TOTAL LIABILITIES & EQUITY                                                            -             47,393                         -                      -




      86 of 124
                                                                                                                                                MOR-3 Bal Sheet Dec31 2018
                                 Case 17-12560-KJC                    Doc 3374               Filed 02/04/19                 Page 87 of 124


DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of December 31, 2018
                                                                   P-085 Hollyline        P-086 Hornbeam        P-087 Idared Invest     P-088 Imperial Aly
                                                   Debtor: Notes    Owners LLC               Invest LLC                 LLC                Invest LLC
                                                 Case No.:   1.       17-12688               17-12694                17-12701               17-12708
ASSETS
 Current Assets
     Total 10000 · Cash                                      2.                       -                     -                       -                        -
   Total Checking/Savings                                                             -                     -                       -                        -
   Other Current Assets
     11010 · Miscellaneous Receivable                                                 -                     -                       -                        -
     11500 · Vendor Deposits                                                          -                     -                       -                        -
     11510 · Property Manager Advance                                                 -                     -                       -                        -
     14010 · Due From Shapiro                                                         -                     -                       -                        -
     14020 · Prepaid Expenses                                                         -                     -                       -                        -
     14025 · Professional Retainers                                                   -                     -                       -                        -
   Total Other Current Assets                                                         -                     -                       -                        -
 Total Current Assets                                                                 -                     -                       -                        -
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                                         -                     -                       -                        -
     15120 · Software                                                                 -                     -                       -                        -
     15130 · Proceeds from sale of property                                           -                     -                       -                        -
   Total 15000 · Furniture and Equipment                                              -                     -                       -                        -
 Total Fixed Assets                                                                   -                     -                       -                        -
 Other Assets
   18000 · Property / Loan Investment                        3.            1,499,000             9,500,000                 118,500               7,600,000
   18050 · Property proceeds/notepayoff                                   (2,133,447)                       -              (133,688)             (8,183,874)
   18100 · Pre-Pet Capitalized Improvement                   4.             540,914              2,052,340                      9,421              305,954
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                       51,148             2,525,267                          -              205,971
     18230 · Post-Pet Property Taxes                                          28,885                93,446                      2,531               50,261
     18240 · Post-Pet Insurance                                                  625                21,182                       126                16,134
     18250 · Post-Pet Interest                                                       19                 3,569                       -                  3,230
     18260 · Post-Pet Utilities Costs                                         12,856                    2,399                   3,110                  2,325
     18270 · Post-Pet Other Costs                                                     -                     -                       -                        -
   Total 18200 · Post Pet Capitalized Improvemen             4.               93,533             2,645,863                      5,767              277,920
   18300 · Structured Settlements                            5.                       -                     -                       -                        -
 Total Other Assets                                                                   -         14,198,203                          -                        -
TOTAL ASSETS                                                                          -         14,198,203                          -                        -
LIABILITIES & EQUITY
  Liabilities
    Current Liabilities
      Accounts Payable
       20000 · Accounts Payable                                               12,976                    2,905                       -                    31
     Total Accounts Payable                                  6.               12,976                    2,905                       -                    31
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                                              -                  544                        -                  4,631
       20120 · Tenant Deposit & Prepaid Rent                                          -                     -                       -                        -
       20115 · Misc Current LIability/Payable
       24400 · Due (to)/from Group or affiliat                              (964,861)            2,803,376                  (59,119)            (6,601,704)
       24500 · DIP Lender Note Payable                       7.                       -                     -                       -                        -
     Total Other Current Liabilities                                        (964,861)            2,803,920                  (59,119)            (6,597,073)
   Total Current Liabilities                                                (951,885)            2,806,825                  (59,119)            (6,597,042)
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                    8.            2,039,914            11,404,575                 127,921               7,845,504
     25250 · Due to Noteholders                              8.                       -                     -                       -                        -
     25300 · Due to Unitholders                              8.                       -                     -                       -                        -
   Total Long Term Liabilities                                             2,039,914            11,404,575                 127,921               7,845,504
 Total Liabilities                                                         1,088,029            14,211,400                   68,802              1,248,462
 Equity
   30000 · Opening Balance Equity                            9.                       -                 (544)                       -                (4,631)
   Retained Earnings/(Losses): Post-Pet Prior Period         9.                  (49)                       -                       -                        -
   Net Income/(Loss): Post Petition Current Period                        (1,087,980)              (12,654)                 (68,802)            (1,243,830)
 Total Equity                                                             (1,088,029)              (13,198)                 (68,802)            (1,248,462)
TOTAL LIABILITIES & EQUITY                                                            -         14,198,203                          -                        -




      87 of 124
                                                                                                                                                  MOR-3 Bal Sheet Dec31 2018
                                 Case 17-12560-KJC                      Doc 3374               Filed 02/04/19                 Page 88 of 124


DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of December 31, 2018
                                                                   P-092 Lenni Heights     P-093 Lilac Meadow      P-094 Lilac Valley       P-095 Lincolnshire
                                                   Debtor: Notes       Invest LLC              Invest LLC             Invest LLC                Invest LLC
                                                 Case No.:   1.         17-12720                17-12728               18-10292                 17-12733
ASSETS
 Current Assets
     Total 10000 · Cash                                      2.                        -                       -                        -                     -
   Total Checking/Savings                                                              -                       -                        -                     -
   Other Current Assets
     11010 · Miscellaneous Receivable                                                  -                       -                        -                     -
     11500 · Vendor Deposits                                                           -                       -                        -                     -
     11510 · Property Manager Advance                                                  -                       -                        -                     -
     14010 · Due From Shapiro                                                          -                       -                        -                     -
     14020 · Prepaid Expenses                                                          -                       -                        -                     -
     14025 · Professional Retainers                                                    -                       -                        -                     -
   Total Other Current Assets                                                          -                       -                        -                     -
 Total Current Assets                                                                  -                       -                        -                     -
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                                          -                       -                        -                     -
     15120 · Software                                                                  -                       -                        -                     -
     15130 · Proceeds from sale of property                                            -                       -                        -                     -
   Total 15000 · Furniture and Equipment                                               -                       -                        -                     -
 Total Fixed Assets                                                                    -                       -                        -                     -
 Other Assets
   18000 · Property / Loan Investment                        3.               165,000               9,000,000                 555,000                3,100,000
   18050 · Property proceeds/notepayoff                                       (178,040)                        -             (736,539)                 (60,450)
   18100 · Pre-Pet Capitalized Improvement                   4.                    7,186            1,835,373                 168,862                1,890,878
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                                -            2,236,014                           -               58,195
     18230 · Post-Pet Property Taxes                                               4,044              111,250                     6,896                 61,104
     18240 · Post-Pet Insurance                                                     126                26,647                     1,023                    502
     18250 · Post-Pet Interest                                                         -                   1,617                   771                     680
     18260 · Post-Pet Utilities Costs                                              1,683                       -                  3,987                    350
     18270 · Post-Pet Other Costs                                                      -                       -                        -                     -
   Total 18200 · Post Pet Capitalized Improvemen             4.                    5,854            2,375,528                  12,677                  120,831
   18300 · Structured Settlements                            5.                        -                       -                        -                     -
 Total Other Assets                                                                    -           13,210,901                           -            5,051,259
TOTAL ASSETS                                                                           -           13,210,901                           -            5,051,259
LIABILITIES & EQUITY
  Liabilities
    Current Liabilities
      Accounts Payable
       20000 · Accounts Payable                                                        -              464,318                           -                     -
     Total Accounts Payable                                  6.                        -              464,318                           -                     -
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                                               -                    516                         -               36,269
       20120 · Tenant Deposit & Prepaid Rent                                           -                       -                        -                     -
       20115 · Misc Current LIability/Payable
       24400 · Due (to)/from Group or affiliat                                 (85,111)             2,447,413                (616,440)                  63,485
       24500 · DIP Lender Note Payable                       7.                        -                       -                        -                     -
     Total Other Current Liabilities                                           (85,111)             2,447,929                (616,440)                  99,754
   Total Current Liabilities                                                   (85,111)             2,912,246                (616,440)                  99,754
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                    8.               172,186              10,312,149                 723,862                4,990,878
     25250 · Due to Noteholders                              8.                        -                       -                        -                     -
     25300 · Due to Unitholders                              8.                        -                       -                        -                     -
   Total Long Term Liabilities                                                172,186              10,312,149                 723,862                4,990,878
 Total Liabilities                                                             87,075              13,224,395                 107,422                5,090,632
 Equity
   30000 · Opening Balance Equity                            9.                        -                   (516)                        -              (36,269)
   Retained Earnings/(Losses): Post-Pet Prior Period         9.                        -                       -                  (100)                       -
   Net Income/(Loss): Post Petition Current Period                             (87,075)               (12,979)               (107,322)                  (3,104)
 Total Equity                                                                  (87,075)               (13,495)               (107,422)                 (39,373)
TOTAL LIABILITIES & EQUITY                                                             -           13,210,901                           -            5,051,259




      88 of 124
                                                                                                                                                      MOR-3 Bal Sheet Dec31 2018
                                 Case 17-12560-KJC                    Doc 3374             Filed 02/04/19              Page 89 of 124


DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of December 31, 2018
                                                                   P-096 Lonetree       P-097 Longbourn       P-098 Mason Run       P-099 Massabesic
                                                   Debtor: Notes     Invest LLC            Invest LLC            Invest LLC            Invest LLC
                                                 Case No.:   1.      17-12740              17-12746              17-12751               18-10293
ASSETS
 Current Assets
     Total 10000 · Cash                                      2.                     -                     -                     -                      -
   Total Checking/Savings                                                           -                     -                     -                      -
   Other Current Assets
     11010 · Miscellaneous Receivable                                               -                     -                     -                      -
     11500 · Vendor Deposits                                                        -                     -                     -                      -
     11510 · Property Manager Advance                                               -                     -                     -                      -
     14010 · Due From Shapiro                                                       -                     -                     -                      -
     14020 · Prepaid Expenses                                                       -                     -                     -                      -
     14025 · Professional Retainers                                                 -                     -                     -                      -
   Total Other Current Assets                                                       -                     -                     -                      -
 Total Current Assets                                                               -                     -                     -                      -
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                                       -                     -                     -                      -
     15120 · Software                                                               -                     -                     -                      -
     15130 · Proceeds from sale of property                                         -                     -                     -                      -
   Total 15000 · Furniture and Equipment                                            -                     -                     -                      -
 Total Fixed Assets                                                                 -                     -                     -                      -
 Other Assets
   18000 · Property / Loan Investment                        3.             135,000             2,990,000             2,600,000               765,000
   18050 · Property proceeds/notepayoff                                             -          (6,178,836)           (4,154,495)             (867,011)
   18100 · Pre-Pet Capitalized Improvement                   4.                 9,931           2,322,285             1,348,961                94,212
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                             -            740,143               138,996                      148
     18230 · Post-Pet Property Taxes                                            3,351             37,502                32,222                     2,145
     18240 · Post-Pet Insurance                                                  273              16,230                10,421                         -
     18250 · Post-Pet Interest                                                      -                 2,694                 3,790                   906
     18260 · Post-Pet Utilities Costs                                               -             69,981                20,105                     4,599
     18270 · Post-Pet Other Costs                                                   -                     -                     -                      -
   Total 18200 · Post Pet Capitalized Improvemen             4.                 3,624            866,550               205,534                     7,799
   18300 · Structured Settlements                            5.                     -                     -                     -                      -
 Total Other Assets                                                         148,555                       -                     -                      -
TOTAL ASSETS                                                                148,555                       -                     -                      -
LIABILITIES & EQUITY
  Liabilities
    Current Liabilities
      Accounts Payable
       20000 · Accounts Payable                                                     -                     -                     -                      -
     Total Accounts Payable                                  6.                     -                     -                     -                      -
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                                            -                  249              17,311                      308
       20120 · Tenant Deposit & Prepaid Rent                                        -                     -                     -                      -
       20115 · Misc Current LIability/Payable
       24400 · Due (to)/from Group or affiliat                                  5,929          (7,212,877)           (3,504,780)             (732,285)
       24500 · DIP Lender Note Payable                       7.                     -                     -                     -                      -
     Total Other Current Liabilities                                            5,929          (7,212,628)           (3,487,468)             (731,977)
   Total Current Liabilities                                                    5,929          (7,212,628)           (3,487,468)             (731,977)
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                    8.             144,931             5,143,352             3,891,572               859,212
     25250 · Due to Noteholders                              8.                     -                     -                     -                      -
     25300 · Due to Unitholders                              8.                     -                     -                     -                      -
   Total Long Term Liabilities                                              144,931             5,143,352             3,891,572               859,212
 Total Liabilities                                                          150,860            (2,069,276)             404,104                127,235
 Equity
   30000 · Opening Balance Equity                            9.                 (100)                 (249)             (17,409)                   (308)
   Retained Earnings/(Losses): Post-Pet Prior Period         9.                     -                     -                     -                      -
   Net Income/(Loss): Post Petition Current Period                           (2,205)            2,069,525             (386,694)              (126,927)
 Total Equity                                                                (2,305)            2,069,276             (404,104)              (127,235)
TOTAL LIABILITIES & EQUITY                                                  148,555                       -                     -                      -




      89 of 124
                                                                                                                                             MOR-3 Bal Sheet Dec31 2018
                                 Case 17-12560-KJC                      Doc 3374             Filed 02/04/19                 Page 90 of 124


DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of December 31, 2018
                                                                   P-100 Melody Lane      P-101 Merrimack       P-102 Mineola Invest    P-103 Monadnock
                                                   Debtor: Notes       Invest LLC           Valley Invest               LLC                Invest LLC
                                                 Case No.:   1.        17-12757              17-12665                17-12673              17-12682
ASSETS
 Current Assets
     Total 10000 · Cash                                      2.                       -                     -                       -                     -
   Total Checking/Savings                                                             -                     -                       -                     -
   Other Current Assets
     11010 · Miscellaneous Receivable                                                 -                     -                       -                     -
     11500 · Vendor Deposits                                                          -                     -                       -                     -
     11510 · Property Manager Advance                                                 -                     -                       -                     -
     14010 · Due From Shapiro                                                         -                     -                       -                     -
     14020 · Prepaid Expenses                                                         -                     -                       -                     -
     14025 · Professional Retainers                                                   -                     -                       -                     -
   Total Other Current Assets                                                         -                     -                       -                     -
 Total Current Assets                                                                 -                     -                       -                     -
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                                         -                     -                       -                     -
     15120 · Software                                                                 -                     -                       -                     -
     15130 · Proceeds from sale of property                                           -                     -                       -                     -
   Total 15000 · Furniture and Equipment                                              -                     -                       -                     -
 Total Fixed Assets                                                                   -                     -                       -                     -
 Other Assets
   18000 · Property / Loan Investment                        3.              100,000               120,000                  120,000              160,000
   18050 · Property proceeds/notepayoff                                               -            (146,811)                        -                     -
   18100 · Pre-Pet Capitalized Improvement                   4.               10,228                20,824                      5,367                 9,976
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                               -                     -                       -                     -
     18230 · Post-Pet Property Taxes                                              2,658                 2,751                   2,658                 3,351
     18240 · Post-Pet Insurance                                                    126                   126                     126                   273
     18250 · Post-Pet Interest                                                        -                     -                       -                     -
     18260 · Post-Pet Utilities Costs                                             1,683                 3,110                   1,683                 1,683
     18270 · Post-Pet Other Costs                                                     -                     -                       -                     -
   Total 18200 · Post Pet Capitalized Improvemen             4.                   4,467                 5,987                   4,467                 5,307
   18300 · Structured Settlements                            5.                       -                     -                       -                     -
 Total Other Assets                                                          114,695                        -               129,834              175,283
TOTAL ASSETS                                                                 114,695                        -               129,834              175,283
LIABILITIES & EQUITY
  Liabilities
    Current Liabilities
      Accounts Payable
       20000 · Accounts Payable                                                       -                     -                       -                     -
     Total Accounts Payable                                  6.                       -                     -                       -                     -
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                                              -                     -                       -                     -
       20120 · Tenant Deposit & Prepaid Rent                                          -                     -                       -                     -
       20115 · Misc Current LIability/Payable
       24400 · Due (to)/from Group or affiliat                                    6,821             (82,660)                    6,821                 7,561
       24500 · DIP Lender Note Payable                       7.                       -                     -                       -                     -
     Total Other Current Liabilities                                              6,821             (82,660)                    6,821                 7,561
   Total Current Liabilities                                                      6,821             (82,660)                    6,821                 7,561
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                    8.              110,228               140,824                  125,367              169,976
     25250 · Due to Noteholders                              8.                       -                     -                       -                     -
     25300 · Due to Unitholders                              8.                       -                     -                       -                     -
   Total Long Term Liabilities                                               110,228               140,824                  125,367              169,976
 Total Liabilities                                                           117,049                58,164                  132,188              177,537
 Equity
   30000 · Opening Balance Equity                            9.                       -                     -                       -                     -
   Retained Earnings/(Losses): Post-Pet Prior Period         9.                       -                     -                       -                     -
   Net Income/(Loss): Post Petition Current Period                             (2,354)              (58,164)                 (2,354)              (2,254)
 Total Equity                                                                  (2,354)              (58,164)                 (2,354)              (2,254)
TOTAL LIABILITIES & EQUITY                                                   114,695                        -               129,834              175,283




      90 of 124
                                                                                                                                                MOR-3 Bal Sheet Dec31 2018
                                 Case 17-12560-KJC                    Doc 3374            Filed 02/04/19                   Page 91 of 124


DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of December 31, 2018
                                                                   P-104 Moravian       P-105 Mountain        P-106 Mt. Holly Invest     P-107 Mutsu Invest
                                                   Debtor: Notes     Invest LLC          Spring Invest                LLC                       LLC
                                                 Case No.:   1.      17-12690              17-12698                 17-12707                 17-12719
ASSETS
 Current Assets
     Total 10000 · Cash                                      2.                     -                     -                         -                         -
   Total Checking/Savings                                                           -                     -                         -                         -
   Other Current Assets
     11010 · Miscellaneous Receivable                                               -                     -                         -                         -
     11500 · Vendor Deposits                                                        -                     -                         -                         -
     11510 · Property Manager Advance                                               -                     -                         -                         -
     14010 · Due From Shapiro                                                       -                     -                         -                         -
     14020 · Prepaid Expenses                                                       -                     -                         -                         -
     14025 · Professional Retainers                                                 -                     -                         -                         -
   Total Other Current Assets                                                       -                     -                         -                         -
 Total Current Assets                                                               -                     -                         -                         -
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                                       -                     -                         -                         -
     15120 · Software                                                               -                     -                         -                         -
     15130 · Proceeds from sale of property                                         -                     -                         -                         -
   Total 15000 · Furniture and Equipment                                            -                     -                         -                         -
 Total Fixed Assets                                                                 -                     -                         -                         -
 Other Assets
   18000 · Property / Loan Investment                        3.           1,342,500            3,600,000                    125,000                  140,000
   18050 · Property proceeds/notepayoff                                  (1,414,545)                      -                (147,488)                (158,175)
   18100 · Pre-Pet Capitalized Improvement                   4.              46,918              439,769                     16,550                   13,678
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                             -                 3,349                         -                         -
     18230 · Post-Pet Property Taxes                                            7,951             54,422                       2,971                    2,658
     18240 · Post-Pet Insurance                                                 9,676                  126                       253                     126
     18250 · Post-Pet Interest                                                  2,972                     -                      158                          -
     18260 · Post-Pet Utilities Costs                                           4,528                 8,411                    2,556                    1,713
     18270 · Post-Pet Other Costs                                                   -                     -                         -                         -
   Total 18200 · Post Pet Capitalized Improvemen             4.              25,127               66,308                       5,938                    4,497
   18300 · Structured Settlements                            5.                     -                     -                         -                         -
 Total Other Assets                                                                 -          4,106,077                            -                         -
TOTAL ASSETS                                                                        -          4,106,077                            -                         -
LIABILITIES & EQUITY
  Liabilities
    Current Liabilities
      Accounts Payable
       20000 · Accounts Payable                                                     -                     -                         -                         -
     Total Accounts Payable                                  6.                     -                     -                         -                         -
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                                         380                   275                          -                         -
       20120 · Tenant Deposit & Prepaid Rent                                        -                     -                         -                         -
       20115 · Misc Current LIability/Payable
       24400 · Due (to)/from Group or affiliat                             (904,240)              78,940                   (132,052)                 (72,065)
       24500 · DIP Lender Note Payable                       7.                     -                     -                         -                         -
     Total Other Current Liabilities                                       (903,860)              79,215                   (132,052)                 (72,065)
   Total Current Liabilities                                               (903,860)              79,215                   (132,052)                 (72,065)
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                    8.           1,388,957            4,038,719                    141,550                  153,678
     25250 · Due to Noteholders                              8.                     -                     -                         -                         -
     25300 · Due to Unitholders                              8.                     -                     -                         -                         -
   Total Long Term Liabilities                                            1,388,957            4,038,719                    141,550                  153,678
 Total Liabilities                                                          485,097            4,117,934                       9,498                  81,613
 Equity
   30000 · Opening Balance Equity                            9.                 (380)                 (373)                         -                         -
   Retained Earnings/(Losses): Post-Pet Prior Period         9.                     -                     -                         -                         -
   Net Income/(Loss): Post Petition Current Period                         (484,717)             (11,484)                      (9,498)               (81,613)
 Total Equity                                                              (485,097)             (11,857)                      (9,498)               (81,613)
TOTAL LIABILITIES & EQUITY                                                          -          4,106,077                            -                         -




      91 of 124
                                                                                                                                                 MOR-3 Bal Sheet Dec31 2018
                                 Case 17-12560-KJC                      Doc 3374              Filed 02/04/19                 Page 92 of 124


DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of December 31, 2018
                                                                   P-108 Newville Invest     P-109 Old Carbon       P-110 Old Maitland     P-111 Owl Ridge
                                                   Debtor: Notes           LLC                  Invest LLC              Invest LLC            Invest LLC
                                                 Case No.:   1.          17-12734                17-12743               17-12752              17-12763
ASSETS
 Current Assets
     Total 10000 · Cash                                      2.                          -                      -                      -                     -
   Total Checking/Savings                                                                -                      -                      -                     -
   Other Current Assets
     11010 · Miscellaneous Receivable                                                    -                      -                      -                     -
     11500 · Vendor Deposits                                                             -                      -                      -                     -
     11510 · Property Manager Advance                                                    -                      -                      -                     -
     14010 · Due From Shapiro                                                            -                      -                      -                     -
     14020 · Prepaid Expenses                                                            -                      -                      -                     -
     14025 · Professional Retainers                                                      -                      -                      -                     -
   Total Other Current Assets                                                            -                      -                      -                     -
 Total Current Assets                                                                    -                      -                      -                     -
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                                            -                      -                      -                     -
     15120 · Software                                                                    -                      -                      -                     -
     15130 · Proceeds from sale of property                                              -                      -                      -                     -
   Total 15000 · Furniture and Equipment                                                 -                      -                      -                     -
 Total Fixed Assets                                                                      -                      -                      -                     -
 Other Assets
   18000 · Property / Loan Investment                        3.                 137,500                110,000               7,500,000               95,000
   18050 · Property proceeds/notepayoff                                         (154,499)                       -           (8,504,814)             (112,299)
   18100 · Pre-Pet Capitalized Improvement                   4.                     11,558                  5,690              723,571               12,802
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                                  -                      -              240,025                       -
     18230 · Post-Pet Property Taxes                                                 3,351                  2,658               14,702                   2,658
     18240 · Post-Pet Insurance                                                          -                   126                22,537                    126
     18250 · Post-Pet Interest                                                           -                      -                  3,580                     -
     18260 · Post-Pet Utilities Costs                                                2,090                  1,683                   400                  1,713
     18270 · Post-Pet Other Costs                                                        -                      -                      -                     -
   Total 18200 · Post Pet Capitalized Improvemen             4.                      5,441                  4,467              281,243                   4,497
   18300 · Structured Settlements                            5.                          -                      -                      -                     -
 Total Other Assets                                                                      -             120,157                         -                     -
TOTAL ASSETS                                                                             -             120,157                         -                     -
LIABILITIES & EQUITY
  Liabilities
    Current Liabilities
      Accounts Payable
       20000 · Accounts Payable                                                          -                      -                      -                     -
     Total Accounts Payable                                  6.                          -                      -                      -                     -
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                                                 -                      -                  1,108                     -
       20120 · Tenant Deposit & Prepaid Rent                                             -                      -                      -                     -
       20115 · Misc Current LIability/Payable
       24400 · Due (to)/from Group or affiliat                                   (64,063)                   6,821           (4,980,768)              (66,600)
       24500 · DIP Lender Note Payable                       7.                          -                      -                      -                     -
     Total Other Current Liabilities                                             (64,063)                   6,821           (4,979,660)              (66,600)
   Total Current Liabilities                                                     (64,063)                   6,821           (4,979,660)              (66,600)
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                    8.                 149,058                115,690               8,223,571              107,802
     25250 · Due to Noteholders                              8.                          -                      -                      -                     -
     25300 · Due to Unitholders                              8.                          -                      -                      -                     -
   Total Long Term Liabilities                                                  149,058                115,690               8,223,571              107,802
 Total Liabilities                                                                  84,995             122,511               3,243,911               41,202
 Equity
   30000 · Opening Balance Equity                            9.                          -                      -               (1,108)                      -
   Retained Earnings/(Losses): Post-Pet Prior Period         9.                          -                      -                      -                     -
   Net Income/(Loss): Post Petition Current Period                               (84,995)               (2,354)             (3,242,803)              (41,202)
 Total Equity                                                                    (84,995)               (2,354)             (3,243,911)              (41,202)
TOTAL LIABILITIES & EQUITY                                                               -             120,157                         -                     -




      92 of 124
                                                                                                                                                 MOR-3 Bal Sheet Dec31 2018
                                 Case 17-12560-KJC                    Doc 3374               Filed 02/04/19              Page 93 of 124


DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of December 31, 2018
                                                                   P-112 Papirovka       P-113 Pawtuckaway      P-114 Pemberley       P-115 Pemigewasset
                                                   Debtor: Notes      Invest LLC             Invest LLC            Invest LLC                Invest
                                                 Case No.:   1.       17-12774               17-12783              17-12790                17-12800
ASSETS
 Current Assets
     Total 10000 · Cash                                      2.                      -                      -                     -                       -
   Total Checking/Savings                                                            -                      -                     -                       -
   Other Current Assets
     11010 · Miscellaneous Receivable                                                -                      -                     -                       -
     11500 · Vendor Deposits                                                         -                      -                     -                       -
     11510 · Property Manager Advance                                                -                      -                     -                       -
     14010 · Due From Shapiro                                                        -                      -                     -                       -
     14020 · Prepaid Expenses                                                        -                      -                     -                       -
     14025 · Professional Retainers                                                  -                      -                     -                       -
   Total Other Current Assets                                                        -                      -                     -                       -
 Total Current Assets                                                                -                      -                     -                       -
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                                        -                      -                     -                       -
     15120 · Software                                                                -                      -                     -                       -
     15130 · Proceeds from sale of property                                          -                      -                     -                       -
   Total 15000 · Furniture and Equipment                                             -                      -                     -                       -
 Total Fixed Assets                                                                  -                      -                     -                       -
 Other Assets
   18000 · Property / Loan Investment                        3.             185,000              13,500,000             1,660,000                150,000
   18050 · Property proceeds/notepayoff                                              -                      -          (2,993,047)                        -
   18100 · Pre-Pet Capitalized Improvement                   4.              11,156               3,705,710             1,284,482                     9,839
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                              -            2,913,467               20,916                          -
     18230 · Post-Pet Property Taxes                                             4,044             166,768                20,948                      3,351
     18240 · Post-Pet Insurance                                                   126               38,414                        -                    273
     18250 · Post-Pet Interest                                                       -                  1,358                 1,083                       -
     18260 · Post-Pet Utilities Costs                                            1,683              70,890                    5,619                   1,683
     18270 · Post-Pet Other Costs                                                    -                      -                     -                       -
   Total 18200 · Post Pet Capitalized Improvemen             4.                  5,854            3,190,898               48,565                      5,307
   18300 · Structured Settlements                            5.                      -                      -                     -                       -
 Total Other Assets                                                         202,010              20,396,607                       -              165,146
TOTAL ASSETS                                                                202,010              20,396,607                       -              165,146
LIABILITIES & EQUITY
  Liabilities
    Current Liabilities
      Accounts Payable
       20000 · Accounts Payable                                                      -              47,854                        -                       -
     Total Accounts Payable                                  6.                      -              47,854                        -                       -
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                                             -                      -                 1,385                       -
       20120 · Tenant Deposit & Prepaid Rent                                         -                      -                     -                       -
       20115 · Misc Current LIability/Payable
       24400 · Due (to)/from Group or affiliat                                   8,108            3,367,790            (2,441,654)                    7,561
       24500 · DIP Lender Note Payable                       7.                      -                      -                     -                       -
     Total Other Current Liabilities                                             8,108            3,367,790            (2,440,269)                    7,561
   Total Current Liabilities                                                     8,108            3,415,644            (2,440,269)                    7,561
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                    8.             196,156              16,996,867             2,944,482                159,839
     25250 · Due to Noteholders                              8.                      -                      -                     -                       -
     25300 · Due to Unitholders                              8.                      -                      -                     -                       -
   Total Long Term Liabilities                                              196,156              16,996,867             2,944,482                159,839
 Total Liabilities                                                          204,264              20,412,511              504,213                 167,400
 Equity
   30000 · Opening Balance Equity                            9.                      -                      -              (1,385)                        -
   Retained Earnings/(Losses): Post-Pet Prior Period         9.                      -                      -                     -                       -
   Net Income/(Loss): Post Petition Current Period                            (2,254)               (15,904)            (502,828)                 (2,254)
 Total Equity                                                                 (2,254)               (15,904)            (504,213)                 (2,254)
TOTAL LIABILITIES & EQUITY                                                  202,010              20,396,607                       -              165,146




      93 of 124
                                                                                                                                                MOR-3 Bal Sheet Dec31 2018
                                 Case 17-12560-KJC                    Doc 3374               Filed 02/04/19                 Page 94 of 124


DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of December 31, 2018
                                                                   P-116 Pennhurst       P-117 Pepperwood       P-118 Pinney Invest     P-119 Pinova Invest
                                                   Debtor: Notes      Invest LLC             Invest LLC                LLC                     LLC
                                                 Case No.:   1.       18-10296               17-12804                17-12808                17-12812
ASSETS
 Current Assets
     Total 10000 · Cash                                      2.                      -                      -                       -                       -
   Total Checking/Savings                                                            -                      -                       -                       -
   Other Current Assets
     11010 · Miscellaneous Receivable                                                -                      -                       -                       -
     11500 · Vendor Deposits                                                         -                      -                       -                       -
     11510 · Property Manager Advance                                                -                      -                       -                       -
     14010 · Due From Shapiro                                                        -                      -                       -                       -
     14020 · Prepaid Expenses                                                        -                      -                       -                       -
     14025 · Professional Retainers                                                  -                      -                       -                       -
   Total Other Current Assets                                                        -                      -                       -                       -
 Total Current Assets                                                                -                      -                       -                       -
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                                        -                      -                       -                       -
     15120 · Software                                                                -                      -                       -                       -
     15130 · Proceeds from sale of property                                          -                      -                       -                       -
   Total 15000 · Furniture and Equipment                                             -                      -                       -                       -
 Total Fixed Assets                                                                  -                      -                       -                       -
 Other Assets
   18000 · Property / Loan Investment                        3.           19,525,000               814,500                1,800,000                300,000
   18050 · Property proceeds/notepayoff                                  (19,615,874)            (1,011,126)             (3,332,783)                        -
   18100 · Pre-Pet Capitalized Improvement                   4.                   452              189,609                1,390,506                  16,752
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                              -                      -              103,527                          -
     18230 · Post-Pet Property Taxes                                         82,094                     2,317                22,777                     6,586
     18240 · Post-Pet Insurance                                                      -                    28                    8,537                    126
     18250 · Post-Pet Interest                                                   8,328                  1,739                   3,028                       -
     18260 · Post-Pet Utilities Costs                                                -                  2,934                   4,408                   1,683
     18270 · Post-Pet Other Costs                                                    -                      -                       -                       -
   Total 18200 · Post Pet Capitalized Improvemen             4.              90,422                     7,017              142,277                      8,396
   18300 · Structured Settlements                            5.                      -                      -                       -                       -
 Total Other Assets                                                                  -                      -                       -              325,148
TOTAL ASSETS                                                                         -                      -                       -              325,148
LIABILITIES & EQUITY
  Liabilities
    Current Liabilities
      Accounts Payable
       20000 · Accounts Payable                                                      -                      -                       -                       -
     Total Accounts Payable                                  6.                      -                      -                       -                       -
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                                          452                   2,148                   2,145                       -
       20120 · Tenant Deposit & Prepaid Rent                                         -                      -                       -                       -
       20115 · Misc Current LIability/Payable
       24400 · Due (to)/from Group or affiliat                           (21,102,052)             (710,836)              (2,755,146)                10,650
       24500 · DIP Lender Note Payable                       7.                      -                      -                       -                       -
     Total Other Current Liabilities                                     (21,101,600)             (708,688)              (2,753,001)                 10,650
   Total Current Liabilities                                             (21,101,600)             (708,688)              (2,753,001)                 10,650
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                    8.           19,525,452             1,000,652                3,190,467                316,752
     25250 · Due to Noteholders                              8.                      -                      -                       -                       -
     25300 · Due to Unitholders                              8.                      -                      -                       -                       -
   Total Long Term Liabilities                                            19,525,452             1,000,652                3,190,467                316,752
 Total Liabilities                                                        (1,576,148)              291,964                 437,466                 327,402
 Equity
   30000 · Opening Balance Equity                            9.              38,696                  (2,148)                 (2,243)                        -
   Retained Earnings/(Losses): Post-Pet Prior Period         9.              90,663                         -                       -                       -
   Net Income/(Loss): Post Petition Current Period                         1,446,789              (289,816)                (435,223)                 (2,254)
 Total Equity                                                              1,576,148              (291,964)                (437,466)                 (2,254)
TOTAL LIABILITIES & EQUITY                                                           -                      -                       -              325,148




      94 of 124
                                                                                                                                                  MOR-3 Bal Sheet Dec31 2018
                                 Case 17-12560-KJC                     Doc 3374               Filed 02/04/19               Page 95 of 124


DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of December 31, 2018
                                                                   P-120 Quarterpost       P-121 Red Woods       P-122 Ridgecrest       P-123 Riley Creek
                                                   Debtor: Notes      Invest LLC              Invest LLC            Invest LLC             Invest LLC
                                                 Case No.:   1.        17-12816               17-12824              17-12821                17-12826
ASSETS
 Current Assets
     Total 10000 · Cash                                      2.                        -                     -                      -                       -
   Total Checking/Savings                                                              -                     -                      -                       -
   Other Current Assets
     11010 · Miscellaneous Receivable                                                  -                     -                      -                       -
     11500 · Vendor Deposits                                                           -                     -                      -                       -
     11510 · Property Manager Advance                                                  -                     -                      -                       -
     14010 · Due From Shapiro                                                          -                     -                      -                       -
     14020 · Prepaid Expenses                                                          -                     -                      -                       -
     14025 · Professional Retainers                                                    -                     -                      -                       -
   Total Other Current Assets                                                          -                     -                      -                       -
 Total Current Assets                                                                  -                     -                      -                       -
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                                          -                     -                      -                       -
     15120 · Software                                                                  -                     -                      -                       -
     15130 · Proceeds from sale of property                                            -                     -                      -                       -
   Total 15000 · Furniture and Equipment                                               -                     -                      -                       -
 Total Fixed Assets                                                                    -                     -                      -                       -
 Other Assets
   18000 · Property / Loan Investment                        3.             1,285,000                        -             100,000               7,760,000
   18050 · Property proceeds/notepayoff                                    (5,227,012)                       -                      -                       -
   18100 · Pre-Pet Capitalized Improvement                   4.             3,921,766               215,457                 10,375               3,400,578
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                             27                       -                      -            1,836,092
     18230 · Post-Pet Property Taxes                                              7,134              81,445                    2,658              138,601
     18240 · Post-Pet Insurance                                                   2,766                      -                  126                27,628
     18250 · Post-Pet Interest                                                    3,195                      -                      -              17,559
     18260 · Post-Pet Utilities Costs                                             7,126                  225                   1,683               90,864
     18270 · Post-Pet Other Costs                                                      -                     -                      -                       -
   Total 18200 · Post Pet Capitalized Improvemen             4.               20,246                 81,670                    4,467             2,110,744
   18300 · Structured Settlements                            5.                        -                     -                      -                       -
 Total Other Assets                                                                    -            297,127                114,842              13,271,322
TOTAL ASSETS                                                                           -            297,127                114,842              13,271,322
LIABILITIES & EQUITY
  Liabilities
    Current Liabilities
      Accounts Payable
       20000 · Accounts Payable                                                        -                     -                      -              33,520
     Total Accounts Payable                                  6.                        -                     -                      -              33,520
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                                          1,031                      -                      -              29,542
       20120 · Tenant Deposit & Prepaid Rent                                           -                     -                      -                       -
       20115 · Misc Current LIability/Payable
       24400 · Due (to)/from Group or affiliat                             (5,579,022)              302,300                    6,672             2,114,390
       24500 · DIP Lender Note Payable                       7.                        -                     -                      -                       -
     Total Other Current Liabilities                                       (5,577,991)              302,300                    6,672             2,143,932
   Total Current Liabilities                                               (5,577,991)              302,300                    6,672             2,177,452
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                    8.             5,206,766                        -             110,375              11,136,440
     25250 · Due to Noteholders                              8.                        -                     -                      -                       -
     25300 · Due to Unitholders                              8.                        -                     -                      -                       -
   Total Long Term Liabilities                                              5,206,766                        -             110,375              11,136,440
 Total Liabilities                                                           (371,225)              302,300                117,047             13,313,892
 Equity
   30000 · Opening Balance Equity                            9.                (1,031)                       -                      -              (29,640)
   Retained Earnings/(Losses): Post-Pet Prior Period         9.                        -                     -                      -                       -
   Net Income/(Loss): Post Petition Current Period                           372,256                 (5,173)                (2,205)                (12,930)
 Total Equity                                                                371,225                 (5,173)                (2,205)                (42,570)
TOTAL LIABILITIES & EQUITY                                                             -            297,127                114,842             13,271,322




      95 of 124
                                                                                                                                                 MOR-3 Bal Sheet Dec31 2018
                                 Case 17-12560-KJC                     Doc 3374               Filed 02/04/19             Page 96 of 124


DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of December 31, 2018
                                                                   P-124 Rising Sun       P-125 Sachs Bridge    P-126 Sagebrook       P-127 Seven Stars
                                                   Debtor: Notes      Invest LLC              Invest LLC           Invest LLC            Invest LLC
                                                 Case No.:   1.       17-12828                18-10297             17-12830               17-12832
ASSETS
 Current Assets
     Total 10000 · Cash                                      2.                       -                    -                      -                       -
   Total Checking/Savings                                                             -                    -                      -                       -
   Other Current Assets
     11010 · Miscellaneous Receivable                                                 -                    -                      -                       -
     11500 · Vendor Deposits                                                          -                    -                      -                       -
     11510 · Property Manager Advance                                                 -                    -                      -                       -
     14010 · Due From Shapiro                                                         -                    -                      -                       -
     14020 · Prepaid Expenses                                                         -                    -                      -                       -
     14025 · Professional Retainers                                                   -                    -                      -                       -
   Total Other Current Assets                                                         -                    -                      -                       -
 Total Current Assets                                                                 -                    -                      -                       -
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                                         -                    -                      -                       -
     15120 · Software                                                                 -                    -                      -                       -
     15130 · Proceeds from sale of property                                           -                    -                      -                       -
   Total 15000 · Furniture and Equipment                                              -                    -                      -                       -
 Total Fixed Assets                                                                   -                    -                      -                       -
 Other Assets
   18000 · Property / Loan Investment                        3.            3,000,000               3,000,000            5,925,000               300,000
   18050 · Property proceeds/notepayoff                                               -             (783,482)                     -             (343,436)
   18100 · Pre-Pet Capitalized Improvement                   4.              431,922                 173,856            1,245,974                25,305
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                       78,177                       -              54,158                          -
     18230 · Post-Pet Property Taxes                                          37,491                  50,750              71,882                 11,555
     18240 · Post-Pet Insurance                                                  8,427                   126                  6,648                   126
     18250 · Post-Pet Interest                                                    445                      -                    69                        -
     18260 · Post-Pet Utilities Costs                                         22,337                  75,713                  6,659                  6,450
     18270 · Post-Pet Other Costs                                                     -                    -                      -                       -
   Total 18200 · Post Pet Capitalized Improvemen             4.              146,877                 126,590             139,417                 18,131
   18300 · Structured Settlements                            5.                       -                    -                      -                       -
 Total Other Assets                                                        3,578,799               2,516,964            7,310,391                         -
TOTAL ASSETS                                                               3,578,799               2,516,964            7,310,391                         -
LIABILITIES & EQUITY
  Liabilities
    Current Liabilities
      Accounts Payable
       20000 · Accounts Payable                                                  5,418                     -                      -                       -
     Total Accounts Payable                                  6.                  5,418                     -                      -                       -
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                                      10,195                  16,888              10,810                      780
       20120 · Tenant Deposit & Prepaid Rent                                          -                    -                      -                       -
       20115 · Misc Current LIability/Payable
       24400 · Due (to)/from Group or affiliat                               199,834              (1,042,060)             99,607                (207,457)
       24500 · DIP Lender Note Payable                       7.                       -                    -                      -                       -
     Total Other Current Liabilities                                         210,029              (1,025,172)            110,417                (206,677)
   Total Current Liabilities                                                 215,446              (1,025,172)            110,417                (206,677)
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                    8.            3,376,777               3,173,856            7,170,094               325,305
     25250 · Due to Noteholders                              8.                       -                    -                      -                       -
     25300 · Due to Unitholders                              8.                       -                    -                      -                       -
   Total Long Term Liabilities                                             3,376,777               3,173,856            7,170,094               325,305
 Total Liabilities                                                         3,592,223               2,148,684            7,280,511               118,628
 Equity
   30000 · Opening Balance Equity                            9.              (10,195)                (16,888)             (10,810)                   (780)
   Retained Earnings/(Losses): Post-Pet Prior Period         9.                       -                    -                      -                       -
   Net Income/(Loss): Post Petition Current Period                            (3,229)                385,168              40,689                (117,848)
 Total Equity                                                                (13,424)                368,280              29,879                (118,628)
TOTAL LIABILITIES & EQUITY                                                 3,578,799               2,516,964            7,310,391                         -




      96 of 124
                                                                                                                                               MOR-3 Bal Sheet Dec31 2018
                                 Case 17-12560-KJC                       Doc 3374               Filed 02/04/19                  Page 97 of 124


DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of December 31, 2018
                                                                   P-128 Silk City Invest   P-129 Silver Maple       P-138 Silverthorne       P-139 Springline
                                                   Debtor: Notes            LLC                 Invest LLC               Invest LLC              Invest LLC
                                                 Case No.:   1.          17-12834               17-12836                 17-12582                17-12585
ASSETS
 Current Assets
     Total 10000 · Cash                                      2.                         -                      -                        -                        -
   Total Checking/Savings                                                               -                      -                        -                        -
   Other Current Assets
     11010 · Miscellaneous Receivable                                                   -                      -                        -                        -
     11500 · Vendor Deposits                                                            -                      -                        -                        -
     11510 · Property Manager Advance                                                   -                      -                        -                        -
     14010 · Due From Shapiro                                                           -                      -                        -                        -
     14020 · Prepaid Expenses                                                           -                      -                        -                        -
     14025 · Professional Retainers                                                     -                      -                        -                        -
   Total Other Current Assets                                                           -                      -                        -                        -
 Total Current Assets                                                                   -                      -                          -                      -
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                                           -                        -                        -                      -
     15120 · Software                                                                   -                        -                        -                      -
     15130 · Proceeds from sale of property                                             -                        -                        -                      -
   Total 15000 · Furniture and Equipment                                                -                        -                        -                      -
 Total Fixed Assets                                                                     -                        -                        -                      -
 Other Assets
   18000 · Property / Loan Investment                        3.               2,950,000              6,500,000                1,150,000               1,100,000
   18050 · Property proceeds/notepayoff                                                 -            (7,900,432)             (1,192,052)             (1,164,564)
   18100 · Pre-Pet Capitalized Improvement                   4.               1,295,429              1,107,975                   24,237                  41,063
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                       3,659,874                244,644                      1,500                   1,200
     18230 · Post-Pet Property Taxes                                             51,424                 39,932                   15,783                  15,783
     18240 · Post-Pet Insurance                                                  26,743                    7,614                     126                     126
     18250 · Post-Pet Interest                                                      4,785                      -                     324                     216
     18260 · Post-Pet Utilities Costs                                            28,913                     268                       82                    6,176
     18270 · Post-Pet Other Costs                                                       -                      -                        -                        -
   Total 18200 · Post Pet Capitalized Improvemen             4.               3,771,740                292,457                   17,815                  23,501
   18300 · Structured Settlements                            5.                         -                      -                        -                        -
 Total Other Assets                                                           8,017,169                        -                        -                        -
TOTAL ASSETS                                                                  8,017,169                        -                        -                        -
LIABILITIES & EQUITY
  Liabilities
    Current Liabilities
      Accounts Payable
       20000 · Accounts Payable                                                 313,049                        -                        -                        -
     Total Accounts Payable                                  6.                 313,049                        -                        -                        -
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                                             362                       -                      70                         -
       20120 · Tenant Deposit & Prepaid Rent                                            -                      -                        -                        -
       20115 · Misc Current LIability/Payable
       24400 · Due (to)/from Group or affiliat                                3,553,080             (7,805,433)                (808,227)               (802,559)
       24500 · DIP Lender Note Payable                       7.                         -                      -                        -                        -
     Total Other Current Liabilities                                          3,553,442             (7,805,433)                (808,157)               (802,559)
   Total Current Liabilities                                                  3,866,490             (7,805,433)                (808,157)               (802,559)
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                    8.               4,173,085              7,605,598                1,174,237               1,141,063
     25250 · Due to Noteholders                              8.                         -                      -                          -                      -
     25300 · Due to Unitholders                              8.                         -                        -                        -                      -
   Total Long Term Liabilities                                                4,173,085              7,605,598                1,174,237               1,141,063
 Total Liabilities                                                            8,039,575               (199,835)                 366,080                 338,504
 Equity
   30000 · Opening Balance Equity                            9.                     (362)                      -                      (70)                       -
   Retained Earnings/(Losses): Post-Pet Prior Period         9.                         -                      -                        -                        -
   Net Income/(Loss): Post Petition Current Period                              (22,044)               199,835                 (366,010)               (338,504)
 Total Equity                                                                   (22,406)               199,835                 (366,080)               (338,504)
TOTAL LIABILITIES & EQUITY                                                    8,017,169                        -                        -                        -




      97 of 124
                                                                                                                                                       MOR-3 Bal Sheet Dec31 2018
                                 Case 17-12560-KJC                     Doc 3374              Filed 02/04/19             Page 98 of 124


DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of December 31, 2018
                                                                   P-140 Springvale       P-141 Squaretop       P-142 Stayman        P-143 Steele Hill
                                                   Debtor: Notes      Invest LLC             Invest LLC           Invest LLC            Invest LLC
                                                 Case No.:   1.       18-10298               17-12589             17-12594              17-12598
ASSETS
 Current Assets
     Total 10000 · Cash                                      2.                       -                     -                    -                       -
   Total Checking/Savings                                                             -                     -                    -                       -
   Other Current Assets
     11010 · Miscellaneous Receivable                                                 -                     -                    -                       -
     11500 · Vendor Deposits                                                          -                     -                    -                       -
     11510 · Property Manager Advance                                                 -                     -                    -                       -
     14010 · Due From Shapiro                                                         -                     -                    -                       -
     14020 · Prepaid Expenses                                                         -                     -                    -                       -
     14025 · Professional Retainers                                                   -                     -                    -                       -
   Total Other Current Assets                                                         -                     -                    -                       -
 Total Current Assets                                                                 -                     -                    -                       -
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                                         -                     -                    -                       -
     15120 · Software                                                                 -                     -                    -                       -
     15130 · Proceeds from sale of property                                           -                     -                    -                       -
   Total 15000 · Furniture and Equipment                                              -                     -                    -                       -
 Total Fixed Assets                                                                   -                     -                    -                       -
 Other Assets
   18000 · Property / Loan Investment                        3.            2,750,000              8,400,000              90,000                 125,000
   18050 · Property proceeds/notepayoff                                     (501,108)                       -                    -             (144,388)
   18100 · Pre-Pet Capitalized Improvement                   4.                       -           9,713,449                  7,790               15,808
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                               -           5,944,931                      -                       -
     18230 · Post-Pet Property Taxes                                          22,302               106,830                   2,658                 1,485
     18240 · Post-Pet Insurance                                                  126                75,370                    126                   126
     18250 · Post-Pet Interest                                                        -             70,172                       -                       -
     18260 · Post-Pet Utilities Costs                                         64,555               560,359                   1,683                 1,968
     18270 · Post-Pet Other Costs                                                     -                     -                    -                       -
   Total 18200 · Post Pet Capitalized Improvemen             4.               86,982              6,757,661                  4,467                 3,580
   18300 · Structured Settlements                            5.                       -                     -                    -                       -
 Total Other Assets                                                        2,335,874             24,871,110             102,257                          -
TOTAL ASSETS                                                               2,335,874             24,871,110             102,257                          -
LIABILITIES & EQUITY
  Liabilities
    Current Liabilities
      Accounts Payable
       20000 · Accounts Payable                                                       -            364,672                       -                       -
     Total Accounts Payable                                  6.                       -            364,672                       -                       -
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                                              -                 709                      -                       -
       20120 · Tenant Deposit & Prepaid Rent                                          -                     -                    -                       -
       20115 · Misc Current LIability/Payable
       24400 · Due (to)/from Group or affiliat                              (271,634)             6,461,069                  6,721             (145,573)
       24500 · DIP Lender Note Payable                       7.                       -                     -                    -                       -
     Total Other Current Liabilities                                        (271,634)             6,461,778                  6,721             (145,573)
   Total Current Liabilities                                                (271,634)             6,826,450                  6,721             (145,573)
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                    8.            2,750,000             18,088,577              97,790                 140,808
     25250 · Due to Noteholders                              8.                       -                     -                    -                       -
     25300 · Due to Unitholders                              8.                       -                     -                    -                       -
   Total Long Term Liabilities                                             2,750,000             18,088,577              97,790                 140,808
 Total Liabilities                                                         2,478,366             24,915,027             104,511                  (4,765)
 Equity
   30000 · Opening Balance Equity                            9.                       -                 (709)                    -                       -
   Retained Earnings/(Losses): Post-Pet Prior Period         9.                  (100)                      -                    -                       -
   Net Income/(Loss): Post Petition Current Period                          (142,392)               (43,209)             (2,254)                   4,765
 Total Equity                                                               (142,492)               (43,918)             (2,254)                   4,765
TOTAL LIABILITIES & EQUITY                                                 2,335,874             24,871,110             102,257                          -




      98 of 124
                                                                                                                                              MOR-3 Bal Sheet Dec31 2018
                                 Case 17-12560-KJC                    Doc 3374              Filed 02/04/19                  Page 99 of 124


DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of December 31, 2018
                                                                   P-144 Stepstone       P-145 Strawberry       P-146 Sturmer Pippin   P-147 Summerfree
                                                   Debtor: Notes      Invest LLC           Fields Invest             Invest LLC            Invest LLC
                                                 Case No.:   1.       17-12606              17-12613                 17-12629              17-12635
ASSETS
 Current Assets
     Total 10000 · Cash                                      2.                      -                      -                     -                       -
   Total Checking/Savings                                                            -                      -                     -                       -
   Other Current Assets
     11010 · Miscellaneous Receivable                                                -                      -                     -                       -
     11500 · Vendor Deposits                                                         -                      -                     -                       -
     11510 · Property Manager Advance                                                -                      -                     -                       -
     14010 · Due From Shapiro                                                        -                      -                     -                       -
     14020 · Prepaid Expenses                                                        -                      -                     -                       -
     14025 · Professional Retainers                                                  -                      -                     -                       -
   Total Other Current Assets                                                        -                      -                     -                       -
 Total Current Assets                                                                -                      -                     -                       -
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                                        -                      -                     -                       -
     15120 · Software                                                                -                      -                     -                       -
     15130 · Proceeds from sale of property                                          -                      -                     -                       -
   Total 15000 · Furniture and Equipment                                             -                      -                     -                       -
 Total Fixed Assets                                                                  -                      -                     -                       -
 Other Assets
   18000 · Property / Loan Investment                        3.             110,000                122,500               90,000,000            3,300,000
   18050 · Property proceeds/notepayoff                                              -                      -                     -                       -
   18100 · Pre-Pet Capitalized Improvement                   4.                  9,099                 7,505              3,792,036            2,679,044
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                              -                      -               241,205            2,666,365
     18230 · Post-Pet Property Taxes                                             2,658                      -             1,088,220               22,240
     18240 · Post-Pet Insurance                                                   126                   126                  54,114                   9,420
     18250 · Post-Pet Interest                                                       -                      -                88,252                   4,476
     18260 · Post-Pet Utilities Costs                                            1,683                 1,683                430,153               49,379
     18270 · Post-Pet Other Costs                                                    -                      -                     -                       -
   Total 18200 · Post Pet Capitalized Improvemen             4.                  4,467                 1,809              1,901,944            2,751,880
   18300 · Structured Settlements                            5.                      -                      -                     -                       -
 Total Other Assets                                                         123,566                131,814               95,693,980            8,730,924
TOTAL ASSETS                                                                123,566                131,814               95,693,980            8,730,924
LIABILITIES & EQUITY
  Liabilities
    Current Liabilities
      Accounts Payable
       20000 · Accounts Payable                                                      -                      -                19,789                    876
     Total Accounts Payable                                  6.                      -                      -                19,789                    876
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                                             -                      -                39,571               25,799
       20120 · Tenant Deposit & Prepaid Rent                                         -                      -                     -                       -
       20115 · Misc Current LIability/Payable
       24400 · Due (to)/from Group or affiliat                                   6,921                 4,063              1,734,232            3,273,570
       24500 · DIP Lender Note Payable                       7.                      -                      -                     -                       -
     Total Other Current Liabilities                                             6,921                 4,063              1,773,803            3,299,369
   Total Current Liabilities                                                     6,921                 4,063              1,793,591            3,300,246
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                    8.             119,099                130,005               93,727,064            5,486,541
     25250 · Due to Noteholders                              8.                      -                      -                     -                       -
     25300 · Due to Unitholders                              8.                      -                      -                     -                       -
   Total Long Term Liabilities                                              119,099                130,005               93,727,064            5,486,541
 Total Liabilities                                                          126,020                134,068               95,520,655            8,786,787
 Equity
   30000 · Opening Balance Equity                            9.                      -                      -               (39,571)             (25,799)
   Retained Earnings/(Losses): Post-Pet Prior Period         9.                      -                      -                     -                       -
   Net Income/(Loss): Post Petition Current Period                            (2,454)               (2,254)                 212,896              (30,063)
 Total Equity                                                                 (2,454)               (2,254)                 173,325              (55,862)
TOTAL LIABILITIES & EQUITY                                                  123,566                131,814               95,693,980            8,730,924




      99 of 124
                                                                                                                                                MOR-3 Bal Sheet Dec31 2018
                               Case 17-12560-KJC                      Doc 3374               Filed 02/04/19               Page 100 of 124


DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of December 31, 2018
                                                                   P-150 Thornbury       P-152 Thunder Basin     P-155 Vallecito        P-156 Varga Invest
                                                   Debtor: Notes   Farm Invest LLC            Invest LLC           Invest LLC                  LLC
                                                 Case No.:   1.       17-12651                17-12657              17-12675                17-12685
ASSETS
 Current Assets
     Total 10000 · Cash                                      2.                      -                       -                      -                      -
   Total Checking/Savings                                                            -                       -                      -                      -
   Other Current Assets
     11010 · Miscellaneous Receivable                                                -                       -                      -                      -
     11500 · Vendor Deposits                                                         -                       -                      -                      -
     11510 · Property Manager Advance                                                -                       -                      -                      -
     14010 · Due From Shapiro                                                        -                       -                      -                      -
     14020 · Prepaid Expenses                                                        -                       -                      -                      -
     14025 · Professional Retainers                                                  -                       -                      -                      -
   Total Other Current Assets                                                        -                       -                      -                      -
 Total Current Assets                                                                -                       -                      -                      -
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                                        -                       -                      -                      -
     15120 · Software                                                                -                       -                      -                      -
     15130 · Proceeds from sale of property                                          -                       -                      -                      -
   Total 15000 · Furniture and Equipment                                             -                       -                      -                      -
 Total Fixed Assets                                                                  -                       -                      -                      -
 Other Assets
   18000 · Property / Loan Investment                        3.            4,925,000                200,000                105,000              13,549,000
   18050 · Property proceeds/notepayoff                                              -                       -                      -                      -
   18100 · Pre-Pet Capitalized Improvement                   4.            3,077,002                     9,851              13,878               6,889,210
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                     194,765                          -                      -            3,286,603
     18230 · Post-Pet Property Taxes                                         93,884                      4,044                 2,658               267,225
     18240 · Post-Pet Insurance                                                   802                     126                   273                 95,902
     18250 · Post-Pet Interest                                                       -                       -                      -                  2,643
     18260 · Post-Pet Utilities Costs                                            2,400                   1,683                 1,683                   2,859
     18270 · Post-Pet Other Costs                                                    -                       -                      -                      -
   Total 18200 · Post Pet Capitalized Improvemen             4.             291,851                      5,854                 4,614             3,655,232
   18300 · Structured Settlements                            5.                      -                       -                      -                      -
 Total Other Assets                                                        8,293,853                215,705               123,492               24,093,442
TOTAL ASSETS                                                               8,293,853                215,705               123,492               24,093,442
LIABILITIES & EQUITY
  Liabilities
    Current Liabilities
      Accounts Payable
       20000 · Accounts Payable                                                  2,876                       -                      -              713,095
     Total Accounts Payable                                  6.                  2,876                       -                      -              713,095
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                                   1,112,938                         -                     70                   423
       20120 · Tenant Deposit & Prepaid Rent                                         -                       -                      -                      -
       20115 · Misc Current LIability/Payable
       24400 · Due (to)/from Group or affiliat                              334,120                      8,108                 6,919             3,625,833
       24500 · DIP Lender Note Payable                       7.                      -                       -                      -                      -
     Total Other Current Liabilities                                       1,447,057                     8,108                 6,989             3,626,257
   Total Current Liabilities                                               1,449,934                     8,108                 6,989             4,339,352
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                    8.            7,961,061                209,851               118,878               19,770,467
     25250 · Due to Noteholders                              8.                      -                       -                      -                      -
     25300 · Due to Unitholders                              8.                      -                       -                      -                      -
   Total Long Term Liabilities                                             7,961,061                209,851               118,878               19,770,467
 Total Liabilities                                                         9,410,995                217,959               125,867               24,109,819
 Equity
   30000 · Opening Balance Equity                            9.           (1,112,938)                        -                   (70)                  (521)
   Retained Earnings/(Losses): Post-Pet Prior Period         9.                      -                       -                      -                      -
   Net Income/(Loss): Post Petition Current Period                            (4,204)                 (2,254)               (2,305)                (15,855)
 Total Equity                                                             (1,117,142)                 (2,254)               (2,375)                (16,376)
TOTAL LIABILITIES & EQUITY                                                 8,293,853                215,705               123,492               24,093,442




      100 of 124
                                                                                                                                                  MOR-3 Bal Sheet Dec31 2018
                               Case 17-12560-KJC                      Doc 3374              Filed 02/04/19                 Page 101 of 124


DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of December 31, 2018
                                                                   P-157 Wetterhorn       P-158 White Birch       P-159 White Dome       P-164 Wildernest
                                                   Debtor: Notes      Invest LLC             Invest LLC              Invest LLC             Invest LLC
                                                 Case No.:   1.       17-12693                17-12702                17-12709              17-12723
ASSETS
 Current Assets
     Total 10000 · Cash                                      2.                       -                       -                      -                      -
   Total Checking/Savings                                                             -                       -                      -                      -
   Other Current Assets
     11010 · Miscellaneous Receivable                                                 -                       -                      -                      -
     11500 · Vendor Deposits                                                          -                       -                      -                      -
     11510 · Property Manager Advance                                                 -                       -                      -                      -
     14010 · Due From Shapiro                                                         -                       -                      -                      -
     14020 · Prepaid Expenses                                                         -                       -                      -                      -
     14025 · Professional Retainers                                                   -                       -                      -                      -
   Total Other Current Assets                                                         -                       -                      -                      -
 Total Current Assets                                                                 -                       -                      -                      -
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                                         -                       -                      -                      -
     15120 · Software                                                                 -                       -                      -                      -
     15130 · Proceeds from sale of property                                           -                       -                      -                      -
   Total 15000 · Furniture and Equipment                                              -                       -                      -                      -
 Total Fixed Assets                                                                   -                       -                      -                      -
 Other Assets
   18000 · Property / Loan Investment                        3.               95,000               3,100,000                750,000                100,000
   18050 · Property proceeds/notepayoff                                               -                       -            (825,238)             (2,301,637)
   18100 · Pre-Pet Capitalized Improvement                   4.               15,051               2,350,831                 54,794              2,187,820
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                               -            3,262,675                         -                 2,950
     18230 · Post-Pet Property Taxes                                             2,658               54,174                  18,488                    5,349
     18240 · Post-Pet Insurance                                                   126                25,873                       273                       -
     18250 · Post-Pet Interest                                                        -                  1,312                       -                 1,785
     18260 · Post-Pet Utilities Costs                                            1,683               82,045                      1,683                 3,733
     18270 · Post-Pet Other Costs                                                     -                       -                      -                      -
   Total 18200 · Post Pet Capitalized Improvemen             4.                  4,467             3,426,079                 20,444                 13,817
   18300 · Structured Settlements                            5.                       -                       -                      -                      -
 Total Other Assets                                                          114,518               8,876,910                         -                      -
TOTAL ASSETS                                                                 114,518               8,876,910                         -                      -
LIABILITIES & EQUITY
  Liabilities
    Current Liabilities
      Accounts Payable
       20000 · Accounts Payable                                                       -             128,454                          -                      -
     Total Accounts Payable                                  6.                       -             128,454                          -                      -
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                                              -                    20                        -                 1,295
       20120 · Tenant Deposit & Prepaid Rent                                          -                       -                      -                      -
       20115 · Misc Current LIability/Payable
       24400 · Due (to)/from Group or affiliat                                   6,772             3,379,741               (342,249)              (878,314)
       24500 · DIP Lender Note Payable                       7.                       -                       -                      -                      -
     Total Other Current Liabilities                                             6,772             3,379,761               (342,249)              (877,019)
   Total Current Liabilities                                                     6,772             3,508,216               (342,249)              (877,019)
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                    8.              110,051               5,384,619                804,794              2,287,820
     25250 · Due to Noteholders                              8.                       -                       -                      -                      -
     25300 · Due to Unitholders                              8.                       -                       -                      -                      -
   Total Long Term Liabilities                                               110,051               5,384,619                804,794              2,287,820
 Total Liabilities                                                           116,823               8,892,835                462,545              1,410,801
 Equity
   30000 · Opening Balance Equity                            9.                       -                    (20)                      -               (1,295)
   Retained Earnings/(Losses): Post-Pet Prior Period         9.                       -                       -                      -                      -
   Net Income/(Loss): Post Petition Current Period                            (2,305)                (15,904)              (462,545)            (1,409,506)
 Total Equity                                                                 (2,305)                (15,924)              (462,545)            (1,410,801)
TOTAL LIABILITIES & EQUITY                                                   114,518               8,876,910                         -                      -




      101 of 124
                                                                                                                                                  MOR-3 Bal Sheet Dec31 2018
                               Case 17-12560-KJC                       Doc 3374              Filed 02/04/19                  Page 102 of 124


DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of December 31, 2018
                                                                   P-165 Willow Grove     P-166 Winding Road      P-167 Zestar Invest     P-187 695 Buggy
                                                   Debtor: Notes       Invest LLC               Invest                   LLC                 Circle, LLC
                                                 Case No.:   1.        17-12732                17-12739                17-12792              17-12714
ASSETS
 Current Assets
     Total 10000 · Cash                                      2.                       -                       -                       -                     -
   Total Checking/Savings                                                             -                       -                       -                     -
   Other Current Assets
     11010 · Miscellaneous Receivable                                                 -                       -                       -                     -
     11500 · Vendor Deposits                                                          -                       -                       -                     -
     11510 · Property Manager Advance                                                 -                       -                       -                     -
     14010 · Due From Shapiro                                                         -                       -                       -                     -
     14020 · Prepaid Expenses                                                         -                       -                       -                     -
     14025 · Professional Retainers                                                   -                       -                       -                     -
   Total Other Current Assets                                                         -                       -                       -                     -
 Total Current Assets                                                                 -                       -                       -                     -
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                                         -                       -                       -                     -
     15120 · Software                                                                 -                       -                       -                     -
     15130 · Proceeds from sale of property                                           -                       -                       -                     -
   Total 15000 · Furniture and Equipment                                              -                       -                       -                     -
 Total Fixed Assets                                                                   -                       -                       -                     -
 Other Assets
   18000 · Property / Loan Investment                        3.             9,820,000             14,550,000                2,800,000             1,375,000
   18050 · Property proceeds/notepayoff                                               -                       -                       -          (1,676,920)
   18100 · Pre-Pet Capitalized Improvement                   4.                    738             5,484,872                1,351,563              301,159
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                        48,180              6,470,147                3,518,808                       -
     18230 · Post-Pet Property Taxes                                          119,263                186,435                   47,324                       -
     18240 · Post-Pet Insurance                                                13,438                 98,872                   18,510                   754
     18250 · Post-Pet Interest                                                    4,975                   8,542                   6,667                     7
     18260 · Post-Pet Utilities Costs                                             7,556                    600                    9,343                     -
     18270 · Post-Pet Other Costs                                                     -                       -                       -                     -
   Total 18200 · Post Pet Capitalized Improvemen             4.               193,413              6,764,596                3,600,651                   761
   18300 · Structured Settlements                            5.                       -                       -                       -                     -
 Total Other Assets                                                        10,014,151             26,799,468                7,752,214                       -
TOTAL ASSETS                                                               10,014,151             26,799,468                7,752,214                       -
LIABILITIES & EQUITY
  Liabilities
    Current Liabilities
      Accounts Payable
       20000 · Accounts Payable                                                       -              706,409                      3,487                     -
     Total Accounts Payable                                  6.                       -              706,409                      3,487                     -
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                                           378                    1,308                   1,686                     -
       20120 · Tenant Deposit & Prepaid Rent                                          -                       -                       -                     -
       20115 · Misc Current LIability/Payable
       24400 · Due (to)/from Group or affiliat                                184,802              6,657,915                4,132,210            (1,660,472)
       24500 · DIP Lender Note Payable                       7.                       -                       -                       -                     -
     Total Other Current Liabilities                                          185,181              6,659,223                4,133,896            (1,660,472)
   Total Current Liabilities                                                  185,181              7,365,632                4,137,383            (1,660,472)
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                    8.             9,820,000             19,999,621                3,639,028             1,676,159
     25250 · Due to Noteholders                              8.                       -                       -                       -                     -
     25300 · Due to Unitholders                              8.                       -                       -                       -                     -
   Total Long Term Liabilities                                              9,820,000             19,999,621                3,639,028             1,676,159
 Total Liabilities                                                         10,005,181             27,365,253                7,776,411               15,687
 Equity
   30000 · Opening Balance Equity                            9.                   (378)               (1,308)                  (1,686)              63,191
   Retained Earnings/(Losses): Post-Pet Prior Period         9.                    750                        -                   (100)             (73,813)
   Net Income/(Loss): Post Petition Current Period                                8,599             (564,477)                 (22,411)               (5,065)
 Total Equity                                                                     8,971             (565,785)                 (24,197)              (15,687)
TOTAL LIABILITIES & EQUITY                                                 10,014,151             26,799,468                7,752,214                       -




      102 of 124
                                                                                                                                                  MOR-3 Bal Sheet Dec31 2018
                               Case 17-12560-KJC                        Doc 3374             Filed 02/04/19               Page 103 of 124


DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of December 31, 2018
                                                                   P-188 Deerfield Park    P-207 Frog Rock       P-048 Crossbeam        P-287 Kirkstead
                                                   Debtor: Notes       Invest LLC            Investments            Invest LLC          Inves Huron St.
                                                 Case No.:   1.         17-12714              17-12714               17-12650              18-10675
ASSETS
 Current Assets
     Total 10000 · Cash                                      2.                        -                  956                       -                     -
   Total Checking/Savings                                                              -                  956                       -                     -
   Other Current Assets
     11010 · Miscellaneous Receivable                                                  -                     -                      -                     -
     11500 · Vendor Deposits                                                           -                     -                      -                     -
     11510 · Property Manager Advance                                                  -                     -                      -                     -
     14010 · Due From Shapiro                                                          -            500,000                         -                     -
     14020 · Prepaid Expenses                                                          -                     -                      -                     -
     14025 · Professional Retainers                                                    -                     -                      -                     -
   Total Other Current Assets                                                          -            500,000                         -                     -
 Total Current Assets                                                                  -            500,956                         -                     -
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                                          -                     -                      -                     -
     15120 · Software                                                                  -                     -                      -                     -
     15130 · Proceeds from sale of property                                            -                     -                      -                     -
   Total 15000 · Furniture and Equipment                                               -                     -                      -                     -
 Total Fixed Assets                                                                    -                     -                      -                     -
 Other Assets
   18000 · Property / Loan Investment                        3.              4,500,000             7,125,000                        -                     -
   18050 · Property proceeds/notepayoff                                     (6,694,877)           (7,125,000)                       -                     -
   18100 · Pre-Pet Capitalized Improvement                   4.              2,160,812                       -                      -                     -
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                            7,150                     -                      -                     -
     18230 · Post-Pet Property Taxes                                                   -                     -                      -                     -
     18240 · Post-Pet Insurance                                                 (2,898)                      -                      -                     -
     18250 · Post-Pet Interest                                                         -                     -                      -                     -
     18260 · Post-Pet Utilities Costs                                           29,813                       -                      -                     -
     18270 · Post-Pet Other Costs                                                      -                     -                      -                     -
   Total 18200 · Post Pet Capitalized Improvemen             4.                 34,065                       -                      -                     -
   18300 · Structured Settlements                            5.                        -                     -                      -                     -
 Total Other Assets                                                                    -                     -                      -                     -
TOTAL ASSETS                                                                           -            500,956                         -                     -
LIABILITIES & EQUITY
  Liabilities
    Current Liabilities
      Accounts Payable
       20000 · Accounts Payable                                                        -                     -                      -                  49
     Total Accounts Payable                                  6.                        -                     -                      -                  49
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                                               -                     -                      -                     -
       20120 · Tenant Deposit & Prepaid Rent                                           -                     -                      -                     -
       20115 · Misc Current LIability/Payable
       24400 · Due (to)/from Group or affiliat                              (8,187,960)           (6,854,001)                   1,599            (649,117)
       24500 · DIP Lender Note Payable                       7.                        -                     -                      -                     -
     Total Other Current Liabilities                                        (8,187,960)           (6,854,001)                   1,599            (649,117)
   Total Current Liabilities                                                (8,187,960)           (6,854,001)                   1,599            (649,068)
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                    8.              6,660,812             7,125,000                        -                     -
     25250 · Due to Noteholders                              8.                        -                     -                      -                     -
     25300 · Due to Unitholders                              8.                        -                     -                      -                     -
   Total Long Term Liabilities                                               6,660,812             7,125,000                        -                     -
 Total Liabilities                                                          (1,527,148)             270,999                     1,599            (649,068)
 Equity
   30000 · Opening Balance Equity                            9.                        -            231,730                         -                     -
   Retained Earnings/(Losses): Post-Pet Prior Period         9.              1,535,293                (3,657)                       -                     -
   Net Income/(Loss): Post Petition Current Period                              (8,145)                  1,884              (1,599)              649,068
 Total Equity                                                                1,527,148              229,957                 (1,599)              649,068
TOTAL LIABILITIES & EQUITY                                                             -            500,956                         -                     -




      103 of 124
                                                                                                                                                MOR-3 Bal Sheet Dec31 2018
                               Case 17-12560-KJC                       Doc 3374               Filed 02/04/19              Page 104 of 124


DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of December 31, 2018
                                                                   Silverleaf Funding          Summit Cut             Topchord
                                                   Debtor: Notes           LLC              Investments LLC       Investments LLC       WCBL 1
                                                 Case No.:   1.        17-12837                17-12640              17-12664           17-12754
ASSETS
 Current Assets
     Total 10000 · Cash                                      2.                         -                     -                     -                  -
   Total Checking/Savings                                                               -                     -                     -                  -
   Other Current Assets
     11010 · Miscellaneous Receivable                                                   -                     -                     -                  -
     11500 · Vendor Deposits                                                            -                     -                     -                  -
     11510 · Property Manager Advance                                                   -                     -                     -                  -
     14010 · Due From Shapiro                                                           -                     -                     -                  -
     14020 · Prepaid Expenses                                                           -                     -                     -                  -
     14025 · Professional Retainers                                                     -                     -                     -                  -
   Total Other Current Assets                                                           -                     -                     -                  -
 Total Current Assets                                                                   -                     -                     -                  -
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                                           -                     -                     -                  -
     15120 · Software                                                                   -                     -                     -                  -
     15130 · Proceeds from sale of property                                             -                     -                     -                  -
   Total 15000 · Furniture and Equipment                                                -                     -                     -                  -
 Total Fixed Assets                                                                     -                     -                     -                  -
 Other Assets
   18000 · Property / Loan Investment                        3.               835,000              18,900,000             1,533,333                    -
   18050 · Property proceeds/notepayoff                                      (160,174)                        -          (1,412,256)                   -
   18100 · Pre-Pet Capitalized Improvement                   4.                15,215               1,468,218              172,281                     -
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                            185               683,770                    1,942                  -
     18230 · Post-Pet Property Taxes                                           56,401                221,964                31,926                     -
     18240 · Post-Pet Insurance                                                57,441                 25,608                11,512                     -
     18250 · Post-Pet Interest                                                    4,429                   6,034                  894                   -
     18260 · Post-Pet Utilities Costs                                             4,924               15,747                     615                   -
     18270 · Post-Pet Other Costs                                                       -                     -                     -                  -
   Total 18200 · Post Pet Capitalized Improvemen             4.               123,380                953,123                46,890                     -
   18300 · Structured Settlements                            5.                         -                     -                     -                  -
 Total Other Assets                                                           813,421              21,321,342              340,247                     -
TOTAL ASSETS                                                                  813,421              21,321,342              340,247                     -
LIABILITIES & EQUITY
  Liabilities
    Current Liabilities
      Accounts Payable
       20000 · Accounts Payable                                                   5,152               56,606                        -                  -
     Total Accounts Payable                                  6.                   5,152               56,606                        -                  -
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                                       10,157                 19,520                     880                   -
       20120 · Tenant Deposit & Prepaid Rent                                            -                     -                     -                  -
       20115 · Misc Current LIability/Payable
       24400 · Due (to)/from Group or affiliat                                134,296               1,027,379              (962,180)               2,014
       24500 · DIP Lender Note Payable                       7.                         -                     -                     -                  -
     Total Other Current Liabilities                                          144,453               1,046,899              (961,299)               2,014
   Total Current Liabilities                                                  149,605               1,103,505              (961,299)               2,014
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                    8.               835,000              20,249,036             1,705,614          (701,857)
     25250 · Due to Noteholders                              8.                         -                     -                     -                  -
     25300 · Due to Unitholders                              8.                         -                     -                     -         702,197
   Total Long Term Liabilities                                                835,000              20,249,036             1,705,614                 340
 Total Liabilities                                                            984,605              21,352,541              744,315                 2,354
 Equity
   30000 · Opening Balance Equity                            9.               (10,157)                (19,520)                  (460)                  -
   Retained Earnings/(Losses): Post-Pet Prior Period         9.              (136,770)                        -                  942                   -
   Net Income/(Loss): Post Petition Current Period                            (24,256)                (11,679)            (404,550)            (2,354)
 Total Equity                                                                (171,183)                (31,199)            (404,068)            (2,354)
TOTAL LIABILITIES & EQUITY                                                    813,421              21,321,342              340,247                     -




      104 of 124
                                                                                                                                             MOR-3 Bal Sheet Dec31 2018
                               Case 17-12560-KJC                   Doc 3374              Filed 02/04/19            Page 105 of 124


DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of December 31, 2018
                                                                                      Whiteacre Funding
                                                   Debtor: Notes   WCBL 2                   LLC              WMIF 1           WMIF 2               WMIF 3
                                                 Case No.:   1.    17-12758               17-12713           17-12768         17-12772             17-12776
ASSETS
 Current Assets
     Total 10000 · Cash                                      2.                   -                      -                -                 -                  -
   Total Checking/Savings                                                         -                      -                -                 -                  -
   Other Current Assets
     11010 · Miscellaneous Receivable                                             -                      -                -                 -                  -
     11500 · Vendor Deposits                                                      -                      -                -                 -                  -
     11510 · Property Manager Advance                                             -                      -                -                 -                  -
     14010 · Due From Shapiro                                                     -                      -                -                 -                  -
     14020 · Prepaid Expenses                                                     -                      -                -                 -                  -
     14025 · Professional Retainers                                               -                      -                -                 -                  -
   Total Other Current Assets                                                     -                      -                -                 -                  -
 Total Current Assets                                                             -                      -                -                 -                  -
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                                     -                      -                -                 -                  -
     15120 · Software                                                             -                      -                -                 -                  -
     15130 · Proceeds from sale of property                                       -                      -                -                 -                  -
   Total 15000 · Furniture and Equipment                                          -                      -                -                 -                  -
 Total Fixed Assets                                                               -                      -                -                 -                  -
 Other Assets
   18000 · Property / Loan Investment                        3.                   -            3,895,000        2,091,500                   -           483,000
   18050 · Property proceeds/notepayoff                                           -                      -       (744,953)                  -           (243,000)
   18100 · Pre-Pet Capitalized Improvement                   4.                   -              33,258                   -                 -                  -
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                           -                  3,604                -                 -                  -
     18230 · Post-Pet Property Taxes                                              -             219,871            58,411                   -            16,119
     18240 · Post-Pet Insurance                                                   -             146,128            15,256            5,175                     -
     18250 · Post-Pet Interest                                                    -              83,862                   -                 -                  -
     18260 · Post-Pet Utilities Costs                                             -              35,195                 112                 -                  -
     18270 · Post-Pet Other Costs                                                 -                      -                -                 -                  -
   Total 18200 · Post Pet Capitalized Improvemen             4.                   -             488,661            73,779            5,175               16,119
   18300 · Structured Settlements                            5.                   -                      -                -                 -                  -
 Total Other Assets                                                               -            4,416,919        1,420,326            5,175              256,119
TOTAL ASSETS                                                                      -            4,416,919        1,420,326            5,175              256,119
LIABILITIES & EQUITY
  Liabilities
    Current Liabilities
      Accounts Payable
       20000 · Accounts Payable                                                   -              10,137            10,110            1,120                     -
     Total Accounts Payable                                  6.                   -              10,137            10,110            1,120                     -
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                                      6,249                  3,654                -                 -                  -
       20120 · Tenant Deposit & Prepaid Rent                                      -                      -                -                 -                  -
       20115 · Misc Current LIability/Payable
       24400 · Due (to)/from Group or affiliat                            (3,895)               512,468          (657,582)          42,447              (232,650)
       24500 · DIP Lender Note Payable                       7.                   -                      -                -                 -                  -
     Total Other Current Liabilities                                          2,354             516,122          (657,582)          42,447              (232,650)
   Total Current Liabilities                                                  2,354             526,259          (647,472)          43,567              (232,650)
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                    8.                   -            3,895,000      (19,709,052)     (66,740,616)        (269,136,320)
     25250 · Due to Noteholders                              8.                   -                      -     12,378,102       42,706,218          220,175,655
     25300 · Due to Unitholders                              8.                   -                      -      9,422,500       24,033,484           49,440,612
   Total Long Term Liabilities                                                    -            3,895,000        2,091,550                (914)          479,947
 Total Liabilities                                                            2,354            4,421,259        1,444,078           42,653              247,297
 Equity
   30000 · Opening Balance Equity                            9.                   -               (3,989)                 -                 -            18,000
   Retained Earnings/(Losses): Post-Pet Prior Period         9.                   -                  6,459                -                 -              2,467
   Net Income/(Loss): Post Petition Current Period                        (2,354)                 (6,810)         (23,752)         (37,478)              (11,645)
 Total Equity                                                             (2,354)                 (4,340)         (23,752)         (37,478)                8,823
TOTAL LIABILITIES & EQUITY                                                        -            4,416,919        1,420,326            5,175              256,119




      105 of 124
                                                                                                                                         MOR-3 Bal Sheet Dec31 2018
                               Case 17-12560-KJC                   Doc 3374          Filed 02/04/19                 Page 106 of 124


DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of December 31, 2018

                                                   Debtor: Notes   WMIF 3a         WMIF 4           TOTAL
                                                 Case No.:   1.    17-12780        17-12784
ASSETS
 Current Assets
     Total 10000 · Cash                                      2.               -               -      23,978,858
   Total Checking/Savings                                                     -               -      23,978,858
   Other Current Assets
     11010 · Miscellaneous Receivable                                         -               -         202,486
     11500 · Vendor Deposits                                                  -               -            1,718
     11510 · Property Manager Advance                                         -               -                -
     14010 · Due From Shapiro                                                 -               -         500,000
     14020 · Prepaid Expenses                                                 -               -          32,370
     14025 · Professional Retainers                                           -               -         254,801
   Total Other Current Assets                                                 -               -         991,374
 Total Current Assets                                                         -               -      24,970,232
 Fixed Assets
   15000 · Furniture and Equipment
     15110 · Office Equipment                                                 -               -            9,638
     15120 · Software                                                         -               -            9,780
     15130 · Proceeds from sale of property                                   -               -           (3,100)
   Total 15000 · Furniture and Equipment                                      -               -          16,318
 Total Fixed Assets                                                           -               -          16,318
 Other Assets
   18000 · Property / Loan Investment                        3.       1,197,000       2,302,500     606,555,233
   18050 · Property proceeds/notepayoff                              (1,197,000)     (1,922,120)    (208,900,730)
   18100 · Pre-Pet Capitalized Improvement                   4.               -               -     139,431,558
   18200 · Post Pet Capitalized Improvemen
     18210 · Post-Petition Construction                                       -               -      74,178,458
     18230 · Post-Pet Property Taxes                                          -         23,210         7,799,288
     18240 · Post-Pet Insurance                                               -         13,145         1,572,660
     18250 · Post-Pet Interest                                                -               -         576,053
     18260 · Post-Pet Utilities Costs                                         -               -        2,250,425
     18270 · Post-Pet Other Costs                                             -               -         520,021
   Total 18200 · Post Pet Capitalized Improvemen             4.               -         36,355       86,896,905
   18300 · Structured Settlements                            5.               -               -            1,893
 Total Other Assets                                                           -        416,735      623,984,859
TOTAL ASSETS                                                                  -        416,735      648,971,409
LIABILITIES & EQUITY
  Liabilities
    Current Liabilities
      Accounts Payable
       20000 · Accounts Payable                                               -               -      16,208,685
     Total Accounts Payable                                  6.               -               -      16,208,685
     Other Current Liabilities
       20110 · Pre-Petition AP Scheduled                                      -               -      13,265,082
       20120 · Tenant Deposit & Prepaid Rent                                  -               -                -
       20115 · Misc Current LIability/Payable                                                           317,042
       24400 · Due (to)/from Group or affiliat                       (1,182,285)     (2,428,044)               -
       24500 · DIP Lender Note Payable                       7.               -               -      18,685,684
     Total Other Current Liabilities                                 (1,182,285)     (2,428,044)     32,267,807
   Total Current Liabilities                                         (1,182,285)     (2,428,044)     48,476,492
   Long Term Liabilities
     25200 · Due to / (from) Funds/Holdco                    8.    (333,784,266)   (308,980,043)               -
     25250 · Due to Noteholders                              8.     256,037,976    247,121,021      778,418,972
     25300 · Due to Unitholders                              8.      78,943,348     64,157,951      226,700,092
   Total Long Term Liabilities                                        1,197,058       2,298,929    1,005,119,064
 Total Liabilities                                                       14,773        (129,115)   1,053,595,556
 Equity
   30000 · Opening Balance Equity                            9.               -        111,000      (315,373,530)
   Retained Earnings/(Losses): Post-Pet Prior Period         9.         (26,745)         (1,573)      (4,087,093)
   Net Income/(Loss): Post Petition Current Period                       11,972        436,422       (85,163,525)
 Total Equity                                                           (14,773)       545,849      (404,624,147)
TOTAL LIABILITIES & EQUITY                                                    -        416,735      648,971,409




      106 of 124
                                                                                                                               MOR-3 Bal Sheet Dec31 2018
                    Case 17-12560-KJC              Doc 3374        Filed 02/04/19        Page 107 of 124


WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                  Case No. 17-12560 (KJC)
(Jointly Administered)                                                                  Reporting Period: 12/31/2018

Notes to the 12/31/2018 Balance Sheets

Note 1. Each column in the financial statements represents the financial activities for one Debtor affiliate. For internal
        tracking purposes, each property or asset (loan) has been assigned a unique property number, shown as P-XXX.
        Debtor entities that have more then one property or asset attributed to them will not have a unique property
        identifier in the column heading, as there is more than one property or asset accounted for through that Debtor.


Note 2. Cash shown on the balance sheet of any of the property companies represents the amount held by the property
        manager in joint accounts that they control.

Note 3.    The Debtors' representatives are conducting an exhaustive search and analysis to establish the existence and
          cost of the assets of the Debtor companies. When assets are discovered and ownership established, they are
          recorded at their purchase price or note face value to the "Properties/Loan Investment" account. Estimates are
          sometimes used. In December 2018 an adjustment was made to the Properties account whose effect was an
          increase of $1.753M. A more detailed explanation of this adjustment is given in Note 9.


Note 4.    Capitalized improvements are recorded based on cost and have been broken into pre and post filing. Pre-
          petition improvements were recorded based on pre-petition records of the Debtor and have generally not been
          verified. Current expenditures towards properties held for sale are recorded as post-petition capitalized
          improvements. All costs associated with performing or non-performing loans are capitalized.


Note 5. A small part of the Debtor's business was to purchase annuities at a discount. Very little related documentation
        has been identified, though they are believed to exist. Research about the value and existence of structured
        settlements is ongoing.

Note 6. Post-Petition Accounts Payable are generally paid within one to two weeks of entry into the payables system.
        Some invoices appear aged due to their having been submitted late or because their payment was delayed
        waiting for approval. Post Petition Accounts Payable are broken out between accrued professional fees and
        payables from operations on MOR-4. Pre-Petition payables were not historically recorded and have been
        tabulated based on invoices found. Such amounts are likely to change.

Note 7. The Debtors' DIP loan had a drawn $18,685,684 balance as of December 31, 2018.

Note 8. The amounts recorded in the books for intercompany loans from fund entities prior to the filing have been ignored
        herein because they did not accurately reflect monies transferred, nor the amounts reflected on the face of the
        intercompany notes. Instead, the payable from each property company herein reflects the actual costs incurred
        to acquire, maintain, and service the properties or loans. A balancing entry has been recorded at Woodbridge
        Group to reflect the difference between amounts received by the consolidated business from note and unit
        investors, and amounts identified to date as having been spent on properties/loans. As additional costs are
        identified, this intercompany loan at the Group level is expected to decrease.


Note 9. Equity: The Debtors' operations have been recorded and their balance sheets reconstructed in the post-petition
        period so that the balance in Opening Equity would represent the estimated difference between amounts
        borrowed or invested (by fund and unit holders) and the cost of assets acquired with lender or investor funds. In
        December 2018 adjustments to opening equity resulted in a net credit change of $1.753M. There were two
        adjustments, to accrue the value two assets that at the filing were non-performing loans. One became an REO
        property that was sold in December (under Bellflower Funding, 6287 Memorial Drive) and the other loan was
        brought current and paid off (under WMIF4, secured by property at 6178 Castlewood Dr.).




   107 of 124                                                                                MOR-3 Balance Sheet Notes
                            Case 17-12560-KJC                      Doc 3374               Filed 02/04/19            Page 108 of 124


WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                           Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                                       Reporting Period: 12/31/2018


                                                           STATUS OF POSTPETITION TAXES

All taxes paid, other than real property taxes, relate to the Woodbridge Group of Companies, LLC


                                                          Beginning        Amount                                                                 Ending
                                                            Tax           Withheld or        Amount               Date           964.29             Tax
Federal                                                   Liability        Accrued            Paid               Paid*           or EFT           Liability
Withholding                                                 None        $      39,237      $    39,237           various          EFT           $          -
FICA-Employee                                               None                 9,943            9,943          various          EFT                      -
FICA-Employer                                               None                 9,032            9,032          various          EFT                      -
Unemployment                                                None                      -             -            various          EFT                      -
Income                                                      None                      -             -              n/a             n/a                     -
Other                                                       None                      -             -              n/a             n/a                     -
  Total Federal Taxes                                                   $      58,213      $    58,213                                          $          -
State and Local
Withholding                                                 None        $         4,590    $         4,590       various          EFT           $          -
Sales                                                       None                      -                  -         n/a            n/a                      -
Excise                                                      None                      -                  -         n/a            n/a                      -
Unemployment                                                None                      -                  -         n/a            n/a                      -
State Disability Insurance                                  None                    570                570       various          EFT                      -
Real Property Taxes - Property Level Entities               None                      -                  -         n/a            n/a                      -
Personal Property Taxes                                     None                      -                  -         n/a                                     -
Other                                                       None                      -                  -         n/a             n/a                     -
  Total State and Local                                     None                  5,161              5,161                         n/a                     -
Total Taxes                                                             $        63,373    $        63,373                                      $          -




                                                   SUMMARY OF UNPAID POSTPETITION DEBTS


                                                                                               Number of Days Past Due
                                                           Current           0-30                31-60          61-90            Over 90             Total
Accounts Payable                                            1,357,109        5,182,303              47,500         79,500            (2,384)         6,664,027
Accrued Professional Fees                                   1,989,140        2,057,156           1,476,990        886,520         3,134,853          9,544,658
           Total Post Petition Accounts Payable**           3,346,249        7,239,458           1,524,490        966,019         3,132,468         16,208,685

DIP Lender Note Payable                                    18,685,684                -                  -                -                  -       18,685,684
Payable to Noteholders***                                        TBD              TBD                TBD              TBD                TBD              TBD


Total Postpetition Debts                              $    22,031,933   $    7,239,458     $     1,524,490   $     966,019   $   3,132,468      $   34,894,369

* The Debtor uses a payroll company. The entire amount required for payroll and taxes is paid by EFT on the payroll pay date.
** Aged Accounts Payable are due to invoices being submitted late, being held for lack of approval to pay, or submitted late due to required court approval and
waiting period. Bills are generally paid within 2 weeks of being submitted for payment. Accrued Professional Fees included in Accounts Payable are aged due
to court-imposed holdbacks.
*** Payables to Noteholders cannot be determined at this time due to lack of reliable data.




      108 of 124                                                                                                                                          MOR-4
                     Case 17-12560-KJC                Doc 3374         Filed 02/04/19          Page 109 of 124


WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                         Case No. 17-12560 (KJC)
(Jointly Administered)                                                                         Reporting Period: 12/31/2018


                           ACCOUNTS RECEIVABLE RECONCILIATION AND AGING*

  Woodbridge Group
  Accounts Receivable Reconciliation*                                                                           Amount
   Total Accounts Receivable at the beginning of the reporting period                                            n/a
     + Amounts billed during the period                                                                          n/a
     - Amounts collected during the period                                                                       n/a
     - Amounts assumed by buyer on sold properties                                                               n/a
   Total Accounts Receivable at the end of the reporting period                                               $      -

  Accounts Receivable Aging*                                                                                    Amount
   0 - 30 days old                                                                                               n/a
   31 - 60 days old                                                                                              n/a
   61 - 90 days old                                                                                              n/a
   91+ days old                                                                                                  n/a
   Total Accounts Receivable                                                                                  $       -
   Amount considered uncollectible (Bad Debt)                                                                    n/a
   Accounts Receivable (Net)                                                                                     n/a
   Miscellaneous Receivables                                                                                  $   202,486 **

  * Woodbridge Group does not have sales, customer billing, or traditional accounts receivable. Woodbridge has sold all
  of it's investment rental properties, so it no longer receives regular rent revenue from properties held for the purpose of
  producing income. Current rent revenue consists of the rents from REO properties and is transitory and unpredictable in
  nature due to disputes with tenants and the expected sale of the properties in the near future. Consequently rent is
  recorded as revenue when it is received.


  **Miscellaneious Receivables at 12/31/2018 consist of $52,486 due from one of the bankruptcy retained professionals,
  and $150,000 due from the Woodbridge Wind Down Entity, for a total balance of $202,486.

  Pursuant to an analysis of professional fees paid in this matter it was determined that one of the bankruptcy retained
  professionals (Gibson Dunn) was paid $52,486 in excess of their agreed upon fee cap. The amount is expected to be
  paid back by the end of January, 2019.
  Woodbridge Group paid to First Republic Bank a loan commitment fee of $150K for a revolving line of credit that will
  be offered by the bank to the Woodbridge Wind Down Entity. Since the Wind Down Entity is the beneficiary of these
  services, the payment has been recorded as a Miscellaneous Receivable. This asset will be transferred to the
  Woodbridge Wind Down Entity on the effective date.




   109 of 124                                                                                                                   MOR-5a
                                                 Case 17-12560-KJC                            Doc 3374             Filed 02/04/19                    Page 110 of 124


WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                                                                                                    Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                                                                                                                    Reporting Period: 12/31/2018
          DEBTOR QUESTIONNAIRE
                                                          1) Have any assets been sold or     2) Have any funds been disbursed    3) Have all postpetition tax   4) Are workers                  5) Has any bank account been opened
                                                          transferred outside the normal      from any account other than a       returns been timely filed?     compensation, general           during the reporting period? If yes,
                                                          course of business this reporting   debtor in possession account this   If no, provide an              liability and other necessary   provide documentation identifying the
                                                          period? If yes, provide an          reporting period? If yes, provide   explanation below.             insurance coverages in          opened account(s). If an investment
                                                          explanation below.                  an explanation below.                                              effect? If no, provide an       account has been opened provide the
                                                                                                                                                                 explanation below. *            required documentation pursuant to the
                                                                                                                                                                                                 Delaware Local Rule 4001-3.
 #                      Name of Entity          Case #
 1     Woodbridge Group of Companies, LLC      17-12560                  No                                  No                               Yes                           Note 1.                                No
 2     215 North 12th Street, LLC              17-12561                  No                                  No                               Yes                           Note 1.                                No
 3     Addison Park Investments, LLC           17-12563                  No                                  No                               Yes                           Note 1.                                No
 4     Anchorpoint Investments, LLC            17-12566                  No                                  No                               Yes                           Note 1.                                No
 5     Arborvitae Investments, LLC             17-12572                  No                                  No                               Yes                           Note 1.                                No
 6     Archivolt Investments, LLC              17-12574                  No                                  No                               Yes                           Note 1.                                No
 7     Arlington Ridge Investments, LLC        17-12576                  No                                  No                               Yes                           Note 1.                                No
 8     Arrowpoint Investments, LLC             17-12578                  No                                  No                               Yes                           Note 1.                                No
 9     Baleroy Investments, LLC                17-12580                  No                                  No                               Yes                           Note 1.                                No
 10    Basswood Holding, LLC                   17-12600                  No                                  No                               Yes                           Note 1.                                No
 11    Bay Village Investments, LLC            17-12604                  No                                  No                               Yes                           Note 1.                                No
 12    Bear Brook Investments, LLC             17-12610                  No                                  No                               Yes                           Note 1.                                No
 13    Beech Creek Investments, LLC            17-12616                  No                                  No                               Yes                           Note 1.                                No
 14    Bishop White Investments, LLC           17-12623                  No                                  No                               Yes                           Note 1.                                No
 15    Black Bass Investments, LLC             17-12641                  No                                  No                               Yes                           Note 1.                                No
 16    Black Locust Investments, LLC           17-12648                  No                                  No                               Yes                           Note 1.                                No
 17    Bluff Point Investments, LLC            17-12722                  No                                  No                               Yes                           Note 1.                                No
 18    Bowman Investments, LLC                 17-12753                  No                                  No                               Yes                           Note 1.                                No
 19    Bramley Investments, LLC                17-12769                  No                                  No                               Yes                           Note 1.                                No
 20    Brise Soleil Investments, LLC           17-12762                  No                                  No                               Yes                           Note 1.                                No
 21    Broadsands Investments, LLC             17-12777                  No                                  No                               Yes                           Note 1.                                No
 22    Brynderwen Investments, LLC             17-12793                  No                                  No                               Yes                           Note 1.                                No
 23    Cablestay Investments, LLC              17-12798                  No                                  No                               Yes                           Note 1.                                No
 24    Cannington Investments, LLC             17-12803                  No                                  No                               Yes                           Note 1.                                No
 25    Carbondale Doocy, LLC                   17-12805                  No                                  No                               Yes                           Note 1.                                No
 26    Carbondale Glen Lot A-5, LLC            17-12807                  No                                  No                               Yes                           Note 1.                                No
 27    Carbondale Glen Lot D-22, LLC           17-12809                  No                                  No                               Yes                           Note 1.                                No
 28    Carbondale Glen Lot E-24, LLC           17-12811                  No                                  No                               Yes                           Note 1.                                No
 29    Carbondale Glen Lot GV-13, LLC          17-12813                  No                                  No                               Yes                           Note 1.                                No
 30    Carbondale Glen Lot SD-14, LLC          17-12817                  No                                  No                               Yes                           Note 1.                                No
 31    Carbondale Glen Lot SD-23, LLC          17-12815                  No                                  No                               Yes                           Note 1.                                No
 32    Carbondale Glen Mesa Lot 19, LLC        17-12819                  No                                  No                               Yes                           Note 1.                                No
 33    Carbondale Glen River Mesa, LLC         17-12820                  No                                  No                               Yes                           Note 1.                                No
 34    Carbondale Glen Sundance Ponds, LLC     17-12822                  No                                  No                               Yes                           Note 1.                                No
 35    Carbondale Glen Sweetgrass Vista, LLC   17-12564                  No                                  No                               Yes                           Note 1.                                No
 36    Carbondale Spruce 101, LLC              17-12568                  No                                  No                               Yes                           Note 1.                                No
 37    Carbondale Sundance Lot 15, LLC         17-12569                  No                                  No                               Yes                           Note 1.                                No
 38    Carbondale Sundance Lot 16, LLC         17-12570                  No                                  No                               Yes                           Note 1.                                No
 39    Castle Pines Investments, LLC           17-12581                  No                                  No                               Yes                           Note 1.                                No
 40    Centershot Investments, LLC             17-12586                  No                                  No                               Yes                           Note 1.                                No
 41    Chaplin Investments, LLC                17-12592                  No                                  No                               Yes                           Note 1.                                No
 42    Chestnut Investments, LLC               17-12603                  No                                  No                               Yes                           Note 1.                                No
 43    Chestnut Ridge Investments, LLC         17-12614                  No                                  No                               Yes                           Note 1.                                No




      110 of 124                                                                                                                                                                                                                   MOR-5b
                                                   Case 17-12560-KJC                            Doc 3374             Filed 02/04/19                    Page 111 of 124


WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                                                                                                      Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                                                                                                                      Reporting Period: 12/31/2018
          DEBTOR QUESTIONNAIRE
                                                            1) Have any assets been sold or     2) Have any funds been disbursed    3) Have all postpetition tax   4) Are workers                  5) Has any bank account been opened
                                                            transferred outside the normal      from any account other than a       returns been timely filed?     compensation, general           during the reporting period? If yes,
                                                            course of business this reporting   debtor in possession account this   If no, provide an              liability and other necessary   provide documentation identifying the
                                                            period? If yes, provide an          reporting period? If yes, provide   explanation below.             insurance coverages in          opened account(s). If an investment
                                                            explanation below.                  an explanation below.                                              effect? If no, provide an       account has been opened provide the
                                                                                                                                                                   explanation below. *            required documentation pursuant to the
                                                                                                                                                                                                   Delaware Local Rule 4001-3.
 #                      Name of Entity            Case #
 44    Clover Basin Investments, LLC             17-12621                  No                                  No                               Yes                           Note 1.                                No
 45    Coffee Creek Investments, LLC             17-12627                  No                                  No                               Yes                           Note 1.                                No
 46    Craven Investments, LLC                   17-12636                  No                                  No                               Yes                           Note 1.                                No
 47    Crossbeam Investments, LLC                17-12650                  No                                  No                               Yes                           Note 1.                                No
 48    Crowfield Investments, LLC                17-12660                  No                                  No                               Yes                           Note 1.                                No
 49    Crystal Valley Holdings, LLC              17-12666                  No                                  No                               Yes                           Note 1.                                No
 50    Crystal Woods Investments, LLC            17-12676                  No                                  No                               Yes                           Note 1.                                No
 51    Cuco Settlement, LLC                      17-12679                  No                                  No                               Yes                           Note 1.                                No
 52    Daleville Investments, LLC                17-12687                  No                                  No                               Yes                           Note 1.                                No
 53    Derbyshire Investments, LLC               17-12696                  No                                  No                               Yes                           Note 1.                                No
 54    Diamond Cove Investments, LLC             17-12705                  No                                  No                               Yes                           Note 1.                                No
 55    Dixville Notch Investments, LLC           17-12716                  No                                  No                               Yes                           Note 1.                                No
 56    Dogwood Valley Investments, LLC           17-12727                  No                                  No                               Yes                           Note 1.                                No
 57    Dollis Brook Investments, LLC             17-12735                  No                                  No                               Yes                           Note 1.                                No
 58    Donnington Investments, LLC               17-12744                  No                                  No                               Yes                           Note 1.                                No
 59    Doubleleaf Investments, LLC               17-12755                  No                                  No                               Yes                           Note 1.                                No
 60    Drawspan Investments, LLC                 17-12767                  No                                  No                               Yes                           Note 1.                                No
 61    Eldredge Investments, LLC                 17-12775                  No                                  No                               Yes                           Note 1.                                No
 62    Elstar Investments, LLC                   17-12782                  No                                  No                               Yes                           Note 1.                                No
 63    Emerald Lake Investments, LLC             17-12788                  No                                  No                               Yes                           Note 1.                                No
 64    Fieldpoint Investments, LLC               17-12794                  No                                  No                               Yes                           Note 1.                                No
 65    Franconia Notch Investments, LLC          17-12797                  No                                  No                               Yes                           Note 1.                                No
 66    Gateshead Investments, LLC                17-12597                  No                                  No                               Yes                           Note 1.                                No
 67    Glenn Rich Investments, LLC               17-12602                  No                                  No                               Yes                           Note 1.                                No
 68    Goose Rocks Investments, LLC              17-12611                  No                                  No                               Yes                           Note 1.                                No
 69    Goosebrook Investments, LLC               17-12617                  No                                  No                               Yes                           Note 1.                                No
 70    Graeme Park Investments, LLC              17-12622                  No                                  No                               Yes                           Note 1.                                No
 71    Grand Midway Investments, LLC             17-12628                  No                                  No                               Yes                           Note 1.                                No
 72    Gravenstein Investments, LLC              17-12632                  No                                  No                               Yes                           Note 1.                                No
 73    Green Gables Investments, LLC             17-12637                  No                                  No                               Yes                           Note 1.                                No
 74    Grenadier Investments, LLC                17-12643                  No                                  No                               Yes                           Note 1.                                No
 75    Grumblethorpe Investments, LLC            17-12649                  No                                  No                               Yes                           Note 1.                                No
 76    H11 Silk City Holding Company, LLC        17-12833                  No                                  No                               Yes                           Note 1.                                No
 77    H12 White Birch Holding Company, LLC      17-12699                  No                                  No                               Yes                           Note 1.                                No
 78    H13 Bay Village Holding Company, LLC      17-12591                  No                                  No                               Yes                           Note 1.                                No
 79    H14 Dixville Notch Holding Company, LLC   17-12712                  No                                  No                               Yes                           Note 1.                                No
 80    H15 Bear Brook Holding Company, LLC       17-12607                  No                                  No                               Yes                           Note 1.                                No
 81    H16 Monadnock Holding Company, LLC        17-12678                  No                                  No                               Yes                           Note 1.                                No
 82    H17 Pemigewasset Holding Company, LLC     17-12799                  No                                  No                               Yes                           Note 1.                                No
 83    H19 Emerald Lake Holding Company, LLC     17-12785                  No                                  No                               Yes                           Note 1.                                No
 84    H2 Arlington Ridge Holding Company, LLC   17-12575                  No                                  No                               Yes                           Note 1.                                No
 85    H20 Bluff Point Holding Company, LLC      17-12715                  No                                  No                               Yes                           Note 1.                                No




      111 of 124                                                                                                                                                                                                                     MOR-5b
                                                    Case 17-12560-KJC                             Doc 3374             Filed 02/04/19                    Page 112 of 124


WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                                                                                                        Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                                                                                                                        Reporting Period: 12/31/2018
           DEBTOR QUESTIONNAIRE
                                                              1) Have any assets been sold or     2) Have any funds been disbursed    3) Have all postpetition tax   4) Are workers                  5) Has any bank account been opened
                                                              transferred outside the normal      from any account other than a       returns been timely filed?     compensation, general           during the reporting period? If yes,
                                                              course of business this reporting   debtor in possession account this   If no, provide an              liability and other necessary   provide documentation identifying the
                                                              period? If yes, provide an          reporting period? If yes, provide   explanation below.             insurance coverages in          opened account(s). If an investment
                                                              explanation below.                  an explanation below.                                              effect? If no, provide an       account has been opened provide the
                                                                                                                                                                     explanation below. *            required documentation pursuant to the
                                                                                                                                                                                                     Delaware Local Rule 4001-3.
  #                     Name of Entity              Case #
 86     H21 Summerfree Holding Company, LLC        17-12631                  No                                  No                               Yes                           Note 1.                                No
 87     H22 Papirovka Holding Company, LLC        17-12770                   No                                  No                               Yes                           Note 1.                                No
 88     H23 Pinova Holding Company, LLC           17-12810                   No                                  No                               Yes                           Note 1.                                No
 89     H24 Stayman Holding Company, LLC           17-12590                  No                                  No                               Yes                           Note 1.                                No
 90     H25 Elstar Holding Company, LLC           17-12779                   No                                  No                               Yes                           Note 1.                                No
 91     H26 Gravenstein Holding Company, LLC      17-12630                   No                                  No                               Yes                           Note 1.                                No
 92     H27 Grenadier Holding Company, LLC         17-12642                  No                                  No                               Yes                           Note 1.                                No
 93     H28 Black Locust Holding Company, LLC     17-12647                   No                                  No                               Yes                           Note 1.                                No
 94     H29 Zestar Holding Company, LLC           17-12789                   No                                  No                               Yes                           Note 1.                                No
 95     H30 Silver Maple Holding Company, LLC     17-12835                   No                                  No                               Yes                           Note 1.                                No
 96     H31 Addison Park Holding Company, LLC     17-12562                   No                                  No                               Yes                           Note 1.                                No
 97     H32 Arborvitae Holding Company, LLC       17-12567                   No                                  No                               Yes                           Note 1.                                No
 98     H35 Hornbeam Holding Company, LLC         17-12691                   No                                  No                               Yes                           Note 1.                                No
 99     H36 Sturmer Pippin Holding Company, LLC   17-12625                   No                                  No                               Yes                           Note 1.                                No
 100    H37 Idared Holding Company, LLC            17-12697                  No                                  No                               Yes                           Note 1.                                No
 101    H38 Mutsu Holding Company, LLC             17-12711                  No                                  No                               Yes                           Note 1.                                No
 102    H39 Haralson Holding Company, LLC         17-12661                   No                                  No                               Yes                           Note 1.                                No
 103    H4 Pawtuckaway Holding Company, LLC        17-12778                  No                                  No                               Yes                           Note 1.                                No
 104    H40 Bramley Holding Company, LLC          17-12766                   No                                  No                               Yes                           Note 1.                                No
 105    H41 Grumblethorpe Holding Company, LLC    17-12646                   No                                  No                               Yes                           Note 1.                                No
 106    H43 Lenni Heights Holding Company, LLC     17-12717                  No                                  No                               Yes                           Note 1.                                No
 107    H44 Green Gables Holding Company, LLC     17-12634                   No                                  No                               Yes                           Note 1.                                No
 108    H46 Beech Creek Holding Company, LLC      17-12612                   No                                  No                               Yes                           Note 1.                                No
 109    H47 Summit Cut Holding Company, LLC       17-12638                   No                                  No                               Yes                           Note 1.                                No
 110    H49 Bowman Holding Company, LLC           17-12725                   No                                  No                               Yes                           Note 1.                                No
 111    H5 Chestnut Ridge Holding Company, LLC    17-12608                   No                                  No                               Yes                           Note 1.                                No
 112    H51 Old Carbon Holding Company, LLC       17-12738                   No                                  No                               Yes                           Note 1.                                No
 113    H52 Willow Grove Holding Company, LLC     17-12729                   No                                  No                               Yes                           Note 1.                                No
 114    H53 Black Bass Holding Company, LLC       17-12639                   No                                  No                               Yes                           Note 1.                                No
 115    H54 Seven Stars Holding Company, LLC      17-12831                   No                                  No                               Yes                           Note 1.                                No
 116    H55 Old Maitland Holding Company, LLC     17-12747                   No                                  No                               Yes                           Note 1.                                No
 117    H56 Craven Holding Company, LLC           17-12633                   No                                  No                               Yes                           Note 1.                                No
 118    H58 Baleroy Holding Company, LLC          17-12579                   No                                  No                               Yes                           Note 1.                                No
 119    H59 Rising Sun Holding Company, LLC       17-12827                   No                                  No                               Yes                           Note 1.                                No
 120    H6 Lilac Meadow Holding Company, LLC      17-12724                   No                                  No                               Yes                           Note 1.                                No
 121    H60 Moravian Holding Company, LLC         17-12686                   No                                  No                               Yes                           Note 1.                                No
 122    H61 Grand Midway Holding Company, LLC     17-12626                   No                                  No                               Yes                           Note 1.                                No
 123    H65 Thornbury Farm Holding Company, LLC   17-12644                   No                                  No                               Yes                           Note 1.                                No
 124    H66 Heilbron Manor Holding Company, LLC   17-12677                   No                                  No                               Yes                           Note 1.                                No
 125    H68 Graeme Park Holding Company, LLC      17-12620                   No                                  No                               Yes                           Note 1.                                No
 126    H7 Dogwood Valley Holding Company, LLC    17-12721                   No                                  No                               Yes                           Note 1.                                No
 127    H70 Bishop White Holding Company, LLC     17-12619                   No                                  No                               Yes                           Note 1.                                No




       112 of 124                                                                                                                                                                                                                      MOR-5b
                                                      Case 17-12560-KJC                            Doc 3374             Filed 02/04/19                    Page 113 of 124


WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                                                                                                         Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                                                                                                                         Reporting Period: 12/31/2018
           DEBTOR QUESTIONNAIRE
                                                               1) Have any assets been sold or     2) Have any funds been disbursed    3) Have all postpetition tax   4) Are workers                  5) Has any bank account been opened
                                                               transferred outside the normal      from any account other than a       returns been timely filed?     compensation, general           during the reporting period? If yes,
                                                               course of business this reporting   debtor in possession account this   If no, provide an              liability and other necessary   provide documentation identifying the
                                                               period? If yes, provide an          reporting period? If yes, provide   explanation below.             insurance coverages in          opened account(s). If an investment
                                                               explanation below.                  an explanation below.                                              effect? If no, provide an       account has been opened provide the
                                                                                                                                                                      explanation below. *            required documentation pursuant to the
                                                                                                                                                                                                      Delaware Local Rule 4001-3.
  #                     Name of Entity                Case #
 128    H74 Imperial Aly Holding Company, LLC       17-12704                  No                                  No                               Yes                           Note 1.                                No
 129    H76 Diamond Cove Holding Company, LLC       17-12700                  No                                  No                               Yes                           Note 1.                                No
 130    H8 Melody Lane Holding Company, LLC         17-12756                  No                                  No                               Yes                           Note 1.                                No
 131    H9 Strawberry Fields Holding Company, LLC   17-12609                  No                                  No                               Yes                           Note 1.                                No
 132    Hackmatack Investments, LLC                 17-12653                  No                                  No                               Yes                           Note 1.                                No
 133    Haffenburg Investments, LLC                 17-12659                  No                                  No                               Yes                           Note 1.                                No
 134    Haralson Investments, LLC                   17-12663                  No                                  No                               Yes                           Note 1.                                No
 135    Harringworth Investments, LLC               17-12669                  No                                  No                               Yes                           Note 1.                                No
 136    Hazelpoint Investments, LLC                 17-12674                  No                                  No                               Yes                           Note 1.                                No
 137    Heilbron Manor Investments, LLC             17-12681                  No                                  No                               Yes                           Note 1.                                No
 138    Hollyline Holdings, LLC                     17-12684                  No                                  No                               Yes                           Note 1.                                No
 139    Hollyline Owners, LLC                       17-12688                  No                                  No                               Yes                           Note 1.                                No
 140    Hornbeam Investments, LLC                   17-12694                  No                                  No                               Yes                           Note 1.                                No
 141    Idared Investments, LLC                     17-12701                  No                                  No                               Yes                           Note 1.                                No
 142    Imperial Aly Investments, LLC               17-12708                  No                                  No                               Yes                           Note 1.                                No
 143    Ironsides Investments, LLC                  17-12714                  No                                  No                               Yes                           Note 1.                                No
 144    Lenni Heights Investments, LLC              17-12720                  No                                  No                               Yes                           Note 1.                                No
 145    Lilac Meadow Investments, LLC               17-12728                  No                                  No                               Yes                           Note 1.                                No
 146    Lincolnshire Investments, LLC               17-12733                  No                                  No                               Yes                           Note 1.                                No
 147    Lonetree Investments, LLC                   17-12740                  No                                  No                               Yes                           Note 1.                                No
 148    Longbourn Investments, LLC                  17-12746                  No                                  No                               Yes                           Note 1.                                No
 149    M10 Gateshead Holding Company, LLC          17-12593                  No                                  No                               Yes                           Note 1.                                No
 150    M11 Anchorpoint Holding Company, LLC        17-12565                  No                                  No                               Yes                           Note 1.                                No
 151    M13 Cablestay Holding Company, LLC          17-12795                  No                                  No                               Yes                           Note 1.                                No
 152    M14 Crossbeam Holding Company, LLC          17-12645                  No                                  No                               Yes                           Note 1.                                No
 153    M15 Doubleleaf Holding Company, LLC         17-12749                  No                                  No                               Yes                           Note 1.                                No
 154    M17 Lincolnshire Holding Company, LLC       17-12730                  No                                  No                               Yes                           Note 1.                                No
 155    M19 Arrowpoint Holding Company, LLC         17-12577                  No                                  No                               Yes                           Note 1.                                No
 156    M22 Drawspan Holding Company, LLC           17-12764                  No                                  No                               Yes                           Note 1.                                No
 157    M24 Fieldpoint Holding Company, LLC         17-12791                  No                                  No                               Yes                           Note 1.                                No
 158    M25 Centershot Holding Company, LLC         17-12583                  No                                  No                               Yes                           Note 1.                                No
 159    M26 Archivolt Holding Company, LLC          17-12573                  No                                  No                               Yes                           Note 1.                                No
 160    M27 Brise Soleil Holding Company, LLC       17-12760                  No                                  No                               Yes                           Note 1.                                No
 161    M28 Broadsands Holding Company, LLC         17-12773                  No                                  No                               Yes                           Note 1.                                No
 162    M29 Brynderwen Holding Company, LLC         17-12781                  No                                  No                               Yes                           Note 1.                                No
 163    M31 Cannington Holding Company, LLC         17-12801                  No                                  No                               Yes                           Note 1.                                No
 164    M32 Dollis Brook Holding Company, LLC       17-12731                  No                                  No                               Yes                           Note 1.                                No
 165    M33 Harringworth Holding Company, LLC       17-12667                  No                                  No                               Yes                           Note 1.                                No
 166    M34 Quarterpost Holding Company, LLC        17-12814                  No                                  No                               Yes                           Note 1.                                No
 167    M36 Springline Holding Company, LLC         17-12584                  No                                  No                               Yes                           Note 1.                                No
 168    M37 Topchord Holding Company, LLC           17-12662                  No                                  No                               Yes                           Note 1.                                No




       113 of 124                                                                                                                                                                                                                       MOR-5b
                                                      Case 17-12560-KJC                            Doc 3374             Filed 02/04/19                    Page 114 of 124


WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                                                                                                         Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                                                                                                                         Reporting Period: 12/31/2018
           DEBTOR QUESTIONNAIRE
                                                               1) Have any assets been sold or     2) Have any funds been disbursed    3) Have all postpetition tax   4) Are workers                  5) Has any bank account been opened
                                                               transferred outside the normal      from any account other than a       returns been timely filed?     compensation, general           during the reporting period? If yes,
                                                               course of business this reporting   debtor in possession account this   If no, provide an              liability and other necessary   provide documentation identifying the
                                                               period? If yes, provide an          reporting period? If yes, provide   explanation below.             insurance coverages in          opened account(s). If an investment
                                                               explanation below.                  an explanation below.                                              effect? If no, provide an       account has been opened provide the
                                                                                                                                                                      explanation below. *            required documentation pursuant to the
                                                                                                                                                                                                      Delaware Local Rule 4001-3.
  #                     Name of Entity                Case #
 169    M38 Pemberley Holding Company, LLC          17-12787                  No                                  No                               Yes                           Note 1.                                No
 170    M39 Derbyshire Holding Company, LLC         17-12692                  No                                  No                               Yes                           Note 1.                                No
 171    M40 Longbourn Holding Company, LLC          17-12742                  No                                  No                               Yes                           Note 1.                                No
 172    M41 Silverthorne Holding Company, LLC       17-12838                  No                                  No                               Yes                           Note 1.                                No
 173    M43 White Dome Holding Company, LLC         17-12706                  No                                  No                               Yes                           Note 1.                                No
 174    M44 Wildernest Holding Company, LLC         17-12718                  No                                  No                               Yes                           Note 1.                                No
 175    M45 Clover Basin Holding Company, LLC       17-12618                  No                                  No                               Yes                           Note 1.                                No
 176    M46 Owl Ridge Holding Company, LLC          17-12759                  No                                  No                               Yes                           Note 1.                                No
 177    M48 Vallecito Holding Company, LLC          17-12670                  No                                  No                               Yes                           Note 1.                                No
 178    M49 Squaretop Holding Company, LLC          17-12588                  No                                  No                               Yes                           Note 1.                                No
 179    M5 Stepstone Holding Company, LLC           17-12601                  No                                  No                               Yes                           Note 1.                                No
 180    M50 Wetterhorn Holding Company, LLC         17-12689                  No                                  No                               Yes                           Note 1.                                No
 181    M51 Coffee Creek Holding Company, LLC       17-12624                  No                                  No                               Yes                           Note 1.                                No
 182    M53 Castle Pines Holding Company, LLC       17-12571                  No                                  No                               Yes                           Note 1.                                No
 183    M54 Lonetree Holding Company, LLC           17-12737                  No                                  No                               Yes                           Note 1.                                No
 184    M56 Haffenburg Holding Company, LLC         17-12656                  No                                  No                               Yes                           Note 1.                                No
 185    M57 Ridgecrest Holding Company, LLC         17-12818                  No                                  No                               Yes                           Note 1.                                No
 186    M60 Thunder Basin Holding Company, LLC      17-12654                  No                                  No                               Yes                           Note 1.                                No
 187    M61 Mineola Holding Company, LLC            17-12668                  No                                  No                               Yes                           Note 1.                                No
 188    M62 Sagebrook Holding Company, LLC          17-12829                  No                                  No                               Yes                           Note 1.                                No
 189    M63 Crowfield Holding Company, LLC          17-12655                  No                                  No                               Yes                           Note 1.                                No
 190    M67 Mountain Spring Holding Company, LLC    17-12695                  No                                  No                               Yes                           Note 1.                                No
 191    M68 Goosebrook Holding Company, LLC         17-12615                  No                                  No                               Yes                           Note 1.                                No
 192    M70 Pinney Holding Company, LLC             17-12806                  No                                  No                               Yes                           Note 1.                                No
 193    M71 Eldredge Holding Company, LLC           17-12771                  No                                  No                               Yes                           Note 1.                                No
 194    M72 Daleville Holding Company, LLC          17-12683                  No                                  No                               Yes                           Note 1.                                No
 195    M73 Mason Run Holding Company, LLC          17-12748                  No                                  No                               Yes                           Note 1.                                No
 196    M74 Varga Holding Company, LLC              17-12680                  No                                  No                               Yes                           Note 1.                                No
 197    M75 Riley Creek Holding Company, LLC        17-12825                  No                                  No                               Yes                           Note 1.                                No
 198    M76 Chaplin Holding Company, LLC            17-12587                  No                                  No                               Yes                           Note 1.                                No
 199    M79 Chestnut Holding Company, LLC           17-12595                  No                                  No                               Yes                           Note 1.                                No
 200    M80 Hazelpoint Holding Company, LLC         17-12672                  No                                  No                               Yes                           Note 1.                                No
 201    M83 Mt. Holly Holding Company, LLC          17-12703                  No                                  No                               Yes                           Note 1.                                No
 202    M85 Glenn Rich Holding Company, LLC         17-12599                  No                                  No                               Yes                           Note 1.                                No
 203    M86 Steele Hill Holding Company, LLC        17-12596                  No                                  No                               Yes                           Note 1.                                No
 204    M87 Hackmatack Hills Holding Company, LLC   17-12652                  No                                  No                               Yes                           Note 1.                                No
 205    M88 Franconia Notch Holding Company, LLC    17-12796                  No                                  No                               Yes                           Note 1.                                No
 206    M9 Donnington Holding Company, LLC          17-12741                  No                                  No                               Yes                           Note 1.                                No
 207    M90 Merrimack Valley Holding Company, LLC   17-12658                  No                                  No                               Yes                           Note 1.                                No
 208    M91 Newville Holding Company, LLC           17-12726                  No                                  No                               Yes                           Note 1.                                No
 209    M92 Crystal Woods Holding Company, LLC      17-12671                  No                                  No                               Yes                           Note 1.                                No
 210    M93 Goose Rocks Holding Company, LLC        17-12605                  No                                  No                               Yes                           Note 1.                                No
 211    M94 Winding Road Holding Company, LLC       17-12736                  No                                  No                               Yes                           Note 1.                                No
 212    M95 Pepperwood Holding Company, LLC         17-12802                  No                                  No                               Yes                           Note 1.                                No



       114 of 124                                                                                                                                                                                                                       MOR-5b
                                               Case 17-12560-KJC                            Doc 3374             Filed 02/04/19                    Page 115 of 124


WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                                                                                                  Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                                                                                                                  Reporting Period: 12/31/2018
           DEBTOR QUESTIONNAIRE
                                                        1) Have any assets been sold or     2) Have any funds been disbursed    3) Have all postpetition tax   4) Are workers                  5) Has any bank account been opened
                                                        transferred outside the normal      from any account other than a       returns been timely filed?     compensation, general           during the reporting period? If yes,
                                                        course of business this reporting   debtor in possession account this   If no, provide an              liability and other necessary   provide documentation identifying the
                                                        period? If yes, provide an          reporting period? If yes, provide   explanation below.             insurance coverages in          opened account(s). If an investment
                                                        explanation below.                  an explanation below.                                              effect? If no, provide an       account has been opened provide the
                                                                                                                                                               explanation below. *            required documentation pursuant to the
                                                                                                                                                                                               Delaware Local Rule 4001-3.
  #                      Name of Entity        Case #
 213    M97 Red Wood Holding Company, LLC    17-12823                  No                                  No                               Yes                           Note 1.                                No
 214    M99 Ironsides Holding Company, LLC   17-12710                  No                                  No                               Yes                           Note 1.                                No
 215    Mason Run Investments, LLC           17-12751                  No                                  No                               Yes                           Note 1.                                No
 216    Melody Lane Investments, LLC         17-12757                  No                                  No                               Yes                           Note 1.                                No
 217    Merrimack Valley Investments, LLC    17-12665                  No                                  No                               Yes                           Note 1.                                No
 218    Mineola Investments, LLC             17-12673                  No                                  No                               Yes                           Note 1.                                No
 219    Monadnock Investments, LLC           17-12682                  No                                  No                               Yes                           Note 1.                                No
 220    Moravian Investments, LLC            17-12690                  No                                  No                               Yes                           Note 1.                                No
 221    Mountain Spring Investments, LLC     17-12698                  No                                  No                               Yes                           Note 1.                                No
 222    Mt. Holly Investments, LLC           17-12707                  No                                  No                               Yes                           Note 1.                                No
 223    Mutsu Investments, LLC               17-12719                  No                                  No                               Yes                           Note 1.                                No
 224    Newville Investments, LLC            17-12734                  No                                  No                               Yes                           Note 1.                                No
 225    Old Carbon Investments, LLC          17-12743                  No                                  No                               Yes                           Note 1.                                No
 226    Old Maitland Investments, LLC        17-12752                  No                                  No                               Yes                           Note 1.                                No
 227    Owl Ridge Investments, LLC           17-12763                  No                                  No                               Yes                           Note 1.                                No
 228    Papirovka Investments, LLC           17-12774                  No                                  No                               Yes                           Note 1.                                No
 229    Pawtuckaway Investments, LLC         17-12783                  No                                  No                               Yes                           Note 1.                                No
 230    Pemberley Investments, LLC           17-12790                  No                                  No                               Yes                           Note 1.                                No
 231    Pemigewasset Investments, LLC        17-12800                  No                                  No                               Yes                           Note 1.                                No
 232    Pepperwood Investments, LLC          17-12804                  No                                  No                               Yes                           Note 1.                                No
 233    Pinney Investments, LLC              17-12808                  No                                  No                               Yes                           Note 1.                                No
 234    Pinova Investments, LLC              17-12812                  No                                  No                               Yes                           Note 1.                                No
 235    Quarterpost Investments, LLC         17-12816                  No                                  No                               Yes                           Note 1.                                No
 236    Red Woods Investments, LLC           17-12824                  No                                  No                               Yes                           Note 1.                                No
 237    Ridgecrest Investments, LLC          17-12821                  No                                  No                               Yes                           Note 1.                                No
 238    Riley Creek Investments, LLC         17-12826                  No                                  No                               Yes                           Note 1.                                No
 239    Rising Sun Investments, LLC          17-12828                  No                                  No                               Yes                           Note 1.                                No
 240    Sagebrook Investments, LLC           17-12830                  No                                  No                               Yes                           Note 1.                                No
 241    Seven Stars Investments, LLC         17-12832                  No                                  No                               Yes                           Note 1.                                No
 242    Silk City Investments, LLC           17-12834                  No                                  No                               Yes                           Note 1.                                No
 243    Silver Maple Investments, LLC        17-12836                  No                                  No                               Yes                           Note 1.                                No
 244    Silverleaf Funding, LLC              17-12837                  No                                  No                               Yes                           Note 1.                                No
 245    Silverthorne Investments, LLC        17-12582                  No                                  No                               Yes                           Note 1.                                No
 246    Springline Investments, LLC          17-12585                  No                                  No                               Yes                           Note 1.                                No
 247    Squaretop Investments, LLC           17-12589                  No                                  No                               Yes                           Note 1.                                No
 248    Stayman Investments, LLC             17-12594                  No                                  No                               Yes                           Note 1.                                No
 249    Steele Hill Investments, LLC         17-12598                  No                                  No                               Yes                           Note 1.                                No
 250    Stepstone Investments, LLC           17-12606                  No                                  No                               Yes                           Note 1.                                No
 251    Strawberry Fields Investments, LLC   17-12613                  No                                  No                               Yes                           Note 1.                                No
 252    Sturmer Pippin Investments, LLC      17-12629                  No                                  No                               Yes                           Note 1.                                No
 253    Summerfree Investments, LLC          17-12635                  No                                  No                               Yes                           Note 1.                                No
 254    Summit Cut Investments, LLC          17-12640                  No                                  No                               Yes                           Note 1.                                No
 255    Thornbury Farm Investments, LLC      17-12651                  No                                  No                               Yes                           Note 1.                                No
 256    Thunder Basin Investments, LLC       17-12657                  No                                  No                               Yes                           Note 1.                                No



       115 of 124                                                                                                                                                                                                                MOR-5b
                                                         Case 17-12560-KJC                             Doc 3374             Filed 02/04/19                    Page 116 of 124


WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                                                                                                             Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                                                                                                                             Reporting Period: 12/31/2018
           DEBTOR QUESTIONNAIRE
                                                                   1) Have any assets been sold or     2) Have any funds been disbursed    3) Have all postpetition tax   4) Are workers                  5) Has any bank account been opened
                                                                   transferred outside the normal      from any account other than a       returns been timely filed?     compensation, general           during the reporting period? If yes,
                                                                   course of business this reporting   debtor in possession account this   If no, provide an              liability and other necessary   provide documentation identifying the
                                                                   period? If yes, provide an          reporting period? If yes, provide   explanation below.             insurance coverages in          opened account(s). If an investment
                                                                   explanation below.                  an explanation below.                                              effect? If no, provide an       account has been opened provide the
                                                                                                                                                                          explanation below. *            required documentation pursuant to the
                                                                                                                                                                                                          Delaware Local Rule 4001-3.
  #                      Name of Entity                  Case #
 257    Topchord Investments, LLC                      17-12664                   No                                  No                               Yes                           Note 1.                                No
 258    Vallecito Investments, LLC                     17-12675                   No                                  No                               Yes                           Note 1.                                No
 259    Varga Investments, LLC                         17-12685                   No                                  No                               Yes                           Note 1.                                No
 260    Wetterhorn Investments, LLC                    17-12693                   No                                  No                               Yes                           Note 1.                                No
 261    White Birch Investments, LLC                   17-12702                   No                                  No                               Yes                           Note 1.                                No
 262    White Dome Investments, LLC                    17-12709                   No                                  No                               Yes                           Note 1.                                No
 263    Whiteacre Funding, LLC                         17-12713                   No                                  No                               Yes                           Note 1.                                No
 264    Wildernest Investments, LLC                    17-12723                   No                                  No                               Yes                           Note 1.                                No
 265    Willow Grove Investments, LLC                  17-12732                   No                                  No                               Yes                           Note 1.                                No
 266    Winding Road Investments, LLC                  17-12739                   No                                  No                               Yes                           Note 1.                                No
 267    WMF Management, LLC                            17-12745                   No                                  No                               Yes                           Note 1.                                No
 268    Woodbridge Capital Investments, LLC            17-12750                   No                                  No                               Yes                           Note 1.                                No
 269    Woodbridge Commercial Bridge Loan Fund 1, LL   17-12754                   No                                  No                               Yes                           Note 1.                                No
 270    Woodbridge Commercial Bridge Loan Fund 2, LL   17-12758                   No                                  No                               Yes                           Note 1.                                No
 271    Woodbridge Investments, LLC                    17-12761                   No                                  No                               Yes                           Note 1.                                No
 272    Woodbridge Mezzanine Fund 1, LLC               17-12765                   No                                  No                               Yes                           Note 1.                                No
 273    Woodbridge Mortgage Investment Fund 1, LLC     17-12768                   No                                  No                               Yes                           Note 1.                                No
 274    Woodbridge Mortgage Investment Fund 2, LLC     17-12772                   No                                  No                               Yes                           Note 1.                                No
 275    Woodbridge Mortgage Investment Fund 3, LLC     17-12776                   No                                  No                               Yes                           Note 1.                                No
 276    Woodbridge Mortgage Investment Fund 3A, LLC    17-12780                   No                                  No                               Yes                           Note 1.                                No
 277    Woodbridge Mortgage Investment Fund 4, LLC      17-12784                  No                                  No                               Yes                           Note 1.                                No
 278    Woodbridge Structured Funding, LLC              17-12786                  No                                  No                               Yes                           Note 1.                                No
 279    Zestar Investments, LLC                        17-12792                   No                                  No                               Yes                           Note 1.                                No
        SECOND ROUND FILERS: FILED 02/09/2018
 280    Carbondale Glen Lot L-2, LLC                   18-10284                   No                                  No                               Yes                           Note 1.                                No
 281    Carbondale Peaks Lot L-1, LLC                  18-10286                   No                                  No                               Yes                           Note 1.                                No
 282    H18 Massabesic Holding Company, LLC            18-10287                   No                                  No                               Yes                           Note 1.                                No
 283    H33 Hawthorn Holding Company, LLC              18-10288                   No                                  No                               Yes                           Note 1.                                No
 284    H50 Sachs Bridge Holding Company, LLC          18-10289                   No                                  No                               Yes                           Note 1.                                No
 285    H64 Pennhurst Holding Company, LLC             18-10290                   No                                  No                               Yes                           Note 1.                                No
 286    Hawthorn Investments, LLC                      18-10291                   No                                  No                               Yes                           Note 1.                                No
 287    Lilac Valley Investments, LLC                  18-10292                   No                                  No                               Yes                           Note 1.                                No
 288    Massabesic Investments, LLC                    18-10293                   No                                  No                               Yes                           Note 1.                                No
 289    M58 Springvale Holding Company, LLC            18-10294                   No                                  No                               Yes                           Note 1.                                No
 290    M96 Lilac Valley Holding Company, LLC          18-10295                   No                                  No                               Yes                           Note 1.                                No
 291    Pennhurst Investments, LLC                     18-10296                   No                                  No                               Yes                           Note 1.                                No
 292    Sachs Bridge Investments, LLC                  18-10297                   No                                  No                               Yes                           Note 1.                                No
 293    Springvale Investments, LLC                    18-10298                   No                                  No                               Yes                           Note 1.                                No
        THIRD ROUND FILERS: FILED 03/09/2018
 294    Bellflower Funding, LLC                        18-10507                   No                                  No                               Yes                           Note 1.                                No
 295    Wall 123, LLC                                  18-10508                   No                                  No                               Yes                           Note 1.                                No




       116 of 124                                                                                                                                                                                                                           MOR-5b
                                                              Case 17-12560-KJC                             Doc 3374             Filed 02/04/19                    Page 117 of 124


WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                                                                                                                  Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                                                                                                                                  Reporting Period: 12/31/2018
            DEBTOR QUESTIONNAIRE
                                                                        1) Have any assets been sold or     2) Have any funds been disbursed    3) Have all postpetition tax   4) Are workers                  5) Has any bank account been opened
                                                                        transferred outside the normal      from any account other than a       returns been timely filed?     compensation, general           during the reporting period? If yes,
                                                                        course of business this reporting   debtor in possession account this   If no, provide an              liability and other necessary   provide documentation identifying the
                                                                        period? If yes, provide an          reporting period? If yes, provide   explanation below.             insurance coverages in          opened account(s). If an investment
                                                                        explanation below.                  an explanation below.                                              effect? If no, provide an       account has been opened provide the
                                                                                                                                                                               explanation below. *            required documentation pursuant to the
                                                                                                                                                                                                               Delaware Local Rule 4001-3.
  #                       Name of Entity                     Case #
         FOURTH ROUND FILERS: FILED 03/23/2018
 296     695 Buggy Circle, LLC                             18-10670                    No                                  No                               Yes                           Note 1.                                No
 297     Buggy Circle Holdings, LLC                        18-10672                    No                                  No                               Yes                           Note 1.                                No
 298     Deerfield Park Investments, LLC                   18-10673                    No                                  No                               Yes                           Note 1.                                No
 299     Kirkstead Investments, LLC                        18-10675                    No                                  No                               Yes                           Note 1.                                No
 300     M16 Kirkstead Holding Company, LLC                18-10676                    No                                  No                               Yes                           Note 1.                                No
 301     H10 Deerfield Park Holding Company, LLC           18-10674                    No                                  No                               Yes                           Note 1.                                No
 302     Blazingstar Funding, LLC                          18-10671                    No                                  No                               Yes                           Note 1.                                No
         FIFTH ROUND FILERS: FILED 03/27/2018
 303     Frog Rock Investments, LLC                        18-10733                    No                                  No                               Yes                           Note 1.                                No
 304     M77 Frog Rock Holding Company, LLC                18-10734                    No                                  No                               Yes                           Note 1.                                No
 305     Mount Washington Investments, LLC                 18-10736                    No                                  No                               Yes                           Note 1.                                No
 306     M89 Mount Washington Holding Company,             18-10735                    No                                  No                               Yes                           Note 1.                                No
         LLC

       * The Debtor has the necessary and adequate workers comp insurance. The Debtor has liability and fire or builders risk insurance on all properties with structures. Properties with structures in California have earthquake insurance.




       117 of 124                                                                                                                                                                                                                                MOR-5b
                                                                    Case 17-12560-KJC                          Doc 3374               Filed 02/04/19                    Page 118 of 124

WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                                                                                                                              Case No. 17-12560 (KJC)
Debtors                                                                                                                                                                                                                              Reporting Period: 12/31/2018
                                                                                                               INSURANCE SCHEDULE
                                                                                                                                                                  Effective   Expiration                                            Current          Coverage
          Name of Debtor / Insured                      Address                                 City   State     Zip       Term              Policy #               Date         Date                    Type of Insurance         Premium           Amount
Dollis Brook Investments, LLC        38 Diamond A Ranch Road                      Carbondale            CO      81623   1 year     O5XV392501                   1/15/2019     2/15/2019    Commercial                          $           365   $       915,497
Whiteacre Funding, LLC               709 S Alamo St                               Refugio                TX     78377   1 year     18LAP752899                  2/22/2018     2/22/2019    Property and Liability (Blanket)    $       11,378    $       450,000
Whiteacre Funding, LLC               277 Broughton Lane                           Villanova             PA      19085   1 year     18LAP752899                  2/22/2018     2/22/2019    Property and Liability (Blanket)    $        22,931   $     2,600,000
Silverleaf Funding, LLC              6502 S Marshfield Ave                        Chicago                IL     60636   1 year     18LAP752899                  2/22/2018     2/22/2019    Property and Liability (Blanket)    $         2,536   $       275,000
Silverleaf Funding, LLC              15635 Dobson Ave.                            Dolton                 IL     60419   1 year     18LAP752899                  2/22/2018     2/22/2019    Property and Liability (Blanket)    $         1,220   $       125,000
Silverleaf Funding, LLC              603 Ridge Road                               Homewood               IL     60430   1 year     18LAP752899                  2/22/2018     2/22/2019    Property and Liability (Blanket)    $         4,115   $       275,000
Silverleaf Funding, LLC              6657 Wabash                                  Chicago                IL     60637   1 year     18LAP752899                  2/22/2018     2/22/2019    Property and Liability (Blanket)    $         1,264   $       130,000
Silverleaf Funding, LLC              7017 South Stewart                           Chicago                IL     60621   1 year     18LAP752899                  2/22/2018     2/22/2019    Property and Liability (Blanket)    $         1,878   $       200,000
Silverleaf Funding, LLC              1468 State Street                            East St. Louis         IL     62205   1 year     18LAP752899                  2/22/2018     2/22/2019    Property and Liability (Blanket)    $        14,964   $     1,000,000
Ironsides Investments, LLC           8607 Honoapilani Hwy                         Lahaina                HI     96761   1 year     18LAP752899                  2/22/2018     2/22/2019    Property and Liability (Blanket)    $           124   $     3,500,000
Ironsides Investments, LLC           211 Barkentine Drive                         Saint Mary's          GA      31158   1 year     18LAP752899                  2/22/2018     2/22/2019    Property and Liability (Blanket)    $         8,793   $       400,000
Bellflower Funding LLC               50 W. 96th St                                New York              Ny      10025   1 year     0799/REO702 Asset # 124297    3/8/2018     2/22/2019    Property And Liability              $           964   $       100,000
Bellflower Funding LLC               5 Ledyard ave                                Cazenovia             NY      13035   1 year     0799/REO702 Asset # 124297    3/8/2018     2/22/2019    Property And Liability              $       10,244    $     1,200,000
Woodbridge Mtg Investments           1042 W 67th St                               Cazenovia             NY      60621   1 year     18LAP752899                   2/22/2018    2/22/2019    Property and Liability (Blanket)    $         3,044   $       295,000
Woodbridge Mtg Investments           1621 W 67th St                               Chicago                IL     60636   1 year     18LAP752899                   2/22/2018    2/22/2019    Property and Liability (Blanket)    $         3,065   $       297,000
Woodbridge Mtg Investments           7719 Lowe Ave                                Chicago                IL     60620   1 year     18LAP752899                   2/22/2018    2/22/2019    Property and Liability (Blanket)    $         3,055   $       296,000
Woodbridge Mtg Investments           6925 S Ada St                                Chicago                IL     60636   1 year     18LAP752899                   2/22/2018    2/22/2019    Property and Liability (Blanket)    $         3,065   $       297,000
Woodbridge Mtg Investments           6718 S Union                                 Chicago                IL     60621   1 year     18LAP752899                   2/22/2018    2/22/2019    Property and Liability (Blanket)    $         2,064   $       200,000
Woodbridge Mtg Investments           7145 S Emerald Ave                           Chicago                IL     60621   1 year     18LAP752899                   2/22/2018    2/22/2019    Property and Liability (Blanket)    $         2,838   $       275,000
Woodbridge Mtg Investments           6050 Hermitage ave                           Chicago                IL     60621   1 year     18LAP752899                   2/22/2018    2/22/2019    Property and Liability (Blanket)    $         2,064   $       200,000
Woodbridge Mtg Investments           6410 S Honore St                             Chicago                IL     60636   1 year     18LAP752899                   2/22/2018    2/22/2019    Property and Liability (Blanket)    $         2,982   $       289,000
Woodbridge Mtg Investments           6600 S Marquette Rd                          Chicago                IL     60637   1 year     18LAP752899                   2/22/2018    2/22/2019    Property and Liability (Blanket)    $         2,219   $       215,000
Woodbridge Mtg Investments           637 E 88th Pl                                Chicago                IL     60619   1 year     18LAP752899                   2/22/2018    2/22/2019    Property and Liability (Blanket)    $         1,806   $       175,000
Woodbridge Mtg Investments           6228 S Artesian Ave                          Chicago                IL     60629   1 year     18LAP752899                   2/22/2018    2/22/2019    Property and Liability (Blanket)    $         1,445   $       140,000
Woodbridge Mtg Investments           24637 S Wildwood Trail                       Crete                  IL     60417   1 year     18LAP752899                   2/22/2018    2/22/2019    Property and Liability (Blanket)    $         2,270   $       220,000
Woodbridge Mtg Investments           1604 A St NE                                 Washington            DC      20002   1 year     18LAP752899                   2/22/2018    2/22/2019    Property and Liability (Blanket)    $       10,320    $     1,000,000
Woodbridge Mtg Investments           4550 Warrensville Center                     Cleveland             OH      44128   1 year     18LAP752899                   2/22/2018    2/22/2019    Property and Liability (Blanket)    $         3,870   $       250,000
Woodbridge Mtg Investments           802 N Wharton St                             El Campo               TX     77437   1 year     18LAP752899                   2/22/2018    2/22/2019    Property and Liability (Blanket)    $         3,741   $       250,000
Woodbridge Mtg Investments           420 NW 5th St                                Evansville             IN     47708   1 year     18LAP752899                   2/22/2018    2/22/2019    Property and Liability (Blanket )   $       52,374    $     3,500,000
Red Woods investments LLC            4494-4496 State Rte 42 N                     Kiamesha Lake         NY      12751   1 year     18LAP752899                   3/20/2018    2/22/2019    Property and Liability (Blanket)    $       11,520    $     1,400,000
Silverleaf Funding, LLC              780 E 164th St                               South Holland          IL     60473   1 year     18LAP752899                   10/3/2018    2/22/2019    Property and Liability (Blanket)    $           964   $       240,000
Bellflower Funding LLC               91 North St                                  Litchfield            CT      16759   1 Year     18LAP752899                  10/23/2018    2/22/2019    Property and Liability (Blanket)    $         5,175   $     1,500,000
Grand Midway Investments, LLC        800 Stradella Rd                             Los Angeles           CA      90077   1 year     PH213188                      2/24/2018    2/24/2019    CPL                                 $           502   $     1,000,000
Carbondale Glen Owners LLC           115 Midland Loop                             Carbondale            CO      81623   1 year     05XT-6720-01-29-CLBP-CO       9/28/2018    2/28/2019    Businessowners                      $           185   $     1,500,000
Cannington Investments, LLC          1118 Tower Rd                                Beverly Hills         CA      90210   6 Months   HGB0129536                    9/3/2018      3/3/2019    Vacant Dwelling                     $         7,764   $     2,700,000
White Birch Investments, LLC         25211 Jim Bridger Rd                         Hidden Hills          CA      91302   1 year     HGB0128076                    3/19/2018    3/19/2019    Builders Risk                       $       19,299    $     5,700,000
Bay Village Investment, LLC          1432 Tanager Way                             Los Angeles           CA      90069   1 year     PH213700                      3/21/2018    3/21/2019    CPL                                 $           502   $     1,000,000
Bluff Point Investments, LLC         9212 Nightingale Dr                          Los Angeles           CA      90069   1 year     HGB0127624                    3/24/2018    3/24/2019    Vacant Dwelling                     $       10,079    $     2,200,000
Winding Road Investments, LLC        10721 Stradella Ct                           Los Angeles           CA      90077   1 year     HGB0127814                    3/28/2018    3/28/2019    Builders Risk (Step Up)             $       71,031    $    13,000,000
White Birch Investments, LLC         25211 Jim Bridger Rd                         Hidden Hills          CA      91302   1 year     VSEQ329528                    4/2/2018      4/2/2019    Earthquake                          $         6,574   $     5,500,000
Willow Grove Investments, LLC        8124 W 3rdSt                                 Los Angeles           CA      90048   1 year     60630-43-22                   4/2/2018      4/2/2019    Commercial                          $         6,981   $     1,500,000
Arborvitae Investments, LLC          43 Indian Paintbrush Aspen Glen Carbondale
                                     CO                                           Carbondale            CO      81623   1 Year     AES105233601                 4/16/2018     4/16/2019    Vacant Land Liability               $         7,957   $     1,000,000
Arrowpoint Investments, LLC          125 River Park Aspen Glen Carbondale CO
                                                                                  Carbondale            CO      81623   1 year     AES105233601                 4/16/2018     4/16/2019    Vacant Land Liability               Blanket           $     1,000,000
Bear Brook Investments, LLC          TBD Spire Ridge Way - Lot H-10, Aspen Glen
                                     Filing No. 6 Aspen Glen Carbondale CO
                                                                                  Carbondale            CO      81623   1 Year     AES105233601                 4/16/2018     4/16/2019    Vacant Land Liability               Blanket           $     1,000,000
Black Bass Investments, LLC          TBD Sweetgrass - Lot D-20, Aspen Glen Filing
                                     No. 1 Aspen Glen Carbondale CO               Carbondale            CO      81623   1 Year     AES105233601                 4/16/2018     4/16/2019    Vacant Land Liability               Blanket           $     1,000,000
                                     TBD Brookie, Aspen Glen Carbondale CO Lot
Black Locust Investments, LLC
                                     RFM - 12                                     Carbondale            CO      81623   1 Year     AES105233601                 4/16/2018     4/16/2019    Vacant Land Liability               Blanket           $     1,000,000
Bowman Investments, LLC              TBD Golden Bear - Lot 15, The Fairways at
                                     Aspen Glen Aspen Glen Carbondale CO
                                                                                  Carbondale            CO      81623   1 Year     AES105233601                 4/16/2018     4/16/2019    Vacant Land Liability               Blanket           $     1,000,000
Bramley Investments, LLC             719-761 Perry Ridge Carbondale CO Lots 9,
                                     10, 11, 12 and 13 Block V RVR Phase 8 (5
                                     Lots)                                        Carbondale            CO      81623   1 Year     AES105233601                 4/16/2018     4/16/2019    Vacant Land Liability               Blanket           $     1,000,000
Brise Soleil Investments, LLC        TBD East Diamond A Ranch Road Lot E-33
                                                                                  Carbondale            CO      81623   1 Year     AES105233601                 4/16/2018     4/16/2019    Vacant Land Liability               Blanket           $     1,000,000
Brise Soleil Investments, LLC        TBD Midland Loop [Lots near house] Aspen
                                     Glen Carbondale CO Lot WP-4                  Carbondale            CO      81623   1 Year     AES105233601                 4/16/2018     4/16/2019    Vacant Land Liability               Blanket           $     1,000,000
Broadsands Investments, LLC          TBD Sundance Trail - Lots SD-7, SD-13 and
                                     SD-24, Aspen Glen Filing 4 Aspen Glen
                                     Carbondale CO (3 Lots)                       Carbondale            CO      81623   1 Year     AES105233601                 4/16/2018     4/16/2019    Vacant Land Liability               Blanket           $     1,000,000




       118 of 124                                                                                                                                                                                                                                            Insurance
                                                                     Case 17-12560-KJC                       Doc 3374              Filed 02/04/19           Page 119 of 124

WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                                                                                                           Case No. 17-12560 (KJC)
Debtors                                                                                                                                                                                                           Reporting Period: 12/31/2018
                                                                                                             INSURANCE SCHEDULE
                                                                                                                                                    Effective   Expiration                                       Current         Coverage
       Name of Debtor / Insured                          Address                              City   State     Zip       Term            Policy #     Date        Date                    Type of Insurance     Premium          Amount
Carbondale Glen Lot E-24, LLC         225 Diamond A Ranch Road Aspen Glen
                                      Carbondale CO                                Carbondale         CO      81623   1 Year    AES105233601        4/16/2018   4/16/2019    Vacant Land Liability            Blanket        $     1,000,000
Carbondale Glen Lot GV-13, LLC        TBD Mariposa - Lot GV-13, Aspen Glen Filing
                                      2 Aspen Glen Carbondale CO                   Carbondale         CO      81623   1 Year    AES105233601        4/16/2018   4/16/2019    Vacant Land Liability            Blanket        $     1,000,000
Carbondale Glen Lot SD-14, LLC        TBD Sundance Trail - Lot SD-14, Aspen Glen
                                      Filing 4 Aspen Glen Carbondale CO
                                                                                   Carbondale         CO      81623   1 Year    AES105233601        4/16/2018   4/16/2019    Vacant Land Liability            Blanket        $     1,000,000
Carbondale Glen Mesa Lot 19, LLC      TBD Golden Stone Drive Aspen Glen
                                      Carbondale CO                                Carbondale         CO      81623   1 Year    AES105233601        4/16/2018   4/16/2019    Vacant Land Liability            Blanket        $     1,000,000
Carbondale Glen Sundance Ponds, LLC   TBD Bald Eagle Way/Sundance Trail Aspen
                                      Glen Carbondale CO Lot SD-2, SD-3, SD-4, SD-
                                      5, SD-6, SD-20                               Carbondale         CO      81623   1 Year    AES105233601        4/16/2018   4/16/2019    Vacant Land Liability            Blanket        $     1,000,000
Carbondale Sundance Lot 15, LLC       TBD Sundance Trail - Lot SD-15, Aspen Glen
                                      Filing 4 Aspen Glen Carbondale CO
                                                                                   Carbondale         CO      81623   1 Year    AES105233601        4/16/2018   4/16/2019    Vacant Land Liability            Blanket        $     1,000,000
Carbondale Sundance Lot 16, LLC       TBD Sundance Trail - Lot SD-16, Aspen Glen
                                      Filing 4 Aspen Glen Carbondale CO
                                                                                   Carbondale         CO      81623   1 Year    AES105233601        4/16/2018   4/16/2019    Vacant Land Liability            Blanket        $     1,000,000
Castle Pines Investments, LLC         34 Mariposa Aspen Glen Carbondale CO         Carbondale         CO      81623   1 Year    AES105233601        4/16/2018   4/16/2019    Vacant Land Liability            Blanket        $     1,000,000
Chaplin Investments, LLC              TBD Golden Stone Drive - Lot 13, Roaring
                                      Fork Mesa at Aspen Glen Aspen Glen
                                      Carbondale CO                                Carbondale         CO      81623   1 Year    AES105233601        4/16/2018   4/16/2019    Vacant Land Liability            Blanket        $     1,000,000
Coffee Creek Investments, LLC         82 Fox Prowl Aspen Glen Carbondale CO
                                                                                   Carbondale         CO      81623   1 Year    AES105233601        4/16/2018   4/16/2019    Vacant Land Liability            Blanket        $     1,000,000
Crystal Woods Investments, LLC        16 Puma Aspen Glen Carbondale CO             Carbondale         CO      81623   1 Year    AES105233601        4/16/2018   4/16/2019    Vacant Land Liability            Blanket        $     1,000,000
Daleville Investments, LLC            39 Buffalo Lane Aspen Glen Carbondale CO
                                                                                   Carbondale         CO      81623   1 Year    AES105233601        4/16/2018   4/16/2019    Vacant Land Liability            Blanket        $     1,000,000
Dixville Notch Investments, LLC       177 W. Diamond A Ranch Road Aspen Glen
                                      Carbondale CO                                Carbondale         CO      81623   1 Year    AES105233601        4/16/2018   4/16/2019    Vacant Land Liability            Blanket        $     1,000,000
Dogwood Valley Investments, LLC       Lot WP3, Garfield CO                         Garfield           CO              1 Year    AES105233601        4/16/2018   4/16/2019    Vacant Land Liability            Blanket        $     1,000,000
Franconia Notch Investments, LLC      TBD Wader Lane, Lot 54, Roaring Fork Mesa
                                      Aspen Glen Carbondale CO                     Carbondale         CO      81623   1 Year    AES105233601        4/16/2018   4/16/2019    Vacant Land Liability            Blanket        $     1,000,000
Glenn Rich Investments, LLC           4123 Crystal Bridge Drive Carbondale CO
                                                                                   Carbondale         CO      81623   1 Year    AES105233601        4/16/2018   4/16/2019    Vacant Land Liability            Blanket        $     1,000,000
Grenadier Investments, LLC            TBD Sundance Trail, Lot SD-12, Aspen Glen
                                      Aspen Glen Carbondale CO                     Carbondale         CO      81623   1 Year    AES105233601        4/16/2018   4/16/2019    Vacant Land Liability            Blanket        $     1,000,000
Grumblethorpe Investments, LLC        61 Wader Aspen Glen Carbondale CO            Carbondale         CO      81623   1 Year    AES105233601        4/16/2018   4/16/2019    Vacant Land Liability            Blanket        $     1,000,000
Haralson Investments, LLC             245 Midland Loop - Lot L20, Aspen Glen
                                      Filing No. 3 Aspen Glen Carbondale CO        Carbondale         CO      81623   1 Year    AES105233601        4/16/2018   4/16/2019    Vacant Land Liability            Blanket        $     1,000,000
Lonetree Investments, LLC             TBD Wader, Lot 53, Roaring Fork Mesa
                                      Aspen Glen Carbondale CO                     Carbondale         CO      81623   1 Year    AES105233601        4/16/2018   4/16/2019    Vacant Land Liability            Blanket        $     1,000,000
Melody Lane Investments, LLC          19 Sage Court Aspen Glen Carbondale CO
                                                                                   Carbondale         CO      81623   1 Year    AES105233601        4/16/2018   4/16/2019    Vacant Land Liability            Blanket        $     1,000,000
Mineola Investments, LLC              67 Puma Aspen Glen Carbondale CO             Carbondale         CO      81623   1 Year    AES105233601        4/16/2018   4/16/2019    Vacant Land Liability            Blanket        $     1,000,000
Monadnock Investments, LLC            336 Golden Stone Aspen Glen Carbondale
                                      CO                                           Carbondale         CO      81623   1 Year    AES105233601        4/16/2018   4/16/2019    Vacant Land Liability            Blanket        $     1,000,000
Old Carbon Investments, LLC           43 Puma Aspen Glen Carbondale CO             Carbondale         CO      81623   1 Year    AES105233601        4/16/2018   4/16/2019    Vacant Land Liability            Blanket        $     1,000,000
Papirovka Investments, LLC            478 W. Diamond A Ranch Road Aspen Glen
                                      Carbondale CO                                Carbondale         CO      81623   1 Year    AES105233601        4/16/2018   4/16/2019    Vacant Land Liability            Blanket        $     1,000,000
Pemigewasset Investments, LLC         324 Golden Stone Aspen Glen Carbondale
                                      CO                                           Carbondale         CO      81623   1 Year    AES105233601        4/16/2018   4/16/2019    Vacant Land Liability            Blanket        $     1,000,000
Pinova Investments, LLC               0241 Rivers Bend Road Aspen Glen
                                      Carbondale CO                                Carbondale         CO      81623   1 Year    AES105233601        4/16/2018   4/16/2019    Vacant Land Liability            Blanket        $     1,000,000
Ridgecrest Investments, LLC           0057 W Diamond A Ranch Road Aspen Glen
                                      Carbondale CO                                Carbondale         CO      81623   1 Year    AES105233601        4/16/2018   4/16/2019    Vacant Land Liability            Blanket        $     1,000,000
Stayman Investments, LLC              TBD Horseshoe - Lot H14, Aspen Glen Filing
                                      No. 7 Aspen Glen Carbondale CO               Carbondale         CO      81623   1 Year    AES105233601        4/16/2018   4/16/2019    Vacant Land Liability            Blanket        $     1,000,000
Stepstone Investments, LLC            505 East Diamond A Ranch Road Aspen Glen
                                      Carbondale CO                                Carbondale         CO      81623   1 Year    AES105233601        4/16/2018   4/16/2019    Vacant Land Liability            Blanket        $     1,000,000
Strawberry Fields Investments, LLC    TBD Sundance Trail Aspen Glen Carbondale
                                      CO Lot SD-19                                 Carbondale         CO      81623   1 Year    AES105233601        4/16/2018   4/16/2019    Vacant Land Liability            Blanket        $     1,000,000
Thunder Basin Investments, LLC        167 Midland Loop - Lot L-19, Aspen Glen
                                      Filing 3 Aspen Glen Carbondale CO
                                                                                   Carbondale         CO      81623   1 Year    AES105233601        4/16/2018   4/16/2019    Vacant Land Liability            Blanket        $     1,000,000




       119 of 124                                                                                                                                                                                                                           Insurance
                                                                       Case 17-12560-KJC                          Doc 3374                Filed 02/04/19             Page 120 of 124

WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                                                                                                                    Case No. 17-12560 (KJC)
Debtors                                                                                                                                                                                                                    Reporting Period: 12/31/2018
                                                                                                                  INSURANCE SCHEDULE
                                                                                                                                                             Effective   Expiration                                       Current          Coverage
         Name of Debtor / Insured                        Address                                   City   State     Zip       Term               Policy #      Date        Date                    Type of Insurance     Premium           Amount
Vallecito Investments, LLC          TBD Golden Stone - Lot 32, Roaring Fork
                                    Mesa at Aspen Glen Filing 2 Aspen Glen
                                    Carbondale CO                                    Carbondale            CO      81623   1 Year      AES105233601         4/16/2018    4/16/2019    Vacant Land Liability            Blanket         $     1,000,000
Wetterhorn Investments, LLC         TBD Vacant Land - Lot H-35, Aspen Glen
                                    Filing 6 Aspen Glen Carbondale CO                Carbondale            CO      81623   1 Year      AES105233601         4/16/2018    4/16/2019    Vacant Land Liability            Blanket         $     1,000,000
Carbondale Glen Lot L-2, LLC        39 Midland Loop Aspen Glen Carbondale, CO
                                                                                     Carbondale            CO      81623   1 Year      AES105233601         4/16/2018    4/16/2019    Vacant Land Liability            Blanket         $     1,000,000
Sachs Bridge Investments, LLC       Multiple Lots River Valley Ranch - Lots 4, 5,
                                    6, 7, 16, and 17, Block AA, River Valley Ranch
                                    Phase 7, Lots 1, 2, 5, 6 and Block EE, River
                                    Valley Ranch Phase 8, and Lots 4, 5, 6, 24,
                                    25 and 26, Block Z, River Valley Ranch Phase
                                    7 (16 Lots)                                      Carbondale            CO      81623   1 Year      AES105233601         4/16/2018    4/16/2019    Vacant Land Liability            Blanket         $     1,000,000
Springvale Investments, LLC         Parcel A: Lots 4, 5, 6, 7, 8, 9, 10, 11, 12, 13,
                                    and 15, The Enclave at Bowles Gulch
                                    Carbondale, CO
                                    &
                                    TBD Perry Ridge, Carbondale - Parcel B: Lots
                                    1, 2, 4, 5, 6, 7 and 8, Block V, River Valley
                                    Ranch Phase 8 (18 Lots)                          Carbondale            CO      81623   1 Year      AES105233601          4/16/2018   4/16/2019    Vacant Land Liability            Blanket         $     1,000,000
Goosebrook Investments, LLC         2600 Hutton Dr                                   Beverly Hills         CA      90210   1 year      HGB0128081            4/20/2018   4/20/2019    Builders Risk                    $      14,790   $     4,000,000
Bluff Point Investments, LLC        9212 Nightingale Dr                              Los Angeles           CA      90069   1 year      VSEQ307049            4/25/2018   4/25/2019    Earthquake                       $       3,907   $     2,300,000
Silk City Investments, LLC          25210 Jim Bridger Rd                             Hidden Hills          CA      91302   1 year      VSEQ330497            4/25/2018   4/25/2019    Earthquake                       $       7,678   $     6,500,000
Crowfield Investments, LLC          1241 Loma Vista Dr.                              Beverly Hills         CA      90210   1 year      VSEQ330492            4/27/2018   4/27/2019    Earthquake                       $       6,275   $     4,200,000
Green Gables Investments, LLC       41 King Street                                   New York              NY      10014   18 Months   BMO 18 58 37 61 63   10/30/2017   4/30/2019    Builders Risk                    $      59,481   $     5,000,000
Green Gables Investments, LLC       41 King Street                                   New York              NY      10014   18 Months   AR3462124            10/30/2017   4/30/2019    Liability (Umbrella)             Above           Above
Green Gables Investments, LLC       41 King Street                                   New York              NY      10014   18 Months   103 GL 0020695       10/30/2017   4/30/2019    Liability (General)              Above           $     2,000,000
Summit Cut Investments, LLC         385 Trousdale Place                              Beverly Hills         CA      90210   1 year      VSEQ330773            5/4/2018     5/4/2019    Earthquake                       $       3,362   $     1,800,000
Rising Sun Investments, LLC         1301 N Fairfax                                   West Hollywood        CA      90046   1 year      VSEQ330781            5/4/2018     5/4/2019    Earthquake                       $         774   $       348,000
Rising Sun Investments, LLC         1307 N Fairfax                                   West Hollywood        CA      90046   1 year      VSEQ330782            5/4/2018     5/4/2019    Earthquake                       $         598   $       252,000
Rising Sun Investments, LLC         7909 Fountain Ave                                West Hollywood        CA      90046   1 year      VSEQ330783            5/4/2018     5/4/2019    Earthquake                       $         817   $       372,000
Summit Cut Investments, LLC         375 Trousdale Place                              Beverly Hills         CA      90210   1 year      VSEQ330772            5/4/2018     5/4/2019    Earthquake                       $       2,708   $     1,423,574
Thornbury Farm Investments, LLC     7870·7900 W Granito Dr                           Los Angeles           CA      90046   1 year      PH220349              5/22/2018   5/22/2019    CPL                              $         802   $     1,000,000
Squaretop Investments, LLC          1966 Carla Ridge                                 Beverly Hills         CA      90210   1 year      HGB0128250            5/23/2018   5/23/2019    Builders Risk                    $      51,911   $   15,000,000
Squaretop Investments, LLC          1966 Carla Ridge                                 Beverly Hills         CA      90210   1 year      SSE83170-00           5/23/2018   5/23/2019    Earthquake                       $      23,459   $   15,000,000
Hornbeam Investments, LLC           1484 Carla Ridge                                 Beverly Hills         CA      90210   1 year      PH215085              5/24/2018   5/24/2019    CPL                              $         502   $     8,500,000
Bishop White Investments, LLC       805 Nimes PI                                     Los Angeles           CA      90077   1 year      PH215339              6/2/2018     6/2/2019    CPL                              $         502   $     1,000,000
Chestnut Investments, LLC           10733 Stradella Court                            Los Angeles           CA      90077   1 year      SSE83346              6/2/2018     6/2/2019    Earthquake                       $      12,107   $     3,850,000
Cannington Investments, LLC         1118 Tower Rd                                    Beverly Hills         CA      90210   1 year      VSEQ317475            6/13/2018   6/13/2019    Earthquake                       $       7,693   $     2,700,000
Goosebrook Investments LLC          2600 Hutton Dr                                   Beverly Hills         CA      90210   1 year      SSE85353              6/13/2018   6/13/2019    Earthquake                       $       8,651   $     4,000,000
Goose Rock Investments LLC          9127 Thrasher Ave                                Los Angeles           CA      90069   1 year      SSE83467-00           6/21/2018   6/21/2019    Earthquake                       $      14,687   $     7,800,000
Eldredge Investment, LLC            714 Oakhurst Or                                  Beverly Hills         CA      90210   1 year      SSE83472-00           6/22/2018   6/22/2019    Earthquake                       $      10,559   $     2,900,000
Eldredge Investments, LLC           714 Oakhurst Or                                  Beverly Hills         CA      90210   1 year      HGB0128952            7/6/2018     7/6/2019    Vacant Dwelling                  $      14,119   $     2,800,000
Graeme Park Investments, LLC        1011 N Hillcrest Rd                              Beverly Hills         CA      90210   1 year      HGB0129154            7/10/2018   7/10/2019    Vacant Dwelling                  $       8,156   $     1,750,000
Graeme Park Investments, LLC        1011 N Hillcrest Rd                              Beverly Hills         CA      90210   1 year      VSEQ318595            7/10/2018   7/10/2019    Earthquake                       $       3,408   $     1,750,000
Arlington Ridge Investment, LLC     1357 Laurel Way                                  Beverly Hills         CA      90210   1 year      HGB0125163            7/12/2018   7/12/2019    Builders Risk                    $      37,196   $   11,000,000
Arlington Ridge Investments, LLC    1357 Laurel Way                                  Beverly Hills         CA      90210   1 year      AB8156717             7/12/2018   7/12/2019    Earthquake                       $      22,767   $   11,100,000
Addison Park Investments, LLC       642 St Cloud                                     Bel-Air               CA      90077   1 year      HGB0129287            7/20/2018   7/20/2019    Builders Risk (Step Up)          $      49,514   $   17,000,000
Lincolnshire Investments, LLC       1312 Beverly Grove                               Beverly Hills         CA      90210   1 year      PH216650              7/27/2018   7/27/2019    CPL                              $         502   $     1,000,000
Summerfree Investments, LLC         Pines Lot 4                                      Snowmass              CO      81654   1 year      ER10644336            8/1/2018    8/1/2019     Builders Risk                    $       7,912   $     3,900,000
Varga Investments, LLC              638 Siena Way                                    Los Angeles           CA      90077   1 year      HGB0129247            8/3/2018     8/3/2019    Builders Risk (Step Up)          $      55,709   $   16,000,000
Varga Investments, LLC              638 Siena Way                                    Los Angeles           CA      90077   1 year      AB8156817             8/3/2018     8/3/2019    Earthquake (Step up Policy)      $      40,194   $   16,000,000
Brynderwen Investments LLC          14140 Ventura Blvd Suite 302                     Sherman Oaks          CA      91423   1 year      92C3A3549             8/7/2018     8/7/2019    Office Policy                    $       1,231   $     1,100,000
Winding Road Investments, LLC       10721 Stradella Ct                               Los Angeles           CA      90077   1 year      SSE85472-00           8/15/2018   8/15/2019    Earthquake                       $      25,316   $   20,400,000
Winding Road Investments, LLC       10721 Stradella Ct                               Los Angeles           CA      90077   1 year      SSE85472-00           8/15/2018   8/15/2019    EQ Additional Structures         $       3,612   $     2,000,000
Riley creek Investments, LLC        711 Walden Dr                                    Beverly Hills         CA      90210   1 year      HGB0129452            8/24/2018   8/24/2019    Vacant Dwelling                  $      16,390   $     3,800,000
Riley creek Investments, LLC        711 Walden Dr                                    Beverly Hills         CA      90210   1 year      LLD41379-00           8/24/2018   8/24/2019    Earthquake                       $      10,226   $     3,850,000
Gravenstein Investments, LLC        24055 Hidden Ridge Rd                            Hidden Hills          CA      91302   1 year      HGB0129709            9/1/2018     9/1/2019    Builders Risk                    $      28,180   $     8,000,000
Gravenstein Investments, LLC        24055 Hidden Ridge Rd                            Hidden Hills          CA      91302   1 year      SSE84015-00           9/1/2018     9/1/2019    Earthquake                       $      13,242   $     8,050,000
Whiteacre Funding LLC               1110 Midway Rd                                   Menasha               WI      54952   1 year      CP 1635948A           9/1/2018     9/1/2019    Commercial                       $       8,170   $       850,000
Crowfield Investments, LLC          1241 Loma Vista Dr.                              Beverly Hills         CA      90210   1 year      HGB0129885            9/5/2018     9/5/2019    Builders Risk                    $      16,834   $     4,400,000
Silk City Investments, LLC          25210 Jim Bridger Rd                             Hidden Hills          CA      91302   1 year      ER10799478            9/5/2018     9/5/2019    Builders Risk                    $      18,460   $     6,500,000
Silk City Investments, LLC          25210 Jim Bridger Rd                             Hidden Hills          CA      91302   1 year      PH217394              9/6/2018     9/6/2019    CPL                              $         605   $     1,000,000
Bay Village Investments, LLC        1432 Tanager Way                                 Los Angeles           CA      90069   1 year      ER10822049            9/11/2018   9/11/2019    Builders Risk                    $      21,609   $     8,300,000
Chestnut Investments, LLC           10733 Stradella Court                            Los Angeles           CA      90077   1 year      HGB0129713            9/15/2018   9/15/2019    Build Renovation                 $      17,796   $     3,800,000




       120 of 124                                                                                                                                                                                                                                     Insurance
                                                                       Case 17-12560-KJC                Doc 3374              Filed 02/04/19            Page 121 of 124

WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                                                                                                            Case No. 17-12560 (KJC)
Debtors                                                                                                                                                                                                            Reporting Period: 12/31/2018
                                                                                                        INSURANCE SCHEDULE
                                                                                                                                                  Effective   Expiration                                          Current          Coverage
          Name of Debtor / Insured                     Address                           City   State     Zip       Term             Policy #       Date         Date                    Type of Insurance       Premium           Amount
Sturmer Pippin Investments, LLC      141 S Carolwood Dr                    Holmby Hills          CA      90024   1 year    HGB0130077            9/26/2018    9/26/2019    Vacant Dwelling                   $        30,196    $     7,200,000
Sturmer Pippin Investments, LLC      141 S Carolwood Dr                    Holmby Hills          CA      90024   1 year    VSEQ311175            9/26/2018    9/26/2019    Earthquake                        $        23,918    $     7,500,000
Hornbeam Investments, LLC            1484 Carla Ridge                      Beverly Hills         CA      90210   1 year    ER10874495            9/26/2018    9/26/2019    Builders Risk                     $        20,680    $     8,500,000
Carbondale Glen River Mesa, LLC      918 Brookie                           Carbondale            CO      81623   1 year    HGB0135436           10/7/2018     10/7/2019    Vacant Dwelling                   $         2,592    $     3,000,000
Goose Rock Investments, LLC          9127 Thrasher Ave                     Los Angeles           CA      90069   1 year    HGB0130308           10/13/2018    10/13/2019   Vacant Dwelling                   $        36,060    $     7,700,000
Elstar Investments, LLC              1520 Carla Ridge                      Beverly Hills         CA      90210   1 year    ER10961177           10/20/2018    10/20/2019   Builders Risk                     $        22,250    $     7,000,000
Chestnut Ridge Investments, LLC      10750 Chalon Rd                       Los Angeles           CA      90077   1 year    HGB0130163           10/21/2018    10/21/2019   Vacant Dwelling                   $        13,182    $     1,700,000
Willow Grove Investments, LLC        8124 W 3rdSt                          Los Angeles           CA      90048   1 year    D4-7500103002-S-01   10/21/2018    10/21/2019   Earthquake                        $         6,458    $     1,500,000
Summit Cut Investments, LLC          375 Trousdale Place                   Beverly Hills         CA      90210   1 year    HGB0130533            11/9/2018    11/9/2019    Vacant Dwelling                   $        14,764    $     1,400,000
Pawtuckaway Investments, LLC         1471 Forest Knoll                     Los Angeles           CA      90069   1 year    HGB0130645           11/12/2018    11/12/2019   Builders Risk                     $        23,624    $     6,800,000
Pawtuckaway Investments, LLC         1471 Forest Knoll                     Los Angeles           CA      90069   1 year    SSE84616-00          11/12/2018    11/12/2019   Earthquake                        $        14,790    $     6,900,000
Lilac Meadow Investments, LLC        9230 Robin Dr (9231 Kinglet Dr)       Los Angeles           CA      90069   1 year    HGB0130794           11/13/2018    11/13/2019   Builders Risk (Step Up)           $        26,142    $     7,500,000
Lilac Meadow Investments, LLC        9230 Robin Dr (9231 Kinglet Dr)       Los Angeles           CA      90069   1 year    PPL00004699-00       11/13/2018    11/13/2019   Personal liability                $           505    $     1,000,000
Chestnut Ridge Investments, LLC      10750 Chalon Rd                       Los Angeles           CA      90077   1 Year    VSEQ337671           11/15/2018    11/15/2019   Earthquake                        $         5,346    $     2,800,000
Zestar Investments, LLC              Pines Lot 27                          Snowmass              CO      81654   1 year    ER11092717-001       12/1/2018     12/1/2019    Builders Risk                     $         3,414    $     4,300,000
Rising Sun Investments, LLC          1307 N Fairfax                        West Hollywood        CA      90046   1 year    ATR/R/440000.01       12/5/2018    12/5/2019    Vacant Dwelling                   $         1,775    $       252,000
Rising Sun Investments, LLC          1301 N Fairfax                        West Hollywood        CA      90046   1 year    ATR/R/439999.01       12/5/2018    12/5/2019    Vacant Dwelling                   $         2,180    $       348,000
Rising Sun Investments, LLC          7909 Fountain Ave                     West Hollywood        CA      90046   1 year    ATR/R/440001.01       12/5/2018    12/5/2019    Vacant Dwelling                   $         2,282    $       372,000
Whiteacre Funding, LLC               State Rt 390                          Canadensis            PA      18325   1 year    12PRM023852-02       12/10/2018    12/10/2019   Property and Liability            $        20,968    $     4,330,462
Emerald Lake Investments LLC         4030 Longridge Ave                    Sherman Oaks          CA      91423   1 year    30116-21-43          12/31/2018    12/31/2019   Tenant Occupied Dwelling          $        12,312    $     3,351,000
Emerald Lake Investments LLC         4030 Longridge Ave                    Sherman Oaks          CA      91423   1 year    VSEQ313954            1/4/2019      1/4/2020    Earthquake                        $        12,434    $     3,435,750
Summit Cut Investments, LLC          385 Trousdale Place                   Beverly Hills         CA      90210   1 year    HGB0127095            1/18/2019    1/18/2020    Vacant Dwelling                   $         7,237    $     3,000,000
Addison Park Investments, LLC        642 St Cloud Rd                       Los Angeles           CA      90077   1 year    PENDING                Dec 2018                 Earthquake                        $        50,600    $    31,250,000
Elstar Investments, LLC              1520 Carla Ridge                      Beverly Hills         CA      90212   1 year    PENDING                Dec 2018                 Earthquake                        $        10,466    $     7,000,000
Hornbeam Investments, LLC            1484 Carla Ridge                      Beverly Hills         CA      90210   1 year    PENDING                Dec 2018                 Earthquake                        $        12,492    $     8,550,000
Bay Village Investments, LLC         1432 Tanager Way                      Los Angeles           CA      90069   1 year    PENDING                Dec 2018                 Earthquake                        $     12,000 Est   $ 8,300,000 Est
Lilac Meadow Investments, LLC        9230 Robin Dr (9231 Kinglet Dr)       Los Angeles           CA      90069   1 year    PENDING                Dec 2018                 Earthquake                        $     23,000 Est   $ 15,000,000 Est




       121 of 124                                                                                                                                                                                                                           Insurance
       WOODBRIDGE     Case
                        GOUP 17-12560-KJC
                              OF COMPANIES, LLC etDoc
                                                  al.                      3374         Filed 02/04/19                    Page 122Case
                                                                                                                                   of 124
                                                                                                                                       No. 17-12560 (KJC)
       (Jointly Administered)                                                                                                       Reporting Period: 12/31/2018


WOODBRIDGE
PROJECTED 3 MONTH CASH FLOW (a)
for the Period Ending March 31, 2019
                                                                                          3 MONTH
                                                                                            TOTAL                  Jan-19            Feb-19         Mar-19

# HOMES / LOTS SOLD                                                                                 19 (a)                   12                4                  3

REVENUES, NET
    DIP Collateral Property Sales, Net                                                         $21,477    (a)         $15,351                 $0        $6,126
    Non-DIP Collateral Property Sales, Net                                                      56,827    (a)          21,108            35,719            -
    Adequate Protection (CA & CO)                                                               32,107    (a)          12,536            16,965          2,606
    Colorado Asset Sales, Net                                                                    3,266    (a)           3,093                 79             94
    Riverdale, Net                                                                                 406    (a)                0                 0           406
    Other Revenues                                                                                   60   (b)               20                20             20
    Retention for Warranty & Other                                                                 -      (d)             -                 -              -
         Subtotal before Reserves                                                              114,142                 52,107            52,783          9,252
    Asset Sale Reserves - Adequate Protection                                                   (2,950)   (e)          (1,254)           (1,697)           -
    Asset Sale Reserves - Other Lien Noteholders                                                (8,950)   (e)          (3,674)           (5,276)           -
         Total Revenues, net of Reserves                                                       102,242                 47,180            45,810          9,252

COSTS
    Investment Related Costs
         Construction - CA & NY                                                                (24,808)   (f)             (7,643)         (9,845)        (7,320)
         Construction - CO & Others                                                               (752)   (g)               (232)           (332)          (188)
         Property Tax and Insurance                                                             (1,946)   (h)                (66)         (1,728)          (152)
    Payroll, G & A, Maintenance, HOA & Other                                                    (3,007)   (i)             (1,102)           (949)          (957)
    Contingency                                                                                 (1,526)   (j)               (452)           (643)          (431)
         Total Costs, Excluding Funds Interest                                                 (32,038)                   (9,495)        (13,496)        (9,047)

RESTRUCTURE COSTS                                                                              (10,611)                   (3,111)         (7,500)          -
LIQUIDATION TRUST BOARD, D & O AND CLAIMS RESOLUTION COSTS                                        (886)                     (535)           (175)         (175)
LIQUIDATION TRUST FUNDING                                                                       (5,000)                      -            (5,000)          -
WIND DOWN ENTITY WORKING CAPITAL FUNDING                                                       (15,000)                                  (15,000)

      NET CASH FLOW BEFORE FINANCING                                                            38,706                    34,039          4,639                  29

FINANCING
    Proceeds                                                                                     6,000 (l)              6,000                -               -
    Interest & Fees                                                                             (2,015) (m)              (165)            (1,850)            -
    Proceeds & Repayments, Net                                                                 (24,686) (n)           (13,655)           (11,030)            -
              Net Financing                                                                    (20,701)                (7,820)           (12,880)            -

      NET CASH FLOW                                                                            $18,006 (c)            $26,218            ($8,242)            $29



CASH BALANCE (End of Month)
    Operating Cash
      Beginning Balance                                                                          5,614 (p)                 5,614         31,832         23,591
      Applied / (Retained) Cash                                                                 18,006                    26,218         (8,242)            29
        Ending Balance                                                                          23,619                    31,832         23,591         23,619

      Sales Reserve
        Beginning Balance                                                                       18,365 (p)                18,365         23,292         30,265 (d)
        Asset Sale Reserves - Adequate Protection                                                2,950                     1,254          1,697            -
        Asset Sale Reserves - Other Lien Noteholders                                             8,950                     3,674          5,276            -
           Ending Balance                                                                       30,265                    23,292         30,265         30,265

PROJECTED CASH BALANCE (End of Month) (b)                                                                             $55,124           $53,856        $53,885

PROJECTED DIP LOAN BALANCE (End of Month)                                                                             $11,030                 $0                 $0



(a)   Based on business plan reforecast as of January 31, 2019.
(b)   Projected cash balance, net of $15 million working capital for the Wind-Down entity following the Effective Date.
(c)   Net of Sales Reserves.
(d)   Sales Reserve is assumed released post Effective Date.




       122 OF 124                                                                                                                       MOR-6 13 WK BUDGET
               Case 17-12560-KJC        Doc 3374       Filed 02/04/19     Page 123 of 124


WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                  Case No. 17-12560 (KJC)
(Jointly Administered)                                                  Reporting Period: 12/31/2018


                                   LENDER STATEMENTS

 Non-investor third party notes are as follows: NONE

                              Lender                                         12/31/2018
   Hankey Capital DIP Loan                                         $                 18,685,684




   The DIP lender Hankey Capital provides a monthly statement. The current statement is
   included with this report.




  123 of 124                                                                          MOR-7 (Cover pg)
                                     Case 17-12560-KJC                             Doc 3374STATEMENT
                                                                                   BILLING   Filed 02/04/19                              Page 124 of 124


                                                                                                                                  ACCOUNT NO.
                                                                                                                                  STATEMENT CLOSING DATE                              12/31/2018

                                                                                                                                  STATEMENT SUMMARY

                                                                                                                                       Past Due Amount                 +                 $0.00
                                                                                                                                       Current Payment Amount          +           $372,948.06
                                                                                                                                       Trust/Escrow Payment            +                 $0.00
                                                                                                                                       Other Payments                  +                 $0.00
 BORROWER                                                                                                                              Deferred Charges                -                 $0.00
                                                                                                                                       Minimum Payment Due             =           $372,948.06
  WOODBRIDGE GROUP OF COMPANIES                                                                                                        Payment Due Date                               1/1/2019
  333 S Grand Ave Suite 4070
  Los Angeles CA 90071                                                                                                                 Late Charge Due After 1/10/2019              $18,647.40
                                                                                                                                       Maximum Loan Amount                     $100,000,000.00
                                                                                                                                       Current Principal Balance                $18,685,683.92
                                                                                                                                       Reserve Balance                                   $0.00
                                                                                                                                       Impound Balance                                   $0.00
   Check here for a change of mailing address or phone number(s). Please provide all corrections on the reverse side.
                                                                                                                                       Interest Rate                                  10.500%
                                                                                                                                       Average Daily Balance                    $40,248,711.54
                                                                                                                                       Project Address:
                                                                                                                                       642 N ST CLOUD
                                                                                                                                       LOS ANGELES CA 90077

                                                    PLEASE DETACH THE TOP PORTION OF THIS STATEMENT AND RETURN IT WITH YOUR PAYMENT

 Please advise us immediately of any discrepancies in the transactions or investment activity on your billing statement or if you contemplate changing your address. When making
 inquiries by telephone or in writing please give your account number. We urge you to keep this statement with your investment records.

                                                                                         ACCOUNT ACTIVITY
    Date              Reference                                          Description                                        Reserve             Charges            Credits            Balance

  12/1/2018                              Balance Forward                                                                       $4,077.15                                          $40,632,299.89
  12/1/2018       EXT FEE                Funds Advanced                                                                                          $75,000.00                       $40,707,299.89
  12/4/2018       1118 INT               Payment Received - Thank You                                                        ($4,077.15)                           $489,366.42    $40,217,933.47
 12/12/2018       DIP DRAW               Funds Advanced                                                                                       $5,000,000.00                       $45,217,933.47
 12/12/2018       Legal fee              Buchalter Inv#946130                                                                                    $14,610.80                       $45,232,544.27
 12/19/2018       PAYDOWN                Principal PayDown                                                                                                         $885,000.00    $44,347,544.27
 12/20/2018       LINE DRAW              Funds Advanced                                                                                       $3,000,000.00                       $47,347,544.27
 12/20/2018       PAYDOWN                Principal PayDown                                                                                                          $60,450.00    $47,287,094.27
 12/20/2018       PAYDOWN                Principal PayDown                                                                                                       $1,058,535.19    $46,228,559.08
 12/28/2018       PAYDOWN                Payment - Other                                                                                                        $27,528,264.36    $18,700,294.72
 12/31/2018                              Interest Charge                                                                                       $358,337.26                        $19,058,631.98
                                                                                                                                   $0.00      $8,447,948.06 $30,021,615.97



                                                                                INTEREST CHARGE SUMMARY
        Balance Date                         Daily Balance                           Days                        Daily Periodic Rate            Interest Rate                Interest Charges
           12/1/2018                          $40,217,933.47                              11                             0.028472%                     10.250%                   $125,960.33
          12/12/2018                          $45,217,933.47                               7                             0.028472%                     10.250%                    $90,121.85
          12/19/2018                          $44,332,933.47                               1                             0.028472%                     10.250%                    $12,622.57
          12/20/2018                          $46,213,948.28                               8                             0.029167%                     10.500%                   $107,832.55
          12/28/2018                          $18,685,683.92                               4                             0.029167%                     10.500%                    $21,799.96
                                                                                          31                                                                                     $358,337.26

Note: Daily balances exclude finance charges, reserve balances, impound balances, late charges.




                  124 of 124
Powered by The Mortgage Office™                                                                Page    1    of    1                                                             Account:
